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                                     EXHIBIT A

                              May 1 Disclosure Statement




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      THIS DISCLOSURE STATEMENT HAS NOT YET BEEN APPROVED BY THE COURT
    This proposed Disclosure Statement is not a solicitation of acceptance or rejection of the First
    Amended Joint Chapter 11 Plan of Reorganization of Hygea Holdings Corp. and its Affiliated
    Debtors. Acceptances or rejections may not be solicited until the Bankruptcy Court has
    approved this Disclosure Statement under section 1125 of the Bankruptcy Code. This proposed
    Disclosure Statement is being submitted for approval only, and has not yet been approved by the
    Bankruptcy Court.

                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- x
                                                           :
                                                                Chapter 11
In re:                                                     :
                                                           :
                                                                Case No. 20-10361 (KBO)
HYGEA HOLDINGS CORP., et al.,                              :
                                                           :
                            1                                   (Jointly Administered)
                  Debtors.                                 :
                                                           :
---------------------------------------------------------- x

           FIRST AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
          FIRST AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
            OF HYGEA HOLDINGS CORP. AND ITS AFFILIATED DEBTORS

                                                               COLE SCHOTZ P.C.
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                                                               Michael D. Sirota


1
  The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management
Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861);
Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC
(1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp.
(2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida,
LLC (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC
(5862); Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center,
LLC (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc.
(6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO LLC (7738); Palm
Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468); Physician
Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883); Physicians
Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and Professional
Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street, Suite 280,
Miami, FL 33174.


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                                              Debtors-in-Possession
May 1, 2020




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                                               DISCLAIMER2

      THE INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT,
INCLUDING THE EXHIBITS ANNEXED HERETO, IS INCLUDED HEREIN FOR PURPOSES
OF SOLICITING ACCEPTANCES OF THE FIRST AMENDED JOINT CHAPTER 11 PLAN OF
REORGANIZATION OF HYGEA HOLDINGS CORP. AND ITS AFFILIATED DEBTORS AND
MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN HOW TO VOTE ON THE
PLAN. NO PERSON IS AUTHORIZED BY THE DEBTORS IN CONNECTION WITH THE
PLAN OR THE SOLICITATION OF ACCEPTANCES OF THE PLAN TO GIVE ANY
INFORMATION OR TO MAKE ANY REPRESENTATION REGARDING THIS DISCLOSURE
STATEMENT OR THE PLAN OTHER THAN AS CONTAINED IN THIS DISCLOSURE
STATEMENT AND THE EXHIBITS ANNEXED HERETO, INCORPORATED BY
REFERENCE OR REFERRED TO HEREIN, AND IF GIVEN OR MADE, SUCH
INFORMATION OR REPRESENTATION MAY NOT BE RELIED UPON AS HAVING BEEN
AUTHORIZED BY THE DEBTORS.

      ALL HOLDERS OF CLAIMS AND EQUITY INTERESTS ARE ADVISED AND
ENCOURAGED TO (I) READ THIS DISCLOSURE STATEMENT AND THE PLAN IN THEIR
ENTIRETIES; (II) CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE
STATEMENT, INCLUDING, IMPORTANTLY, THE RISK FACTORS DESCRIBED IN
ARTICLE VIII OF THIS DISCLOSURE STATEMENT; AND (III) CONSULT WITH THEIR
OWN ADVISORS WITH RESPECT TO REVIEWING THIS DISCLOSURE STATEMENT, THE
PLAN AND ALL DOCUMENTS THAT ARE ATTACHED TO THE PLAN AND DISCLOSURE
STATEMENT BEFORE DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT THE
PLAN.

     PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE
STATEMENT WITH RESPECT TO THE PLAN ARE QUALIFIED IN THEIR ENTIRETIES BY
REFERENCE TO THE PLAN, THE EXHIBITS ATTACHED TO THE PLAN AND ANY PLAN
SUPPLEMENT(S). THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
ARE MADE AS OF THE DATE HEREOF AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT ANY TIME AFTER THE DATE
HEREOF.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016(b) OF THE FEDERAL
RULES OF BANKRUPTCY PROCEDURE AND NOT IN ACCORDANCE WITH FEDERAL OR
STATE SECURITIES LAWS OR OTHER APPLICABLE NON-BANKRUPTCY LAWS. THIS
DISCLOSURE STATEMENT HAS NEITHER BEEN APPROVED NOR DISAPPROVED BY
THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”), AND THE SEC HAS NOT
PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS CONTAINED
HEREIN. PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING, SELLING
OR TRANSFERRING SECURITIES OR CLAIMS OF THE DEBTORS SHOULD EVALUATE
THIS DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE PURPOSES FOR
WHICH THEY WERE PREPARED.



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  Terms used in this Disclaimer that are not otherwise defined shall have the meanings ascribed to such terms
elsewhere in this Disclosure Statement.



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     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS. THIS DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY
NON-BANKRUPTCY PROCEEDING NOR SHALL IT BE CONSTRUED TO CONSTITUTE
ADVICE ON THE TAX, SECURITIES OR OTHER LEGAL EFFECTS OF THE PLAN AS IT
RELATES TO HOLDERS OF CLAIMS AGAINST, OR EQUITY INTERESTS IN, THE
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                                         TABLE OF EXHIBITS

Exhibit           Title

  A               First Amended Joint Chapter 11 Plan of Reorganization of Hygea Holdings Corp.
                  and its Affiliated Debtors

  B               Liquidation Analysis

  C               Financial Projections

  D               Global Settlement Term Sheet




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                                          ARTICLE I

                                       INTRODUCTION

  A.       Purpose of the Disclosure Statement

         On February 19, 2020 (the “Petition Date”), Hygea Holdings Corp. (“HHC”) and its
affiliated debtors and debtors-in-possession (collectively, the “Debtors”) each filed voluntary
petitions for relief (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”).

       The Debtors have filed the First Amended Joint Chapter 11 Plan of Reorganization of
Hygea Holdings Corp. and its Affiliated Debtors (including all exhibits thereto, and as may be
amended, altered, modified or supplemented from time to time, the “Plan”) with the Bankruptcy
Court. A copy of the Plan is attached hereto as Exhibit A.

        Capitalized terms used but not otherwise defined herein have the meanings ascribed
to such terms in the Plan; provided, however, that any capitalized term used herein that is
not defined herein or in the Plan, but is defined in the Bankruptcy Code or the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) will have the meaning ascribed to
that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.

        The Debtors submit this disclosure statement (as may be amended, altered, modified or
supplemented from time to time, the “Disclosure Statement”) pursuant to section 1125 of the
Bankruptcy Code to Holders of certain Claims against the Debtors in connection with (i) the
solicitation of acceptances of the Plan and (ii) the Confirmation Hearing.

       The purpose of this Disclosure Statement is to describe the Plan and its provisions and to
provide certain information, as required under section 1125 of the Bankruptcy Code, to Creditors
who will have the right to vote on the Plan so they can make informed decisions in doing so.
Creditors entitled to vote to accept or reject the Plan will receive a Ballot (as defined herein)
together with this Disclosure Statement to enable them to vote on the Plan.

        This Disclosure Statement includes, among other things, information pertaining to the
Debtors’ prepetition business operations and financial history and the events leading to the filing
of the Chapter 11 Cases. This Disclosure Statement also contains information regarding
significant events that have occurred during the Chapter 11 Cases. In addition, an overview of
the Plan is included, which overview sets forth certain terms and provisions of the Plan, the
effects of Confirmation of the Plan, certain risk factors associated with the Plan and the manner
in which Distributions will be made under the Plan. This Disclosure Statement also discusses the
Confirmation process and the procedures for voting, which procedures must be followed by the
Holders of Claims entitled to vote under the Plan for their votes to be counted.




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  B.       Disclosure Statement Enclosures

         Accompanying this Disclosure Statement are:

        1.      Order Approving the Disclosure Statement. A copy of the Bankruptcy Court’s
order (the “Solicitation Procedures Order”) approving this Disclosure Statement and, among
other things, establishing procedures for voting on the Plan, setting the deadline for objecting to
the Plan and scheduling the Confirmation Hearing.

        2.    Ballot. A ballot (the “Ballot”) for voting to accept or reject the Plan, if you are
the record Holder of a Claim in a Class entitled to vote on the Plan (each, a “Voting Class”).

         3.       Notice. A notice setting forth: (i) the deadline for casting Ballots either accepting
or rejecting the Plan; (ii) the deadline for filing objections to Confirmation of the Plan; and
(iii) the date, time and location of the Confirmation Hearing (the “Notice”).

  C.       Final Approval of the Disclosure Statement and Confirmation of the Plan

        1.      Requirements. The requirements for Confirmation of the Plan are set forth in
section 1129 of the Bankruptcy Code. The requirements for the Disclosure Statement are set
forth in section 1125 of the Bankruptcy Code.

       2.     Approval of the Plan and Confirmation Hearing. Before entering an order
confirming the Plan (the “Confirmation Order”), the Bankruptcy Court must hold a hearing to
determine whether the Plan meets the requirements of section 1129 of the Bankruptcy Code.

       3.      Effect of Confirmation. Confirmation serves to make the Plan binding upon the
Debtors and all Creditors, Holders of Equity Interests and other parties in interest, regardless of
whether they cast a Ballot to accept or reject the Plan.

        4.      Only Impaired Classes Vote. Pursuant to the provisions of the Bankruptcy Code,
only classes of claims or equity interests that are “impaired” under a plan may vote to accept or
reject such plan. Generally, a claim or equity interest is impaired under a plan if a holder’s legal,
equitable or contractual rights are changed under such plan. In addition, if the holders of claims
or equity interests in an impaired class do not receive or retain any property under a plan on
account of such claims or equity interests, such impaired class is deemed to have rejected such
plan under section 1126(g) of the Bankruptcy Code and, therefore, such holders do not need to
vote on such plan.

         Under the Plan, Holders of Claims in Classes 1 and 2 are Unimpaired and therefore
deemed to accept the Plan; Holders of Claims in Classes 3 and 4 are Impaired and are entitled to
vote on the Plan; and Holders of Claims in Class 5 and Equity Interests in Class 6 are deemed to
reject the Plan and are not entitled to vote on the Plan.

       Accordingly, a Ballot for acceptance or rejection of the Plan is being provided only
to Holders of Claims in Classes 3 and 4.



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  D.       Treatment and Classification of Claims and Equity Interests; Impairment

        The categories of Claims and Equity Interests listed below classify Claims and Equity
Interests for all purposes, including voting, Confirmation and Distribution pursuant to the Plan
and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. For a summary of the
treatment of each Class of Claims and Equity Interests, see Article IV, “Summary of Plan,”
below.

             Class Description             Status                        Proposed Treatment

Administrative Expense Claims            Unclassified    Except to the extent that a Holder of an Allowed
Estimated Claims Pool: $2,250,000.00                     Administrative Expense Claim agrees to different
Estimated Recovery: 100%                                 treatment with the Debtors or Reorganized Debtors,
                                                         each Holder of an Allowed Administrative Expense
                                                         Claim will receive Cash in an amount equal to the
                                                         unpaid amount of such Allowed Administrative
                                                         Expense Claim on the later of the Effective Date or
                                                         the date on which such Administrative Expense
                                                         Claim becomes an Allowed Administrative Expense
                                                         Claim, or as soon thereafter as is reasonably
                                                         practicable; provided, however, that Allowed
                                                         Administrative Expense Claims representing
                                                         liabilities incurred in the ordinary course of business
                                                         by the Debtors, as Debtors-in-Possession, or
                                                         liabilities arising under obligations incurred by the
                                                         Debtors, as Debtors-in-Possession, prior to the
                                                         Effective Date, will be paid by the Debtors in the
                                                         ordinary course of business, consistent with past
                                                         practice and in accordance with the terms and subject
                                                         to the conditions of any agreements governing,
                                                         instruments evidencing, or other documents relating
                                                         to such transactions, including, but not limited to, the
                                                         Budget, DIP Orders and all other orders entered by
                                                         the Bankruptcy Court related to the foregoing. In
                                                         addition, Allowed Administrative Expense Claims of
                                                         the United States Trustee for statutory fees under 28
                                                         U.S.C. § 1930 incurred prior to the Effective Date
                                                         will be paid on the Effective Date by the Debtors,
                                                         and thereafter, as such fees may thereafter accrue and
                                                         be due and payable, by the Creditors’ Trust in
                                                         accordance with the applicable schedule for payment
                                                         of such fees.




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Accrued Professional Compensation Claims   Unclassified    Except as otherwise provided in the Plan, all
Estimated Claims Pool: $2,000,000.00                       Professionals seeking payment of Accrued
Estimated Recovery: 100%                                   Professional Compensation Claims will (i) file their
                                                           respective final applications for allowance of
                                                           compensation for services rendered and
                                                           reimbursement of expenses incurred in the Chapter
                                                           11 Cases by the date that is thirty (30) days after the
                                                           Effective Date and (ii) be paid (a) the full unpaid
                                                           amount as is Allowed by the Bankruptcy Court
                                                           within five (5) Business Days after the date that such
                                                           Claim is Allowed by order of the Bankruptcy Court,
                                                           or (b) upon such other terms as may be mutually
                                                           agreed upon between the Holder of such an Allowed
                                                           Accrued Professional Compensation Claim and the
                                                           Debtors or Reorganized Debtors. Any Accrued
                                                           Professional Compensation Claim that is not asserted
                                                           in accordance with Section 2.2 of the Plan will be
                                                           deemed disallowed under the Plan, waived, and will
                                                           be forever barred against the Debtors, the Debtors’
                                                           Estates, the Reorganized Debtors, the Creditors’
                                                           Trust, or any of their Assets or property, and the
                                                           Holder thereof will be enjoined from commencing or
                                                           continuing any action, employment of process or act
                                                           to collect, offset, recoup, or recover such Claim.

                                                           Accrued Professional Compensation Claims filed by
                                                           the Committee’s Professionals will be subject to a
                                                           cap of One Million Three Hundred and Twenty-Five
                                                           Thousand Dollars ($1,325,000.00) (the “Committee
                                                           Budget”) as described in the DIP Orders. To the
                                                           extent the Committee Budget is insufficient to pay
                                                           the Allowed Accrued Professional Compensation
                                                           Claims of the Committee’s Professionals, such
                                                           Allowed Claims may be paid from the Creditors’
                                                           Trust. The Committee Budget will not be subject to
                                                           the Variance.

                                                           To the extent any excess funds remain under the
                                                           Debtors’ professional fee budgeted amounts and/or
                                                           the Committee Budget under the DIP Orders
                                                           (collectively, the “Professional Budget Surplus”),
                                                           such funds will be deposited into the Creditors’ Trust
                                                           on the Effective Date, or after payment of such
                                                           Professionals’ Accrued Professional Compensation
                                                           Claims.

                                                           The Professional Budget Surplus will not be used to
                                                           repay the Creditors’ Trust Loan.




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Priority Tax Claims                       Unclassified    Except as otherwise provided in the Plan, on the
Estimated Claims Pool: $10,426,750.00                     Effective Date or as soon as reasonably practicable
Estimated Recovery: 100%                                  thereafter (or if a Claim is not an Allowed Claim on
                                                          the Effective Date, on the date that such a Claim
                                                          becomes an Allowed Claim or as soon as reasonably
                                                          practicable thereafter), each Holder of an Allowed
                                                          Priority Tax Claim will receive in full satisfaction,
                                                          settlement, discharge, and release of, and in exchange
                                                          for, such Allowed Priority Tax Claim pursuant to and
                                                          in accordance with sections 1129(a)(9)(C) and
                                                          1129(a)(9)(D) of the Bankruptcy Code, Cash in an
                                                          aggregate amount of such Allowed Priority Tax
                                                          Claim payable in regular installment payments over a
                                                          period ending not more than five (5) years after the
                                                          Petition Date, plus simple interest at the rate required
                                                          by applicable non-bankruptcy law on any outstanding
                                                          balance from the Effective Date, or such lesser rate as
                                                          is agreed to in writing by a particular taxing authority
                                                          and the Debtors or Reorganized Debtors, as
                                                          applicable, pursuant to section 1129(a)(9)(C) of the
                                                          Bankruptcy Code; provided, however, that Priority
                                                          Tax Claims incurred by any Debtor in the ordinary
                                                          course of business may be paid in the ordinary course
                                                          of business by such applicable Debtor or
                                                          Reorganized Debtor in accordance with such
                                                          applicable terms and conditions relating thereto
                                                          without further notice to or order of the Bankruptcy
                                                          Court. Any installment payments to be made under
                                                          clause (C) or (D) above will be made in equal
                                                          quarterly Cash payments beginning on the first
                                                          applicable Subsequent Distribution Date, and
                                                          continuing on each Subsequent Distribution Date
                                                          thereafter until payment in full of the applicable
                                                          Allowed Priority Tax Claim.
Class 1: Other Priority Claims            Unimpaired      Except to the extent that a Holder of an Allowed
Estimated Claims Pool: $1,965.00                          Other Priority Claim against the Debtors has agreed
Estimated Recovery: 100%                                  to a different treatment of such Claim, each such
                                                          Holder will receive, in full satisfaction of such
                                                          Allowed Other Priority Claim, Cash in an amount
                                                          equal to such Allowed Other Priority Claim, on or as
                                                          soon as reasonably practicable after the later of (i) the
                                                          Effective Date; (ii) the date the Other Priority Claim
                                                          becomes an Allowed Claim; or (iii) the date for
                                                          payment provided by any agreement or arrangement
                                                          between the Reorganized Debtors and the Holder of
                                                          the Allowed Other Priority Claim against the
                                                          Debtors.




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Class 2: Other Secured Claims              Unimpaired    In full satisfaction of an Allowed Other Secured
Estimated Claims Pool: $0.00                             Claim, on the later of the Effective Date and the date
Estimated Recovery: 100%                                 on which the Other Secured Claim is Allowed, each
                                                         Holder of an Allowed Other Secured Claim will
                                                         receive, at the sole and exclusive option of the
                                                         Reorganized Debtors: (a) Cash equal to the amount
                                                         of such Claim; (b) the Collateral securing such
                                                         Claim; or (c) satisfaction of such Claim pursuant to
                                                         such other terms and conditions as may be agreed
                                                         upon by the Reorganized Debtors and the Holder of
                                                         such Other Secured Claim.
Class 3: Bridging’s Secured Claim           Impaired     Upon the terms and subject to the conditions set forth
Estimated Claims Pool: $122,539,900.00                   in the Plan, in full and final satisfaction, settlement,
Estimated Recovery: Unknown                              release, and discharge of Bridging’s Secured Claim,
                                                         Bridging or such Entity designated by Bridging and
                                                         Centurion, respectively, will receive, on the Effective
                                                         Date or as soon as practicable thereafter, (i) the
                                                         Debtors’ Cash on hand on the Effective Date in
                                                         excess of Cash necessary to operate the Reorganized
                                                         Debtors’ business, following funding of the
                                                         Creditors’ Trust Loan to be allocated 90.86% to
                                                         Bridging and 9.14% to Centurion; (ii) the New
                                                         Secured Debt in accordance with Section 6.4 of the
                                                         Plan; and (iii) 86.317% of the Reorganized Debtor
                                                         Equity will be issued to Bridging or its designee and
                                                         8.683% of the Reorganized Debtor Equity will be
                                                         issued to Centurion or its designee.

                                                         To the extent the Debtors’ Cash on hand as of the
                                                         Effective Date is not sufficient to make payments
                                                         under the Plan, fund operations and fund the
                                                         Creditors’ Trust Loan, Bridging will advance the
                                                         necessary funds to the Reorganized Debtors with
                                                         such amount to be added to the Working Capital
                                                         Loan. All distributions made on account of
                                                         Bridging’s Secured Claim will be paid to Bridging
                                                         and Centurion, as applicable. Bridging will have the
                                                         right to vote Bridging’s Secured Claim.
Class 4: General Unsecured Claims           Impaired     This Class consists of all General Unsecured Claims
Estimated Claims Pool: $281,457,060.00                   against the Debtors, including Bridging’s Deficiency
Estimated Recovery: Unknown                              Claim. Except to the extent that a Holder of an
                                                         Allowed General Unsecured Claim against the
                                                         Debtors agrees to a different treatment of such Claim,
                                                         in full and final satisfaction of each Allowed General
                                                         Unsecured Claim against the Debtors, each Holder of
                                                         an Allowed General Unsecured Claim against the
                                                         Debtors will receive its Pro Rata share of Creditors’
                                                         Trust Distributable Assets as soon as practicable as
                                                         determined by the Trustee. Bridging will have the
                                                         right to vote the Bridging Deficiency Claim but will
                                                         waive any Distributions to Bridging and its
                                                         participants on account of Bridging’s Deficiency
                                                         Claim.




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Class 5: Subordinated Claims                   Impaired    This Class consists of all Subordinated Claims
Estimated Claims Pool: Unknown                             against the Debtors. Holders of Subordinated Claims
Estimated Recovery: 0%                                     against the Debtors will not receive or retain any
                                                           property under the Plan on account of such
                                                           Subordinated Claims, and the obligations of the
                                                           Debtors on account of Subordinated Claims will be
                                                           discharged.
Class 6: Equity Interests                      Impaired    Holders of an Equity Interest in the Debtors will not
Estimated Recovery: 0%                                     receive or retain any property under the Plan on
                                                           account of such Equity Interests, and the obligations
                                                           of the Debtors on account of the Equity Interests will
                                                           be discharged.

  E.       Voting Procedures and Voting Deadline

         If you are entitled to vote to accept or reject the Plan, a Ballot is enclosed for the purpose
of voting on the Plan. To ensure your vote is counted, you must (i) complete the Ballot,
(ii) indicate your decision either to accept or reject the Plan in the boxes provided and (iii) sign
and return the Ballot(s) in the envelope provided.

       To be counted, your Ballot with your original signature indicating your acceptance
or rejection of the Plan must be received no later than 4:00 p.m. (Eastern Time) on June 8,
2020 (the “Voting Deadline”).

      The following Ballots will not be counted or considered for any purpose in determining
whether the Plan has been accepted or rejected:

         (i)       any Ballot received after the Voting Deadline (unless extended by
                   the Debtors);

         (ii)      any Ballot that is illegible or contains insufficient information to
                   permit the identification of the claimant;

         (iii)     any Ballot cast by a Person or Entity that does not hold a Claim or
                   Equity Interest in a Class that is entitled to vote to accept or reject
                   the Plan;

         (iv)      any Ballot cast for a Claim scheduled as Contingent, unliquidated
                   or Disputed or as zero or unknown in amount and for which no
                   Rule 3018(a) Motion has been filed by the Rule 3018(a) Motion
                   Deadline (as such terms are defined in the Solicitation Procedures
                   Order);

         (v)       any Ballot that indicates neither an acceptance nor a rejection, or
                   indicates both an acceptance and a rejection, of the Plan;

         (vi)      any Ballot that casts part of its vote in the same Class to accept the
                   Plan and part to reject the Plan;



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         (vii)    any form of Ballot other than the official form sent by Epiq
                  Corporate Restructuring, LLC (“Epiq,” the “Claims Agent” or the
                  “Voting Agent”), or a copy thereof;

         (viii) any Ballot received that the Voting Agent cannot match to an
                existing database record;

         (ix)     any Ballot that does not contain an original signature;

         (x)      any Ballot that is submitted by facsimile, email or by other
                  electronic means; or

         (xi)     any Ballot sent to the Debtors’ professionals.

        In order for the Plan to be accepted by an Impaired Class of Claims, a majority in number
and two-thirds in dollar amount of the Claims voting in such Class must vote to accept the Plan.
At least one Voting Class, excluding the votes of insiders, must actually vote to accept the Plan.

        You are urged to complete, date, sign and promptly mail the Ballot enclosed with
the notice. Please be sure to complete the Ballot properly and legibly, and identify the
exact amount of your Claim and the name of the Creditor. If you are a Holder of a Claim
entitled to vote on the Plan and you did not receive a Ballot, you received a damaged Ballot
or you lost your Ballot, or if you have any questions concerning the Disclosure Statement,
the Plan or procedures for voting on the Plan, please contact the Voting Agent, Epiq
Corporate Restructuring, LLC, at (866) 897-6433 (U.S., and Canada, toll free), (646) 282-
2500 (International) or at hygeatabulation@epiqglobal.com. The Voting Agent is not
authorized to and will not provide legal advice.

  F.       Confirmation Hearing

        The Bankruptcy Court has scheduled a hearing to consider confirmation of the Plan for
June 12, 2020 at 10:00 a.m. (Eastern Time) in the United States Bankruptcy Court for the
District of Delaware, 824 North Market Street, 6th Floor, Courtroom No. 3, Wilmington,
Delaware 19801 (the “Confirmation Hearing”). The Bankruptcy Court has directed that
objections, if any, to confirmation of the Plan be filed and served on or before June 5, 2020 at
4:00 p.m. (Eastern Time) in the manner described in the Notice accompanying this Disclosure
Statement. The Confirmation Hearing may be adjourned from time to time by way of
announcement of such continuance in open court or otherwise, without further notice to parties
in interest.

       The Debtors urge all Holders of Claims entitled to vote on the Plan to vote to accept
the Plan.




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                                                 ARTICLE II

                  GENERAL INFORMATION REGARDING THE DEBTORS3

    A.     The Debtors’ Businesses

         1.       General Overview

         Founded in 2007, Hygea is a consolidated enterprise of several companies aggregated
through a series of acquisitions that focus on the delivery of primary-care-based health care to
commercial, Medicare and Medicaid patients. The Debtors currently provide health care related
services to approximately 190,000 patients in the southeast United States through two platforms:
(i) individual physician practices and physician group practices (collectively, the “Physician
Practices”) with a primary care physician (“PCP”) focus and (ii) management services
organizations (“MSOs”). The Debtors are headquartered in Miami, Florida and currently employ
more than 150 individuals.

         2.       The Physician Practices

        As of the Petition Date, the Physician Practices consisted of approximately seventeen
(17) active brick and mortar locations throughout South and Central Florida and Georgia. The
Debtors either manage or wholly own the assets of the Physician Practices and employ the
personnel of the Physician Practices, including the physicians. Other than Debtor First Harbour
Medical Centers, LLC, which is wholly-owned by Debtor Hygea Health Holdings, Inc.
(“HHH”), the physicians still own the equity in the corporate entities of the Physician Practices.

        The Physician Practices focus on family medicine, internal medicine or clinical
cardiology. Through these practices, the Debtors directly employ in excess of seventy (70)
clinical staff (physicians, physician assistants, nurse practitioners, clinical technicians and
medical assistants).

        Historically, acquisitions of physician practices and clinics were an integral component of
the Debtors’ business model. Since its inception, Hygea acquired approximately thirty-five (35)
physician practices, many of which the Debtors no longer operate. In a typical purchase
transaction, the Debtors purchased the physical assets of a medical practice and obtained an
option to purchase the equity or ownership interest in the corporate entity of the practice itself.
The Debtors, however, generally did not exercise the option to purchase the ownership interest in
the practice. As consideration for the asset purchase, the selling physician received a
combination of cash and stock in HHC with a put option at a set minimum price per share.

       Contemporaneously with the asset acquisition, the Debtors typically entered into (i) a
management services agreement (the “MSA”) with the physician practice and (ii) employment
agreements with the physicians. Pursuant to the MSAs, certain of the Debtors manage the day-
to-day business operations of the Physician Practices, thereby allowing the physicians to focus

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  The information herein is solely for informational purposes and nothing herein shall be deemed an admission by
the Debtors in any Cause of Action.


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on the practice of medicine. The management related services provided to the Physician
Practices include staffing, payroll services and centralized benefits including healthcare
coverage.

        The Physician Practices earn revenue through fee for service billing (“FFS”) or
capitation payments (as described below). Under traditional FFS reimbursement, physicians are
paid a specified amount for a patient visit based upon the appropriate coding for such visits.
Physician compensation is related solely to the volume of patient visits, procedures performed,
and tests ordered. As of the Petition Date, approximately 52% of the Debtors’ revenue came
from FFS payments.

        Although the Physician Practices traditionally have relied upon the FSS payment model,
in recent years Hygea has shifted its focus toward the capitation model by entering into value-
based performance contracts with various insurance companies. Capitation is a type of a health
care payment system in which a doctor is paid a fixed amount per patient for a prescribed period
of time by an insurer or physician association. As of the Petition Date, approximately 19% of
the Debtors’ revenue came from capitation payments.

         3.       Management Service Organizations (MSOs)

       An MSO is an entity that, under contract, arranges for medical and medically related
services to patients on behalf of a health plan. The following entities comprise the Debtors’
active MSOs: First Harbour Health Management, LLC; Florida Group Healthcare, LLC; and
Palm Medical Network, LLC.

        The Debtors’ MSOs have entered into “at risk” contracts with Medicare Advantage
Health Maintenance Organizations (“HMOs”) to manage the delivery of healthcare services to
Medicare enrolled patients throughout Florida (the “Enrollees”). An “at risk” contract is when
the MSO agrees to assume either a portion or all of the financial risk or exposure for potential
losses incurred by their patient base participating in that HMO. The Debtors currently have three
(3) active “at risk” agreements with Humana, Inc. (“Humana”) and subsidiaries of Humana,
pursuant to which the MSOs provide or arrange for medical and related healthcare services to the
Enrollees either through the Physician Practices or third-party physician groups.

        The Debtors’ MSO model is to improve the management of high-risk patients, resulting
in better quality outcomes. The MSOs work closely with the PCP to ensure the patient receives
the necessary care to achieve optimal health outcomes. The Debtors’ MSOs enhance their
profitability by restraining medical costs. By emphasizing preventive care and attempting to
avoid turning chronic conditions into acute conditions, the Debtors’ MSOs are increasingly
focused on keeping patients healthier as a means to reduce costs and decrease utilization.

        The HMO receives a “risk adjusted” monthly amount for each Enrollee from the Centers
for Medicare & Medicaid Services (“CMS”), which amount can change based upon various
factors personal to each Enrollee, including health, age and demographics. The HMO is entitled
to a monthly fee (usually a percentage of the fixed amount paid by CMS) and the balance is
allocated to the MSO (the “Allocated Amounts”). The Allocated Amounts are used to pay
claims either on an FFS basis or at a capitated rate. After claims are reconciled and paid, any


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surplus remaining from the monthly Allocated Amounts are paid to the MSO. As the MSOs
generate surplus payments, the Debtors are obligated to downstream a percentage of that surplus
to the medical providers, pursuant to various contracts between the MSOs and third-party
practice groups. As of the Petition Date, approximately 29% of the Debtors’ revenue came from
surplus payments to the Debtors’ MSOs.

         4.       The Palm Network

        In 2008, Hygea acquired the Palm Network, which, at the time, was one of the largest
independent physician associations (“IPAs”) in Florida, representing more than seventy-six (76)
different medical specialties, including more than eight hundred (800) primary care providers.
However, in today’s healthcare climate, IPAs, such as the Palm Network, have proven to be an
inferior business model compared to MSOs. As of the Petition Date, the Palm Network was not
a direct source of revenue for the Debtors. Nonetheless, through the Palm Network, the Debtors
are able to maintain and develop new relationships with third party physician practice groups
with whom the Debtors contract with to provide care to HMO Enrollees.

B.       The Debtors’ Corporate Structure

       HHC was formed on August 26, 2008, as Piper Acquisition II, Inc. On May 16, 2011,
HHC changed its name to Hygea Holdings Corp. On that same date, HHC entered into a Share
Exchange Agreement with the shareholders of Hygea Health Holdings, Inc., a Florida
corporation (“Hygea Health”), an entity founded in March of 2007 by Manuel E. Iglesias,
Edward Moffly and Dr. Manuel I. Iglesias, pursuant to which HHC acquired 99.9% of the
outstanding securities of Hygea Health in exchange for 135,519,339 shares of HHC common
stock.

       As set forth on the organizational chart attached to the First Day Declaration [Docket No.
13], HHC has myriad direct and indirect subsidiaries. As of the Petition Date, several of these
subsidiaries, some of which consist of former MSO entities, were inactive. The majority of the
Debtors’ business operations (described above) are conducted through Hygea Health.

C.       The Debtors’ Prepetition Capital Structure

       As of the Petition Date, the Debtors had assets on a consolidated basis of approximately
$77.3 million and liabilities of approximately $212.2 million, consisting of approximately $76.3
million in current liabilities and approximately $135.9 million in long-term liabilities.

        The Debtors’ long-term liabilities relate to approximately $162.0 million Canadian
(approximately $122.0 million in U.S. Dollars) under that certain Amended and Restated Credit
Agreement, dated as of January 31, 2017 (as amended, supplemented or otherwise modified from
time to time, the “Credit Agreement”), by and among HHC, certain of the other Debtors, as
obligors, Bridging Income Fund LP (formerly known as Sprott Bridging Income Fund LP) (the
“Lender”) and Bridging Finance Inc., as administrative agent (together with the Lender,
“Bridging”). Pursuant to the related Amended and Restated Guaranty and Security Agreement,
dated as of January 31, 2017, Bridging has a first priority lien and security interest in
substantially all of the Debtors’ assets.


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       As of the Petition Date, the Debtors had unsecured debt in the form of accounts payable,
accrued liabilities and other liabilities. The liabilities consist of, among other things, contingent,
unliquidated and disputed litigation claims in excess of $50 million and payroll tax liabilities in
excess of $10 million, including interest and penalties.

D.       Summary of Events Leading to the Chapter 11 Filing

        Since 2017, the Debtors had confronted liquidity challenges and operational issues that
threatened their ability to continue as a going concern. The Debtors’ financial situation had been
deteriorating over time due to a variety of reasons.

        Over the last several years, the Debtors pursued an aggressive growth strategy, expanding
their acquisition of Physician Practices. In some cases, the Debtors purchased certain Physician
Practices with minimal net profit. At the time of acquisition, the Debtors projected increased
profitability for those practices as a result of performance improvements. The Debtors, however,
failed to properly integrate the underperforming acquisitions. Consequently, the Debtors have
been burdened with supporting a number of losing operations, that even with performance
improvements will never be profitable. The operating losses of those practices, along with the
associated acquisition costs, have caused a substantial drain on the Debtors’ liquidity.

        The Debtors’ failed acquisition of certain MSOs similarly contributed to the current
liquidity constraints. The Debtors purchased certain MSOs that, at the time of acquisition, had
sufficient infrastructure to generate profit. The Debtors, however, were unable to maintain the
investment required to support those MSOs and the MSOs performance dropped significantly
and below acceptable levels for the HMOs. As a result, the HMOs terminated their contracts
with those MSOs. Those terminations resulted in several large acquisitions becoming worthless
while the Debtors remained obligated for the costs associated with such acquisitions.

       The Debtors’ acquisition of the Palm Network similarly proved to be unsuccessful in
terms of generating direct profits. Nonetheless, the Palm Network still provides certain value to
the Debtors in terms of helping the Debtors maintain and develop new business relationships
with physicians and HMOs.

       In addition to failed acquisitions, the Debtors’ historical financial reporting was
inadequate, causing deficiencies in their financial forecasting as well as cash management.
Those inadequacies caused the Debtors to overspend in the face of an already unsustainable debt
load.

        Given those operational challenges, the Debtors were never profitable on a cash basis
and, therefore, were dependent on constant debt and equity fundraising activities to cover losses.
The Debtors have been unable to raise additional capital to fund those losses due to, in part,
pending litigation stemming from shareholder and contractual disputes. The Debtors do not have
the liquidity to defend or settle these lawsuits.

        As a result of the foregoing issues, the Debtors were unable to service their debt
obligations to the Lender and certain events of default occurred under the Credit Agreement.
Accordingly, in or around January 2018, the Debtors hired 4Front Capital Partners Inc.
(“4Front”), an investment banking firm, to assist the Debtors in evaluating strategic alternatives

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and commencing a formal marketing process for the sale and/or refinancing of Hygea. Although
Hygea and 4Front contacted almost 100 parties with respect to a potential transaction, only 15
executed an NDA. These parties were provided access to a dataroom containing confidential
information regarding the Debtors, their businesses and their assets. Of these 15 parties who had
access to the dataroom, only one expressed further interest in participating in a transaction and
had further discussions with the Debtors and 4Front regarding potential transactions. Ultimately,
the last party declined to move forward with a transaction.

        Following the unsuccessful sale process, in late October 2019 the Debtors engaged
Alvarez & Marsal North America, LLC to assist the Debtors with, among other things, financial
and operational support and strategic advice relating to a corporate reorganization. Shortly
thereafter, on or about October 31, 2019, the Debtors and Bridging entered into a Forbearance
Agreement (as subsequently amended, the “Forbearance Agreement”). Pursuant to the
Forbearance Agreement, Bridging agreed to forbear from exercising its rights and remedies
under the Credit Agreement and provided in excess of $6 million of emergency funding to the
Debtors.

        Thereafter, the Debtors and Bridging engaged in significant arms’-length negotiations
that led to them entering into that certain Restructuring Support Agreement, dated as of February
7, 2020, by and among the Debtors and Bridging (the “RSA”), pursuant to which, among other
things, the Debtors agreed to commence the Chapter 11 Cases and pursue a consensual
restructuring to be implemented through a chapter 11 plan, if possible, or a sale under section
363 of the Bankruptcy Code.4 The proposed plan described in the RSA provided for, among
other things, the (i) transfer of the Debtors’ equity to Bridging on account of its pre-petition
secured claim, (ii) creation of a liquidating trust for the benefit of the Debtors’ unsecured
creditors and (iii) payment of priority tax claims pursuant to section 1129(a)(9)(c) of the
Bankruptcy Code. Pursuant to the RSA, Bridging agreed to provide the Debtors with debtor-in-
possession financing to support the administrative and operational expenses of these Chapter 11
Cases. As discussed in greater detail below, the plan structure contemplated by the RSA was
modified to address, among other things, a global settlement (the “Global Settlement”) by and
among the Debtors, the Committee and Bridging (collectively, the “Global Settlement Parties”).

                                                  ARTICLE III

                                         THE CHAPTER 11 CASES

    A.     Commencement of the Chapter 11 Cases

       As set forth above, on the Petition Date the Debtors filed voluntary petitions for relief
under chapter 11 of the Bankruptcy Code in the Bankruptcy Court. No trustee or examiner has
been appointed in the Chapter 11 Cases.



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  In the event the Plan is withdrawn or an order denying confirmation of the Plan is entered by the Court, the
Debtors have agreed to file a motion under section 363 of the Bankruptcy Code to sell substantially all of their assets
to Bridging as a stalking horse bidder through a credit bid.


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      Since the Petition Date, the Debtors have continued to operate their businesses and
manage their property as debtors and debtors-in-possession.

B.       “First Day” Motions

        On the Petition Date, the Debtors filed ten (10) “first-day” motions designed to ease their
transition into chapter 11 and to minimize the effects of the commencement of the Chapter 11
Cases. On February 20, 2020, the Debtors filed a motion seeking entry of an order authorizing
them to assume the RSA [Docket No. 41]. On February 21, 2020, the Bankruptcy Court entered
orders providing certain of the requested first-day relief, including:

                        (i)    authorizing the Debtors’ Chapter 11 Cases to be jointly
         administered for procedural purposes only [Docket No. 42];

                         (ii)   authorizing the Debtors to file a consolidated creditor matrix in
         lieu of submitting separate mailing matrices for each Debtor [Docket No. 44]

                       (iii) authorizing the Debtors to retain Epiq as their claims and noticing
         agent [Docket No. 45]

                         (iv)    approving certain procedures to maintain and protect the
         confidentiality of patient information as required by the Health Insurance Portability and
         Accountability Act of 1996, while providing required disclosure in these Chapter 11
         Cases [Docket No. 46] (final order entered March 19, 2020 [Docket No. 178]);

                       (v)     authorizing the Debtors to continue use of their existing bank
         accounts and business forms [Docket No. 47] (final order entered March 20, 2020
         [Docket No. 198]);

                       (vi)   authorizing the Debtors to pay prepetition wages and continue
         certain employee benefit programs in the ordinary course [Docket No. 43] (final order
         entered March 20, 2020 [Docket No. 197]);

                        (vii) authorizing the Debtors to maintain their existing insurance
         policies and continue their insurance premium financing arrangement with respect to
         such policies [Docket No. 50] (final order entered March 19, 2020 [Docket No. 182]);

                       (viii) authorizing the Debtors to pay certain prepetition taxes and related
         obligations [Docket No. 48] (final order entered March 19, 2020 [Docket No. 181]); and

                         (ix)   prohibiting the Debtors’ utility companies from altering, refusing
         or discontinuing service to, or discriminating against, the Debtors and approving the form
         of adequate assurance of postpetition payment to such utility companies [Docket No. 49]
         (final order entered March 20, 2020 [Docket No. 200]).




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C.       Retention of Professionals and Appointment of the Committee

         1.       Retention of Debtors’ Professionals

        The Debtors were authorized to retain the following bankruptcy professionals in the
Chapter 11 Cases: (i) Cole Schotz P.C., as their bankruptcy counsel [Docket No. 179];
(ii) Alvarez & Marsal North America, LLC (“A&M”), as their financial advisors [Docket No.
180]; and (iii) Epiq as their administrative advisor [Docket No. 177].

        The Debtors also were authorized to retain certain professionals utilized by the Debtors in
the ordinary course of business prior to the Petition Date pursuant to an order [Docket No. 186]
entered by the Bankruptcy Court on March 19, 2020.

         2.       Appointment of Committee and Retention of Committee Professionals

       On March 10, 2020, the Office of the United States Trustee for the District of Delaware
appointed an official committee of unsecured creditors (the “Committee”) pursuant to section
1102(a) of the Bankruptcy Code [Docket No. 118]. The members of the Committee are:
(i) Manasota Medical Management Consultants, LLC, (ii) Claudio F. Arellano; (iii) NextGen
Healthcare, Inc.; (iv) Cardiology Consultants of West Broward, P.A. (“CCWB”); and
(iv) Adaptive Healthcare Solutions, LLC.

       The Committee was authorized to retain the following bankruptcy professionals in the
Chapter 11 Cases: (i) Lowenstein Sandler LLP, as its counsel [Docket No. 335]; and (ii) Morris
James LLP, as its co-counsel [Docket No. 341]. The Committee’s application to retain FTI
Consulting, Inc. (“FTI”), as its financial advisor [Docket No. 219] remains pending.

D.       Significant Events During the Chapter 11 Cases

        In addition to the relief described above, the Debtors have sought and received authority
with respect to various matters designed to assist in the administration of the Chapter 11 Cases
and to maximize the value of the Debtors’ Estates. Material events since the commencement of
the Chapter 11 Cases are summarized below and include:

         1.       Debtor-in-Possession Financing

        When the Debtors filed their Chapter 11 Cases, all of their cash was the cash collateral of
Bridging. Moreover, even if the Debtors had been given free access to their cash, they still
would not have had sufficient liquidity to conduct the Chapter 11 Cases or otherwise maximize
value of their assets for the benefit of creditors. Accordingly, at the Debtors’ request, Bridging
extended post-petition financing in the maximum amount of $9,853,308.00 to the Debtors on
very reasonable terms that did not include, among other common features, a roll-up of Bridging’s
prepetition debt or cross-collateralization. The proposed financing was designed to provide the
Debtors with stability and funding for the plan process that is expected to maximize value for the
estates and creditors.

       In connection therewith, on the Petition Date, the Debtors filed a motion seeking entry of
an order authorizing the Debtors to enter into a post-petition financing arrangement with,

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permitting the use cash collateral of, and granting adequate protection to, Bridging [Docket No.
63] (the “DIP Motion”). On February 24, 2020, the Bankruptcy Court entered an order granting
the DIP Motion on an interim basis [Docket No. 63]. Thereafter, Nevada 5, Inc. (“Nevada 5”)
and N5HYG, LLC (“N5HYG”) filed an objection to the DIP Motion [Docket No. 152] and
Centurion Asset Management, Inc. (“Centurion”) filed a preliminary response thereto [Docket
No. 208]. After a telephonic hearing conducted on March 25, 2020 and ensuing discussions
among counsel for the Debtors, the Committee and other parties, on April 2, 2020 the
Bankruptcy Court entered a second interim DIP order [Docket No. 288].

        On April 10, 2020, the Committee filed a reservation of rights with respect to the DIP
Motion [Docket No. 309] and informally raised with the Debtors a number of concerns regarding
the proposed final DIP order (the “Final DIP Order”). As noted in the reservation of rights, at
the time of the filing, the Global Settlement Parties were in the process of working towards the
Global Settlement, as described in more detail below. Attendant to that process, the Global
Settlement Parties reached an agreement on the Final DIP Order, which reflected numerous
concessions by Bridging, including (i) Bridging’s agreement that various claims and causes of
action would not be subject to the DIP Liens (as defined in the DIP Motion), (ii) a modification
of the Committee’s deadline to assert a challenge to the Debtors’ stipulations with Bridging in
the interim DIP orders to April 24, 2020, and (iii) clarification that the Committee had standing
to challenge both the Debtors’ stipulations as well as the more general Challenges (as defined in
the Final DIP Order).

        Thereafter, the concerns of Centurion and CCWB were resolved by the inclusion of
additional language in the Final DIP Order and the agreement to clarify certain terms of the Plan.
After a contested hearing on the Final DIP Order, certain language requested by Nevada 5 and
N5HYG was included in the Final DIP Order. Pursuant to the Final DIP Order, the deadline for
parties in interest (other than the Committee) to assert a Challenge is May 11, 2020.
Additionally, the Final DIP Order reserved the rights of the Committee, Nevada 5 and N5HYG
to contest a credit bid of Bridging in the event of a sale of the Debtors’ assets.

         On April 17, 2020, the Bankruptcy Court entered the Final DIP Order [Docket No. 342].

         2.       Patient Care Ombudsman Motion

        On March 6, 2020, the Debtors filed a motion [Docket No. 108] (the “PCO Motion”)
seeking entry of an order waiving the appointment of a patient care ombudsman pursuant to
section 333 of the Bankruptcy Code. On March 19, 2020, the Bankruptcy Court entered an order
[Docket No. 184] granting the PCO Motion.

         3.       Lease Rejection Motions

       On March 10, 2020, the Debtors filed an omnibus motion [Docket No. 123] (the
“Omnibus Rejection Motion”) seeking entry of an order authorizing the rejection of (i) seven (7)
executory contracts as of the Petition Date and (i) one (1) unexpired lease effective as of March
31, 2020. On March 19, 2020, the Bankruptcy Court entered an order [Docket No. 183] granting
the Omnibus Rejection Motion.



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        On March 10, 2020, the Debtors filed a motion [Docket No. 124] (the “CCWB Rejection
Motion”) seeking entry of an order authorizing the rejection (i) a management agreement
between the Debtors and CCWB effective as of the date of entry of the order granting the motion
and (ii) an unexpired lease of real property between the Debtors and Cypress Real Estate
Investments, LLC effective nunc pro tunc to February 28, 2020. After extensive negotiations
between the Debtors and CCWB, on April 8, 2020, the Bankruptcy Court entered an order
[Docket No. 296] granting the CCWB Rejection Motion.

         4.       The Claims Process

                  a.     Schedules and Statements

       On April 1, 2020, the Debtors filed their Schedules of Assets and Liabilities and
Statements of Financial Affairs [Docket Nos. 221-286] (together, the “Schedules and
Statements”). Among other things, the Schedules and Statements set forth the Claims of known
Creditors against the Debtors as of the Petition Date, based upon the Debtors’ books and records.
The Debtors retain the right to amend the Schedules and Statement during the pendency of the
Chapter 11 Cases.

                  b.     Bar Date Order

      On March 19, 2020, the Bankruptcy Court entered an order [Docket No. 291] (the “Bar
Date Order”) establishing the deadlines for filing Claims against the Debtors (collectively, the
“Bar Dates”), including the following:

                  General Bar Date. Each Person or Entity, except any Governmental Unit, holding
                  or asserting a Claim against the Debtors that arose (or is deemed to have arisen)
                  on or before the Petition Date, including any 503(b)(9) Claims, is required to file
                  a Proof of Claim form so that it is actually received by the Claims Agent on or
                  before May 6, 2020 at 5:00 p.m. (Eastern Time).

                  Governmental Bar Date. Each Governmental Unit holding or asserting a Claim
                  against the Debtors that arose (or is deemed to have arisen) on or before the
                  Petition Date is required to file a Proof of Claim form so that it is actually
                  received by the Claims Agent on or before August 17, 2020 at 5:00 p.m. (Eastern
                  Time).

                  c.     Claims Objections

        The Debtors and their professionals are investigating each of the Claims filed against the
Debtors to determine the validity of such Claims and anticipate filing objections to Claims that
are filed in improper amounts or classifications, or are otherwise subject to objection under the
Bankruptcy Code or other applicable law. As of the filing of this Disclosure Statement the
Debtors have not filed any objections to Claims.




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         5.       Litigation and Discovery

                  a.    Committee

        Since the Committee’s formation, it has sought discovery from the Debtors pursuant to
numerous avenues, including: (i) a detailed “lien review” request, sent on March 11, 2020;
(ii) The Official Committee of Unsecured Creditors’ First Set of Request for Documents from
Debtors, dated March 19, 2020; (iii) an e-mail request for additional lien review documents, sent
on Mach 25, 2020; and (iv) various informal e-mails requesting documents related to, among
other things, the Debtors’ insurance policies, operations, taxes and finances. These various
requests required the Debtors and their professionals to engage in an expensive and time
consuming electronically stored information (“ESI”) production of emails and documents from
the Debtors’ server, using multiple search terms provided by the Committee’s counsel, in
addition to traditional paper discovery. In response, the Debtors have produced a large volume
of materials to the Committee, often times on an expedited and rolling basis due to the time
constraints imposed by the Committee. In addition, A&M produced directly to FTI extensive
documents, answered numerous lines of inquiry and engaged in myriad conference calls with the
Committee’s representatives.

        On April 3, 2020 and April 7, 2020, counsel for the Committee requested the production
of ESI and paper discovery for additional and broader categories, and from additional custodians,
including bank documents, employee personnel files, evidence of transfers to third parties and
numerous other categories. Notwithstanding that the Debtors and their advisors had been 100%
responsive and cooperative with the Committee since its formation and had consensually
produced massive amounts of relevant material, on April 9, 2020, the Committee filed The
Official Committee of Unsecured Creditors Motion for an Order Pursuant to Bankruptcy Rule
2004 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by Debtors
[Docket No. 302] (the “Committee 2004 Motion”), and a related motion to shorten the notice
period and set an expedited hearing thereon [Docket No. 303]. On April 13, 2020, the
Bankruptcy Court entered an order [Docket No. 316] denying the motion to shorten and
scheduling a status conference on the Committee 2004 Motion for April 15, 2020 (the
“Discovery Conference”). In advance of the Discovery Conference, the Debtors and the
Committee agreed to hold the Committee 2004 Motion in abeyance until May 15, 2020. Since
that date, the Debtors have produced in excess of 65,000 pages of additional documents to the
Committee, which production remains ongoing.

                  b.    Nevada 5

        Over the last two years, Nevada 5 and N5HYG have been pursuing litigation against
certain of the Debtors, certain of their current and former directors and officers, and more
recently, against Bridging, to recover on a failed investment. Despite having never obtained any
success with such efforts, and even being sanctioned by a court in Nevada for approximately
$800,000, Nevada 5 and N5HYG have continued to pursue an aggressive litigation strategy in
these Chapter 11 Cases and a prepetition litigation pending against, among others, HHH in the
Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida (the
“Florida Action”).


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        On February 24, 2020, Nevada 5 filed an Emergency Precautionary Motion for Relief
from the Automatic Stay [Docket No. 59] (the “Nevada 5 Stay Relief Motion”) and a related
motion [Docket No. 61] seeking to shorten the notice period and setting an expedited hearing on
the Nevada 5 Stay Relief Motion. Pursuant to the Nevada 5 Stay Relief Motion, Nevada 5
sought relief from the automatic stay to file a second amended complaint and to pursue discovery
against HHH in connection with the Florida Action. The Debtors filed an objection to the
motion to shorten [Docket No. 68] and both the Debtors [Docket No. 76] and Nevada 5 [Docket
No. 78] filed objections to the Nevada 5 Stay Relief Motion. On February 28, 2020, the
Bankruptcy Court held a telephonic hearing on the Nevada 5 Stay Relief Motion and ruled, in
pertinent part, that Nevada 5 was not entitled to discovery from the Debtors related to the Florida
Action, but that Nevada 5 could revisit such request in 90 days. The Bankruptcy Court entered
an order to that effect on March 3, 2020 (the “Nevada 5 Stay Order”) [Docket No. 97]. That
same day, Nevada 5 served on the Debtors Nevada 5, Inc.’s Expedited Interrogatories and
Requests for Production of Documents to Hygea Holdings Corp. and Hygea Health Holdings,
Inc. (the “Nevada 5 Document Requests”), which sought to require the Debtors to respond to 18
interrogatories and 32 document requests on an expedited basis by March 17, 2020. Several of
the Nevada 5 Document Requests sought information that related to Nevada 5’s claims in the
Florida Action, notwithstanding the explicit language in the Nevada 5 Stay Order. The Debtors
have produced numerous documents to Nevada 5 in response to the Nevada 5 Document
Requests.

        Nevada 5 also sought to obtain discovery through other mechanisms during the Chapter
11 Cases. For example, on April 7, 2020, Nevada 5 served document requests on both the
Debtors and Bridging related to the Plan and the Disclosure Statement. See Docket Nos. 293 and
294. Moreover, on April 22, 2020, Nevada 5 served a subpoena on the Committee. See Docket
Nos. 348 and 352. On April 27, 2020, the Debtors served on Nevada 5 their responses and
objections to the document requests. See Docket No. 369.

        On April 21, 2020, Nevada 5 filed a Motion for Entry of Order Permitting Use of State
Court Documents [Docket No. 351] (the “Document Use Motion”), seeking to use materials in
the Chapter 11 Cases that Nevada 5 covertly obtained from FTI in the Florida Action. On that
same date, Nevada 5 filed a motion to shorten the notice period and set an expedited hearing with
respect to the Document Use Motion [Docket No. 305], which the Bankruptcy Court denied on
April 24, 2020. See Docket No. 360. The deadline to object to the Document Use Motion is
May 6, 2020, and a telephonic hearing has been scheduled for May 13, 2020. See Docket No.
362. The Debtors intend to vigorously oppose the Documents Use Motion.

        On April 29, 2020, the Debtors filed an Initial Submission in Support of Motion for Entry
of an Order Enforcing the Automatic Stay and for Sanctions for a Willful Stay Violation [Docket
No. 377] (the “Stay Violation Motion”). As set forth in the Stay Violation Motion, the Debtors
assert that Nevada 5 secretly and unlawfully obtained documents constituting property of the
Debtors’ estates from FTI, a pre-petition financial advisor to the Debtors. The Debtors further
assert that such actions violated the Nevada 5 Stay Order as well as the automatic stay provisions
of Section 362 of the Bankruptcy Code. By way of the Stay Violation Motion, the Debtors have
requested that the Bankruptcy Court impose sanctions against Nevada 5 consisting of
(i) reasonable counsel fees incurred by the Debtors as a result of Nevada 5’s stay violation and


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(ii) punitive damages to punish Nevada 5 for its blatant disregard of the Nevada 5 Stay Order and
the automatic stay. A hearing on the Stay Violation Motion has been scheduled for May 13,
2020.

E.       The Global Settlement

        As discussed above, the Committee investigated the allowance and priority of Bridging’s
Secured Claim and ultimately concluded that Bridging’s Secured Claim constitutes a properly
perfected, valid secured claim against the Debtors. Thus, the Committee did not pursue a
Challenge of Bridging’s Secured Claim in accordance with the Final DIP Order. The
Committee, however, raised several issues in connection with the RSA and the initial draft of the
Plan. In an effort to avoid further costs and delay associated with a contested confirmation
hearing, the Global Settlement Parties began engaging in extensive, arm’s-length and good faith
negotiations that concluded in the Global Settlement, which paved the way for the proposed
Plan. The terms of the Global Settlement, which are memorialized in the term sheet attached
hereto as Exhibit D (the “Global Settlement Term Sheet”) and incorporated into the Plan,
include, among other things:

         (a)      The creation of a creditors’ trust (the “Creditors’ Trust”), which is responsible for
                  the administration of Claims and Distributions to holders of Allowed General
                  Unsecured Claims;

         (b)      On the Effective Date, Bridging will fund $550,000 in the form of a non-recourse
                  loan payable from the proceeds of causes of action assigned to the Creditors’
                  Trust, for the benefit of holders of Allowed General Unsecured Claims;

         (c)      On the Effective Date, Bridging, or the equity sponsor under the Plan, will
                  provide for 5% of the equity in the Reorganized Debtors to be contributed to the
                  Creditors’ Trust, which equity consideration will be (i) freely assignable by the
                  Creditors’ Trust and (ii) subject to the right of the Creditors’ Trust to “put” such
                  equity consideration to the Reorganized Debtors, subject to a formula;

         (d)      On the Effective Date, the Debtors will transfer to the Creditors’ Trust:
                  (i) Avoidance Actions; (ii) commercial tort claims as defined in Article 9 of the
                  UCC; (iii) the non-exclusive right to seek a determination by the Bankruptcy
                  Court of any tax, fine or penalty relating to a tax, or any addition to a tax, under
                  section 505 of the Bankruptcy Code; and (iv) all other rights, claims or causes of
                  action not transferred to Bridging pursuant to the Plan;

         (e)      Bridging’s agreement to include in the DIP budget payment of the Committee’s
                  professionals allowed fees and expenses in an amount up to $1.325 million;

         (f)      The Committee will include a letter in the Plan solicitation package encouraging
                  general unsecured creditors to vote in favor of the Plan; and




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         (g)      Bridging’s Deficiency Claim will be temporarily allowed and treated as a General
                  Unsecured Claim for purposes of voting on the Plan, but will be deemed satisfied
                  on the Effective Date and will not be allowed for Distribution purposes.

Without the Global Settlement and Bridging’s significant concessions and support under the
Global Settlement, the Debtors do not believe that a plan of reorganization or liquidation would
be feasible in the Chapter 11 Cases. Accordingly, the Debtors believe that that confirmation and
consummation of the Plan is in the best interests of the Debtors, the Estates and their Creditors.

F.       Formal and Informal Objections to Approval of the Disclosure Statement

         On April 23, 2020, the U.S. Trustee provided the Debtors with various comments to the
initial disclosure statement that was filed on March 10, 2020 [Docket No. 120]. Thereafter, the
Debtors revised this Disclosure Statement to address all of the U.S. Trustee’s comments that
were not related to confirmation of the Plan. Consequently, the U.S. Trustee informed the
Debtors that his informal objections to approval of the Disclosure Statement have been resolved.

        On April 24, 2020, Shutlander, LLC, Jose Prida, LLC and Gabriella & Bella Castillo
Trust (collectively, the “Trusts”), filed a preliminary objection and reservation of rights [Docket
No. 361] (the “Trust Disclosure Statement Objection”) with respect to the Debtors’ solicitation
procedure motion [Docket No. 121]. The Trusts assert that this Disclosure Statement provides
an “inaccurate financial picture” with respect to, among other things, historical billing/invoicing
and provider credentialing, and that the Debtors are more profitable than what is shown in the
financial projections annexed hereto. The Debtors disagree with the Trusts’ assertions set forth
in the Trust Disclosure Statement Objection. On April 30, 2020, the Debtors filed a reply to the
Trust Disclosure Statement Objection. See Docket No. 381.

                                           ARTICLE IV

                                      SUMMARY OF PLAN

       This section provides a summary of the structure and means for implementation of
the Plan and the classification and treatment of Claims and Equity Interests under the
Plan. This section is qualified in its entirety by and is subject to the Plan as well as the
exhibits thereto and definitions therein. The Plan is attached to this Disclosure Statement
as Exhibit A.

        The statements contained in this Disclosure Statement include summaries of the
provisions contained in the Plan and in documents referred to therein. The statements
contained in this Disclosure Statement do not purport to be precise or complete statements
of all the terms and provisions of the Plan or documents referred to therein. Reference is
made to the Plan and to such documents for the full and complete statements of such terms
and provisions.

       The Plan and the documents referred to therein control the actual treatment of
Claims against and Equity Interests in the Debtors under the Plan. Upon occurrence of the
Effective Date, the Plan and all such documents will be binding upon all Holders of Claims


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against and Equity Interests in the Debtors and their Estates and all other parties in
interest. In the event of any conflict between this Disclosure Statement, on the one hand,
and the Plan or any other operative document, on the other hand, the terms of the Plan or
such other operative document will control.

A.       Classification and Treatment of Claims and Equity Interests

        Section 1123 of the Bankruptcy Code provides that a plan must classify the claims and
equity interests of a debtor’s creditors and equity interest holders. In accordance with section
1123 of the Bankruptcy Code, the Plan divides Claims and Equity Interests into Classes and sets
forth the treatment for each Class (other than the Administrative Expense Claims, Accrued
Professional Compensation Claims and Priority Tax Claims, which pursuant to section
1123(a)(1) of the Bankruptcy Code need not be and have not been classified). The Debtors also
are required, under section 1122 of the Bankruptcy Code, to classify Claims against and Equity
Interests in the Debtors (except for certain Claims classified for administrative convenience) into
Classes that contain Claims and Equity Interests that are substantially similar to the other Claims
and Equity Interests in such Class.

         The Bankruptcy Code also requires that a plan provide the same treatment for each claim
or equity interest of a particular class unless the claim holder or interest holder agrees to a less
favorable treatment of its claim or equity interest. The Debtors believe that they have complied
with such standard. If the Bankruptcy Court finds otherwise, however, it could deny
Confirmation of the Plan if the Claimholders and Equity Interest Holders affected do not consent
to the treatment afforded them under the Plan.

        A Claim or Equity Interest is placed in a particular Class only to the extent that the Claim
or Equity Interest falls within the description of that Class, and is classified in other Classes to
the extent that any portion of the Claim or Equity Interest falls within the description of such
other Classes. A Claim also is placed in a particular Class for the purpose of receiving
Distributions pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that
Class and such Claim has not been paid, released or otherwise settled prior to the Effective Date.

         The Debtors believe that the Plan has classified all Claims and Equity Interests in
compliance with the provisions of section 1122 of the Bankruptcy Code and applicable case law.
It is possible that a Holder of a Claim or Equity Interest may challenge the Debtors’
classification of Claims and Equity Interests and that the Bankruptcy Court may find that a
different classification is required for the Plan to be confirmed. If such a situation develops, the
Debtors intend, in accordance with the terms of the Plan, to make such permissible modifications
to the Plan as may be necessary to permit its confirmation. Any such reclassification could
adversely affect Holders of Claims or Equity Interests by changing the composition of one or
more Classes and the vote required of such Class or Classes for approval of the Plan. Unless
such modification of classification materially adversely affects the treatment of a Holder of
a Claim or Equity Interest and requires resolicitation, acceptance of the Plan by any
Holder of a Claim or Equity Interest pursuant to this solicitation will be deemed to be a
consent to the Plan’s treatment of such Holder of a Claim or Equity Interest regardless of
the Class as to which such Holder ultimately is deemed to be a member.



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        The amount of any Impaired Claim that ultimately is Allowed by the Bankruptcy Court
may vary from any estimated Allowed amount of such Claim and, accordingly, the total Claims
that are ultimately Allowed by the Bankruptcy Court with respect to each Impaired Class of
Claims also may vary from any estimates contained herein with respect to the aggregate Claims
in any Impaired Class. Thus, the value of property that ultimately will be received by a
particular Holder of an Allowed Claim may be adversely or favorably affected by the aggregate
amount of Claims Allowed in the applicable Class.

        The classification of Claims and Equity Interests and the nature of Distributions to
members of each Class are summarized below. The Debtors believe that the consideration, if
any, provided under the Plan to holders of Claims and Equity Interests reflects an appropriate
resolution of their Claims and Equity Interests, taking into account the differing nature and
priority (including applicable contractual subordination) of such Claims and Equity Interests.
The Bankruptcy Court must find, however, that a number of statutory tests are met before it may
confirm the Plan. Many of these tests are designed to protect the interests of Holders of Claims
or Equity Interests who are not entitled to vote on the Plan, or do not vote to accept the Plan, but
who will be bound by the provisions of the Plan if it is confirmed by the Bankruptcy Court.

         1.       Unclassified Claims

                  a.    Administrative Expense Claim

        An Administrative Expense Claim is a Claim for costs and expenses of administration of
the Chapter 11 Cases that are Allowed under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code, including, without limitation: (a) any actual and necessary costs and
expenses incurred on or after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Accrued Professional Compensation
Claims and any other compensation for legal, financial, advisory, accounting, and other services
and reimbursement of expenses Allowed by the Bankruptcy Court under sections 328, 330, 331
or 503(b) of the Bankruptcy Code to the extent incurred on or after the Petition Date and through
the Effective Date; and (c) all fees and charges assessed against the Estates under section 1930,
chapter 123, of title 28, United States Code.

        Except to the extent that a Holder of an Allowed Administrative Expense Claim agrees to
different treatment with the Debtors or Reorganized Debtors, each Holder of an Allowed
Administrative Expense Claim will receive Cash in an amount equal to the unpaid amount of
such Allowed Administrative Expense Claim on the later of the Effective Date or the date on
which such Administrative Expense Claim becomes an Allowed Administrative Expense Claim,
or as soon thereafter as is reasonably practicable; provided, however, that Allowed
Administrative Expense Claims representing liabilities incurred in the ordinary course of
business by the Debtors, as Debtors-in-Possession, or liabilities arising under obligations
incurred by the Debtors, as Debtors-in-Possession, prior to the Effective Date, will be paid by the
Debtors in the ordinary course of business, consistent with past practice and in accordance with
the terms and subject to the conditions of any agreements governing, instruments evidencing, or
other documents relating to such transactions, including, but not limited to, the Budget, DIP
Orders and all other orders entered by the Bankruptcy Court related to the foregoing. In
addition, Allowed Administrative Expense Claims of the United States Trustee for statutory fees

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under 28 U.S.C. § 1930 incurred prior to the Effective Date will be paid on the Effective Date by
the Debtors, and thereafter, as such fees may thereafter accrue and be due and payable, by the
Creditors’ Trust in accordance with the applicable schedule for payment of such fees.

        To be eligible to receive Distributions under the Plan on account of an Administrative
Expense Claim that is not otherwise Allowed by the Plan, a request for payment of an
Administrative Expense Claim must have been or be filed with the Bankruptcy Court on or
before the Administrative Expense Claims Bar Date. Any Administrative Expense Claim that is
not asserted in accordance with the Plan will be deemed disallowed under the Plan and will be
forever barred against the Debtors, the Debtors’ Estates, the Reorganized Debtors, the Creditors’
Trust, or any of their Assets or property, and the Holder thereof will be enjoined from
commencing or continuing any action, employment of process or act to collect, offset, recoup or
recover such Claim.

                  b.    Accrued Professional Compensation Claims

        An Accrued Professional Compensation Claim is a Claim for all accrued fees and
reimbursable expenses for services rendered by a Professional in the Chapter 11 Cases through
and including such date, to the extent that such fees and expenses have not been previously paid
whether under a retention order with respect to such Professional or otherwise. To the extent
that there is a Final Order denying some or all of a Professional’s fees or expenses, such denied
amounts will no longer be considered an Accrued Professional Compensation Claim.

        Except as otherwise provide in the Plan, all Professionals seeking payment of Accrued
Professional Compensation Claims will (i) file their respective final applications for allowance
of compensation for services rendered and reimbursement of expenses incurred in the Chapter 11
Cases by the date that is thirty (30) days after the Effective Date and (ii) be paid (a) the full
unpaid amount as is Allowed by the Bankruptcy Court within five (5) Business Days after the
date that such Claim is Allowed by order of the Bankruptcy Court, or (b) upon such other terms
as may be mutually agreed upon between the Holder of such an Allowed Accrued Professional
Compensation Claim and the Debtors or Reorganized Debtors. Any Accrued Professional
Compensation Claim that is not asserted in accordance with Section 2.2 of the Plan will be
deemed disallowed under the Plan, waived, and will be forever barred against the Debtors, the
Debtors’ Estates, the Reorganized Debtors, the Creditors’ Trust, or any of their Assets or
property, and the Holder thereof will be enjoined from commencing or continuing any action,
employment of process or act to collect, offset, recoup, or recover such Claim.

       Accrued Professional Compensation Claims filed by the Committee’s Professionals will
be subject to the Committee Budget as described in the DIP Orders. To the extent the
Committee Budget is insufficient to pay the Allowed Accrued Professional Compensation
Claims of the Committee’s Professionals, such Allowed Claims may be paid from the Creditors’
Trust. The Committee Budget will not be subject to the Variance.

       To the extent a Professional Budget Surplus exists, such funds will be deposited into the
Creditors’ Trust on the Effective Date, or after payment of such Professionals’ Accrued
Professional Compensation Claims.



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         The Professional Budget Surplus will not be used to repay the Creditors’ Trust Loan.

                  c.    Priority Tax Claims

       A Priority Tax Claim is a Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

        Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter),
each Holder of an Allowed Priority Tax Claim will receive in full satisfaction, settlement,
discharge, and release of, and in exchange for, such Allowed Priority Tax Claim pursuant to and
in accordance with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in
an aggregate amount of such Allowed Priority Tax Claim payable in regular installment
payments over a period ending not more than five (5) years after the Petition Date, plus simple
interest at the rate required by applicable non-bankruptcy law on any outstanding balance from
the Effective Date, or such lesser rate as is agreed to in writing by a particular taxing authority
and the Debtors or Reorganized Debtors, as applicable, pursuant to section 1129(a)(9)(C) of the
Bankruptcy Code; provided, however, that Priority Tax Claims incurred by any Debtors in the
ordinary course of business may be paid in the ordinary course of business by such applicable
Debtors or Reorganized Debtors in accordance with such applicable terms and conditions
relating thereto without further notice to or order of the Bankruptcy Court. Any installment
payments to be made under clause (C) or (D) above will be made in equal quarterly Cash
payments beginning on the first applicable Subsequent Distribution Date, and continuing on each
Subsequent Distribution Date thereafter until payment in full of the applicable Allowed Priority
Tax Claim.

         2.       Unimpaired Claims

                  a.    Class 1: Other Priority Claims

       An Other Priority Claim is a Claim accorded priority in right of payment under section
507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative Expense
Claim.

        Except to the extent that a Holder of an Allowed Other Priority Claim against the Debtors
has agreed to a different treatment of such Claim, each such Holder will receive, in full
satisfaction of such Allowed Other Priority Claim, Cash in an amount equal to such Allowed
Other Priority Claim, on or as soon as reasonably practicable after the later of (i) the Effective
Date; (ii) the date the Other Priority Claim becomes an Allowed Claim; or (iii) the date for
payment provided by any agreement or arrangement between the Reorganized Debtors and the
Holder of the Allowed Other Priority Claim against the Debtors.

                  b.    Class 2: Other Secured Claims

         An Other Secured Claim is a Secured Claim other than Bridging’s Secured Claim.



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         In full satisfaction of an Allowed Other Secured Claim, on the later of the Effective Date
and the date on which the Other Secured Claim is Allowed, each Holder of an Allowed Other
Secured Claim will receive, at the sole and exclusive option of the Reorganized Debtors:
(a) Cash equal to the amount of such Claim; (b) the Collateral securing such Claim; or
(c) satisfaction of such Claim pursuant to such other terms and conditions as may be agreed upon
by the Reorganized Debtors and the Holder of such Other Secured Claim

         3.       Impaired Claims

                  a.    Class 3: Bridging’s Secured Claim

       The Bridging Secured Claim means the Secured Claim of Bridging arising under or in
connection with the Prepetition Loan Documents. Bridging’s Secured Claim is an Allowed
Claim.

        Upon the terms and subject to the conditions set forth in the Plan, in full and final
satisfaction, settlement, release, and discharge of Bridging’s Secured Claim, Bridging or such
Entity designated by Bridging and Centurion, respectively, will receive, on the Effective Date or
as soon as practicable thereafter, (i) the Debtors’ Cash on hand on the Effective Date in excess of
Cash necessary to operate the Reorganized Debtors’ business, following funding of the
Creditors’ Trust Loan to be allocated 90.86% to Bridging and 9.14% to Centurion; (ii) the New
Secured Debt in accordance with Section 6.4 of the Plan; and (iii) 86.317% of the Reorganized
Debtor Equity will be issued to Bridging or its designee and 8.683% of the Reorganized Debtor
Equity will be issued to Centurion or its designee.

        To the extent the Debtors’ Cash on hand as of the Effective Date is not sufficient to make
payments under the Plan, fund operations and fund the Creditors’ Trust Loan, Bridging will
advance the necessary funds to the Reorganized Debtors with such amount to be added to the
Working Capital Loan. All distributions made on account of Bridging’s Secured Claim will be
paid to Bridging and Centurion, as applicable. Bridging will have the right to vote Bridging’s
Secured Claim.
               b.      Class 4: General Unsecured Claims

       A General Unsecured Claim is a Deficiency Claim and any Claim asserted against the
Debtors which is not included within the other specifically defined Classes under the Plan.

        Except to the extent that a Holder of an Allowed General Unsecured Claim against the
Debtors agrees to a different treatment of such Claim, in full and final satisfaction of each
Allowed General Unsecured Claim against the Debtors, each Holder of an Allowed General
Unsecured Claim against the Debtors will receive its Pro Rata share of Creditors’ Trust
Distributable Assets as soon as practicable as determined by the Trustee. Bridging will have the
right to vote the Bridging Deficiency Claim but will waive any Distributions to Bridging and its
participants on account of Bridging’s Deficiency Claim.




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                  c.     Class 5: Subordinated Claims

        A Subordinated Claim is any Claim subordinated by law or contract including pursuant to
section 510(b) of the Bankruptcy Code, which will include, but not be limited to, any claim filed
by Nevada 5, Inc. and N5HYG, LLC in the Chapter 11 Cases.

       Holders of Subordinated Claims against the Debtors will not receive or retain any
property under the Plan on account of such Subordinated Claims, and the obligations of the
Debtors on account of Subordinated Claims will be discharged.

         4.       Interests

                  a.     Class 6: Equity Interests

         Equity Interests are any Equity Security in any of the Debtors, including, without
limitation, all issued, unissued, authorized or outstanding units and other ownership interests,
including limited liability company interests, together with (a) any options, warrants or
contractual rights to purchase or acquire any such Equity Securities at any time with respect to
any Debtors, and all rights arising with respect thereto and (b) the rights of any Entity to
purchase or demand the issuance of any of the foregoing and will include: (i) conversion,
exchange, voting, participation, dividend and distribution rights; (ii) liquidation preferences;
(iii) options, warrants, and call and put rights; (iv) share-appreciation rights; and (v) all
unexercised Equity Interests.

        Holders of an Equity Interest in the Debtors will not receive or retain any property under
the Plan on account of such Equity Interests, and the obligations of the Reorganized Debtors on
account of the Equity Interests will be discharged.

         5.       Special Provision Regarding Unimpaired Claims

        Except as otherwise provided in the Plan, nothing under the Plan will affect or limit the
Debtors’, the Reorganized Debtors’ or the Trustee’s rights and defenses (whether legal or
equitable) in respect of any Unimpaired Claims, including, without limitation, all rights in
respect of legal and equitable defenses to or setoffs or recoupments against any such Unimpaired
Claims.

         6.       Discharge of Claims

         Except as otherwise provided in the Plan and effective as of the Effective Date: (i) the
rights afforded in the Plan and the treatment of all Claims and Equity Interests will be in
exchange for and in complete satisfaction, settlement, discharge, and release of all Claims and
Equity Interests of any nature whatsoever, including any interest accrued on such Claims from
and after the Petition Date, against the Debtors or any of their Assets, property, or Estates;
(ii) the Plan will bind all Holders of Claims and Equity Interests, notwithstanding whether any
such Holders abstained from voting to accept or reject the Plan or voted to reject the Plan; (iii) all
Claims and Equity Interests will be satisfied, discharged, and released in full, and the Debtors’
liability with respect thereto will be extinguished completely, including any liability of the kind
specified under section 502(g) of the Bankruptcy Code; and (iv) all Entities will be precluded

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from asserting against the Debtors, the Debtors’ Estates, the Reorganized Debtors, each of their
successors and assigns, and each of their Assets and properties, any other Claims or Equity
Interests based upon any documents, instruments or any act or omission, transaction, or other
activity of any kind or nature that occurred prior to the Effective Date.

         7.       Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and Equity Interests
and the respective distributions and treatments under the Plan will take into account and conform
to the relative priority and rights of the Claims and Equity Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Under section 510 of the Bankruptcy Code, the Debtors or the Trustee, as applicable,
reserve the right to re-classify any Allowed Claim or Allowed Equity Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

         8.       Elimination of Vacant Classes

       Any Class of Claims that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or a Claim temporarily allowed under Bankruptcy Rule 3018, or
as to which no vote is cast, will be deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class under section 1129(a)(8) of the Bankruptcy Code.

B.       Acceptance or Rejection of the Plan

         1.       Presumed Acceptance of Plan

       Classes 1 and 2 are Unimpaired under the Plan and, therefore, are deemed to have
accepted the Plan pursuant to section 1126 of the Bankruptcy Code.

         2.       Presumed Rejection of Plan

       Classes 5 and 6 are Impaired and will receive no distribution under the Plan on account of
such Subordinated Claims and Equity Interests and, therefore, are deemed to have rejected the
Plan pursuant to section 1126(g) of the Bankruptcy Code.

         3.       Voting Class

        Each Holder of an Allowed Claim as of the Voting Record Date in Classes 3 and 4 will
be entitled to vote to accept or reject the Plan.

         4.       Acceptance by Impaired Classes of Claims

        Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if
the Holders of at least two-thirds in dollar amount and more than one-half in number of the
Allowed Claims in such Class actually voting have voted to accept the Plan.

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         5.       Cramdown

        If all applicable requirements for confirmation of the Plan are met as set forth in section
1129(a) of the Bankruptcy Code except subsection (8) thereof, the Debtors may request that the
Bankruptcy Court confirm the Plan in accordance with section 1129(b) of the Bankruptcy Code
on the bases that the Plan is fair and equitable and does not discriminate unfairly with respect to
each Class of Claims or Equity Interests that is Impaired under, and has not accepted or is
deemed to reject, the Plan.

C.       Means for Implementation

         1.       General Settlement of Claims

        To the extent provided for by the Bankruptcy Code in consideration for the classification,
distributions, and other benefits provided under the Plan, upon the Effective Date, the provisions
of the Plan will constitute a good faith compromise and settlement of all Claims and Equity
Interests and controversies resolved pursuant to the Plan.

         2.       Corporate Existence

         Unless otherwise provided in the Plan Supplement, the Debtors will continue to exist
after the Effective Date as separate legal entities, with all of the powers of corporations, limited
liability companies, partnerships, associations, or other business entities pursuant to the
applicable law in their states of incorporation or organization. As may be set forth in the Plan
Supplement, a new holding company may be created to hold the Reorganized Debtor Equity.
After the Effective Date, the Reorganized Debtors will exist with all of the powers pursuant to
the New Organizational Documents. The Plan Supplement will include appropriate corporate
organizational documents governing the post-Effective Date governance of the Reorganized
Debtors and the rights of the holders of the Reorganized Debtor Equity.

        On the Effective Date or as soon thereafter as is reasonably practicable, and without need
for any notice to or any vote, consent, authorization, approval, ratification, or other action by any
Entity or any director, stockholder, security holder, manager, member, or partner (or board
thereof) of any Entity, the Reorganized Debtors may take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, or necessary or appropriate to
effectuate the Plan (the “Restructuring Transactions”), including, without limitation: (a) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy
the requirements of applicable law; (b) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
obligation on terms consistent with the terms of the Plan; (c) the filing of appropriate certificates
of incorporation, merger, or consolidation with the appropriate governmental authorities under
applicable law; and (d) all other actions that the Debtors or the Reorganized Debtors, as
applicable, and Bridging determine are necessary or appropriate.

       The Confirmation Order will be deemed to, under both section 1123 and section 363 of
the Bankruptcy Code, authorize, among other things, all actions as may be necessary or


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appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan.

         3.       Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan or the Confirmation Order, on or after the
Effective Date, all property and Assets of the Estates and any property and Assets acquired by
the Debtors pursuant to the Plan will vest in the Reorganized Debtors, free and clear of all Liens,
Claims, charges or other encumbrances. Except as may be otherwise provided in the Plan, on
and after the Effective Date, the Reorganized Debtors may operate their businesses and may use,
acquire or dispose of property and compromise or settle any Claims without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules, other than those restrictions expressly imposed by the Plan and the
Confirmation Order. Without limiting the foregoing, the Reorganized Debtors will pay the
charges that they incur after the Effective Date for Professionals’ fees, disbursements, expenses
or related support services (including reasonable fees relating to the preparation of Professional
fee applications) in the ordinary course of business and without application or notice to, or order
of, the Bankruptcy Court. For the avoidance of doubt, the Creditors’ Trust Assets will not revest
in the Reorganized Debtors and instead the Creditors’ Trust Assets will vest in the Creditors’
Trust pursuant to Section 7 of the Plan.

         4.       New Secured Debt

         On the Effective Date, the Reorganized Debtors will execute the New Secured Debt
Documents which will govern and evidence the New Secured Debt of the Reorganized Debtors.
The New Secured Debt Documents will be at least as favorable to Bridging and Centurion as
lenders as the Prepetition Loan Documents, with additional usual and customary terms for a
syndicated loan (including direct ability to obtain information, access to records, regular
reporting requirements and consent rights for each of the lenders). The portion of the New
Secured Debt attributable to the DIP Loan and Working Capital Loan will be issued and
allocated to Bridging or its designee. The Remaining Secured Debt will be issued to Bridging or
its designee and Centurion and allocated (directly and not as a participation) as follows:
(i) 90.86% of the Remaining Secured Debt will be issued to Bridging or its designee; and
(ii) 9.14% of the Remaining Secured Debt will be issued to Centurion or its designee.

         Payment of the New Secured Debt will be secured by a first priority lien on substantially
all of the assets of the Reorganized Debtors, subject to customary exceptions to be set forth in the
New Secured Debt Documents, with priority granted to Bridging or its designee with respect to
the amounts attributable to the DIP Loan and Working Capital Loan. The New Secured Debt
will be divided into two tranches. The first tranche of the New Secured Debt, totaling Forty
Million Dollars ($40,000,000.00), will provide for payments-in-kind of interest for the first two
years following the Effective Date upon which date the Reorganized Debtors will be required to
make payments of principal and interest in accordance with the terms of the New Secured Debt
Documents. In the event the Reorganized Debtors achieve certain operational milestones,
Bridging and Centurion will have the right to convert a proportionate share of their equity into an
additional Thirty Million Dollars ($30,000,000.00) of New Secured Debt.


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        On the Effective Date, the Reorganized Debtors will be authorized to execute and deliver
the New Secured Debt Documents, and any related instruments and documents, and will be
authorized to execute, deliver, file, record and issue any other notes, guarantees, security
agreements, documents (including UCC financing statements, intellectual property security
agreements to be filed in the U.S. Patent & Trademark Office and deposit account control
agreements with the Debtors’ depositary banks), amendments to the foregoing, or agreements in
connection therewith, in each case without further notice to or order of the Bankruptcy Court, act
or action under applicable law, regulation, order, or rule and without need for any notice to or
any vote, consent, authorization, approval, ratification or other action by any Entity or any
director, stockholder, security holder, manager, member, or partner (or board thereof) of any
Entity.

         5.       Sources of Cash for Certain Plan Distributions

        Except as otherwise provided in the Plan or the Confirmation Order, all Cash necessary
for the Reorganized Debtors to make payments required pursuant to the Plan with respect to
Allowed Administrative Expense Claims, Accrued Professional Compensation Claims and
Priority Tax Claims will be obtained from funding advanced under the DIP Credit Agreement,
the Working Capital Loan and/or the Reorganized Debtors’ Cash balances, including Cash from
operations.

         6.       Issuance of Reorganized Debtor Equity and Related Documentation

        On the Effective Date, the Reorganized Debtors will be authorized to and will issue the
Reorganized Debtor Equity without further notice to or order of the Bankruptcy Court, act or
action under applicable law, regulation, order, or rule and without need for any notice to or any
vote, consent, authorization, approval, ratification or other action by any Entity or any director,
stockholder, security holder, manager, member, or partner (or board thereof) of any Entity from
and after the Effective Date. The Reorganized Debtor Equity will be deemed issued to and held
as follows: (i) 86.317% will be issued to and held by Bridging or its designee; (ii) 8.683% will be
issued to and held by Centurion; and (iii) 5% will be issued to and held by the Creditors’ Trust
(the “Creditor Committee Equity”). The Reorganized Debtor Equity will be governed by the
New Equity Documents which will be in a form acceptable to Bridging, the Committee and
Centurion and filed as part of the Plan Supplement.

       With respect to the Creditor Committee Equity, the Creditors’ Trust will receive typical
minority shareholder protections (e.g., tags, drags, etc.) as more fully described in the New
Equity Documents. Further, the Creditor Committee Equity will be freely assignable by the
Creditors’ Trust.

        The Creditor Committee Equity will entitle the Creditors’ Trust to 5% of the Net
Proceeds of a sale of the Reorganized Debtors. In the event the Reorganized Debtors are not
sold by the fifth anniversary of the Effective Date (the “Put Election Date”), the Creditors’ Trust
will have the right to put the Creditor Committee Equity to the Reorganized Debtors (the “Put
Election”) at an amount equal to five percent (5%) of the “Put Amount.” The Put Amount will
be determined as follows: (EBITDA amount as of the Put Election Date multiplied by the
applicable EBITDA multiple set forth in the chart below) less the total amount of secured debt as

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of the Put Election Date plus the total amount of unrestricted cash, cash equivalents and
investments on the balance sheet as of the Put Election Date.

              LIVES MANAGED UNDER                          REORGANIZED DEBTORS’
                  MANAGEMENT                             EBITDA MULTIPLE FOR THE 12
                                                         MONTHS PRIOR TO EXERCISING
                                                             THE PUT ELECTION
                          5,000 to 7,500                             7
                         7,501 to 10,000                            7.5
                        10,001 to 12,500                             8
                        12,501 to 15,000                            8.5
                        More than 15,000                             9

         7.       Section 1145 Exemption

         The Reorganized Debtor Equity of the Reorganized Debtors to be issued and distributed
under the Plan will be exempt from registration under (a) the Securities Act of 1933, as amended,
and all rules and regulations promulgated thereunder and (b) any state or local law requiring
registration for the offer, issuance, or distribution of securities pursuant to section 1145 of the
Bankruptcy Code, or, if applicable, section 4(a)(2) of the Securities Act of 1933, without further
act or action by any entity. The Reorganized Debtor Equity will be freely tradable by the
recipients thereof, subject to (w) the provisions of section 1145(b)(1) of the Bankruptcy Code
relating to the definition of an underwriter in section 2(a)(11) of the Securities Act of 1933;
(x) compliance with any rules and regulations of the Securities and Exchange Commission, if
any, applicable at the time of any future transfer of such securities or instruments; (y) the
restrictions, if any, on the transferability of such securities contained in the New Organizational
Documents; and (z) applicable regulatory approval.

         8.       Employee Matters and Retiree Benefits

        Unless otherwise set forth in the schedule of assumed Executory Contracts and
Unexpired Leases included in the Plan Supplement, all material employee compensation and
benefit Plans, and employment, severance, retirement, indemnification, and other similar
employee-related agreement or arrangements in place as of the Effective Date with the Debtors
will be rejected by the Debtors. Nothing in the Plan will limit, diminish or otherwise alter the
Debtors’ defenses, Claims, Causes of Action, or other rights with respect to any such contracts,
agreements, policies, programs, and Plans. Notwithstanding the foregoing, pursuant to section
1129(a)(13) of the Bankruptcy Code, on and after the Effective Date, all retiree benefits (as that
term is defined in section 1114 of the Bankruptcy Code), if any, will continue to be paid in
accordance with applicable law.

         9.       Release of Liens, Claims, and Equity Interests

       Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan, all Liens,
Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the

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property of the Estates will be fully released, terminated, extinguished and discharged, in each
case without further notice to or order of the Bankruptcy Court, act or action under applicable
law, regulation, order, or rule and without need for any notice to or any vote, consent,
authorization, approval, ratification or other action by any Entity or any director, stockholder,
security holder, manager, member, or partner (or board thereof) of any Entity. Any Entity
holding such Liens or Equity Interests will, pursuant to section 1142 of the Bankruptcy Code,
promptly execute and deliver to the Reorganized Debtors such instruments of termination,
release, satisfaction and/or assignment (in recordable form) as may be reasonably requested by
the Reorganized Debtors.

         10.      New Organizational Documents

        The New Organizational Documents will satisfy the provisions of the Plan and the
Bankruptcy Code, and will (i) include, among other things, pursuant to section 1123(a)(6) of the
Bankruptcy Code, a provision prohibiting the issuance of non-voting Equity Securities, but only
to the extent required by section 1123(a)(6) of the Bankruptcy Code; (ii) authorize the issuance
of the Reorganized Debtor Equity; (iii) to the extent necessary or appropriate, include restrictions
on the transfer of Reorganized Debtor Equity; and (iv) to the extent necessary or appropriate,
include such provisions as may be needed to effectuate and consummate the Plan and the
transactions contemplated in the Plan. After the Effective Date, the Reorganized Debtors may
amend and/or restate the New Organizational Documents and other applicable organizational
documents, as permitted by applicable law and in a manner consistent with the Plan.

         11.      Resignation of Directors and Officers

       Upon the Effective Date, the Debtors’ boards of directors and officers will be deemed to
have resigned and will be replaced by the New Board.

         12.      Managers and Officers of the Reorganized Debtors

        Except as set forth in the Plan, the existing directors and managers of the Debtors will be
deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and
without need for any notice to or any vote, consent, authorization, approval, ratification or other
action by any Entity or any other Person or any director, stockholder, security holder, manager,
member, or partner (or board thereof) of any Entity.

        Except as otherwise provided in the Plan, the New Board will be designated by Bridging,
including a lead director who will have such authority and duties as the New Board may
determine. Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose,
prior to the Confirmation Hearing, the identity and affiliations of any Person proposed to serve
on the New Board or as an officer of the Reorganized Debtors and, to the extent such Person is
an insider other than by virtue of being a director or officer, the nature of any compensation for
such Person. Each such manager, director, and officer will serve from and after the Effective
Date pursuant to applicable law and the terms of the New Organizational Documents and the
other constituent and organizational documents of the Reorganized Debtors. Centurion will be
entitled to appoint one (1) director on the New Board with voting authority and one (1) director


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with observation rights only. Additionally, the Creditors’ Trust will be entitled to New Board
observation rights.

       The identity of the Reorganized Debtors’ managers and officers will be disclosed in the
Plan Supplement.

         13.      Corporate Action

         Upon the Effective Date, all actions contemplated by the Plan will be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified without any requirement
for further action by Holders of Claims or Equity Interests, directors, managers, or officers of the
Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption of Executory
Contracts and Unexpired Leases; (2) selection of the directors, managers, and officers for the
Reorganized Debtors; (3) the execution of and entry into the New Organizational Documents;
(4) the issuance and distribution of the Reorganized Debtor Equity as provided in the Plan; and
(5) all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the transactions contemplated by the Plan (whether to occur before, on, or after the
Effective Date). All matters provided for in the Plan involving the company structure of the
Debtors and any company action required by the Debtors in connection therewith will be deemed
to have occurred on and will be in effect as of the Effective Date without any requirement of
further action by the security holders, directors, managers, authorized persons, or officers of the
Debtors.

         14.      Cancellation of Agreements, Security Interests, and Other Interests

        Except for the purpose of evidencing a right to a distribution under the Plan and except as
otherwise set forth in the Plan, on the Effective Date, all agreements, instruments, Equity
Securities and other documents evidencing any prepetition Claim against or Equity Interest in
any of the Reorganized Debtors and any rights of any holder in respect thereof will be deemed
cancelled, discharged, and of no force or effect. The holders of or parties to such cancelled
instruments, Equity Securities and other documentation will have no rights arising from or
related to such instruments, Equity Securities, or other documentation or the cancellation thereof,
except the rights provided for pursuant to the Plan and the obligations of the Debtors thereunder
or in any way related thereto will be fully released, terminated, extinguished and discharged, in
each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule and without need for any notice to or any vote, consent,
authorization, approval, ratification or other action by any Entity or other Person or any director,
stockholder, manager, member, or partner (or board thereof) of any Entity.

         15.      Dissolved Debtors

        On the Effective Date, the Dissolved Debtors will be deemed dissolved without any
requirement for further action by Holders of Claims or Equity Interests, directors, managers, or
officers of the Debtors, the Reorganized Debtors, or any other Entity.




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  D.       Creditors’ Trust

         1.       Establishment of the Creditors’ Trust

        The Creditors’ Trust will be governed by the Creditors’ Trust Agreement. On the
Effective Date, the Trustee will execute the Creditors’ Trust Agreement and, in his capacity as
Trustee, accept all Creditors’ Trust Assets on behalf of the Beneficiaries thereof, and be
authorized to obtain, seek the turnover, liquidate, and collect all of the Creditors’ Trust Assets
not in his possession. The Creditors’ Trust will then be deemed created and effective without
any further action by the Bankruptcy Court or any Person as of the Effective Date. The
Creditors’ Trust will be established for the purposes of (i) liquidating any non-Cash Creditors’
Trust Assets; (ii) maximizing recovery of the Creditors’ Trust Assets for the benefit of the
Beneficiaries; and (iii) distributing the proceeds of the Creditors’ Trust Assets to the
Beneficiaries in accordance with the Plan and the Creditors’ Trust Agreement, with no objective
to continue or engage in the conduct of a trade or business, except only in the event and to the
extent necessary for, and consistent with, the purpose of the Creditors’ Trust.

         2.       Creditors’ Trust Funding

       On the Effective Date, Bridging or its designee will fund Five Hundred and Fifty
Thousand Dollars ($550,000.00) as a non-recourse loan to the Creditors’ Trust (the “Creditors’
Trust Loan”). The Creditors’ Trust Loan will be payable only from the proceeds of the
Creditors’ Trust Causes of Action. The first One Million One Hundred Thousand Dollars
($1,100,000.00) distributed from the Creditors’ Trust will be distributed evenly (50/50) between
Bridging or its designee and the Creditors’ Trust to repay the Creditors’ Trust Loan. Upon
repayment of the Creditors’ Trust Loan, Bridging will not be entitled to any additional
Distributions from the Creditors’ Trust.

         3.       Appointment of the Trustee

       The Trustee, together with his agents, representatives and professionals, will have the
power to administer the Creditors’ Trust Assets and make Distributions in accordance with the
terms of the Plan and the Creditors’ Trust Agreement. The Trustee will be appointed pursuant to
the Confirmation Order and subject to removal only by the Bankruptcy Court upon application or
motion by a Beneficiary of the Creditors’ Trust, after notice and a hearing, and for cause shown,
including (i) the willful and continued refusal by the Trustee to perform his duties under the Plan
and the Creditors’ Trust Agreement, and (ii) gross negligence, gross misconduct, fraud,
embezzlement or theft. The Trustee will be chosen by the Committee. During the term of the
Creditors’ Trust, the Trustee will be entitled to compensation payable from the Creditors’ Trust
Assets as set forth in the Creditors’ Trust Agreement.

         4.       Beneficiaries of Creditors’ Trust

        The Holders of Allowed General Unsecured Claims against the Debtors that are entitled
to Distributions will be the Beneficiaries of the Creditors’ Trust. Such Beneficiaries will be
bound by the Creditors’ Trust Agreement. The interests of the Beneficiaries in the Creditors’
Trust will be uncertificated and nontransferable except upon death of the interest holder or by


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operation of law. Neither Bridging nor any of its participants will be entitled to any
Distributions from the Creditors’ Trust on account of Bridging’s Deficiency Claim.

         5.       Vesting and Transfer of Creditors’ Trust Assets to the Creditors’ Trust

       On the Effective Date, pursuant to section 1141(b) of the Bankruptcy Code, the
Creditors’ Trust Assets will vest in the Creditors’ Trust free and clear of all Liens, Claims and
Equity Interests, except as otherwise specifically provided in the Plan or in the Confirmation
Order; provided, however, that the Trustee may abandon or otherwise not accept any non-Cash
Creditors’ Trust Assets that the Trustee believes, in good faith, have no value to the Creditors’
Trust. Any non-Cash Creditors’ Trust Assets that the Trustee so abandons or otherwise does not
accept will not be property of the Creditors’ Trust.

         6.       Retention of Professionals

        The Trustee will have the right to retain the services of attorneys, accountants, and other
professionals (collectively, the “Creditors’ Trust Professionals”) that are necessary to assist the
Trustee in the performance of his duties pursuant to the Plan, the Creditors’ Trust Agreement and
the Confirmation Order. The reasonable fees and expenses of such professionals will be paid by
the Trustee from the Creditors’ Trust Assets and, if necessary, the Creditors’ Trust Assets upon
submission of monthly statements (“Creditors’ Trust Monthly Fee Statements”) for services
rendered and costs incurred to the Trustee and Bridging for review and approval. The Trustee
will have thirty (30) days from receipt of each Creditors’ Trust Monthly Fee Statement to object
to the Creditors’ Trust Monthly Fee Statement. In the event that any objection is received by the
relevant Creditors’ Trust Professional that cannot be promptly resolved by the Creditors’ Trust
Professional and the objecting party, the dispute will be submitted by the Trustee to the
Bankruptcy Court for adjudication. The Bankruptcy Court will retain jurisdiction to adjudicate
objections to Creditors’ Trust Monthly Fee Statements. In the event that no objection is raised to
a Creditors’ Trust Monthly Fee Statement within the thirty (30) day period, the requested amount
in the Creditors’ Trust Monthly Fee Statement will be promptly paid by the Trustee, subject to
any requirements under the Plan.

         7.       Creditors’ Trust Expenses

        Subject to the provisions of the Creditors’ Trust Agreement, all costs, expenses, and
obligations incurred by the Trustee in administering the Plan, the Creditors’ Trust, or in any
manner connected, incidental or related thereto, in effecting distributions from, as applicable, the
Creditors’ Trust will be a charge against the Creditors’ Trust Assets and, if necessary, the
Creditors’ Trust Assets remaining from time to time in the hands of the Trustee. Such expenses
will be paid in accordance with the Creditors’ Trust Agreement.

         8.       Certain Powers and Duties of the Creditors’ Trust and Trustee.

                  a.     General Powers of the Trustee.

       The Trustee will be the exclusive trustee of the Creditors’ Trust and the Creditors’ Trust
Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3). The powers, rights, and


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responsibilities of the Trustee will be specified in the Creditors’ Trust Agreement and will
include the authority and responsibility to: (a) receive, manage, invest, supervise, and protect the
Creditors’ Trust Assets; (b) pay taxes or other obligations incurred by the Creditors’ Trust;
(c) retain and compensate, without further order of the Bankruptcy Court, the services of
employees, professionals and consultants to advise and assist in the administration, prosecution
and distribution of Creditors’ Trust Assets; (d) calculate and implement Distributions of
Creditors’ Trust Assets; (e) investigate, prosecute, compromise, and settle, in accordance with
the specific terms of the Creditors’ Trust Agreement, the Creditors’ Trust Causes of Action;
(f) resolve issues involving Claims and Equity Interests in accordance with the Plan; and
(g) undertake all administrative functions of the Chapter 11 Cases, including the payment of fees
payable to the United States Trustee incurred after the Effective Date and the ultimate closing of
the Chapter 11 Cases. The Creditors’ Trust is the successor to the Debtors and their Estates.

                  b.    Investments of Cash.

        The Creditors’ Trust may invest Cash (including any earnings thereon or proceeds
therefrom) as permitted by section 345 of the Bankruptcy Code or in other prudent investments,
provided, however, that such investments are permitted to be made by a Creditors’ Trust within
the meaning of Treasury Regulation section 301.7701-4(d), as reflected therein, or under
applicable IRS guidelines, rulings, or other controlling authorities.

                  c.    Reporting.

        In no event later than thirty (30) days after the end of the first full month following the
Effective Date and on a quarterly basis thereafter until all Cash in the Creditors’ Trust has been
distributed in accordance with the Plan, the Trustee will file with the Bankruptcy Court a report
setting forth the amounts, recipients and dates of all Distributions made by the Trustee under the
Plan through each applicable reporting period.

                  d.    Tax Reporting.

        The Trustee will file tax returns for the Creditors’ Trust as a grantor trust pursuant to
Treasury Regulation section 1.671-4(a) and in accordance with the Plan. The Creditors’ Trust
also will annually (for tax years in which Distributions from the Creditors’ Trust are made) send
to each Beneficiary a separate statement setting forth the Beneficiary’s share of items of income,
gain, loss, deduction or credit and all such holders will report such items on their federal income
tax returns; provided, however, that no such statement need be sent to any Class that is not
expected to receive any Distribution from the Creditors’ Trust. The Creditors’ Trust’s taxable
income, gain, loss, deduction or credit will be allocated to the Creditors’ Trust’s Beneficiaries in
accordance with their relative beneficial interests in the Creditors’ Trust.

        As soon as possible after the Effective Date, the Creditors’ Trust will make a good faith
valuation of assets of the Creditors’ Trust, and such valuation will be used consistently by all
parties for all federal income tax purposes. The Creditors’ Trust also will file (or cause to be
filed) any other statements, returns, or disclosures relating to the Creditors’ Trust that are
required by any Governmental Unit for taxing purposes. The Creditors’ Trust may request an
expedited determination of taxes of the Debtors or of the Creditors’ Trust under section 505(b) of

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the Bankruptcy Code for all tax returns filed for, or on behalf of, the Debtors and the Creditors’
Trust for all taxable periods through the dissolution of the Creditors’ Trust.

        The Creditors’ Trust will be responsible for filing all federal, state, and local tax returns
for the Debtors and the Creditors’ Trust. The Creditors’ Trust will comply with all withholding
and reporting requirements imposed by any federal, state, or local taxing authority, and all
distributions made by the Creditors’ Trust will be subject to any such withholding and reporting
requirements; provided, however, that, if the Trustee fails to withhold in respect of amounts
received or distributable with respect to any Beneficiaries and the Trustee is later held liable for
the amount of such withholding, such Beneficiaries will reimburse the Trustee for such liability.
All such amounts withheld and paid to the appropriate taxing authority will be treated as
amounts distributed to such Beneficiaries for all purposes of the Creditors’ Trust Agreement.
The Trustee will be authorized to collect such tax information from the Beneficiaries (including,
without limitation, social security numbers or other tax identification numbers) as it, in its sole
discretion, deems necessary to effectuate the Plan, the Creditors’ Trust Agreement and the
Confirmation Order. In order to receive distributions under the Plan, all Beneficiaries will need
to identify themselves to the Trustee and provide tax information and the specifics of their
holdings, to the extent the Trustee deems appropriate (including completing the appropriate
Form W-8 or Form W-9, as applicable). The failure to provide such tax information will result
in the disallowance of such Claim without a further order from the Bankruptcy Court.

         9.       Preservation of Right to Conduct Investigations

        The preservation for the Creditors’ Trust of any and all rights to conduct investigations
pursuant to Bankruptcy Rule 2004 is necessary and relevant to the liquidation and administration
of the Creditors’ Trust Assets. Accordingly, any and all rights to conduct investigations pursuant
to Bankruptcy Rule 2004 held by the Debtors prior to the Effective Date will vest with the
Creditors’ Trust and will continue until dissolution of the Creditors’ Trust.

         10.      Prosecution and Resolution of Causes of Action.

                  a.    The Creditors’ Trust’s Exclusive Authority to Pursue, Settle, or
                        Abandon Causes of Action.

        From and after the Effective Date, prosecution and settlement of all Creditors’ Trust
Causes of Action, including Avoidance Actions, transferred to the Creditors’ Trust will be the
sole responsibility of the Creditors’ Trust pursuant to the Plan and the Confirmation Order.
From and after the Effective Date, the Creditors’ Trust will have exclusive rights, powers, and
interests of the Debtors’ Estates to pursue, settle or abandon such Causes of Action as the sole
representative of the Debtors’ Estates pursuant to section 1123(b)(3) of the Bankruptcy Code.
Proceeds recovered from all Causes of Action will be deposited into the Creditors’ Trust and will
be distributed by the Trustee to the Beneficiaries in accordance with the provisions of the Plan
and Creditors’ Trust Agreement. All Causes of Action, including Avoidance Actions, that are
not expressly released or waived under the Plan are reserved and preserved and vest in the
Creditors’ Trust in accordance with the Plan. No Person may rely on the absence of a specific
reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors, Reorganized Debtors or Trustee will not pursue any

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and all available Causes of Action against such Person. The Trustee expressly reserves all
Creditors’ Trust Causes of Action, and, therefore, no preclusion doctrine, including the doctrines
of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, will apply to such Creditors’ Trust Causes of Action upon,
after, or as a consequence of confirmation or consummation of the Plan. No claims or Causes of
Action against the Released Parties expressly released or waived pursuant to the Plan will be
transferred to the Creditors’ Trust, the Trustee will not have standing to pursue such claims or
Causes of Action, and all such claims and Causes of Action will be waived, released and
discharged pursuant to the Plan.

                  b.     Settlement of Causes of Action.

        Settlement by the Creditors’ Trust of any Creditors’ Trust Cause of Action transferred to
the Creditors’ Trust will require: (i) approval only of the Trustee if the amount claimed by the
Creditors’ Trust against a defendant is less than One Hundred Thousand Dollars ($100,000.00);
and (ii) approval of the Trustee and the Creditors’ Trust Oversight Committee, if the amount
claimed by the Creditors’ Trust against a defendant is unliquidated or equals to or exceeds One
Hundred Thousand Dollars ($100,000.00).

         11.      Federal Income Tax Treatment of the Creditors’ Trust

        For federal income tax purposes, it is intended that the Creditors’ Trust be classified as a
Creditors’ Trust under section 301.7701-4 of the Treasury regulations and that such trust be
owned by its beneficiaries. Accordingly, for federal income tax purposes, it is intended that the
Beneficiaries be treated as if they had received a distribution from the Debtors’ Estates of an
undivided interest in each of the Creditors’ Trust Assets in satisfaction of their Allowed Claims
(to the extent of the value of their respective share in the applicable assets) and then contributed
such interests to the Creditors’ Trust in exchange for their interests in the Creditors’ Trust, and
the Creditors’ Trust’s Beneficiaries will be treated as the grantors and owners thereof.

         12.      Limitation of Liability

         No recourse will ever be had, directly or indirectly, against the Trustee or his or her
respective employees, professionals, representatives, agents, successors, or assigns, by legal or
equitable proceedings or by virtue of any statute or otherwise, or any deed of trust, mortgage,
pledge or note, nor upon any promise, contract, instrument, undertaking, obligation, covenant or
agreement whatsoever executed by the Creditors’ Trust under the Plan or by reason of the
creation of any indebtedness by the Creditors’ Trust or the Trustee under the Plan. All such
liabilities under the Plan will be enforceable only against, and will be satisfied only out of, the
Creditors’ Trust Assets. The Creditors’ Trust and the Trustee and their respective officers,
directors, employees, professionals, representatives, agents, successors or assigns will not be
liable for any act they may do, or omit to do hereunder in good faith and in the exercise of their
sound judgment; provided, however, that this section will not apply to any gross negligence or
willful misconduct by the Creditors’ Trust and the Trustee or their respective officers, directors,
employees, professionals, representatives, agents, successors, or assigns.




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         13.      Term of Creditors’ Trust

         The Trustee will be discharged and the Creditors’ Trust will be terminated, at such time
as (i) all of the Creditors’ Trust Assets have been liquidated, (ii) all duties and obligations of the
Trustee under the Creditors’ Trust Agreement have been fulfilled, (iii) all Distributions required
to be made by the Creditors’ Trust under the Plan and the Creditors’ Trust Agreement have been
made, and (iv) the Chapter 11 Cases have been closed; provided, however, that in no event will
the Creditors’ Trust be dissolved later than five (5) years from the Effective Date unless the
Bankruptcy Court, upon motion within the six-month period prior to the fifth anniversary (or the
end of any extension period approved by the Bankruptcy Court), determines that a fixed period
extension not to exceed one (1) year is necessary to facilitate or complete the recovery and
liquidation of the Creditors’ Trust Assets.

         14.      Conflicts Between the Creditors’ Trust Agreement and the Plan

       In the event of any inconsistencies or conflict between the Creditors’ Trust Agreement
and the Plan, the terms and provisions of the Plan will control.

  E.       Distributions

         1.       Distribution Record Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Equity Interests as maintained by the Debtors or their agents
will be deemed closed, and there will be no further changes in the record Holders of any of the
Claims or Equity Interests. The Debtors will have no obligation to recognize any ownership
transfer of the Claims or Equity Interests occurring after the Distribution Record Date. The
Debtors will be entitled to recognize and deal for all purposes under the Plan only with those
record Holders stated on the transfer ledgers as of the close of business on the Distribution
Record Date, to the extent applicable.

         2.       Timing of Distributions

        Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter),
each Holder of an Allowed Claim against the Debtors will receive the full amount of the
Distributions that the Plan provides for Allowed Claims in the applicable Class and in the
manner provided therein. Distributions made after the Effective Date to Holders of Allowed
Claims will be deemed to have been made on the Effective Date and, except as otherwise
provided in the Plan, no interest will be payable by the Debtors with respect to such Claims or
any Distribution related thereto. In the event that any payment or act under the Plan is required
to be made or performed on a date that is not a Business Day, then the making of such payment
or the performance of such act may be completed on the next succeeding Business Day, but will
be deemed to have been completed as of the required date. If there are Disputed Claims,
Distributions on account of any such Disputed Claims will be made pursuant to the provisions
set forth in the Plan. Except as otherwise provided in the Plan, Holders of Claims will not be


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entitled to interest, dividends or accruals on Distributions provided for thereunder, regardless of
whether such Distributions are delivered on or at any time after the Effective Date.

         3.       Disbursing Agent

        Except as otherwise provided in the Plan, all Distributions under the Plan will be made by
the Reorganized Debtors or the Trustee, as applicable, as “Disbursing Agent” or such other
Person designated by the Reorganized Debtors or the Trustee as a Disbursing Agent on the
Effective Date.

         4.       Rights and Powers of Disbursing Agent

        The Disbursing Agent will be empowered to: (a) effect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under the Plan;
(b) make all Distributions contemplated hereby; (c) employ professionals to represent it with
respect to its responsibilities; and (d) exercise such other powers as may be vested in the
Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions of the Plan.

         5.       Delivery of Distributions in General

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims will
be made to Holders of record as of the Distribution Record Date by the Disbursing Agent.
Distributions to Holders of Allowed Claims will be made at the address of each such Holder as
set forth in the Debtors’ books and records. Distributions under the Plan on account of such
Allowed Claims will not be subject to levy, garnishment, attachment, or like legal process, so
that each Holder of an Allowed Claim will have and receive the benefit of the distributions in the
manner set forth in the Plan. None of the Debtors, the Reorganized Debtors, and the Disbursing
Agent will incur any liability whatsoever on account of any distributions under the Plan.


         6.       Payments and Distributions on Disputed Claims

       Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims will be deemed
to have been made on the Effective Date. Notwithstanding any provision otherwise in the Plan
and except as may be agreed to by the Debtors or the Reorganized Debtors, on the one hand, and
the Holder of a Disputed Claim, on the other hand, no partial payments and no partial
Distributions will be made with respect to any Disputed Claim until all Disputed Claims held by
the Holder of such Disputed Claim have become Allowed Claims or have otherwise been
resolved by settlement or Final Order.

         7.       Manner of Payment

        Any Distributions to be made by or on behalf of the Debtors, Reorganized Debtors, or the
Trustee, as applicable, pursuant to the Plan will be made by checks drawn on accounts
maintained by the Debtors, Reorganized Debtors, or the Trustee, respectively, or by wire transfer
if circumstances justify, at the option of the Debtors, Reorganized Debtors, or the Trustee, as

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applicable; provided, however, any payments made to Bridging or Centurion will be made by
wire transfer.

         8.       Undeliverable Distributions and Unclaimed Property

        In the event that any Distribution to any Holder is returned as undeliverable, no
Distribution to such Holder will be made unless and until the Disbursing Agent has determined
the then current address of such Holder, at which time such Distribution will be made as soon as
practicable after such Distribution has become deliverable; provided, however, that such
Distributions will be deemed unclaimed property under section 347(b) of the Bankruptcy Code
and forfeited at the expiration of six months from the date of the Distribution. After such date,
all “unclaimed property” or interests in property will revert to the Reorganized Debtors or the
Creditors’ Trust, as applicable (notwithstanding any applicable federal or state escheat,
abandoned or unclaimed property laws to the contrary), and the Claim of any Holder to such
property will be discharged and forever barred.

         9.       Withholding and Reporting Requirements

       In connection with the Plan and all instruments issued in connection therewith, the
Disbursing Agent will comply with all applicable withholding and reporting requirements
imposed by any federal, state or local taxing authority, and all Distributions under the Plan will
be subject to any such withholding or reporting requirements.

         10.      Surrender Instruments

        Pursuant to section 1143 of the Bankruptcy Code, as a condition precedent to receiving
any Distribution under the Plan, each holder of a certificated instrument or note must surrender
such instrument or note held by it to the Disbursing Agent or its designee. Any such holder of
such instrument or note that fails to (i) surrender the instrument or note or (ii) execute and
deliver an affidavit of loss and/or indemnity reasonably satisfactory to the Disbursing Agent, as
applicable, before the fifth anniversary of the Confirmation Date will be deemed to have
forfeited all rights and claims and may not participate in any Distribution hereunder. Any
Distribution so forfeited will become property of the Reorganized Debtors or the Creditors’
Trust, as applicable.

         11.      Setoffs

        Except for the payments to be made to Bridging or Centurion, the Debtors, the
Reorganized Debtors and/or the Trustee may, but will not be required to, set off against any
Claim (for purposes of determining the Allowed amount of such Claim on which a Distribution
will be made), any claims of any nature whatsoever that the Debtors and the Reorganized
Debtors may have against the Holder of such Claim, but neither the failure to do so nor the
allowance of any Claim hereunder will constitute a waiver or release by the Debtors, the
Reorganized Debtors and/or the Trustee of any such claim the Debtors, the Reorganized Debtors
and/or the Trustee may have against the Holder of such Claim.




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         12.      Insurance Claims

       Except for the payments to be made to Bridging or Centurion, no Distributions under the
Plan will be made on account of Allowed Claims until the Holder of such Allowed Claim has
exhausted all remedies with respect to the Debtors’ Insurance Policies. To the extent that the
Debtors’ insurers agree to satisfy in full a Claim, then immediately upon such insurers’
agreement, such Claim may be expunged without a Claims objection having to be filed and
without any further notice to or action, order or approval of the Bankruptcy Court.

         13.      Applicability of Insurance Policies

        Except as otherwise provided in the Plan, Distributions to Holders of Allowed Claims
will be made in accordance with the provisions of any applicable Insurance Policy. Nothing
contained in the Plan will constitute or be deemed a waiver of any Cause of Action that the
Debtors, Reorganized Debtors, or any Person may hold against any insurers under any of the
Debtors’ Insurance Policies, nor will anything contained in the Disclosure Statement or in the
Plan constitute or be deemed a waiver by such insurers of any defenses, including coverage
defenses, held by such insurers.

         14.      No Postpetition Interest

        Unless otherwise specifically provided for in the Plan or in the Confirmation Order, or
required by applicable bankruptcy law, postpetition interest will not accrue or be paid on any
Claims or Equity Interests, and no Holder of a Claim or Equity Interest will be entitled to interest
accruing on or after the Petition Date on such Claim or Equity Interest. Notwithstanding the
foregoing, nothing in the Plan will prohibit Bridging or Centurion from allocating payments
received from the Debtors to principal or interest on Bridging’s Secured Claim, in their sole
discretion in accordance with applicable law.

         15.      Distributions Free and Clear

        Except as may be otherwise provided in the Plan, all Distributions under the Plan will be
free and clear of any Liens, Claims, encumbrances, and other interests.

         16.      Fractional Dollars; De Minimis Distributions

        Notwithstanding any other provision of the Plan, Cash payments of fractions of dollars
will not be made. Whenever any Distribution to a Holder of a Claim would otherwise call for
Distribution of Cash in a fractional dollar amount, the actual Distribution of such Cash will be
rounded to the nearest whole dollar (up or down), with half dollars (or less) being rounded down.
Neither the Debtors, the Reorganized Debtors nor the Trustee will be required to make any Cash
payment of less than ten dollars ($10.00) with respect to any Claim unless a request therefor is
made in writing to the Debtors, the Reorganized Debtors or the Trustee, as applicable; provided,
however, that neither the Debtors, the Reorganized Debtors or the Trustee will have any
obligation to make any Distribution, whether final or not, unless and until the total amount of
such Distribution to a specific Holder of an Allowed Claim is equal to or greater than ten dollars
($10.00).


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F.       Procedures for Disputed Claims

       The provisions described below related to Disputed Claims will not be applicable to
Bridging’s Secured Claim and Bridging’s Deficiency Claim which are Allowed Claims.
Bridging’s Deficiency Claim is Allowed for voting purposes only. Bridging will not be entitled
to any Distributions on account of Bridging’s Deficiency Claim.

         1.       Allowance of Claims and Equity Interests

        Except as expressly provided in the Plan, or in any order entered in the Chapter 11 Cases
prior to the Effective Date, including the Confirmation Order, no Claim or Equity Interest will be
deemed Allowed unless and until such Claim or Equity Interest is deemed Allowed under the
Plan or the Bankruptcy Code or Allowed by the Bankruptcy Court by entry of a Final Order
allowing such Claim or Equity Interest. On and following the Effective Date, the Reorganized
Debtors and Trustee, as applicable, will be vested with any and all rights and defenses the
Debtors had with respect to any Claim or Equity Interest immediately prior to the Effective Date.

         2.       Objections to Claims

        Except as expressly provided in the Plan, the Debtors (before the Effective Date) or the
Reorganized Debtors or the Trustee (on or after the Effective Date), as applicable, will have the
exclusive authority to file, settle, compromise, withdraw, or litigate to judgment any objections
to Claims as permitted under the Plan. With respect to Administrative Claims, Accrued
Professional Compensation Claims, and Other Priority Claims, the Debtors and the Reorganized
Debtors and the Trustee will have standing to object to any such Claims. Any objections to
Claims will be filed and served on or before the later of (i) one hundred eighty (180) days after
the Effective Date or (ii) such date as may be fixed by the Bankruptcy Court. From and after the
Effective Date, the Trustee may settle or compromise any Disputed Claim without approval of
the Bankruptcy Court. The Debtors, the Reorganized Debtors and the Trustee reserve all rights
to resolve any Disputed Claim outside the Bankruptcy Court under applicable governing law.

         3.       Estimation of Claims

        The Debtors (before the Effective Date) or the Trustee (on or after the Effective Date)
may, at any time, and from time to time, request that the Bankruptcy Court estimate any
Contingent Claim or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code for any
reason, regardless of whether an objection was previously filed with the Bankruptcy Court with
respect to such Claim, or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court will retain jurisdiction to estimate any Claim at any time during litigation
concerning any objection to any Claim, including, without limitation, during the pendency of any
appeal relating to such objection. In the event that the Bankruptcy Court estimates any
Contingent Claim or Disputed Claim, the amount so estimated will constitute either the Allowed
amount of such Claim or a maximum limitation on such Claim, as determined by the Bankruptcy
Court. If the estimated amount constitutes a maximum limitation on the amount of such Claim,
the Debtors or the Trustee may pursue supplementary proceedings to object to the allowance of
such Claim; provided, however, the Trustee may elect not to pursue such supplementary



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proceedings, instead electing to treat such maximum amount as the Allowed amount of such
Claim.

         4.       No Distribution Pending Allowance

        Notwithstanding any other provision of the Plan, if any portion of a Claim is Disputed, no
payment or distribution provided hereunder will be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

         5.       Distributions after Allowance

         At such time as a Contingent Claim or a Disputed Claim becomes an Allowed Claim, a
Distribution will be made to the Holder of such Allowed Claim in accordance with the
provisions of the Plan as soon as practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Contingent Claim or Disputed Claim becomes a Final Order. To
the extent that all or a portion of a Contingent Claim or a Disputed Claim is disallowed, the
Holder of such Claim will not receive any Distribution on account of the portion of such Claim
that is disallowed.

         6.       Preservations of Rights to Settle Claims

        In accordance with section 1123(b) of the Bankruptcy Code, the Trustee will have the
discretion to retain and enforce, sue on, settle, or compromise all claims, rights, causes of action,
suits, and proceedings, whether in law or in equity, whether known or unknown, that the Debtors
or their Estates may hold against any person or entity without the approval of the Bankruptcy
Court, subject to the terms of the Plan, the Confirmation Order, and any contract, instrument,
release, indenture, or other agreement entered into in connection herewith. The Trustee may
pursue such retained claims, rights, or causes of action, suits, or proceedings, as appropriate, in
accordance with the best interests of the Creditors’ Trust.

         7.       Disallowed Claims

        All Claims held by persons or entities against whom or which the Debtors or Trustee has
commenced a proceeding asserting a cause of action under sections 542, 543, 544, 545, 547, 548,
549, and/or 550 of the Bankruptcy Code will be deemed Disallowed Claims pursuant to section
502(d) of the Bankruptcy Code and Holders of such Claims will not be entitled to vote to accept
or reject the Plan. Disallowed Claims pursuant to Section 9.7 of the Plan will continue to be
Disallowed Claims for all purposes until the avoidance action against such party has been settled
or resolved by Final Order and any sums due to the Debtors or Trustee from such party have
been paid.

G.       Executory Contracts and Unexpired Leases

         1.       Assumption and Rejection of Executory Contracts and Unexpired Leases

       Except with respect to the Material Contracts or as otherwise provided in the Plan or in
any contract, instrument, release, indenture, or other agreement or document entered into in
connection with the Plan, each of the Executory Contracts and Unexpired Leases of the Debtors

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will be deemed rejected as of the Effective Date, unless such Executory Contract or Unexpired
Lease: (1) was assumed or rejected previously by the Debtor; (2) expired or terminated pursuant
to its own terms before the Effective Date; or (3) is the subject of a motion to assume or reject
filed on or before the Effective Date.

        The Debtors will assume the Material Contracts. Entry of the Confirmation Order will
constitute a Bankruptcy Court order approving assumption of such Material Contracts and such
assumption will be effective as of the Effective Date. Each Material Contract assumed pursuant
to the Plan will be fully enforceable by the Reorganized Debtors in accordance with its terms,
except as such terms may have been modified by any order of the Bankruptcy Court or as
otherwise agreed to by the Debtors and the applicable counterparty to the Material Contract.

         2.       Inclusiveness

        Unless otherwise specified, each Executory Contract and Unexpired Lease assumed or
rejected by the Debtors will include any and all modifications, amendments, supplements,
restatements, or other agreements made directly or indirectly by any agreement, instrument, or
other document that in any manner affects such Executory Contract or Unexpired Lease.

         3.       Rejection Claims

        Except as otherwise provided in orders entered by the Bankruptcy Court, all Proofs of
Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, if any, must be filed with the Claims Agent and served on the Creditors’ Trust (and
counsel, if known) within thirty (30) days after service of notice of entry of the Confirmation
Order; provided, that any such Claims arising from the rejection of an Unexpired Lease will be
subject to the cap on rejection damages imposed by section 502(b)(6) of the Bankruptcy Code.
Any Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed
within such time will be automatically disallowed, forever barred from assertion and will not be
enforceable against the Debtors, the Reorganized Debtors, the Debtors’ Estates or their property
without the need for any objection by the Debtors, the Reorganized Debtors or the Creditors’
Trust or further notice to, or action, order or approval of the Bankruptcy Court. All Allowed
Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases will
be classified as General Unsecured Claims against the Debtors and will be treated in accordance
with the Plan.

         4.       Cure of Defaults

        Any defaults under the Materials Contracts will be satisfied, pursuant to and to the extent
required by section 365(b)(1) of the Bankruptcy Code, by payment of the applicable default
amount in Cash on the Effective Date or on such other terms as the Bankruptcy Court may order
or the parties to such Materials Contracts may otherwise agree in writing (the “Cure Amount”).
The Debtors will file, as part of the Plan Supplement, a schedule of the Material Contracts and
associated Cure Amounts.

       Any objection by a counterparty to a Material Contract to a Cure Amount must be filed,
served and actually received by the Debtors on or prior to thirty (30) days after the Effective
Date. Any counterparty to a Material Contract that fails to object timely to the proposed Cure

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Amount will be deemed to have consented to such matters and will be deemed to have forever
released and waived any objection to such Cure Amount. The Confirmation Order will
constitute an order of the Bankruptcy Court approving the assumption of the Material Contracts
pursuant to sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

        In the event of a dispute regarding (a) the amount of any Cure Amount, (b) the ability of
any Debtor or assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under any Material Contract to be assumed, or
assumed and assigned or (c) any other matter pertaining to assumption, the applicable payment
of the Cure Amount required by section 365(b)(1) of the Bankruptcy Code will be made
following the entry of a Final Order resolving the dispute and approving such assumption. If
such objection is sustained by Final Order of the Bankruptcy Court, the Debtors or the
Reorganized Debtors may reject such Material Contract in lieu of assuming it. The Debtors or
the Reorganized Debtors, as applicable, will be authorized to effect such rejection by filing a
written notice of rejection with the Bankruptcy Court and serving such notice on the applicable
counterparty within thirty (30) days of the entry of such Final Order.

        Subject to the payment of any Cure Amount, assumption of any Material Contract
pursuant to the Plan will result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Material Contract at any time prior to the effective date of assumption, in each case as
provided in section 365 of the Bankruptcy Code. Any Proofs of Claim filed with respect to a
Material Contract that has been assumed by Final Order will be deemed disallowed and
expunged (subject to the payment of a Cure Amount), without further notice to or action, order,
or approval of the Bankruptcy Court.

         5.       Reservation of Rights

       Nothing contained in the Plan or the Plan Supplement will constitute an admission by the
Debtors or the Reorganized Debtors that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that the Debtors or the Reorganized Debtors have any liability
thereunder.

         6.       D&O Liability Insurance Policies

        To the extent that the D&O Liability Insurance Policies are considered to be Executory
Contracts, notwithstanding anything in the Plan to the contrary, effective as of the Effective
Date, the Debtors will be deemed to have assumed all unexpired D&O Liability Insurance
Policies with respect to the Debtors’ directors, managers, officers, and employees serving on or
after the Petition Date pursuant to section 365(a) of the Bankruptcy Code. Entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’ assumption
of each of the unexpired D&O Liability Insurance Policies. Notwithstanding anything to the
contrary contained in the Plan or Confirmation Order, confirmation of the Plan will not
discharge, impair, or otherwise modify any indemnity obligations of the insurers under the D&O
Liability Insurance Policies assumed by the foregoing assumption of the D&O Liability
Insurance Policies, any agreements, documents, and instruments related thereto, and each such


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indemnity obligation will be deemed and treated as an Executory Contract that has been assumed
by the Debtors under the Plan as to which no Proof of Claim need be filed.

H.       Conditions Precedent to Consummation of the Plan

         1.       Conditions Precedent to Confirmation

        Confirmation of the Plan will not occur, and the Confirmation Order will not be entered,
until each of the following conditions precedent have been satisfied or waived pursuant to the
provisions of the Plan:

         a)       The Bankruptcy Court will have entered an order, which will not be subject to any
                  stay or subject to an unresolved request for revocation under section 1144 of the
                  Bankruptcy Code, in form and substance acceptable to the Debtors and Bridging,
                  approving the Disclosure Statement with respect to the Plan and the solicitation of
                  votes thereon as being in compliance with section 1125 of the Bankruptcy Code
                  and applicable non-bankruptcy law;

         b)       The proposed Confirmation Order will be in form and substance satisfactory in all
                  respects to the Debtors, the Committee and Bridging;

         c)       Unless otherwise authorized by the Confirmation Order, the Bankruptcy Court
                  will have entered one or more orders, in form and substance acceptable to the
                  Debtors and Bridging, authorizing the assumption of the Material Contracts; and

         d)       The Plan and the Plan Supplement, including any schedules, documents,
                  supplements, and exhibits thereto will be, in form and substance, acceptable to the
                  Debtors, the Committee and Bridging.

         2.       Conditions Precedent to the Effective Date

       The Effective Date will not occur until each of the following conditions precedent have
been satisfied or waived pursuant to the provisions of the Plan:

     a) All documents and agreements necessary to implement the Plan, including without
        limitation, the Reorganized Debtor Equity and the New Organizational Documents and
        the New Secured Debt Documents, in each case in form and substance acceptable to the
        Debtors, Bridging, the Committee and Centurion, as applicable, will have (a) been
        tendered for delivery and (b) been effected by, executed by, or otherwise deemed binding
        upon, all Entities party thereto. All conditions precedent to such documents and
        agreements will have been satisfied or waived pursuant to the terms of such documents or
        agreements

     b) All consents, actions, documents, certificates and agreements necessary to implement the
        Plan, including, without limitation, the New Organizational Documents, will have been
        effected or executed and delivered to the required parties and, to the extent required, filed
        with the applicable governmental units in accordance with applicable laws;

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     c) All Material Contracts will have been assumed by the Reorganized Debtors;

     d) The Debtors will have implemented the Restructuring Transactions in a manner
        consistent with the Plan pursuant to the documentation acceptable to the Debtors,
        Bridging, the Committee and Centurion, as applicable; and

     e) All actions, documents, certificates, and agreements necessary to implement the Plan,
        including, without limitation, the Creditors’ Trust Agreement, will have been effected or
        executed and delivered to the required parties and, to the extent required, filed with the
        applicable governmental units in accordance with applicable laws.

         3.       Waiver of Conditions

        The conditions to consummation of the Plan set forth in Section 11 of the Plan may be
waived by the Debtors with the consent of Bridging and the Committee without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceeding to confirm or
consummate the Plan. To the extent that a condition to consummation of the Plan requires the
consent of Bridging and/or the Committee, such conditions may only be waived by the Debtors
with the consent of Bridging or the Committee, as applicable. The failure to satisfy or waive a
condition to confirmation or the Effective Date may be asserted by the Debtors or the
Reorganized Debtors, or Bridging regardless of the circumstances giving rise to the failure of
such condition to be satisfied. The failure of the Debtors, the Reorganized Debtors or Bridging
to exercise any of the foregoing rights will not be deemed a waiver of any other rights, and each
right will be deemed an ongoing right that may be asserted at any time.

         4.       Effect of Failure of Conditions

        If the consummation of the Plan does not occur, the Plan will be null and void in all
respects and nothing contained in the Plan or the Disclosure Statement will: (a) constitute a
waiver or release of any claims by or Claims against or Equity Interests in the Debtors; (b)
prejudice in any manner the rights of the Debtors, any Holders or any other Entity; (c) constitute
an Allowance of any Claim or Equity Interest; or (d) constitute an admission, acknowledgment,
offer or undertaking by the Debtors, any Holders or any other Entity in any respect.

I.       Effect of Confirmation

         1.       Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or any other Bankruptcy
Rule, upon the occurrence of the Effective Date, the terms of the Plan and the Creditors’ Trust
Agreement will be immediately effective and enforceable and deemed binding upon the Debtors,
Reorganized Debtors, the Trustee, the Creditors’ Trust and any and all Holders of Claims or
Equity Interests (irrespective of whether such Claims or Equity Interests are deemed to have
accepted the Plan), all Persons that are parties to or are subject to the settlements, compromises,
releases, discharges and injunctions described in the Plan, each Person acquiring property under



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the Plan, and any and all non-Debtors parties to Executory Contracts and Unexpired Leases with
the Debtors.

         2.       Compromise and Settlement of Claims, Interests and Controversies

        To the extent provided for by the Bankruptcy Code and in consideration for the
Distributions and other benefits provided pursuant to the Plan, on the Effective Date, the
provisions of the Plan will constitute a good faith compromise of all Claims, Equity Interests and
controversies relating to the contractual, legal and subordination rights that a Holder of a Claim
or Equity Interest may have with respect to any Allowed Claim or Equity Interest, or any
Distribution to be made on account of such Allowed Claim or Equity Interest. The entry of the
Confirmation Order will constitute the Bankruptcy Court’s approval of the compromise or
settlement of all such Claims, Equity Interests and controversies, as well as a finding by the
Bankruptcy Court that such compromise or settlement is in the best interests of the Debtors, their
Estates, and Holders of Claims and Equity Interests and is fair, equitable, and reasonable.

         3.       Releases by the Debtors

         Pursuant to section 1123(b) of the Bankruptcy Code and except as otherwise specifically
provided in the Plan or the Plan Supplement, for good and valuable consideration, including the
service of the Released Parties to facilitate the expeditious reorganization of the Debtors and the
consummation of the transactions contemplated by the Plan, on and after the Effective Date, the
Released Parties are deemed released and discharged by the Debtors and their Estates from any
and all claims, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative claims asserted or assertable on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity or otherwise, that the Debtors or their Estates would have been legally entitled to assert in
its own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Equity Interest or other Person, based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Chapter 11 Cases, or the transactions or events giving rise to any
Claim or Equity Interest that is treated in the Plan, the business or contractual arrangements
between the Debtors and any Released Party, the restructuring of Claims and Equity Interests
before or during the Chapter 11 Cases, the negotiation, formulation, or preparation of the Plan,
the Disclosure Statement, any Plan Supplement or related agreements, instruments or other
documents, other than Debtor Released Claims against a Released Party arising out of the gross
negligence, willful misconduct, intentional fraud, or criminal liability of any such person or
entity (the “Debtor Released Claims”).

         4.       Releases by Holders of Claims

     ON THE EFFECTIVE DATE, EXCEPT AS OTHERWISE PROVIDED IN THE
PLAN AND EXCEPT FOR THE RIGHT TO ENFORCE THE PLAN, ALL PERSONS
WHO (I) ARE DEEMED TO HAVE VOTED TO ACCEPT THE PLAN UNDER
SECTION 1126(F) OF THE BANKRUPTCY CODE; OR (II) ARE ENTITLED TO VOTE
TO ACCEPT OR REJECT THE PLAN AND MARK THEIR BALLOTS AS OPTING-IN
TO THE RELEASES GRANTED UNDER SECTION 12.4 OF THE PLAN, WILL, TO
THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, BE DEEMED TO


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FOREVER RELEASE, WAIVE AND DISCHARGE THE RELEASED PARTIES OF
AND FROM ALL LIENS, CLAIMS, CAUSES OF ACTION, LIABILITIES,
ENCUMBRANCES, SECURITY INTERESTS, INTERESTS OR CHARGES OF ANY
NATURE OR DESCRIPTION WHATSOEVER RELATING TO THE DEBTORS, THE
CHAPTER 11 CASES OR AFFECTING PROPERTY OF THE ESTATES, WHETHER
KNOWN OR UNKNOWN, SUSPECTED OR UNSUSPECTED, SCHEDULED OR
UNSCHEDULED, CONTINGENT OR NOT CONTINGENT, UNLIQUIDATED OR
FIXED, ADMITTED OR DISPUTED, MATURED OR UNMATURED, SENIOR OR
SUBORDINATED, WHETHER ASSERTABLE DIRECTLY OR DERIVATIVELY BY,
THROUGH, OR RELATED TO ANY OF THE RELEASED PARTIES AND THEIR
SUCCESSORS AND ASSIGNS WHETHER AT LAW, IN EQUITY OR OTHERWISE,
BASED UPON ANY CONDITION, EVENT, ACT, OMISSION OCCURRENCE,
TRANSACTION OR OTHER ACTIVITY, INACTIVITY, INSTRUMENT OR OTHER
AGREEMENT OF ANY KIND OR NATURE OCCURRING, ARISING OR EXISTING
PRIOR TO THE EFFECTIVE DATE IN ANY WAY RELATING TO OR ARISING OUT
OF, IN WHOLE OR IN PART, THE DEBTORS, THE CHAPTER 11 CASES, THE
PURSUIT OF CONFIRMATION OF THE PLAN, THE CONSUMMATION OF THE
PLAN OR THE ADMINISTRATION OF THE PLAN, INCLUDING WITHOUT
LIMITATION, THE NEGOTIATION AND SOLICITATION OF THE PLAN, ALL
REGARDLESS OF WHETHER (A) A PROOF OF CLAIM OR EQUITY INTEREST
HAS BEEN FILED OR IS DEEMED TO HAVE BEEN FILED, (B) SUCH CLAIM OR
EQUITY INTEREST IS ALLOWED OR (C) THE HOLDER OF SUCH CLAIM OR
EQUITY INTEREST HAS VOTED TO ACCEPT OR REJECT THE PLAN, EXCEPT
FOR WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. FOR THE AVOIDANCE
OF DOUBT, NOTHING CONTAINED IN THE PLAN WILL IMPACT THE RIGHT OF
ANY HOLDER OF AN ALLOWED CLAIM TO RECEIVE A DISTRIBUTION ON
ACCOUNT OF ITS ALLOWED CLAIM IN ACCORDANCE WITH SECTION 4 OF
THE PLAN.

         5.       Exculpation

        None of the Exculpated Parties will have or incur any liability to any Holder of a Claim
or Equity Interest, or other party in interest, or any of their respective members, officers,
directors, employees, advisors, professionals, attorneys or agents, or any of their successors and
assigns, with respect to any Exculpated Claim, including, without limitation, any act or omission
in connection with, related to, or arising out of, in whole or in part, the Chapter 11 Cases, except
for their willful misconduct or gross negligence as determined by a Final Order of a court of
competent jurisdiction.

         6.       Injunction

     FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS WHO HAVE
HELD, HOLD OR MAY HOLD CLAIMS AGAINST OR EQUITY INTEREST IN THE
DEBTORS ARE PERMANENTLY ENJOINED FROM COMMENCING OR
CONTINUING IN ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE
RELEASED PURSUANT TO THE PLAN OR THE CONFIRMATION ORDER.


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     FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
RELEASES AND EXCULPATION GRANTED IN THE PLAN, THE RELEASING
PARTIES WILL BE PERMANENTLY ENJOINED FROM COMMENCING OR
CONTINUING IN ANY MANNER AGAINST THE RELEASED PARTIES AND THE
EXCULPATED PARTIES AND THEIR ASSETS AND PROPERTIES, AS THE CASE
MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING, ON ACCOUNT OF OR
RESPECTING ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT,
CAUSE OF ACTION, INTEREST, OR REMEDY RELEASED OR TO BE RELEASED
PURSUANT TO THE PLAN.

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE
PLAN SUPPLEMENT OR RELATED DOCUMENTS, OR FOR OBLIGATIONS
PURSUANT TO THE PLAN, ALL PERSONS WHO HAVE HELD, HOLD OR MAY
HOLD CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED,
DISCHARGED, OR ARE SUBJECT TO EXCULPATION, ARE PERMANENTLY
ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF
THE FOLLOWING ACTIONS: (A) COMMENCING OR CONTINUING IN ANY
MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT
OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
EQUITY INTERESTS; (B) ENFORCING, ATTACHING, COLLECTING OR
RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD,
DECREE, OR ORDER AGAINST SUCH PERSONS ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR EQUITY
INTERESTS; (C) CREATING, PERFECTING OR ENFORCING ANY
ENCUMBRANCE OF ANY KIND AGAINST SUCH PERSONS OR THE PROPERTY
OR ESTATES OF SUCH PERSONS ON ACCOUNT OF OR IN CONNECTION WITH
OR WITH RESPECT TO ANY SUCH CLAIMS OR EQUITY INTERESTS; AND (D)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR EQUITY INTERESTS RELEASED,
SETTLED OR DISCHARGED PURSUANT TO THE PLAN.

     THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL
CLAIMS AND EQUITY INTERESTS THEREUNDER WILL BE IN EXCHANGE FOR
AND IN COMPLETE SATISFACTION OF ALL CLAIMS AND EQUITY INTERESTS
OF ANY NATURE WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON
CLAIMS FROM AND AFTER THE PETITION DATE, AGAINST THE DEBTORS OR
ANY OF THEIR ASSETS, PROPERTY OR ESTATES. ON THE EFFECTIVE DATE,
ALL SUCH CLAIMS AGAINST THE DEBTORS WILL BE FULLY RELEASED, AND
THE INTERESTS WILL BE CANCELLED (EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN).

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THE PLAN OR IN
OBLIGATIONS PURSUANT THERETO FROM AND AFTER THE EFFECTIVE DATE,
ALL CLAIMS AGAINST THE DEBTORS WILL BE FULLY RELEASED, AND ALL
INTERESTS WILL BE CANCELLED, AND THE DEBTORS’ LIABILITY WITH
RESPECT THERETO WILL BE EXTINGUISHED COMPLETELY, INCLUDING ANY

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LIABILITY OF THE KIND SPECIFIED UNDER SECTION 502(G) OF THE
BANKRUPTCY CODE.

     ALL PERSONS WILL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTORS, THE DEBTORS’ ESTATES, THEIR RESPECTIVE SUCCESSORS AND
ASSIGNS, AND THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR
EQUITY INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY
ACT OR OMISSION, TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR
NATURE THAT OCCURRED BEFORE THE EFFECTIVE DATE.

         7.       Term of Injunctions or Stays

        Unless otherwise provided in the Plan or Confirmation Order, all injunctions or stays
provided for under the Plan and ordered in the Confirmation Order or pursuant to sections 105 or
362 of the Bankruptcy Code arising under or entered during the Chapter 11 Cases, or otherwise,
and in existence on the Confirmation Date, will remain in full force and effect until the later of
the Effective Date and the date indicated in the order providing for such injunction or stay and to
the extent consistent with the terms and provisions of the Plan or the Confirmation Order, as
applicable.

         8.       Injunction Against Interference with Plan

        Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
Equity Interests, the Debtors, and other parties in interest, along with their respective present or
former employees, agents, officers, directors, or principals, will be enjoined from taking any
actions to interfere with the Debtors’, Reorganized Debtors’, the Creditors’ Trust’s, the
Trustee’s, and their respective affiliates’, employees’, advisors’, officers’ and directors’, and
agents’ implementation or consummation of the Plan.

         9.       Effectuating Documents and Further Transactions

        The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims or Equity
Interests receiving distributions hereunder and all other Entities will, from time to time, prepare,
execute and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of the Plan or the Confirmation
Order. On or before the Effective Date, the Debtors will file with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

         10.      Preservation of Causes of Action of the Debtors

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such
Causes of Action have been expressly released (including, for the avoidance of doubt, pursuant
to the releases by the Debtors and exculpation provisions provided in the Plan), the Debtors and
Trustee will retain and may enforce all rights to commence and pursue, as appropriate, any and
all Causes of Action.



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J.       Modification, Revocation or Withdrawal of the Plan

         1.       Modification and Amendments

        The Plan or any exhibits thereto may be amended, modified, or supplemented by the
Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
permitted by law without additional disclosure pursuant to section 1125 of the Bankruptcy Code.
In addition, after the Confirmation Date, the Debtors, Reorganized Debtors, or Trustee may
institute proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
inconsistencies in the Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes and effects of the Plan.

         2.       Effect of Confirmation on Modifications

       Entry of a Confirmation Order will mean that all modifications or amendments to the
Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code and do not require additional disclosure or re-solicitation under Bankruptcy
Rule 3019.

         3.       Revocation or Withdrawal of the Plan

         The Debtors reserve the right to, consistent with their fiduciary duties, revoke or
withdraw the Plan before the Effective Date. If the Debtors revoke or withdraw the Plan, or if
the Confirmation Date does not occur, then: (a) the Plan will be null and void in all respects;
(b) any settlement or compromise embodied in the Plan (including the fixing or limiting to an
amount certain of any Claim or Equity Interest or Class of Claims or Equity Interests),
assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan, and
any document or agreement executed pursuant to the Plan, will be deemed null and void; and
(c) nothing contained in the Plan will: (i) constitute a waiver or release of any Claims or Equity
Interests; (ii) prejudice in any manner the rights of the Debtors or any other Person; or
(iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors
or any other Person.

K.       Retention of Jurisdiction

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court will retain jurisdiction over all
matters arising out of, or related to, the Chapter 11 Cases and the Plan, including, but not limited
to, jurisdiction to:

         a)       allow, disallow, determine, liquidate, classify, estimate or establish the priority,
                  secured or unsecured status or amount of any Claim or Equity Interest, including
                  the resolution of any request for payment of any Administrative Expense Claim
                  and the resolution of any and all objections to the secured or unsecured status,
                  priority, amount, or allowance of Claims;

         b)       decide and resolve all matters related to the granting and denying, in whole or in
                  part, of any applications for allowance of compensation or reimbursement of

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                  expenses to Professionals authorized pursuant to the Bankruptcy Code or the
                  Plan;

         c)       resolve any matters related to: (i) the assumption, assumption and assignment or
                  rejection of any Executory Contract or Unexpired Lease to which the Debtors are
                  a party or with respect to which the Debtors may be liable in any manner and to
                  hear, determine and, if necessary, liquidate, any Claims arising therefrom,
                  including rejection Claims and cure Claims, pursuant to section 365 of the
                  Bankruptcy Code or any other matter related to such Executory Contract or
                  Unexpired Lease; (ii) any potential contractual obligation under any Executory
                  Contract or Unexpired Lease that is assumed; and (iii) any dispute regarding
                  whether a contract or lease is or was executory or expired;

         d)       ensure that Distributions to Holders of Allowed Claims are accomplished
                  pursuant to the provisions of the Plan;

         e)       adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                  litigated matters and any other matters, and grant or deny any applications
                  involving the Debtors that may be pending on the Effective Date;

         f)       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or
                  litigated matters and any other matters, including, but not limited to, the Causes of
                  Action, involving the Trustee or the Creditors’ Trust;

         g)       adjudicate, decide, or resolve any and all matters related to any Cause of Action;

         h)       adjudicate, decide, or resolve any and all matters related to section 1141 of the
                  Bankruptcy Code;

         i)       enter and enforce any order for the sale of property pursuant to sections 363,
                  1123, or 1146(a) of the Bankruptcy Code;

         j)       issue injunctions, enter and implement other orders or take such other actions as
                  may be necessary or appropriate to restrain interference by any Person with
                  consummation or enforcement of the Plan;

         k)       resolve any cases, controversies, suits, disputes or Causes of Action with respect
                  to the discharge, releases, injunctions, exculpations, indemnifications, and other
                  provisions contained in the Plan and enter such orders as may be necessary or
                  appropriate to implement such releases, injunctions, and other provisions;

         l)       enter and implement such orders as are necessary or appropriate if the
                  Confirmation Order is for any reason modified, stayed, reversed, revoked, or
                  vacated;




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         m)       resolve any cases, controversies, suits, disputes, or Causes of Action that may
                  arise in connection with or relate to the Plan, the Disclosure Statement, the
                  Confirmation Order, the Creditors’ Trust, the Creditors’ Trust Agreement, any
                  transactions or payments contemplated thereby, or any contract, instrument,
                  release, indenture, or other agreement or document relating to any of the
                  foregoing;

         n)       adjudicate any and all disputes arising from or relating to Distributions under the
                  Plan;

         o)       consider any modifications of the Plan, cure any defect or omission or reconcile
                  any inconsistency in any Bankruptcy Court order, including the Confirmation
                  Order;

         p)       determine requests for the payment of Claims entitled to priority pursuant to
                  section 507 of the Bankruptcy Code;

         q)       hear and determine matters concerning state, local, and federal taxes in
                  accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including
                  any requests for expedited determinations under section 505(b) of the Bankruptcy
                  Code);

         r)       hear and determine all disputes involving the existence, nature or scope of the
                  Debtors’ discharge;

         s)       enforce all orders previously entered by the Bankruptcy Court;

         t)       hear any other matter not inconsistent with the Bankruptcy Code; and

         u)       enter a final decree closing the Chapter 11 Cases.

L.       Miscellaneous Provisions

         1.       Payment of Statutory Fees

        All fees payable pursuant to 28 U.S.C. § 1930 will be paid on the earlier of when due or
the Effective Date by the Debtors. After the Effective Date, the Trustee will be liable for
payment of any such fees until entry of a final decree closing the Chapter 11 Cases.

         2.       Dissolution of the Committee

        On the Effective Date, the Committee and any other statutory committee formed in
connection with the Chapter 11 Cases will dissolve automatically and all members thereof will
be released and discharged from all rights, duties, and responsibilities arising from, or related to,
the Chapter 11 Cases.




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         3.       Section 382 Limitation on Net Operating Losses and Built-In Losses

       With respect to the Debtors’ net operating losses, the Debtors and the Reorganized
Debtors reserve the right to seek the exception set forth in 26 U.S.C. § 382(l)(5).

         4.       Section 1125(e) Good Faith Compliance

        As of and subject to the occurrence of the Confirmation Date, the Debtors and their
Related Persons will be deemed to have solicited acceptances of the Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code and any applicable non-
bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection with such
solicitation.

         5.       Substantial Consummation

       On the Effective Date, the Plan will be deemed to be substantially consummated within
the meaning set forth in section 1101 and pursuant to section 1127(b) of the Bankruptcy Code.

         6.       Section 1146 Exemption

        To the fullest extent permitted under section 1146(a) of the Bankruptcy Code, the
issuance, transfer, or exchange of any security under or pursuant to the Plan, and the execution,
delivery, or recording of any instrument of transfer under or pursuant to the Plan, and the
revesting, transfer, or sale of any property of or to the Creditors’ Trust will not be taxed under
any state or local law imposing a stamp tax, transfer tax, or similar tax or fee. Consistent with
the foregoing, each recorder of deeds or similar official for any county, city or other
Governmental Unit in which any instrument hereunder is to be recorded in accordance with the
Plan will, pursuant to the Confirmation Order, be ordered and directed to accept such instrument,
without requiring the payment of any documentary stamp tax, deed stamps, stamp tax, transfer
tax, mortgage recording tax, intangible tax, or similar tax.

         7.       Closing of the Chapter 11 Cases

         Upon the earlier of (i) the date upon which all payments on account of Allowed
Administrative Expense Claims and Accrued Professional Compensation Claims have been paid
or (ii) sixty (60) days after the Effective Date, the Reorganized Debtors will seek authority from
the Bankruptcy Court to close the Chapter 11 Cases in accordance with the Bankruptcy Code and
Bankruptcy Rules.

         8.       Plan Supplement

        Any exhibits or schedules not filed with the Plan may be contained in the Plan
Supplement, if any, and the Debtors hereby reserve the right to file such exhibits or schedules as
a Plan Supplement.




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         9.       Further Assurances

        The Debtors, Reorganized Debtors, or the Trustee may file with the Bankruptcy Court
such agreements and other documents as may be necessary or appropriate to effectuate and
further evidence the terms and conditions of the Plan. The Debtors, Reorganized Debtors, the
Trustee, and all Holders of Claims receiving Distributions pursuant to the Plan and all other
parties in interest will, from time to time, prepare, execute, and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan.

         10.      Exhibits Incorporated

        All exhibits to the Plan, including the Plan Supplement, are incorporated into and are part
of the Plan as if fully set forth in the Plan.

         11.      Inconsistency

        In the event of any inconsistency among the Plan, the Disclosure Statement, and any
exhibit to the Disclosure Statement, the provisions of the Plan will govern.

         12.      No Admissions

        If the Effective Date does not occur, the Plan will be null and void in all respects, and
nothing contained in the Plan will (a) constitute a waiver or release of any Claims by or against,
or any Equity Interests in, the Debtors, (b) prejudice in any manner the rights of the Debtors or
any other party in interest, or (c) constitute an admission of any sort by the Debtors or other party
in interest.

         13.      Reservation of Rights

        Except as expressly set forth in the Plan, the Plan will have no force or effect unless the
Bankruptcy Court will enter the Confirmation Order and the Effective Date has occurred. None
of the Plan, any statement or provision contained in the Plan or any action taken or not taken by
the Debtors with respect to the Plan, the Disclosure Statement or the Plan Supplement will be or
will be deemed to be an admission or waiver of any rights of the Debtors with respect to the
Holders of Claims or Equity Interests before the Effective Date.

         14.      Successors and Assigns

        The rights, benefits, and obligations of any Person named or referred to in the Plan will
be binding on, and will inure to the benefit of, any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiaries or
guardian, if any, of each Person.




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         15.      Entire Agreement

       On the Effective Date, the Plan supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

         16.      Notices

        All notices, requests, and demands to or upon the Debtors in the Chapter 11 Cases will be
in writing and, unless otherwise provided in the Plan, will be deemed to have been duly given or
made when actually delivered or, if by facsimile transmission, when received and telephonically
confirmed to the recipients set forth in Section 15.16 of the Plan.

        All notices and requests to Persons holding any Claim or Equity Interest in any Class will
be sent to them at their last known address or to the last known address of their attorney of
record in the Chapter 11 Cases. Any such Holder of a Claim or Equity Interest may designate in
writing any other address for purposes of Section 15.16 of the Plan, which designation will be
effective upon receipt by the Debtors.

         17.      Severability

        If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court will have
the power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision, and
such term or provision will then be applicable as altered or interpreted. Notwithstanding any
such holding, alteration or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired or invalidated by
such holding, alteration or interpretation. The Confirmation Order will constitute a judicial
determination and will provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its
terms.

         18.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware, without giving effect to the principles of conflicts of laws, will govern the rights,
obligations, construction, and implementation of the Plan and the transactions consummated or
to be consummated in connection therewith.

         19.      Request for Confirmation

      The Debtors request entry of the Confirmation Order under section 1129(a) of the
Bankruptcy Code and, to the extent necessary, section 1129(b) of the Bankruptcy Code.




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                                           ARTICLE V

                                 VOTING REQUIREMENTS;
                        ACCEPTANCE AND CONFIRMATION OF THE PLAN

  A.       General

        The Bankruptcy Code requires that, in order to confirm the Plan, the Bankruptcy Court
must make a series of findings concerning the Plan and the Debtors, including that (i) the Plan
has classified Claims and Equity Interests in a permissible manner; (ii) the Plan complies with
applicable provisions of the Bankruptcy Code; (iii) the Plan has been proposed in good faith and
not by any means forbidden by law; (iv) the disclosure required by section 1125 of the
Bankruptcy Code has been made; (v) the Plan has been accepted by the requisite votes of
Holders of Claims (except to the extent that cramdown is available under section 1129(b) of the
Bankruptcy Code) and Interests; (vi) the Plan is feasible and Confirmation is not likely to be
followed by the liquidation or the need for further financial reorganization of the Debtors unless
such liquidation or reorganization is proposed in the Plan; (vii) the Plan is in the “best interests”
of all Holders of Claims in an Impaired Class by providing to such Holders on account of their
Claims property of a value, as of the Effective Date of the Plan, that is not less than the amount
that such Holders would receive or retain in a chapter 7 liquidation, unless each Holder of a
Claim in such Class has accepted the Plan; and (viii) all fees and expenses payable under 28
U.S.C. § 1930, as determined by the Bankruptcy Court at the Confirmation Hearing, have been
paid or the Plan provides for the payment of such fees on the Effective Date.

  B.       Parties in Interest Entitled to Vote

        Pursuant to the Bankruptcy Code, only Classes of Claims and Equity Interests that are
“impaired” (as defined in section 1124 of the Bankruptcy Code) under the Plan are entitled to
vote to accept or reject the Plan. A Class is Impaired if the legal, equitable or contractual rights
to which the Claims or Equity Interests of that Class entitle the Holders of such Claims or Equity
Interests are modified, other than by curing defaults and reinstating the Claims or Equity
Interests. Classes that are not Impaired are not entitled to vote on the Plan and are conclusively
presumed to have accepted the Plan. In addition, Classes that receive no Distributions under the
Plan are not entitled to vote on the Plan and are deemed to have rejected the Plan.

  C.       Classes Impaired and Entitled to Vote under the Plan

       Holders of Claims in Classes 3 and 4 are Impaired under the Plan and entitled to vote
thereon.

  D.       Voting Procedures and Requirements

         1.       Ballots

        The Solicitation Procedures Order sets May 6, 2020 as the record date for voting on the
Plan (the “Record Date”). Accordingly, only Holders of record as of the Record Date that are
otherwise entitled to vote under the Plan will receive a Ballot and may vote on the Plan.


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        In voting for or against the Plan, please use only the Ballot sent to you with this
Disclosure Statement. If you are a Holder of a Claim in Class 3 or 4 and did not receive a Ballot,
your Ballot is damaged or lost or you have any questions concerning voting procedures, please
contact the Voting Agent at (866) 897-6433 (U.S., and Canada, toll free), (646) 282-2500
(International) or at hygeatabulation@epiqglobal.com.

         2.       Returning Ballots

      If you are entitled to vote to accept or reject the Plan, you should read carefully,
complete, sign and return your Ballot, with original signature, in the enclosed envelope.

       To be counted, your Ballot with your original signature indicating your acceptance
or rejection of the Plan must be received no later than the Voting Deadline.

         3.       Voting

        Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rules 2002(a)(7) and
3003(c)(2) and the Bar Date Order, any Creditors whose Claims (a) are Scheduled in the
Debtors’ Schedules as Disputed, Contingent or unliquidated and which are not the subject of a
timely-Filed Proof of Claim, or a Proof of Claim deemed timely Filed with the Bankruptcy Court
pursuant to either the Bankruptcy Code or any order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law; or (b) are not Scheduled and are not the subject of a
timely-Filed Proof of Claim, or a Proof of Claim deemed timely Filed with the Bankruptcy Court
pursuant to either the Bankruptcy Code or any order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law, will be denied treatment as Creditors with respect to
such Claims for purposes of (a) voting on the Plan, (b) receiving Distributions under the Plan and
(c) receiving notices, other than by publication, regarding the Plan.

        For purposes of voting, the amount of a Claim used to calculate acceptance or rejection of
the Plan under section 1126 of the Bankruptcy Code will be determined in accordance with the
following hierarchy:

                  a.       if an order has been entered by the Bankruptcy Court determining the
                           amount of such Claim, whether pursuant to Bankruptcy Rule 3018 or
                           otherwise, then in the amount prescribed by the order;

                  b.       if no such order has been entered, then in the liquidated amount contained
                           in a timely-Filed Proof of Claim that is not the subject of an objection as
                           of the Claims Objection Deadline (as defined in the Solicitation
                           Procedures Order); and

                  c.       if no such Proof of Claim has been timely Filed, then in the liquidated,
                           noncontingent and undisputed amount contained in the Debtors’
                           Schedules.

       For purposes of voting, the following conditions will apply to determine the amount
and/or classification of a Claim:


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                  a.    if a Claim is partially liquidated and partially unliquidated, such Claim
                        will be allowed for voting purposes only in the liquidated amount;

                  b.    if a Scheduled or Filed Claim has been paid, such Claim will be
                        disallowed for voting purposes; and

                  c.    the Holder of a timely-Filed Proof of Claim that is filed in a wholly
                        unliquidated, Contingent, Disputed and/or unknown amount, and is not the
                        subject of an objection as of the Claims Objection Deadline (as defined in
                        the Solicitation Procedures Order), is entitled to vote in the amount of
                        $1.00.

       Pursuant to the Solicitation Procedures Order, the deadline for filing and serving motions
pursuant to Bankruptcy Rule 3018(a) seeking temporary allowance of claims for the purpose of
accepting or rejecting the Plan will be May 27, 2020 at 4:00 a.m. (Eastern Time) (the “Rule
3018(a) Motion Deadline”).

  E.       Acceptance of Plan

        As a condition to confirmation of a plan, the Bankruptcy Code requires that each class of
impaired claims vote to accept the plan, except under certain circumstances. See “Confirmation
Without Necessary Acceptances; Cramdown” below. A plan is accepted by an impaired class of
claims if holders of at least two-thirds in dollar amount and more than one-half in number of
claims of those that vote in such class vote to accept the plan. A plan is accepted by an impaired
class of interests if holders of at least two-thirds in amount of interests of those that vote in such
class vote to accept the plan. Only those holders of claims and equity interests who actually vote
count in these tabulations. Holders of claims and equity interests who fail to vote are not
counted as either accepting or rejecting a plan.

        In addition to this voting requirement, section 1129 of the Bankruptcy Code requires that
a plan be accepted by each holder of a claim or equity interest in an impaired class or that the
plan otherwise be found by a court to be in the best interests of each holder of a claim or equity
interest in such class. See “Best Interests Test” below. Moreover, each impaired class must
accept the plan for the plan to be confirmed without application of the “fair and equitable” and
“unfair discrimination” tests set forth in section 1129(b) of the Bankruptcy Code discussed
below. See “Confirmation Without Necessary Acceptances; Cramdown” below.

  F.       Confirmation Without Necessary Acceptances; Cramdown

        In the event that any impaired class of claims or equity interests does not accept a plan, a
debtor nevertheless may move for confirmation of the plan. A plan may be confirmed, even if it
is not accepted by all impaired classes, if the plan has been accepted by at least one impaired
class of claims, and the plan meets the “cramdown” requirements set forth in section 1129(b) of
the Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that a court find that a
plan (i) “does not discriminate unfairly” and (ii) is “fair and equitable,” with respect to each non-
accepting impaired class of claims or equity interests.



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        Here, because Classes 5 and 6 are deemed to reject the Plan, the Debtors will seek
Confirmation of the Plan from the Bankruptcy Court by satisfying the “cramdown” requirements
set forth in section 1129(b) of the Bankruptcy Code. The Debtors believe that such requirements
are satisfied as no Claim or Equity Interest Holder junior to those in Classes 5 or 6 will receive
any property under the Plan.

         1.       No Unfair Discrimination

        A plan “does not discriminate unfairly” if (a) the legal rights of a nonaccepting class are
treated in a manner that is consistent with the treatment of other classes whose legal rights are
similar to those of the nonaccepting class, and (b) no class receives payments in excess of that
which it is legally entitled to receive for its claims or equity interests. The Debtors believe that
under the Plan all Impaired Classes of Claims and Equity Interests are treated in a manner that is
consistent with the treatment of other Classes of Claims and Equity Interests that are similarly
situated, if any, and no Class of Claims or Equity Interests will receive payments or property
with an aggregate value greater than the aggregate value of the Allowed Claims or Allowed
Interests in such Class. Accordingly, the Debtors believe the Plan does not discriminate unfairly
as to any Impaired Class of Claims or Equity Interests.

         2.       Fair and Equitable Test

       With respect to a dissenting class of claims or equity interests, the “fair and equitable”
standard requires that a plan provide that either the claims or equity interests in each class
received everything to which they are legally entitled or that classes junior in priority to the class
receive nothing. The strict requirement of the allocation of full value to dissenting classes before
any junior class can receive distribution is known as the “absolute priority rule.”

       The Bankruptcy Code establishes different “fair and equitable” tests for holders of
secured claims, unsecured claims and equity interests, which may be summarized as follows:

                a.      Secured Claims. Either (i) each holder of a claim in an impaired class of
secured claims retains its liens securing its secured claim and it receives on account of its secured
claim deferred cash payments having a present value equal to the amount of its allowed secured
claim; (ii) each holder of a claim in an impaired class of secured claims realizes the indubitable
equivalent of its allowed secured claim; or (iii) the property securing the claim is sold free and
clear of liens, with such liens to attach to the proceeds and the treatment of such liens on
proceeds as provided in clause (i) or (ii) of this subparagraph.

                b.      Unsecured Claims. Either (i) each holder of a claim in an impaired class
of unsecured claims receives or retains under the plan property of a value equal to the amount of
its allowed claim; or (ii) the holders of claims and equity interests that are junior to the claims of
the dissenting class will not receive any property under the chapter 11 plan, subject to the
applicability of the judicial doctrine of contributing new value.

                 c.      Equity Interests. Either (i) each holder of an equity interest in an impaired
class of interests will receive or retain under the chapter 11 plan property of a value equal to the
greater of (a) the fixed liquidation preference or redemption price, if any, of such stock or (b) the
value of the stock; or (ii) the holders of interests that are junior to the stock will not receive any

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property under the chapter 11 plan, subject to the applicability of the judicial doctrine of
contributing new value.

         As discussed above, the Debtors believe that the Distributions provided under the Plan
satisfy the absolute priority rule.

                                           ARTICLE VI

                        FEASIBILITY AND BEST INTERESTS OF CREDITORS

  A.       Best Interests Test

        Before the Plan may be confirmed, the Bankruptcy Court must find the Plan provides,
with respect to each Impaired Class, that each Holder of a Claim in such Class either (i) has
accepted the Plan or (ii) will receive or retain under the Plan property of a value, as of the
Effective Date, that is not less than the amount such Holder would receive or retain if the
Debtors liquidated under chapter 7 of the Bankruptcy Code.

        Under the Plan, Classes 3, 4, 5 and 6 are Impaired. Classes 5 and 6 will not receive or
retain any property under either the Plan or in a chapter 7 liquidation. Classes 3 and 4 are
Impaired, but are projected to receive a Distribution under the Plan. To the extent that Class 3 or
4 does not vote in favor of the Plan, the Holders in such Classes must receive at least as much
value under the Plan as they would in a chapter 7 liquidation in order for the Plan to be
confirmable by the Bankruptcy Court. As a result of the Global Settlement Term Sheet, the
Debtors anticipate that Class 3 will vote in favor of the Plan. Although the Debtors anticipate
that most Holders of Class 4 Claims also will vote in favor of the Plan, it is doubtful that every
such Holder will do so. As such, in order to confirm the Plan, the Debtors must establish that the
Claim Holders in Class 4 will receive at least as much value under the Plan as they would in a
chapter 7 liquidation.

        A comparison of the relative recoveries to Holders of General Unsecured Claims under
the Plan and in a chapter 7 liquidation is attached hereto as Exhibit B. For the reasons set forth
on Exhibit B hereto, the Debtors believe that Holders of Claims in Class 4 will receive or retain
under the Plan property of a value, as of the Effective Date, that is greater than the amount that
such Holders would receive or retain if the Debtors were liquidated under chapter 7 of the
Bankruptcy Code. Moreover, the failure to confirm the Plan likely would lead to material delays
in Distributions to Classes 3 and 4, further reducing the effective recoveries to Holders in such
Classes.

  B.       Feasibility

       In connection with confirmation of the Plan, the Bankruptcy Court will be required to
determine that the Plan is feasible pursuant to section 1129(a)(11) of the Bankruptcy Code,
which means that the confirmation of the Plan is not likely to be followed by the liquidation or
the need for further financial reorganization of the Debtors.




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        To support their belief in the feasibility of the Plan, the Debtors have relied upon the
financial projections that are annexed to this Disclosure Statement as Exhibit C (the “Financial
Projections”).

        The Financial Projections indicate that the Reorganized Debtors should have sufficient
cash flow to pay and service their debt obligations and to fund their operations after the Effective
Date. Accordingly, the Debtors believe that the Plan complies with the financial feasibility
standard of section 1129(a)(11) of the Bankruptcy Code.

        The Financial Projections are based on numerous assumptions, including Confirmation of
the Plan in accordance with its terms, the occurrence of the Effective Date such that the Plan will
have become fully consummated (“Consummation”), realization of the operating strategy of
Reorganized Debtors, no material adverse changes in applicable legislation or regulations, or the
administration thereof, or generally accepted accounting principles, no material adverse changes
in general business and economic conditions, no material adverse changes in competition, the
Reorganized Debtors’ retention of certain key physicians, the absence of material contingent or
unliquidated litigation, indemnity or other claims, and other matters, many of which will be
beyond the control of the Reorganized Debtors and some or all of which may not materialize.

        To the extent that the assumptions inherent in the Financial Projections are based upon
future business decisions and objectives, they are subject to change. In addition, although they
are presented with numerical specificity and are based on assumptions considered reasonable by
the Debtors, the assumptions and estimates underlying the Financial Projections are subject to
significant business and economic uncertainties and contingencies, many of which will be
beyond the control of the Reorganized Debtors. Accordingly, the Financial Projections are only
estimates and are necessarily speculative in nature. It can be expected that some or all of the
assumptions in the Financial Projections will not be realized and that actual results will vary
from the Financial Projections, which variations may be material and are likely to increase over
time. In light of the foregoing, readers are cautioned not to place undue reliance on the Financial
Projections. The Financial Projections were not prepared in accordance with standards for
projections promulgated by the American Institute of Certified Public Accountants or with a
view to compliance with published guidelines of the SEC regarding projections or forecasts. The
Financial Projections have not been audited, reviewed or compiled by the Debtors’ independent
public accountants. The projected financial information contained in this Disclosure Statement
should not be regarded as a representation or warranty by the Debtors, the Debtors’ advisors or
any other Person that the Financial Projections can or will be achieved.

        The Financial Projections should be read together with the information in Article VIII of
this Disclosure Statement entitled “Certain Risk Factors to be Considered,” which sets forth
important factors that could cause actual results to differ from those in the Financial Projections.

        The Debtors do not intend to update or otherwise revise the Financial Projections,
including any revisions to reflect events or circumstances existing or arising after the date of this
Disclosure Statement or to reflect the occurrence of unanticipated events, even if any or all of the
underlying assumptions do not come to fruition. Further, the Debtors do not intend to update or
revise the Financial Projections to reflect changes in general economic or industry conditions.



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                                          ARTICLE VII

                                EFFECT OF CONFIRMATION

  A.       Binding Effect of Confirmation

       Confirmation will bind the Debtors and all Holders of Claims and Equity Interests to the
provisions of the Plan, whether or not the Claim or Equity Interest of any such Holder is
Impaired under the Plan and whether or not any such Holder of a Claim or Equity Interest has
accepted the Plan.

  B.       Good Faith

        Confirmation of the Plan will constitute a finding that: (i) the Plan has been proposed in
good faith and in compliance with applicable provisions of the Bankruptcy Code; and (ii) all
solicitations of acceptances or rejections of the Plan have been in good faith and in compliance
with applicable provisions of the Bankruptcy Code.

                                         ARTICLE VIII

                        CERTAIN RISK FACTORS TO BE CONSIDERED

        The Plan and its implementation are subject to certain risks, including, but not
limited to, the risk factors set forth below. Holders of Claims who are entitled to vote on
the Plan should read and carefully consider the risk factors, as well as the other
information set forth in this Disclosure Statement and the Plan, before deciding whether to
vote to accept or reject the Plan.

  A.       Plan May Not Be Accepted

        There can be no assurance that the requisite acceptances to confirm the Plan will be
obtained. Thus, while the Debtors believe the Plan is confirmable under the standards set forth
in section 1129 of the Bankruptcy Code, there is no guarantee that the Plan will be accepted by
the requisite Classes entitled to vote on the Plan.

  B.       Certain Bankruptcy Law Considerations

        Even if the Holders of Claims who are entitled to vote accept the Plan, the Bankruptcy
Court, which may exercise substantial discretion as a court of equity, may choose not to confirm
the Plan. Section 1129 of the Bankruptcy Code requires, among other things, a showing that
confirmation of the Plan will not be followed by the liquidation or the need for further financial
reorganization of the Debtors, and that the value of Distributions to dissenting Holders of Claims
or Equity Interests may not be less than the value such Holders would receive if the Debtors
were liquidated under chapter 7 of the Bankruptcy Code. Although the Debtors believe the Plan
meets such requirements, there can be no assurance the Bankruptcy Court will reach the same
conclusion.



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    C.     Distributions to Holders of Allowed Claims Under the Plan

         On the Effective Date, each Holder of an Allowed General Unsecured Claim will, by
operation of the Plan, receive its Pro Rata share of the Creditors’ Trust Distributable Assets. A
substantial amount of time may elapse between the Effective Date and the receipt of
Distributions because of the time required to achieve final resolution of Disputed Claims.
Moreover, although the Debtors have made a good faith estimate of projected recoveries to
holders of Allowed General Unsecured Claims under the Plan, such recoveries will be less than
projected if, among other things, (i) the aggregate amount of General Unsecured Claims asserted
against the Debtors which ultimately are Allowed exceeds the estimated amount of such Claims
or (ii) the recoveries from the litigation of Causes of Action are less than estimated by the
Debtors and the Committee.

    D.     Conditions Precedent to Consummation of the Plan

       The Plan provides for certain conditions that must be satisfied (or waived) prior to
Consummation of the Plan. As of the date of this Disclosure Statement, there can be no
assurance that any or all of the conditions to Consummation of the Plan will be satisfied (or
waived). Accordingly, there can be no assurance that the Plan, even if confirmed by the
Bankruptcy Court, will be consummated.

    E.     Certain Tax Considerations

        There are a number of material income tax considerations, risks and uncertainties
associated with Consummation of the Plan. Holders of Claims voting on the Plan should read
carefully the discussion of certain federal income tax consequences of the Plan set forth below.

                                                 ARTICLE IX

          CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain United States federal income tax
consequences of the Plan to the Holders of General Unsecured Claims.5 This discussion is based
on the Internal Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations
promulgated and proposed thereunder, judicial decisions and published administrative rules and
pronouncements of the Internal Revenue Service (“IRS”), all as in effect on the date hereof.

       Due to the complexity of certain aspects of the Plan, the lack of applicable legal
precedent, the possibility of changes in the law, the differences in the nature of the Claims, each
Holder’s status and method of accounting and the potential for disputes as to legal and factual
matters with the IRS, the tax consequences described herein are uncertain. No legal opinions
have been requested from counsel with respect to any of the tax aspects of the Plan and no

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  Because certain of the Debtors are “pass through” entities for taxation purposes, the Plan does not have tax
consequences for those Debtors themselves. Moreover, while the Plan will have tax consequences for the Holders
of Class 3 Claims, the Holders of such Claims are sophisticated commercial entities that were able to evaluate such
tax consequences prior to entering into the RSA.


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rulings have been or will be requested from the IRS with respect to the any of the issues
discussed below. Further, legislative, judicial or administrative changes may occur, perhaps with
retroactive effect, which could affect the accuracy of the statements and conclusions set forth
below as well as the tax consequences to the Debtors and the Holders of General Unsecured
Claims.

        This discussion does not purport to address all aspects of United States federal income
taxation that may be relevant to the Debtors or the Holders of General Unsecured Claims in light
of their personal circumstances, nor does the discussion deal with tax issues with respect to
taxpayers subject to special treatment under the United States federal income tax laws (including,
for example, insurance companies, financial institutions, real estate investment trusts, tax-exempt
organizations, small business investment companies, regulated investment companies, a holder
of a Claim that is not a “United States person,” as such term is defined in the Tax Code, persons
whose functional currency is not the United States dollar, persons subject to the alternative
minimum tax, persons holding Claims or Equity Interests as part of a “straddle,” “hedge,”
“constructive sale” or “conversion transaction” with other investments), and entities treated as
partnerships for United States federal income tax purposes or beneficial owners of such entities.
This discussion does not address the tax consequences to Holders of General Unsecured Claims
who did not acquire such Claims at the issue price on original issue. No aspect of foreign, state,
local or estate and gift taxation is addressed.

         This discussion does not address the United States federal income tax consequences to
Holders of General Unsecured Claims who (a) are Unimpaired or otherwise entitled to payment
in full in Cash on the Effective Date under the Plan or (b) are otherwise not entitled to vote under
the Plan. Moreover, the discussion assumes that the various debt and other arrangements to
which the Debtors and Reorganized Debtors are or will be parties will be respected for United
States federal income tax purposes in accordance with their form.

       Each Holder of a General Unsecured Claim is urged to consult with such Holder’s tax
advisors concerning the United States federal, state and local, and non-United States and other
tax consequences of the Plan.

  A.       Tax Consequences to Creditors

         1.       Holders of Claims

        Generally, a Holder of a Claim should in most, but not all circumstances, recognize gain
or loss equal to the difference between the “amount realized” by such Holder in exchange for its
Claim and such Holder’s adjusted tax basis in the Claim. The “amount realized” is equal to the
sum of the cash and the fair market value of any other consideration received under a plan of
reorganization in respect of a Holder’s Claim. The tax basis of a Holder in a Claim will
generally be equal to the Holder’s cost. To the extent applicable, the character of any recognized
gain or loss (e.g., ordinary income, or short-term or long-term capital gain or loss) will depend
upon the status of the Holder, the nature of the Claim in the Holder’s hands, the purpose and
circumstances of its acquisition, the Holder’s holding period of the Claim, and the extent to
which the Holder previously claimed a deduction for the worthlessness of all or a portion of the
Claim. Generally, if the Claim is a capital asset in the Holder’s hands, any gain or loss realized


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generally will be characterized as capital gain or loss, and will constitute long-term capital gain
or loss if the Holder has held such Claim for more than one year.

        A Holder who received Cash (or other consideration) in satisfaction of its Claims may
recognize ordinary income or loss to the extent that any portion of such consideration is
characterized as accrued interest. A Holder who did not previously include in income accrued
but unpaid interest attributable to its Claim, and who receives a distribution on account of its
Claim pursuant to the Plan, will be treated as having received interest income to the extent that
any consideration received is characterized for United States federal income tax purposes as
interest, regardless of whether such Holder realizes an overall gain or loss as a result of
surrendering its Claim. A Holder who previously included in its income accrued but unpaid
interest attributable to its Claim should recognize an ordinary loss to the extent that such accrued
but unpaid interest is not satisfied, regardless of whether such Holder realizes an overall gain or
loss as a result of the distribution it may receive under the Plan on account of its Claim.

         2.       Non-United States Persons

        A Holder of a Claim that is a non-United States Person generally will not be subject to
United States federal income tax with respect to property (including money) received in
exchange for such Claim pursuant to the Plan, unless (i) such Holder is (or was) engaged in a
trade or business in the United States to which income, gain or loss from the exchange is (or
was) “effectively connected” for United States federal income tax purposes, or (ii) if such Holder
is an individual, such Holder is present in the United States for 183 days or more during the
taxable year of the exchange and certain other requirements are met.

  B.       Tax Treatment of the Creditors’ Trust

       Upon the Effective Date, the Creditors’ Trust will be established for the benefit of
Holders of Allowed General Unsecured Claims, whether allowed on or after the Effective Date.

         1.       Classification of the Creditors’ Trust

        The Creditors’ Trust is intended to qualify as a liquidating trust for federal income tax
purposes. In general, a liquidating trust is not a separate taxable entity but rather is treated for
federal income tax purposes as a “grantor” trust (i.e., a pass-through entity). The IRS, in
Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an IRS
ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan. The Creditors’
Trust has been structured with the intention of complying with such general criteria. Pursuant to
the Plan, and in conformity with Revenue Procedure 94-45, all parties (including the Trustee and
the Holders of beneficial interests in the Creditors’ Trust) are required to treat for United States
federal income tax purposes the Creditors’ Trust as a grantor trust of which the Holders of
Allowed General Unsecured Claims are the owners and grantors. While the following discussion
assumes that the Creditors’ Trust would be so treated for United States federal income tax
purposes, no ruling has been requested from the IRS concerning the tax status of the Creditors’
Trust as a grantor trust. Accordingly, there can be no assurance that the IRS would not take a
contrary position to the classification of the Creditors’ Trust as a grantor trust. If the IRS were to



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challenge successfully such classification, the United States federal income tax consequences to
the Creditors’ Trust and the Holders of Claims could vary from those discussed herein.

         2.       General Tax Reporting by the Trust and Beneficiaries

         For all United States federal income tax purposes, all parties (including the Trustee and
the Holders of beneficial interests in the Creditors’ Trust) will be required to treat the transfer of
assets to the Creditors’ Trust, in accordance with the terms of the Plan, as a transfer of those
assets directly to the Holders of Allowed General Unsecured Claims followed by the transfer of
such assets by such Holders to the Creditors’ Trust. Consistent therewith, all parties are required
to treat the Creditors’ Trust as a grantor trust of which such Holders are to be owners and
grantors. Thus, such Holders (and any subsequent Holders of interests in the Creditors’ Trust)
will be treated as the direct owners of an undivided beneficial interest in the assets of the
Creditors’ Trust for all federal income tax purposes. Accordingly, each Holder of a beneficial
interest in the Creditors’ Trust will be required to report on its federal income tax return(s) the
Holder’s allocable share of all income, gain, loss, deduction or credit recognized or incurred by
the Creditors’ Trust.

        The United States federal income tax reporting obligation of a Holder of a beneficial
interest in the Creditors’ Trust is not dependent upon the Creditors’ Trust distributing any cash or
other proceeds. Therefore, a Holder of a beneficial interest in the Creditors’ Trust may incur a
United States federal income tax liability regardless of the fact that the Creditors’ Trust has not
made, or will not make, any concurrent or subsequent distributions to the Holder. If a Holder
incurs a federal tax liability but does not receive distributions commensurate with the taxable
income allocated to it in respect of its beneficial interests in the Creditors’ Trust it holds, the
Holder may be allowed a subsequent or offsetting loss.

        The Trustee will file tax returns with the IRS for the Trust as a grantor trust pursuant to
Treasury Regulations section 1.671-4(a). The Trustee will also send to each Holder of a
beneficial interest in the Creditors’ Trust a separate statement setting forth the Holder’s share of
items of income, gain, loss, deduction or credit and will instruct the Holder to report such items
on its federal income tax return.

        All payments to Creditors are subject to any applicable withholding (including
employment tax withholding). Under the Tax Code, interest, dividends and other reportable
payments may, under certain circumstances, be subject to “backup withholding” then in effect.
Backup withholding generally applies if the Holder (a) fails to furnish his or her social security
number or other taxpayer identification number (“TIN”), (b) furnishes an incorrect TIN, (c) fails
properly to report interest or dividends, or (d) under certain circumstances, fails to provide a
certified statement, signed under penalty of perjury, that the TIN provided is his correct number
and that he is not subject to backup withholding. Backup withholding is not an additional tax but
merely an advance payment, which may be refunded to the extent it results in an overpayment of
tax if an appropriate refund claim is filed with the IRS. Certain persons are exempt from backup
withholding, including, in certain circumstances, corporations and financial institutions.




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         3.       Allocations of Taxable Income and Loss

        Allocations of taxable income of the Creditors’ Trust among Holders of Claims will be
determined by reference to the manner in which an amount of cash equal to such taxable income
would be distributed (were such cash permitted to be distributed at such time) if, immediately
prior to such deemed Distribution, the Creditors’ Trust had distributed all of its respective assets
to the Holders of the beneficial interests in the Creditors’ Trust, adjusted for prior taxable income
and loss and taking into account all prior and concurrent Distributions from the Creditors’ Trust.
Similarly, taxable loss of the Creditors’ Trust will be allocated by reference to the manner in
which an economic loss would be borne immediately after a liquidating distribution of the
remaining Creditors’ Trust assets.

       After the Effective Date, any amount a Holder receives as a Distribution from the
Creditors’ Trust in respect of its beneficial interest in the Creditors’ Trust should not be included,
for United States federal income tax purposes, in the Holder’s amount realized in respect of its
Allowed Claim but should be separately treated as a Distribution received in respect of such
Holder’s beneficial interest in the Creditors’ Trust.

         In general, a Holder’s aggregate tax basis in its undivided beneficial interest in the assets
transferred to the Creditors’ Trust will equal the fair market value of such undivided beneficial
interest as of the Effective Date and the Holder’s holding period in such assets will begin the day
following the Effective Date. Distributions to any Holder of an Allowed Claim will be allocated
first to the original principal portion of such Claim as determined for United States federal
income tax purposes, and then, to the extent the consideration exceeds such amount, to the
remainder of such Claim. However, there is no assurance that the IRS will respect such
allocation for United States federal income tax purposes.

        The tax book value of the Creditors’ Trust assets for this purpose will equal their fair
market value on the Effective Date, adjusted in accordance with tax accounting principles
prescribed by the Tax Code, applicable Treasury Regulations, and other applicable
administrative and judicial authorities and pronouncements. Uncertainties with regard to United
States federal income tax consequences of the Plan may arise due to the inherent nature of
estimates of value that will impact tax liability determinations.

        As soon as practicable after the Effective Date, the Trustee (to the extent that it deems it
necessary or appropriate in the reasonable exercise of its discretion) will, in good faith, value the
Creditors’ Trust Assets, and, as appropriate, will apprise the Holders of beneficial interests in the
Creditors’ Trust of such valuation. The valuation is required to be used consistently by all
parties (including the Debtors, the Reorganized Debtors, the Trustee and the Holders) for all
United States federal income tax purposes. The Bankruptcy Court will resolve any dispute
regarding the valuation of the Assets. No valuation will be deemed an admission or be
admissible in any Cause of Action.

        The Creditors’ Trust’s taxable income will be allocated to the Holders of beneficial
interests in the Creditors’ Trust in accordance with each such Holder’s Pro Rata share of the
Creditors’ Trust’s interests. The character of items of income, deduction and credit to any



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Holder and the ability of such Holder to benefit from any deductions or losses may depend on
the particular situation of such Holder.

        Events subsequent to the date of this Disclosure Statement, such as the enactment of
additional tax legislation, could also change the United States federal income tax consequences
of the Plan and the transactions contemplated thereunder.

  C.       Importance of Obtaining Professional Tax Assistance

       The foregoing discussion is intended only as a summary of certain United States
federal income tax consequences of the Plan. The above discussion is for informational
purposes only and is not tax advice. The tax consequences are in many cases uncertain and
may vary depending on a Holder’s particular circumstances. Accordingly, Holders are
urged to consult their own tax advisors about the United States federal, state and local, and
applicable non-United States income and other tax consequences of the Plan.



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                        EXHIBIT A TO DISCLOSURE STATEMENT

                                 Plan of Reorganization




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                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

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                                                               :
    In re:                                                     :   Chapter 11
                                                               :
    HYGEA HOLDINGS CORP., et al.,                              :   Case No. 20-10361 (KBO)
                                                               :
                        Debtors.1                              :   (Jointly Administered)
                                                               :
    ---------------------------------------------------------- x

              FIRST AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION OF
                   HYGEA HOLDINGS CORP. AND ITS AFFILIATED DEBTORS

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                                                                   Counsel for the Debtors and
                                                                   Debtors-in-Possession
    May 1, 2020


1
  The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management Services,
Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861); Florida Group
Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC (1649); Hygea
Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp. (2605); Hygea IGP of Central
Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida, LLC (5301); Hygea Medical Partners,
LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC (5862); Hygea of Pembroke Pines, LLC (6666);
Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center, LLC (2311); Mobile Clinic Services, LLC (9758); Palm
A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc. (6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group,
Inc. (5028); Palm Medical MSO LLC (7738); Palm Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm
PGA MSO, Inc. (8468); Physician Management Associates East Coast, LLC (7319); Physician Management Associates SE,
LLC (3883); Physicians Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157);
and Professional Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street,
Suite 280, Miami, FL 33174.




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                                        INTRODUCTION

       Hygea Holdings Corp. and its affiliates and subsidiaries in the above-captioned Chapter 11
Cases, as debtors and debtors-in-possession, hereby propose this first amended joint plan of
reorganization for the resolution of outstanding claims against and equity interests in the Debtors.
Capitalized terms used in the Plan and not otherwise defined have the meanings ascribed to such
terms in section 1.1 of this Plan.

        Reference is made to the Disclosure Statement, filed contemporaneously with the Plan, for
a discussion of the Debtors’ history, businesses, historical financial information, valuation,
liquidation analysis, projections, and operations as well as a summary and analysis of the Plan and
certain related matters, including distributions to be made under this Plan.

       As discussed in greater detail in the Disclosure Statement, this Plan is the result of
extensive, arm’s length negotiations among the Debtors, Bridging and the Committee and
represents a resolution of all issues among them.

SECTION 1. DEFINITIONS, RULES OF INTERPRETATION, AND CONSTRUCTION

                  1.1   Defined Terms

        For the purpose of the Plan, the following terms set forth in this section 1.1 shall have the
respective meanings set forth below.

        “Accrued Professional Compensation Claim” means, at any date, a Claim for all accrued
fees and reimbursable expenses for services rendered by a Professional in the Chapter 11 Cases
through and including such date, to the extent that such fees and expenses have not been previously
paid whether under a retention order with respect to such Professional or otherwise. To the extent
that there is a Final Order denying some or all of a Professional’s fees or expenses, such denied
amounts shall no longer be considered an Accrued Professional Compensation Claim.

        “Administrative Expense Claim” means a Claim for costs and expenses of administration
of the Chapter 11 Cases that are Allowed under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2)
of the Bankruptcy Code, including, without limitation: (a) any actual and necessary costs and
expenses incurred on or after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Accrued Professional Compensation
Claims and any other compensation for legal, financial, advisory, accounting, and other services
and reimbursement of expenses Allowed by the Bankruptcy Court under sections 328, 330, 331 or
503(b) of the Bankruptcy Code to the extent incurred on or after the Petition Date and through the
Effective Date; and (c) all fees and charges assessed against the Estates under section 1930, chapter
123, of title 28, United States Code.

        “Administrative Expense Claim Bar Date” means the first Business Day that is thirty (30)
days after the Effective Date or such other date ordered by the Bankruptcy Court.

       “Affiliate” means, with respect to any Entity, an “affiliate” as defined in section 101(2) of
the Bankruptcy Code.



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        “Allowed” means, with reference to any Claim against the Debtors, a Claim (i) as to which
no objection or request for estimation has been filed on or before any deadline therefor set by the
Bankruptcy Court or the expiration of such other applicable period fixed by the Bankruptcy Court
or this Plan; (ii) as to which any objection has been settled, waived, withdrawn, or denied by a
Final Order or in accordance with this Plan; or (iii) that is allowed (a) by a Final Order, (b) by an
agreement between the Holder of such Claim and the Debtors, Reorganized Debtors or Trustee, or
(c) pursuant to the terms of this Plan; provided, however, that, notwithstanding anything herein to
the contrary, by treating a Claim as “Allowed” under clause (i) above (the expiration of the
applicable deadline), neither the Debtors, the Reorganized Debtors nor the Trustee waive their
rights to contest the amount and validity of any disputed, contingent, and/or unliquidated Claim in
the time, manner and venue in which such Claim would have been determined, resolved, or
adjudicated if the Chapter 11 Cases had not been commenced. An Allowed Claim shall be net of
any valid setoff exercised with respect to such Claim pursuant to the provisions of the Bankruptcy
Code and applicable law. Moreover, any portion of a Claim that is satisfied, released, or waived
during the Chapter 11 Cases is not an Allowed Claim. Unless otherwise specified in this Plan, in
section 506(b) of the Bankruptcy Code or by Final Order of the Bankruptcy Court, Allowed Claims
shall not, for purposes of Distributions under this Plan, include interest on such Claim accruing
from and after the Petition Date.

        “Assets” means all assets of the Debtors of any nature whatsoever, including, without
limitation, all property of the Estates pursuant to section 541 of the Bankruptcy Code, Cash
(including proceeds from the sale of Assets), Causes of Action, accounts receivable, tax refunds,
claims of right, interests and property, real and personal, tangible and intangible, and proceeds
from all of the foregoing.

        “Avoidance Actions” means any and all avoidance, recovery, subordination, or similar
actions or remedies that may be brought by and on behalf of the Debtors or their Estates under the
Bankruptcy Code or applicable non-bankruptcy law, including, without limitation, actions or
remedies arising under chapter 5 of the Bankruptcy Code.

        “Ballots” means the ballots upon which Holders of Impaired Claims entitled to vote on
this Plan have indicated their acceptance or rejection of this Plan in accordance with the
instructions regarding voting.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time and as applicable to the Chapter 11 Cases.

      “Bankruptcy Court” means the United States Bankruptcy Court for the District of
Delaware, or any other court having original jurisdiction over the Chapter 11 Cases.

        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure and the Local
Rules, in each case as amended from time to time and as applicable to the Chapter 11 Cases.

       “Beneficiaries” means Holders of Allowed General Unsecured Claims and Deficiency
Claims against the Debtors’ Estates as beneficiaries of the Creditors’ Trust, as defined in the
Creditors’ Trust Agreement.

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         “Bridging” means, collectively, Bridging Finance and Bridging Income Fund.

      “Bridging Finance” means Bridging Finance Inc., as administrative agent to Bridging
Income Fund.

       “Bridging Income Fund” means Bridging Income Fund LP (formerly known as Sprott
Bridging Income Fund LP).

        “Bridging’s Deficiency Claim” means the unsecured Deficiency Claim of Bridging arising
under or in connection with the Prepetition Loan Documents which shall be allocated (directly and
not as a participation) as follows: (i) 90.86% of Bridging’s Deficiency Claim shall be allocated to
Bridging or its designee; and (ii) 9.14% of Bridging’s Deficiency Claim shall be allocated to
Centurion.

        “Bridging’s Secured Claim” means the Secured Claim of Bridging arising under or in
connection with the Prepetition Loan Documents which shall be allocated (directly and not as a
participation) as follows: (i) 90.86% of Bridging’s Deficiency Claim shall be allocated to Bridging
or its designee; and (ii) 9.14% of Bridging’s Deficiency Claim shall be allocated to Centurion

       “Budget” shall mean the budget agreed to between the Debtors and the DIP Lender
governing the use of cash collateral and funding under the DIP Credit Agreement attached to the
DIP Orders.

        “Business Day” means any day except a Saturday, Sunday, or “legal holiday” as such term
is defined in Bankruptcy Rule 9006(a).

         “Cash” means cash and cash equivalents denominated in U.S. dollars.

         “Causes of Action” means any claim, cause of action, controversy, demand, agreement,
right (including to legal or equitable remedies), action, lien, indemnity, guaranty, suit, obligation,
liability, damage, judgment, account, defense, offset, power, privilege, license, and franchise of
any kind or character whatsoever, known, unknown, contingent or non-contingent, matured or
unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, secured
or unsecured, assertable directly or derivatively, whether arising before, on, or after the Petition
Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law, asserted or
which may be asserted by or on behalf of the Debtors and/or the Estates, including: (a) any right
of setoff, counterclaim, or recoupment and any claim on contracts or for breaches of duties
imposed by law or in equity; (b) the right to object to Claims or Equity Interests; (c) any Avoidance
Action; and (d) any claim or defense including fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code.

        “Centurion” means Centurion Asset Management Inc., the funds or entities managed or
advised by Centurion Asset Management Inc., and 2209021 Ontario Inc. in its capacity as sub-
participant of Centurion’s interest in the obligations under the Prepetition Loan Documents.

       “Chapter 11 Case(s)” means (a) when used with reference to a particular Debtor, the case
under chapter 11 of the Bankruptcy Code commenced by such Debtor in the Bankruptcy Court,
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and (b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all
of the Debtors.

        “Claim” means a “claim,” as defined in section 101(5) of the Bankruptcy Code, against a
Debtor, whether or not asserted, whether or not the facts or legal bases therefor are known or
unknown, and specifically including, without express or implied limitation, any rights under
sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, any claim of a derivative nature, any
potential or unmatured contract claims, and any other contingent claim.

         “Claims Agent” means Epiq Corporate Restructuring, LLC, or any successor thereto.

         “Class” means a category of Claims or Equity Interests set forth in Section 3 of the Plan.

        “Collateral” means any property or interest in property of the Estates subject to a Lien,
charge or other encumbrance to secure the payment or performance of a Claim, which Lien, charge
or other encumbrance is not subject to avoidance or otherwise invalid under the Bankruptcy Code
or other applicable law.

       “Committee” means the Official Committee of Unsecured Creditors appointed in the
Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code.

         “Committee Budget” shall have the meaning set forth in section 2.2 hereof.

       “Confirmation Date” means the date on which the clerk of the Bankruptcy Court enters
the Confirmation Order on the docket of the Bankruptcy Court in the Chapter 11 Cases.

       “Confirmation Hearing” means the hearing held by the Bankruptcy Court under section
1128 of the Bankruptcy Code to consider confirmation of this Plan, as such hearing may be
adjourned or continued from time to time.

        “Confirmation Order” means the order of the Bankruptcy Court confirming this Plan
under section 1129 of the Bankruptcy Code, including all exhibits, appendices, supplements, and
related documents.

       “Contingent Claim” means any contingent or unliquidated Claim asserted or which may
be asserted against the Debtors.

         “Creditor” means a Holder of a Claim.

        “Creditors’ Trust” means the grantor trust to be created upon the Effective Date for the
benefit of the Beneficiaries.

        “Creditors’ Trust Agreement” means the agreement, substantially in the form included in
the Plan Supplement, governing the operations of the Creditors’ Trust, as it may be subsequently
modified from time to time. The Creditors’ Trust Agreement shall be materially consistent with
this Plan and acceptable to the Debtors, Bridging and the Committee.


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      “Creditors’ Trust Assets” means the assets held in the Creditors’ Trust comprised of (i)
the Creditors’ Trust Loan; (ii) the Creditors’ Trust Causes of Action, and (iii) all other
unencumbered assets of the Debtors’ Estates remaining after all required payments have been
made pursuant to the Plan, Confirmation Order, and Creditors’ Trust Agreement, as applicable.

         “Creditors’ Trust Causes of Action” means (i) Avoidance Actions; (ii) commercial tort
claims as defined in Article 9 of the UCC, including, for the avoidance of doubt, direct or derivative
claims or causes of action against any and all current and former officers, directors, shareholders,
members, mangers, employees, affiliates or insiders of the Debtors, including but not limited to
for breach of fiduciary duty or aiding and abetting breach of fiduciary duty, or under and pursuant
to any D&O or fiduciary insurance policies (including for bad faith) maintained by the Debtors;
(iii) the non-exclusive right to seek a determination by the Bankruptcy Court of any tax, fine or
penalty relating to a tax, or any addition to a tax, under section 505 of the Bankruptcy Code; and
(iv) all other rights, claims or causes of action not transferred to the DIP Secured Parties pursuant
to the Plan; provided, however, the Creditors’ Trust Causes of Action shall not include those
Causes of Actions (i) released under this Plan; (ii) identified by Bridging as part of the Plan
Supplement related to the operations of the Reorganized Debtors; or (iii) related to Bridging’s
Liens under the Prepetition Loan Documents or the DIP Credit Agreement.

        “Creditors’ Trust Distributable Assets” means all distributions to the Creditors’ Trust
under the Plan, including the Reorganized Debtors Equity allocable to the Creditors’ Trust, and
the Cash available to make Distributions to the Beneficiaries of the Creditors’ Trust at any time
that the Trustee deems is appropriate to make such Distributions.

         “Creditors’ Trust Loan” shall have the meaning set forth in section 7.4 hereof.

         “Creditors’ Trust Monthly Fee Statements” shall have the meaning set forth in section
7.6.

        “Creditors’ Trust Oversight Committee” means the three-member oversight committee,
chosen by the Committee, that will oversee the functions and activities of the Trustee in relation
to the Creditors’ Trust.

         “Creditors’ Trust Professionals” shall have the meaning set forth in section 7.6.

         “Cure Amount” has the meaning set forth in section 10.4 hereof.

        “D&O Liability Insurance Policies” means any insurance policy, including tail insurance
policies, providing coverage for directors, officers, managers and employees maintained by the
Debtors’ Estates as of the Effective Date.

       “Debtors” means, collectively, All Care Management Services, Inc.; First Harbour Health
Management, LLC ; First Harbour Medical Centers, LLC; Florida Group Healthcare LLC; Gemini
Healthcare Fund, LLC; Hygea Acquisition Longwood, LLC; Hygea Acquisition Orlando, LLC;
Hygea Health Holdings, Inc.; Hygea Holdings Corp.; Hygea IGP of Central Florida, Inc.; Hygea
IGP, LLC; Hygea Medical Centers of Florida, LLC; Hygea Medical Partners, LLC; Hygea of
Delaware, LLC; Hygea of Georgia, LLC; Hygea of Pembroke Pines, LLC; Hygea Primum
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Acquisition, Inc.; Medlife Activity Center, LLC; Mobile Clinic Services, LLC; Palm A.C. MSO,
LLC; Palm Allcare Medicaid MSO, Inc.; Palm Allcare MSO, Inc; Palm Medical Group, Inc.; Palm
Medical MSO LLC; Palm Medical Network, LLC; Palm MSO System, Inc.; Palm PGA MSO,
Inc.; Physician Management Associates East Coast, LLC; Physician Management Associates SE,
LLC; Physicians Group Alliance, LLC; Primum Alternatives, Inc.; Primum Healthcare, LLC; and
Professional Health Choice, Inc.

       “Debtors-in-Possession” means the Debtors in their capacity as debtors-in-possession in
the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy Code.

         “Debtor Released Claims” has the meaning set forth in section 12.3 hereof.

       “Deficiency Claim” means a General Unsecured Claim for the difference between (a) the
aggregate amount of an Allowed Claim and (b) the value received on account of the portion of
such Allowed Claim that is a Secured Claim.

        “DIP Credit Agreement” means that certain Secured Superpriority Debtor-in-Possession
Credit Agreement, by and among Hygea Holdings Corp., as borrower, the other guarantors party
thereto, and the DIP Lender, as lender, as amended, modified, or supplemented from time to time.

        “DIP Lender” means Bridging Income Fund and the other lending parties that may from
time to time become parties to the DIP Credit Agreement.

        “DIP Loan” means the total unpaid amount under the DIP Credit Agreement as of the
Effective Date.

        “DIP Orders” means the interim and final order(s) of the Bankruptcy Court authorizing,
among other things, the Debtors to enter into, make borrowings and guaranty obligations under
the DIP Credit Agreement, and granting certain rights, protections, and liens to and for the benefit
of the DIP Lender.

       “Disallowed Claim” means any Claim or portion thereof which has been disallowed by a
Final Order and includes any Claim which is not an Allowed Claim for any other reason.

        “Disclosure Statement” means the disclosure statement (including all exhibits and
schedules thereto or referenced therein) that relates to the Plan, as such disclosure statement may
be altered, modified, or amended.

        “Disputed Claim” means a Claim that has neither been Allowed nor disallowed pursuant
to a Final Order of the Bankruptcy Court, and (a) if no Proof of Claim has been filed by the
applicable deadline: (i) a Claim that has been or hereafter is listed on the Schedules as disputed,
contingent, or unliquidated; or (ii) a Claim that has been or hereafter is listed on the Schedules as
other than disputed, contingent, or unliquidated, but as to which the Debtors, Reorganized Debtors,
Trustee, or any other party in interest has interposed an objection or request for estimation which
has not been withdrawn or determined by a Final Order; or (b) if a Proof of Claim or other request
for payment has been filed by the applicable deadline: (i) a Claim for which no corresponding
Claim has been or hereafter is listed on the Schedules or Allowed in this Plan; (ii) a Claim for
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which a corresponding Claim has been or hereafter is listed on the Schedules as other than
disputed, contingent, or unliquidated, but the nature or amount of the Claim or as asserted in the
Proof of Claim varies from the nature and amount of such Claim as listed on the Schedules to the
extent of such positive variance; (iii) a Claim for which a corresponding Claim has been or
hereafter is listed on the Schedules as disputed, contingent, or unliquidated; or (iv) a Claim for
which a timely objection or request for estimation is interposed by the Debtors, Reorganized
Debtors, Trustee, or any other party in interest which has not been withdrawn or determined by a
Final Order.

      “Dissolved Debtors” means those Debtors identified by Bridging Finance in the Plan
Supplement which will be dissolved on the Effective Date.

       “Distribution” means Cash, property, interests in property, or other value distributed to
Holders of Allowed Claims, or their designated agents, under this Plan.

         “Distribution Record Date” means five (5) Business Days prior to the Confirmation Date.

        “Effective Date” means the first Business Day selected by the Debtors on which (a) the
conditions specified in section 11.2 of this Plan have been satisfied or waived in accordance with
the terms of section 11, and (b) no stay of the Confirmation Order is in effect.

         “Effective Date Debt Limit” means Seventy Million Dollars ($70,000,000.00).

         “Entity” is as defined in section 101(15) of the Bankruptcy Code.

        “Equity Interest” means any Equity Security in any of the Debtors, including, without
limitation, all issued, unissued, authorized or outstanding units and other ownership interests,
including limited liability company membership interests, together with (a) any options, warrants
or contractual rights to purchase or acquire any such Equity Securities at any time with respect to
any Debtors, and all rights arising with respect thereto and (b) the rights of any Entity to purchase
or demand the issuance of any of the foregoing and shall include: (i) conversion, exchange, voting,
participation, dividend and distribution rights; (ii) liquidation preferences; (iii) options, warrants,
and call and put rights; (iv) share-appreciation rights; and (v) all unexercised Equity Interests.

         “Equity Security” is as defined in section 101(16) of the Bankruptcy Code.

        “Estate(s)” means, individually, the estate of each of the Debtors and, collectively, the
estates of all of the Debtors created under section 541 of the Bankruptcy Code.

        “Exculpated Claim” means any claim or Cause of Action related to any act or omission in
connection with, relating to or arising out of (i) any in-court or out-of-court forbearance or
restructuring arrangement involving the Debtors and their current and former employees, agents,
representatives, advisors, consultants, and attorneys including the Restructuring Support
Agreement dated February 7, 2020, (ii) the Chapter 11 Cases, (iii) the negotiation, administration
or consummation of any cash collateral arrangement or debtor-in-possession financing in the
Chapter 11 Cases, (iv) the formulation, preparation, dissemination, negotiation, or filing of the
Disclosure Statement or this Plan or any contract, instrument, release, or other agreement or
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document created or entered into in connection with the Disclosure Statement or this Plan, (v) the
filing of the Chapter 11 Cases, (vi) the pursuit of confirmation of this Plan, (vii) the administration
and implementation of this Plan, or (vii) the Distribution of property under this Plan and/or any
other related agreement; provided, however, that Exculpated Claims shall not include any act or
omission that is determined in a Final Order to have constituted gross negligence or willful
misconduct under applicable non-bankruptcy law. No Cause of Action, obligation or liability
expressly preserved by the Plan or the Plan Supplement constitutes an Exculpated Claim.

        “Exculpated Parties” means, collectively, and in each case in their capacity as such: (i)
the Debtors; (ii) the Reorganized Debtors; (iii) the DIP Lender; (iv) the Committee; (v) Centurion;
(vi) Bridging; and (vii) with respect to each of the foregoing Entities, each of their respective
Related Persons that served in such capacity.

        “Executory Contract” means all contracts and leases to which any Debtors are a party that
is subject to assumption or rejection under section 365 of the Bankruptcy Code.

        “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent
jurisdiction with respect to the subject matter, as entered on the docket in any Chapter 11 Case or
the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition
for certiorari or other proceedings for a new trial, reargument, or rehearing has been timely taken,
or as to which any appeal that has been taken or any petition for certiorari that has been or may
be timely filed has been withdrawn or resolved by the highest court to which the order or judgment
was appealed or from which certiorari was sought or the new trial, reargument, or rehearing shall
have been denied, resulted in no stay pending appeal of such order, or has otherwise been dismissed
with prejudice; provided, however, that the possibility that a motion under Rule 60 of the Federal
Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with
respect to such order shall not preclude such order from being a Final Order.

       “General Unsecured Claim” means a Deficiency Claim and any Claim asserted against
the Debtors which is not included within the other specifically defined Classes hereunder.

         “Governmental Unit” is as defined in section 101(27) of the Bankruptcy Code.

         “Holder” means the legal or beneficial holder of a Claim or Equity Interest.

        “Impaired” means, when used in reference to a Claim or Equity Interest, a Claim or Equity
Interest that is “impaired” within the meaning of section 1124 of the Bankruptcy Code.

        “Insurance Policy” and, collectively, the “Insurance Policies” means each of the
insurance policies issued to or for the benefit of any Debtor(s) or any of their predecessors-in-
interest and any agreements, documents, or instruments related thereto.

      “Intercompany Claim” means any Claim against a Debtor held by another Debtor or by a
non-Debtor subsidiary of a Debtor.


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        “Lien” means a “lien” as defined in section 101(37) of the Bankruptcy Code, and, with
respect to any property or asset, includes, without limitation, any mortgage, deed of trust, lien,
pledge, charge, security interest or other encumbrance of any kind, or any other type of preferential
arrangement that has the practical effect of creating a security interest, in respect of such property
or asset.

      “Local Rules” means the Local Rules of Bankruptcy Practice and Procedure of the
Bankruptcy Court.

      “Material Contracts” means each of the contracts designated as such in the Plan
Supplement.

        “New Board” means the initial board of directors, members, or managers, as applicable,
of the Reorganized Debtors whose identities will be disclosed in the Plan Supplement.

        “New Equity Documents” means any shareholder agreement, organizational documents,
evidence of equity interests (including share certificates or other mutually agreed evidence of
equity interests), or other governance documents for the Reorganized Debtors.

        “New Organizational Documents” means the New Equity Documents, the form of
certificates or articles of incorporation, bylaws, charter or such other applicable formation
documents of each of the Reorganized Debtors reasonably satisfactory to the Debtors, the
Committee, Centurion and Bridging Finance, as applicable.

        “Net Proceeds” means the gross proceeds of the sale of the Reorganized Debtors, net of
any fees and expenses related to such sale, including, without limitation, any success fees owed to
third parties.

       “New Secured Debt” means the obligation of the Reorganized Debtors to Bridging or its
designee and Centurion, as applicable, in an amount equal to: (i) the DIP Loan; (ii) the Working
Capital Loan; and (iii) the Remaining Secured Debt; provided, however that the amount of the
New Secured Debt shall not exceed the Effective Date Debt Limit.

        “New Secured Debt Documents” means the Credit Agreement governing the New Secured
Debt and the related notes, guarantees, and security documents, as the case may be, each in form
and substance mutually agreed between the Debtors, Bridging and Centurion, as applicable, which
shall be included in the Plan Supplement.

       “Other Priority Claim” means any Claim accorded priority in right of payment under
section 507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative
Expense Claim.

         “Other Secured Claim” means a Secured Claim other than Bridging’s Secured Claim.

       “Person” means a “person” as defined in section 101(41) of the Bankruptcy Code and also
includes any natural person, corporation, general or limited partnership, limited liability company,


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firm, trust, association, government, governmental agency or other Entity, whether acting in an
individual, fiduciary or other capacity.

         “Petition Date” means February 19, 2020.

       “Plan” means this plan of reorganization under Chapter 11 of the Bankruptcy Code,
including, without limitation, the exhibits, appendices, and schedules hereto to be filed with the
Plan Supplement, as such may be altered, amended, or otherwise modified from time to time.

        “Plan Supplement” means the compilation of documents and forms of documents,
schedules, and exhibits to this Plan, to be filed fourteen (14) days prior to the Confirmation
Hearing, as amended, supplemented, or modified from time to time in accordance with the terms
hereof, the Bankruptcy Code and the Bankruptcy Rules.

        “Prepetition Loan Documents” means (i) that certain Amended and Restated Credit
Agreement, dated as of January 31, 2017, by and among the Debtors, the other subsidiaries of the
Debtors that are parties thereto, and Bridging; (ii) that certain Amended and Restated Guaranty
and Security Agreement, dated as of January 31, 2017; (iii) and any and all documents, agreements
and instruments related to the foregoing.

      “Priority Claim” means any Claim entitled to priority pursuant to section 507(a) of the
Bankruptcy Code, other than (i) an Administrative Claim or (ii) a Priority Tax Claim.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.

       “Pro Rata” shall mean the proportion that the amount of a Claim in a particular Class or
Classes bears to the aggregate amount of all Claims in such Class or Classes, unless the Plan
otherwise provides.

         “Professional Budget Surplus” shall have the meaning set forth in section 2.2 hereof.

       “Professionals” means all professionals employed in the Chapter 11 Cases pursuant to
sections 327, 363, and 1103 of the Bankruptcy Code.

       “Proof of Claim” means a proof of Claim filed against any of the Debtors in the Chapter
11 Cases.

         “Put Amount” shall have the meaning set forth in section 6.6 hereof.

         “Put Election” shall have the meaning set forth in section 6.6 hereof.

         “Put Election Date” shall have the meaning set forth in section 6.6 hereof.

        “Related Persons” means, with respect to any Person, such Person’s predecessors,
successors, assigns, and present and former Affiliates (whether by operation of law or otherwise)
and each of their respective subsidiaries, and each of their respective current and former officers,
directors, principals, employees, shareholders, members (including ex officio members and
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managing members), managers, managed accounts or funds, participants, management companies,
fund advisors, advisory board members, partners, agents, financial advisors, attorneys,
accountants, investment bankers, investment advisors, consultants, representatives, and other
professionals, and any Person claiming by or through any of them, including such Related Persons’
respective heirs, executors, estates, servants, and nominees; provided, however, that no insurer of
any Debtors shall constitute a Related Person of any Debtors or Reorganized Debtors.

       “Released Party” means (i) the Debtors (excluding current and former officers, directors
members, managers, shareholders and employees); (ii) the Reorganized Debtors; (iii) the DIP
Lender and its Related Persons; (iv) Bridging and its Related Persons (including Centurion); (v)
the Committee and its members; (vi) the Trustee; and (vii) the Creditors’ Trust.

       “Remaining Secured Debt” means senior secured debt in the amount of the Effective Date
Debt Limit less the amount of the DIP Loan and Working Capital Loan

        “Reorganized Debtors” means collectively each of the Debtors, or any successors thereto,
by merger, consolidation, or otherwise on or after the Effective Date, including any new entity
formed to directly or indirectly acquire the assets or equity of the Debtors. Reorganized Debtors
shall not include the Dissolved Debtors.

        “Reorganized Debtor Equity” means the Equity Interests in the Reorganized Debtors
which may be indirectly issued under the Plan through a newly created holding company as may
be set forth in the Plan Supplement.

         “Restructuring Transactions” shall have the meaning set forth in section 6.3 hereof.

         “Schedules” means, unless otherwise specified, the respective schedules of assets and
liabilities, the list of holders of Equity Interests, and the statements of financial affairs filed by the
Debtors in accordance with section 521 of the Bankruptcy Code and the Bankruptcy Rules, as such
schedules and statements have been or may be supplemented or amended on or prior to the
Confirmation Date.

        “Secured Claim” means any Claim of a Creditor that is secured by property of the Debtors’
Estates, to the extent of the value of the Creditor’s interest in the Estates’ interest in such property,
as provided in section 506(a) of the Bankruptcy Code. Secured Claim also means a Claim of a
Creditor that is subject to setoff under section 553 of the Bankruptcy Code, to the extent of the
amount subject to setoff, as provided in section 506(a) of the Bankruptcy Code. To the extent the
value of any property securing such Claim is less than the amount of such Claim, the difference
between such value and such Claim is a “Deficiency Claim” unless the holder of such Claim
validly elects under section 1111(b) of the Bankruptcy Code to have such Claim treated as a
Secured Claim to the extent allowed.

        “Subordinated Claim” means any Claim subordinated by law or contract including
pursuant to section 510(b) of the Bankruptcy Code, which shall include, but not be limited to, any
claim filed by Nevada 5, Inc. and N5HYG, LLC in the Chapter 11 Cases.


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        “Subsequent Distribution Date” means the last Business Day of the month following the
end of each calendar quarter after the Effective Date; provided, however, that if the Effective Date
is within thirty (30) days of the end of a calendar quarter, then the first Subsequent Distribution
Date will be the last Business Day of the month following the end of the first (1st) calendar quarter
after the calendar quarter in which the Effective Date falls.

         “Taxing Authorities” means all federal and state taxing agencies.

        “Trustee” means the individual or entity designated and retained as the trustee to the
Creditors’ Trust, as of the Effective Date or as soon as reasonably practicable thereafter, as the
fiduciary responsible for administering the Creditors’ Trust.

      “Unexpired Lease” means a lease to which any Debtor is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

       “Unimpaired” means any Class of Claims or Equity Interests that is not impaired within
the meaning of section 1124 of the Bankruptcy Code.

      “United States Trustee” means the Office of the United States Trustee for the District of
Delaware.

         “Variance” shall have the meaning set forth in the DIP Orders.

       “Voting Record Date” shall have the meaning ascribed to such term in the Disclosure
Statement.

        “Working Capital Loan” means the amount which shall be loaned by Bridging Income
Fund or a Related Person to the Reorganized Debtors to meet their post-Effective Date working
capital needs.

                  1.2   Interpretation, Application of Definitions and Rules of Construction

         Unless otherwise specified, all section or exhibit references in this Plan are to the respective
section in, or exhibit to, this Plan, as the same may be amended, supplemented, waived, or modified
from time to time. The words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar
import refer to this Plan as a whole and not to any particular section, subsection, or clause
contained therein. A term used herein that is not defined herein shall have the meaning assigned
to that term in the Bankruptcy Code. The rules of construction contained in section 102 of the
Bankruptcy Code shall apply to this Plan. The headings in this Plan are for convenience of
reference only and shall not limit or otherwise affect the provisions hereof. Unless otherwise
provided, any reference in this Plan to an existing document, exhibit or schedule means such
document, exhibit or schedule as it may have been amended, restated, revised, supplemented, or
otherwise modified. If a time or date is specified for any payments or other Distribution under this
Plan, it shall mean on or as soon as reasonably practicable thereafter. Further, where appropriate
from a contextual reading of a term, each term includes the singular and plural form of the term
regardless of how the term is stated and each stated pronoun is gender neutral. In the event of any
ambiguity or conflict between this Plan and the Disclosure Statement, the provisions of this Plan
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shall govern. Any reference to the “Trustee” shall be deemed to include a reference to the
“Creditors’ Trust” and any reference to the “Creditors’ Trust” shall be deemed to include a
reference to the “Trustee” unless the context otherwise requires.

                  1.3   Computation of Time

        Unless otherwise specifically stated in the Plan, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed in the Plan. If the date on which
a transaction may occur under the Plan shall occur on a day that is not a Business Day, then such
transaction shall instead occur on the next succeeding Business Day. Any references to the
Effective Date shall mean the Effective Date or as soon as reasonably practicable thereafter unless
otherwise specified herein

SECTION 2. ADMINISTRATIVE AND PRIORITY CLAIMS

                  2.1   Administrative Expense Claims

                        (a)    Except to the extent that a Holder of an Allowed Administrative
Expense Claim agrees to different treatment with the Debtors or Reorganized Debtors, each Holder
of an Allowed Administrative Expense Claim shall receive Cash in an amount equal to the unpaid
amount of such Allowed Administrative Expense Claim on the later of the Effective Date or the
date on which such Administrative Expense Claim becomes an Allowed Administrative Expense
Claim, or as soon thereafter as is reasonably practicable; provided, however, that Allowed
Administrative Expense Claims representing liabilities incurred in the ordinary course of business
by the Debtors, as Debtors-in-Possession, or liabilities arising under obligations incurred by the
Debtors, as Debtors-in-Possession, prior to the Effective Date, shall be paid by the Debtors in the
ordinary course of business, consistent with past practice and in accordance with the terms and
subject to the conditions of any agreements governing, instruments evidencing, or other documents
relating to such transactions, including, but not limited to, the Budget, DIP Orders and all other
orders entered by the Bankruptcy Court related to the foregoing. In addition, Allowed
Administrative Expense Claims of the United States Trustee for statutory fees under 28 U.S.C. §
1930 incurred prior to the Effective Date shall be paid on the Effective Date by the Debtors, and
thereafter, as such fees may thereafter accrue and be due and payable, by the Creditors’ Trust in
accordance with the applicable schedule for payment of such fees.

                        (b)     Administrative Expense Claims Bar Date. To be eligible to
receive Distributions under the Plan on account of an Administrative Expense Claim that is not
otherwise Allowed by the Plan, a request for payment of an Administrative Expense Claim must
have been or be filed with the Bankruptcy Court on or before the Administrative Expense Claims
Bar Date. Any Administrative Expense Claim that is not asserted in accordance herewith shall be
deemed disallowed under the Plan and shall be forever barred against the Debtors, the Debtors’
Estates, the Reorganized Debtors, the Creditors’ Trust, or any of their Assets or property, and the
Holder thereof shall be enjoined from commencing or continuing any action, employment of
process or act to collect, offset, recoup or recover such Claim.



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                  2.2   Accrued Professional Compensation Claims

         Except as otherwise provided herein, all Professionals seeking payment of Accrued
Professional Compensation Claims shall (i) file their respective final applications for allowance of
compensation for services rendered and reimbursement of expenses incurred in the Chapter 11
Cases by the date that is thirty (30) days after the Effective Date and (ii) be paid (a) the full unpaid
amount as is Allowed by the Bankruptcy Court within five (5) Business Days after the date that
such Claim is Allowed by order of the Bankruptcy Court, or (b) upon such other terms as may be
mutually agreed upon between the Holder of such an Allowed Accrued Professional Compensation
Claim and the Debtors or Reorganized Debtors. Any Accrued Professional Compensation Claim
that is not asserted in accordance with this section 2.2 shall be deemed disallowed under this Plan,
waived, and shall be forever barred against the Debtors, the Debtors’ Estates, the Reorganized
Debtors, the Creditors’ Trust, or any of their Assets or property, and the Holder thereof shall be
enjoined from commencing or continuing any action, employment of process or act to collect,
offset, recoup, or recover such Claim.

       Accrued Professional Compensation Claims filed by the Committee’s Professionals shall
be subject to a cap of One Million Three Hundred and Twenty-Five Thousand Dollars
($1,325,000.00) (the “Committee Budget”) as described in the DIP Orders. To the extent the
Committee Budget is insufficient to pay the Allowed Accrued Professional Compensation Claims
of the Committee’s Professionals, such Allowed Claims may be paid from the Creditors’ Trust.
The Committee Budget shall not be subject to the Variance.

        To the extent any excess funds remain under the Debtors’ professional fee budgeted
amounts and/or the Committee Budget under the DIP Orders (collectively, the “Professional
Budget Surplus”), such funds shall be deposited into the Creditors’ Trust on the Effective Date,
or after payment of such Professionals’ Accrued Professional Compensation Claims.

         The Professional Budget Surplus shall not be used to repay the Creditors’ Trust Loan.

                  2.3   Priority Tax Claims

        Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date that
such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter), each
Holder of an Allowed Priority Tax Claim shall receive in full satisfaction, settlement, discharge,
and release of, and in exchange for, such Allowed Priority Tax Claim pursuant to and in accordance
with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in an aggregate
amount of such Allowed Priority Tax Claim payable in regular installment payments over a period
ending not more than five (5) years after the Petition Date, plus simple interest at the rate required
by applicable non-bankruptcy law on any outstanding balance from the Effective Date, or such
lesser rate as is agreed to in writing by a particular taxing authority and the Debtors or Reorganized
Debtors, as applicable, pursuant to section 1129(a)(9)(C) of the Bankruptcy Code; provided,
however, that Priority Tax Claims incurred by any Debtor in the ordinary course of business may
be paid in the ordinary course of business by such applicable Debtor or Reorganized Debtor in
accordance with such applicable terms and conditions relating thereto without further notice to or
order of the Bankruptcy Court. Any installment payments to be made under clause (C) or (D)
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above shall be made in equal quarterly Cash payments beginning on the first applicable Subsequent
Distribution Date and continuing on each Subsequent Distribution Date thereafter until payment
in full of the applicable Allowed Priority Tax Claim.

SECTION 3. CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

                  3.1    Summary

        Except as set forth herein, all Claims against and Equity Interests in the Debtors are placed
in a particular Class. The Debtors have not classified Administrative Expense Claims, Accrued
Professional Compensation Claims, and Priority Tax Claims.

        The following table classifies Claims against and Equity Interests in the Debtors for all
purposes, including voting, confirmation, and Distribution pursuant hereto and pursuant to sections
1122 and 1123(a)(1) of the Bankruptcy Code. This Plan deems a Claim or Equity Interest to be
classified in a particular Class only to the extent that the Claim or Equity Interest qualifies within
the description of that Class and shall be deemed classified in a different Class to the extent that
any remainder of such Claim or Equity Interest qualifies within the description of such different
Class. A Claim or Equity Interest is in a particular Class only to the extent that any such Claim or
Equity Interest is Allowed in that Class and has not been paid or otherwise settled prior to the
Effective Date. Each Class set forth below is treated hereunder as a distinct Class for voting and
Distribution purposes.

        Subject to all other applicable provisions of this Plan (including its Distribution
provisions), classified Claims shall receive the treatment described in section 4 herein. This Plan
will not provide any Distributions on account of a Claim to the extent that such Claim has been
disallowed, released, withdrawn, waived, or otherwise satisfied or paid as of the Effective Date,
including, without limitation, payments by third parties.

        The following table designates the Classes of Claims against and Equity Interests in the
Debtors and specifies which of those Classes are (i) Impaired or Unimpaired by the Plan, (ii)
entitled to vote to accept the Plan in accordance with section 1126 of the Bankruptcy Code, (iii)
deemed to reject the Plan, or (iv) deemed to accept the Plan.

      Class                       Class                     Status             Entitled to Vote
        1                 Other Priority Claims           Unimpaired         No (Deemed to accept)
        2                 Other Secured Claims            Unimpaired         No (Deemed to accept)
        3               Bridging’s Secured Claim           Impaired                  Yes
        4               General Unsecured Claims           Impaired                  Yes
        5                 Subordinated Claims              Impaired          No (Deemed to reject)
        6                    Equity Interests              Impaired          No (Deemed to reject)




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SECTION 4. TREATMENT OF CLAIMS AND EQUITY INTERESTS

                  4.1   Other Priority Claims (Class 1)

        This Class consists of all Allowed Other Priority Claims against the Debtors that are
specified as having priority in section 507(a) of the Bankruptcy Code (excepting claims of Taxing
Authorities), if any such Claims exist as of the Effective Date. Except to the extent that a Holder
of an Allowed Other Priority Claim against the Debtors has agreed to a different treatment of such
Claim, each such Holder shall receive, in full satisfaction of such Allowed Other Priority Claim,
Cash in an amount equal to such Allowed Other Priority Claim, on or as soon as reasonably
practicable after the later of (i) the Effective Date; (ii) the date the Other Priority Claim becomes
an Allowed Claim; or (iii) the date for payment provided by any agreement or arrangement
between the Reorganized Debtors and the Holder of the Allowed Other Priority Claim against the
Debtors.

                  4.2   Other Secured Claims (Class 2)

        This Class consists of all Other Secured Claims against the Debtors. In full satisfaction of
an Allowed Other Secured Claim, on the later of the Effective Date and the date on which the
Other Secured Claim is Allowed, each Holder of an Allowed Other Secured Claim shall receive,
at the sole and exclusive option of the Reorganized Debtors: (a) Cash equal to the amount of such
Claim; (b) the Collateral securing such Claim; or (c) satisfaction of such Claim pursuant to such
other terms and conditions as may be agreed upon by the Reorganized Debtors and the Holder of
such Other Secured Claim

                  4.3   Bridging’s Secured Claim (Class 3)

        This Class consists of Bridging’s Secured Claim. Bridging’s Secured Claim is an Allowed
Claim. Upon the terms and subject to the conditions set forth in this Plan, in full and final
satisfaction, settlement, release, and discharge of Bridging’s Secured Claim, Bridging or such
Entity designated by Bridging and Centurion, respectively, shall receive, on the Effective Date or
as soon as practicable thereafter, (i) the Debtors’ Cash on hand on the Effective Date in excess of
Cash necessary to operate the Reorganized Debtors’ business, following funding of the Creditors’
Trust Loan to be allocated 90.86% to Bridging and 9.14% to Centurion; (ii) the New Secured Debt
in accordance with section 6.4 below; and (iii) 86.317% of the Reorganized Debtor Equity shall
be issued to Bridging or its designee and 8.683% of the Reorganized Debtor Equity shall be issued
to Centurion or its designee.

        To the extent the Debtors’ Cash on hand as of the Effective Date is not sufficient to make
payments under the Plan, fund operations and fund the Creditors’ Trust Loan, Bridging will
advance the necessary funds to the Reorganized Debtors with such amount to be added to the
Working Capital Loan. All distributions made on account of Bridging’s Secured Claim shall be
paid to Bridging and Centurion, as applicable. Bridging shall have the right to vote Bridging’s
Secured Claim.



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                  4.4   General Unsecured Claims (Class 4)

        This Class consists of all General Unsecured Claims against the Debtors, including
Bridging’s Deficiency Claim. Except to the extent that a Holder of an Allowed General Unsecured
Claim against the Debtors agrees to a different treatment of such Claim, in full and final
satisfaction of each Allowed General Unsecured Claim against the Debtors, each Holder of an
Allowed General Unsecured Claim against the Debtors will receive its Pro Rata share of Creditors’
Trust Distributable Assets as soon as practicable as determined by the Trustee. Bridging shall
have the right to vote the Bridging Deficiency Claim but will waive any Distributions to Bridging
and its participants on account of Bridging’s Deficiency Claim.

                  4.5   Subordinated Claims (Class 5)

      This Class consists of all Subordinated Claims against the Debtors. Holders of
Subordinated Claims against the Debtors shall not receive or retain any property under this Plan
on account of such Subordinated Claims, and the obligations of the Debtors on account of
Subordinated Claims shall be discharged.

                  4.6   Equity Interests (Class 6)

        Holders of an Equity Interest in the Debtors shall not receive or retain any property under
this Plan on account of such Equity Interests, and the obligations of the Debtors on account of the
Equity Interests shall be discharged.

                  4.7   Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the
Debtors’, Reorganized Debtors’ or Trustee’s rights and defenses (whether legal or equitable) in
respect of any Unimpaired Claims, including, without limitation, all rights in respect of legal and
equitable defenses to or setoffs or recoupments against any such Unimpaired Claims.

                  4.8   Discharge of Claims

        Except as otherwise provided in the Plan and effective as of the Effective Date: (i) the
rights afforded herein and the treatment of all Claims and Equity Interests will be in exchange for
and in complete satisfaction, settlement, discharge, and release of all Claims and Equity Interests
of any nature whatsoever, including any interest accrued on such Claims from and after the Petition
Date, against the Debtors or any of their Assets, property, or Estates; (ii) the Plan will bind all
Holders of Claims and Equity Interests, notwithstanding whether any such Holders abstained from
voting to accept or reject the Plan or voted to reject the Plan; (iii) all Claims and Equity Interests
will be satisfied, discharged, and released in full, and the Debtors’ liability with respect thereto
will be extinguished completely, including any liability of the kind specified under section 502(g)
of the Bankruptcy Code; and (iv) all Entities will be precluded from asserting against the Debtors,
the Debtors’ Estates, the Reorganized Debtors, each of their successors and assigns, and each of
their Assets and properties, any other Claims or Equity Interests based upon any documents,
instruments or any act or omission, transaction, or other activity of any kind or nature that occurred
prior to the Effective Date.
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                  4.9    Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and Equity Interests
and the respective distributions and treatments under the Plan shall take into account and conform
to the relative priority and rights of the Claims and Equity Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Under section 510 of the Bankruptcy Code, the Debtors or the Trustee, as applicable,
reserve the right to re-classify any Allowed Claim or Allowed Equity Interest in accordance with
any contractual, legal, or equitable subordination relating thereto.

                  4.10   Elimination of Vacant Classes

        Any Class of Claims that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or a Claim temporarily allowed under Bankruptcy Rule 3018, or as
to which no vote is cast, shall be deemed eliminated from this Plan for purposes of voting to accept
or reject this Plan and for purposes of determining acceptance or rejection of this Plan by such
Class under section 1129(a)(8) of the Bankruptcy Code.

SECTION 5. ACCEPTANCE OR REJECTION OF THE PLAN

                  5.1    Presumed Acceptance of Plan

        Classes 1 and 2 are Unimpaired under the Plan and, therefore, is deemed to have accepted
the Plan pursuant to section 1126 of the Bankruptcy Code.

                  5.2    Presumed Rejection of Plan

       Classes 5 and 6 are Impaired and shall receive no distribution under the Plan on account of
such Subordinated Claims and Equity Interests and, therefore, are deemed to have rejected the Plan
pursuant to section 1126(g) of the Bankruptcy Code.

                  5.3    Voting Class

        Each Holder of an Allowed Claim as of the Voting Record Date in Classes 3 and 4 will be
entitled to vote to accept or reject the Plan.

                  5.4    Acceptance by Impaired Classes of Claims

        Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims has accepted the Plan if the
Holders of at least two-thirds in dollar amount and more than one-half in number of the Allowed
Claims in such Class actually voting have voted to accept the Plan.




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                  5.5   Cramdown

        If all applicable requirements for confirmation of this Plan are met as set forth in section
1129(a) of the Bankruptcy Code except subsection (8) thereof, the Debtors may request that the
Bankruptcy Court confirm this Plan in accordance with section 1129(b) of the Bankruptcy Code
on the bases that this Plan is fair and equitable and does not discriminate unfairly with respect to
each Class of Claims or Equity Interests that is Impaired under, and has not accepted or is deemed
to reject, this Plan.

SECTION 6. MEANS FOR IMPLEMENTATION OF THE PLAN

                  6.1   General Settlement of Claims

        To the extent provided for by the Bankruptcy Code and in consideration for the
classification, distributions, and other benefits provided under the Plan, upon the Effective Date,
the provisions of the Plan will constitute a good faith compromise and settlement of all Claims and
Equity Interests and controversies resolved pursuant to the Plan.

                  6.2   Corporate Existence

        Unless otherwise provided in the Plan Supplement, the Debtors will continue to exist after
the Effective Date as separate legal entities, with all of the powers of corporations, limited liability
companies, partnerships, associations, or other business entities pursuant to the applicable law in
their states of incorporation or organization. As may be set forth in the Plan Supplement, a new
holding company may be created to hold the Reorganized Debtor Equity. After the Effective Date,
the Reorganized Debtors shall exist with all of the powers pursuant to the New Organizational
Documents. The Plan Supplement shall include appropriate corporate organizational documents
governing the post-Effective Date governance of the Reorganized Debtors and the rights of the
holders of the Reorganized Debtor Equity.

        On the Effective Date or as soon thereafter as is reasonably practicable, and without need
for any notice to or any vote, consent, authorization, approval, ratification, or other action by any
Entity or any director, stockholder, security holder, manager, member, or partner (or board thereof)
of any Entity, the Reorganized Debtors may take all actions as may be necessary or appropriate to
effect any transaction described in, approved by, or necessary or appropriate to effectuate this Plan
(the “Restructuring Transactions”), including, without limitation: (a) the execution and delivery
of appropriate agreements or other documents of merger, consolidation, or reorganization
containing terms that are consistent with the terms of the Plan and that satisfy the requirements of
applicable law; (b) the execution and delivery of appropriate instruments of transfer, assignment,
assumption, or delegation of any property, right, liability, duty, or obligation on terms consistent
with the terms of the Plan; (c) the filing of appropriate certificates of incorporation, merger, or
consolidation with the appropriate governmental authorities under applicable law; and (d) all other
actions that the Debtors or the Reorganized Debtors, as applicable, and Bridging determine are
necessary or appropriate.

       The Confirmation Order shall be deemed to, under both section 1123 and section 363 of
the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate
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to effect any transaction described in, approved by, contemplated by, or necessary to effectuate the
Plan.

                  6.3   Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan or the Confirmation Order, on or after the
Effective Date, all property and Assets of the Estates and any property and Assets acquired by the
Debtors pursuant to the Plan will vest in the Reorganized Debtors, free and clear of all Liens,
Claims, charges or other encumbrances. Except as may be otherwise provided in the Plan, on and
after the Effective Date, the Reorganized Debtors may operate their businesses and may use,
acquire or dispose of property and compromise or settle any Claims without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules, other than those restrictions expressly imposed by the Plan and the
Confirmation Order. Without limiting the foregoing, the Reorganized Debtors will pay the charges
that they incur after the Effective Date for Professionals’ fees, disbursements, expenses or related
support services (including reasonable fees relating to the preparation of Professional fee
applications) in the ordinary course of business and without application or notice to, or order of,
the Bankruptcy Court. For the avoidance of doubt, the Creditors’ Trust Assets shall not revest in
the Reorganized Debtors and instead the Creditors’ Trust Assets shall vest in the Creditors’ Trust
pursuant to Section 7 of this Plan.

                  6.4   New Secured Debt

        (a)     On the Effective Date, the Reorganized Debtors will execute the New Secured Debt
Documents which shall govern and evidence the New Secured Debt of the Reorganized Debtors.
The New Secured Debt Documents shall be at least as favorable to Bridging and Centurion as
lenders as the Prepetition Loan Documents, with additional usual and customary terms for a
syndicated loan (including direct ability to obtain information, access to records, regular reporting
requirements and consent rights for each of the lenders). The portion of the New Secured Debt
attributable to the DIP Loan and Working Capital Loan shall be issued and allocated to Bridging
or its designee. The Remaining Secured Debt will be issued to Bridging or its designee and
Centurion and allocated (directly and not as a participation) as follows: (i) 90.86% of the
Remaining Secured Debt shall be issued to Bridging or its designee; and (ii) 9.14% of the
Remaining Secured Debt shall be issued to Centurion or its designee.

         (b)    Payment of the New Secured Debt shall be secured by a first priority lien on
substantially all of the assets of the Reorganized Debtors, subject to customary exceptions to be
set forth in the New Secured Debt Documents, with priority granted to Bridging or its designee
with respect to the amounts attributable to the DIP Loan and Working Capital Loan. The New
Secured Debt shall be divided into two tranches. The first tranche of the New Secured Debt,
totaling Forty Million Dollars ($40,000,000.00), shall provide for payments-in-kind of interest for
the first two years following the Effective Date upon which date the Reorganized Debtors will be
required to make payments of principal and interest in accordance with the terms of the New
Secured Debt Documents. In the event the Reorganized Debtors achieve certain operational
milestones, Bridging and Centurion shall have the right to convert a proportionate share of their
equity into an additional Thirty Million Dollars ($30,000,000.00) of New Secured Debt.

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        (c)    On the Effective Date, the Reorganized Debtors will be authorized to execute and
deliver the New Secured Debt Documents, and any related instruments and documents, and will
be authorized to execute, deliver, file, record and issue any other notes, guarantees, security
agreements, documents (including UCC financing statements, intellectual property security
agreements to be filed in the U.S. Patent & Trademark Office and deposit account control
agreements with the Debtors’ depositary banks), amendments to the foregoing, or agreements in
connection therewith, in each case without further notice to or order of the Bankruptcy Court, act
or action under applicable law, regulation, order, or rule and without need for any notice to or any
vote, consent, authorization, approval, ratification or other action by any Entity or any director,
stockholder, security holder, manager, member, or partner (or board thereof) of any Entity.

                  6.5   Sources of Cash for Certain Plan Distributions

       Except as otherwise provided in the Plan or the Confirmation Order, all Cash necessary for
the Reorganized Debtors to make payments required pursuant to the Plan with respect to Allowed
Administrative Expense Claims, Accrued Professional Compensation Claims and Other Priority
Claims will be obtained from funding advanced under the DIP Credit Agreement, the Working
Capital Loan and/or the Reorganized Debtors’ Cash balances, including Cash from operations.

                  6.6   Issuance of Reorganized Debtor Equity and Related Documentation

        On the Effective Date, the Reorganized Debtors will be authorized to and will issue the
Reorganized Debtor Equity without further notice to or order of the Bankruptcy Court, act or action
under applicable law, regulation, order, or rule and without need for any notice to or any vote,
consent, authorization, approval, ratification or other action by any Entity or any director,
stockholder, security holder, manager, member, or partner (or board thereof) of any Entity from
and after the Effective Date. The Reorganized Debtor Equity shall be deemed issued to and held
as follows: (i) 86.317% shall be issued to and held by Bridging or its designee; (ii) 8.683% shall
be issued to and held by Centurion; and (iii) 5% shall be issued to and held by the Creditors’ Trust
(the “Creditor Committee Equity”). The Reorganized Debtor Equity shall be governed by the
New Equity Documents which shall be in a form acceptable to Bridging, the Committee and
Centurion and filed as part of the Plan Supplement.

       With respect to the Creditor Committee Equity, the Creditors’ Trust shall receive typical
minority shareholder protections (e.g., tags, drags, etc.) as more fully described in the New Equity
Documents. Further, the Creditor Committee Equity shall be freely assignable by the Creditors’
Trust.

        The Creditor Committee Equity will entitle the Creditors’ Trust to 5% of the Net Proceeds
of a sale of the Reorganized Debtors. In the event the Reorganized Debtors are not sold by the
fifth anniversary of the Effective Date (the “Put Election Date”), the Creditors’ Trust shall have
the right to put the Creditor Committee Equity to the Reorganized Debtors (the “Put Election”) at
an amount equal to five percent (5%) of the “Put Amount.” The Put Amount shall be determined
as follows: (EBITDA amount as of the Put Election Date multiplied by the applicable EBITDA
multiple set forth in the chart below) less the total amount of secured debt as of the Put Election
Date plus the total amount of unrestricted cash, cash equivalents and investments on the balance
sheet as of the Put Election Date.
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              LIVES MANAGED UNDER                        REORGANIZED DEBTORS’
                  MANAGEMENT                           EBITDA MULTIPLE FOR THE 12
                                                       MONTHS PRIOR TO EXERCISING
                                                           THE PUT ELECTION

                         5,000 to 7,500                                    7

                        7,501 to 10,000                                   7.5

                        10,001 to 12,500                                   8

                        12,501 to 15,000                                  8.5

                        More than 15,000                                   9


                  6.7       Section 1145 Exemption

        The Reorganized Debtor Equity of the Reorganized Debtors to be issued and distributed
under the Plan shall be exempt from registration under (a) the Securities Act of 1933, as amended,
and all rules and regulations promulgated thereunder and (b) any state or local law requiring
registration for the offer, issuance, or distribution of securities pursuant to section 1145 of the
Bankruptcy Code, or, if applicable, section 4(a)(2) of the Securities Act of 1933, without further
act or action by any entity. The Reorganized Debtor Equity shall be freely tradable by the
recipients thereof, subject to (w) the provisions of section 1145(b)(1) of the Bankruptcy Code
relating to the definition of an underwriter in section 2(a)(11) of the Securities Act of 1933; (x)
compliance with any rules and regulations of the Securities and Exchange Commission, if any,
applicable at the time of any future transfer of such securities or instruments; (y) the restrictions,
if any, on the transferability of such securities contained in the New Organizational Documents;
and (z) applicable regulatory approval.

                  6.8       Employee Matters and Retiree Benefits

       Unless otherwise set forth in the schedule of assumed Executory Contracts and Unexpired
Leases included in the Plan Supplement, all material employee compensation and benefit Plans,
and employment, severance, retirement, indemnification, and other similar employee-related
agreement or arrangements in place as of the Effective Date with the Debtors shall be rejected by
the Debtors. Nothing in the Plan shall limit, diminish or otherwise alter the Debtors’ defenses,
Claims, Causes of Action, or other rights with respect to any such contracts, agreements, policies,
programs, and Plans. Notwithstanding the foregoing, pursuant to section 1129(a)(13) of the
Bankruptcy Code, on and after the Effective Date, all retiree benefits (as that term is defined in
section 1114 of the Bankruptcy Code), if any, shall continue to be paid in accordance with
applicable law.




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                  6.9    Release of Liens, Claims, and Equity Interests

        Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, on the Effective Date
and concurrently with the applicable distributions made pursuant to the Plan, all Liens, Claims,
Equity Interests, mortgages, deeds of trust, or other security interests against the property of the
Estates will be fully released, terminated, extinguished and discharged, in each case without further
notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,
or rule and without need for any notice to or any vote, consent, authorization, approval, ratification
or other action by any Entity or any director, stockholder, security holder, manager, member, or
partner (or board thereof) of any Entity. Any Entity holding such Liens or Equity Interests will,
pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized
Debtors such instruments of termination, release, satisfaction and/or assignment (in recordable
form) as may be reasonably requested by the Reorganized Debtors.

                  6.10   New Organizational Documents

        The New Organizational Documents shall satisfy the provisions of the Plan and the
Bankruptcy Code, and will (i) include, among other things, pursuant to section 1123(a)(6) of the
Bankruptcy Code, a provision prohibiting the issuance of non-voting Equity Securities, but only
to the extent required by section 1123(a)(6) of the Bankruptcy Code; (ii) authorize the issuance of
the Reorganized Debtor Equity; (iii) to the extent necessary or appropriate, include restrictions on
the transfer of Reorganized Debtor Equity; and (iv) to the extent necessary or appropriate, include
such provisions as may be needed to effectuate and consummate the Plan and the transactions
contemplated herein. After the Effective Date, the Reorganized Debtors may amend and/or restate
the New Organizational Documents and other applicable organizational documents, as permitted
by applicable law and in a manner consistent with the Plan.

                  6.11   Resignation of Directors and Officers

       Upon the Effective Date, the Debtors’ boards of directors and officers shall be deemed to
have resigned and shall be replaced by the New Board.

                  6.12   Managers and Officers of the Reorganized Debtors

       Except as set forth herein, the existing directors and managers of the Debtors will be
deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and
without need for any notice to or any vote, consent, authorization, approval, ratification or other
action by any Entity or any other Person or any director, stockholder, security holder, manager,
member, or partner (or board thereof) of any Entity.

        Except as otherwise provided in this Plan, the New Board will be designated by Bridging,
including a lead director who shall have such authority and duties as the New Board may
determine. Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose, prior
to the Confirmation Hearing, the identity and affiliations of any Person proposed to serve on the
New Board or as an officer of the Reorganized Debtors and, to the extent such Person is an insider
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other than by virtue of being a director or officer, the nature of any compensation for such Person.
Each such manager, director, and officer will serve from and after the Effective Date pursuant to
applicable law and the terms of the New Organizational Documents and the other constituent and
organizational documents of the Reorganized Debtors. Centurion shall be entitled to appoint one
(1) director on the New Board with voting authority and one (1) director with observation rights
only. Additionally, the Creditors’ Trust shall be entitled to New Board observation rights.

       The identity of the Reorganized Debtors’ managers and officers shall be disclosed in the
Plan Supplement.

                  6.13   Corporate Action

        Upon the Effective Date, all actions contemplated by the Plan shall be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified without any requirement for
further action by Holders of Claims or Equity Interests, directors, managers, or officers of the
Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption of Executory
Contracts and Unexpired Leases; (2) selection of the directors, managers, and officers for the
Reorganized Debtors; (3) the execution of and entry into the New Organizational Documents; (4)
the issuance and distribution of the Reorganized Debtor Equity as provided herein; and (5) all other
acts or actions contemplated or reasonably necessary or appropriate to promptly consummate the
transactions contemplated by the Plan (whether to occur before, on, or after the Effective Date).
All matters provided for in the Plan involving the company structure of the Debtors and any
company action required by the Debtors in connection therewith shall be deemed to have occurred
on and shall be in effect as of the Effective Date without any requirement of further action by the
security holders, directors, managers, authorized persons, or officers of the Debtors.

                  6.14   Cancellation of Agreements, Security Interests, and Other Interests

        Except for the purpose of evidencing a right to a distribution under this Plan and except as
otherwise set forth in this Plan, on the Effective Date, all agreements, instruments, Equity
Securities and other documents evidencing any prepetition Claim against or Equity Interest in any
of the Reorganized Debtors and any rights of any holder in respect thereof shall be deemed
cancelled, discharged, and of no force or effect. The holders of or parties to such cancelled
instruments, Equity Securities and other documentation will have no rights arising from or related
to such instruments, Equity Securities, or other documentation or the cancellation thereof, except
the rights provided for pursuant to this Plan and the obligations of the Debtors thereunder or in any
way related thereto will be fully released, terminated, extinguished and discharged, in each case
without further notice to or order of the Bankruptcy Court, act or action under applicable law,
regulation, order, or rule and without need for any notice to or any vote, consent, authorization,
approval, ratification or other action by any Entity or other Person or any director, stockholder,
manager, member, or partner (or board thereof) of any Entity.




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                  6.15   Dissolved Debtors

        On the Effective Date, the Dissolved Debtors shall be deemed dissolved without any
requirement for further action by Holders of Claims or Equity Interests, directors, managers, or
officers of the Debtors, the Reorganized Debtors, or any other Entity.

SECTION 7. CREDITORS’ TRUST

                  7.1    Establishment of the Creditors’ Trust

        The Creditors’ Trust shall be governed by the Creditors’ Trust Agreement. On the
Effective Date, the Trustee shall execute the Creditors’ Trust Agreement and, in his capacity as
Trustee, accept all Creditors’ Trust Assets on behalf of the Beneficiaries thereof, and be authorized
to obtain, seek the turnover, liquidate, and collect all of the Creditors’ Trust Assets not in his
possession. The Creditors’ Trust will then be deemed created and effective without any further
action by the Bankruptcy Court or any Person as of the Effective Date. The Creditors’ Trust shall
be established for the purposes of (i) liquidating any non-Cash Creditors’ Trust Assets; (ii)
maximizing recovery of the Creditors’ Trust Assets for the benefit of the Beneficiaries; and (iii)
distributing the proceeds of the Creditors’ Trust Assets to the Beneficiaries in accordance with this
Plan and the Creditors’ Trust Agreement, with no objective to continue or engage in the conduct
of a trade or business, except only in the event and to the extent necessary for, and consistent with,
the purpose of the Creditors’ Trust.

                  7.2    Creditors’ Trust Funding

        On the Effective Date, Bridging or its designee will fund Five Hundred and Fifty Thousand
Dollars ($550,000.00) as a non-recourse loan to the Creditors’ Trust (the “Creditors’ Trust
Loan”). The Creditors’ Trust Loan shall be payable only from the proceeds of the Creditors’ Trust
Causes of Action. The first One Million One Hundred Thousand Dollars ($1,100,000.00)
distributed from the Creditors’ Trust shall be distributed evenly (50/50) between Bridging or its
designee and the Creditors’ Trust to repay the Creditors’ Trust Loan. Upon repayment of the
Creditors’ Trust Loan, Bridging shall not be entitled to any additional Distributions from the
Creditors’ Trust.

                  7.3    Appointment of the Trustee

       The Trustee, together with his agents, representatives and professionals, will have the
power to administer the Creditors’ Trust Assets and make distributions in accordance with the
terms of this Plan and the Creditors’ Trust Agreement. The Trustee shall be appointed pursuant to
the Confirmation Order and subject to removal only by the Bankruptcy Court upon application or
motion by a Beneficiary of the Creditors’ Trust, after notice and a hearing, and for cause shown,
including (i) the willful and continued refusal by the Trustee to perform his duties under this Plan
and the Creditors’ Trust Agreement, and (ii) gross negligence, gross misconduct, fraud,
embezzlement or theft. The Trustee will be chosen by the Committee. During the term of the
Creditors’ Trust, the Trustee shall be entitled to compensation payable from the Creditors’ Trust
Assets as set forth in the Creditors’ Trust Agreement.

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                  7.4   Beneficiaries of Creditors’ Trust

       The Holders of Allowed General Unsecured Claims against the Debtors that are entitled to
Distributions shall be the Beneficiaries of the Creditors’ Trust. Such Beneficiaries shall be bound
by the Creditors’ Trust Agreement. The interests of the Beneficiaries in the Creditors’ Trust shall
be uncertificated and nontransferable except upon death of the interest holder or by operation of
law. Neither Bridging nor any of its participants shall be entitled to any Distributions from the
Creditors’ Trust on account of Bridging’s Deficiency Claim.

                  7.5   Vesting and Transfer of Creditors’ Trust Assets to the Creditors’ Trust

        On the Effective Date, pursuant to section 1141(b) of the Bankruptcy Code, the Creditors’
Trust Assets shall vest in the Creditors’ Trust free and clear of all Liens, Claims and Equity
Interests, except as otherwise specifically provided in this Plan or in the Confirmation Order;
provided, however, that the Trustee may abandon or otherwise not accept any non-Cash Creditors’
Trust Assets that the Trustee believes, in good faith, have no value to the Creditors’ Trust. Any
non-Cash Creditors’ Trust Assets that the Trustee so abandons or otherwise does not accept shall
not be property of the Creditors’ Trust.

                  7.6   Retention of Professionals

       The Trustee shall have the right to retain the services of attorneys, accountants, and other
professionals (collectively, the “Creditors’ Trust Professionals”) that are necessary to assist the
Trustee in the performance of his duties pursuant to this Plan, the Creditors’ Trust Agreement and
the Confirmation Order. The reasonable fees and expenses of such professionals shall be paid by
the Trustee from the Creditors’ Trust Assets and, if necessary, the Creditors’ Trust Assets upon
submission of monthly statements (“Creditors’ Trust Monthly Fee Statements”) for services
rendered and costs incurred to the Trustee and Bridging for review and approval. The Trustee will
have thirty (30) days from receipt of each Creditors’ Trust Monthly Fee Statement to object to the
Creditors’ Trust Monthly Fee Statement. In the event that any objection is received by the relevant
Creditors’ Trust Professional that cannot be promptly resolved by the Creditors’ Trust Professional
and the objecting party, the dispute will be submitted by the Trustee to the Bankruptcy Court for
adjudication. The Bankruptcy Court will retain jurisdiction to adjudicate objections to Creditors’
Trust Monthly Fee Statements. In the event that no objection is raised to a Creditors’ Trust
Monthly Fee Statement within the thirty (30) day period, the requested amount in the Creditors’
Trust Monthly Fee Statement will be promptly paid by the Trustee, subject to any requirements
under the Plan.

                  7.7   Creditors’ Trust Expenses

        Subject to the provisions of the Creditors’ Trust Agreement, all costs, expenses, and
obligations incurred by the Trustee in administering this Plan, the Creditors’ Trust, or in any
manner connected, incidental or related thereto, in effecting distributions from, as applicable, the
Creditors’ Trust shall be a charge against the Creditors’ Trust Assets and, if necessary, the
Creditors’ Trust Assets remaining from time to time in the hands of the Trustee. Such expenses
shall be paid in accordance with the Creditors’ Trust Agreement.

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                  7.8   Certain Powers and Duties of the Creditors’ Trust and Trustee.

                        (a)     General Powers of the Trustee. The Trustee shall be the exclusive
trustee of the Creditors’ Trust and the Creditors’ Trust Assets for purposes of 31 U.S.C. § 3713(b)
and 26 U.S.C. § 6012(b)(3). The powers, rights, and responsibilities of the Trustee shall be
specified in the Creditors’ Trust Agreement and shall include the authority and responsibility to:
(a) receive, manage, invest, supervise, and protect the Creditors’ Trust Assets; (b) pay taxes or
other obligations incurred by the Creditors’ Trust; (c) retain and compensate, without further order
of the Bankruptcy Court, the services of employees, professionals and consultants to advise and
assist in the administration, prosecution and distribution of Creditors’ Trust Assets; (d) calculate
and implement Distributions of Creditors’ Trust Assets; (e) investigate, prosecute, compromise,
and settle, in accordance with the specific terms of the Creditors’ Trust Agreement, the Creditors’
Trust Causes of Action; (f) resolve issues involving Claims and Equity Interests in accordance
with this Plan; and (g) undertake all administrative functions of the Chapter 11 Cases, including
the payment of fees payable to the United States Trustee incurred after the Effective Date and the
ultimate closing of the Chapter 11 Cases. The Creditors’ Trust is the successor to the Debtors and
their Estates.

                        (b) Investments of Cash. The Creditors’ Trust may invest Cash
(including any earnings thereon or proceeds therefrom) as permitted by section 345 of the
Bankruptcy Code or in other prudent investments, provided, however, that such investments are
permitted to be made by a Creditors’ Trust within the meaning of Treasury Regulation section
301.7701-4(d), as reflected therein, or under applicable IRS guidelines, rulings, or other
controlling authorities.

                        (c)    Reporting. In no event later than thirty (30) days after the end of
the first full month following the Effective Date and on a quarterly basis thereafter until all Cash
in the Creditors’ Trust has been distributed in accordance with this Plan, the Trustee shall file with
the Bankruptcy Court a report setting forth the amounts, recipients and dates of all Distributions
made by the Trustee under this Plan through each applicable reporting period.

                        (d)     Tax Reporting. The Trustee shall file tax returns for the Creditors’
Trust as a grantor trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with
this Plan. The Creditors’ Trust also shall annually (for tax years in which Distributions from the
Creditors’ Trust are made) send to each Beneficiary a separate statement setting forth the
Beneficiary’s share of items of income, gain, loss, deduction or credit and all such holders shall
report such items on their federal income tax returns; provided, however, that no such statement
need be sent to any Class that is not expected to receive any Distribution from the Creditors’ Trust.
The Creditors’ Trust’s taxable income, gain, loss, deduction or credit will be allocated to the
Creditors’ Trust’s Beneficiaries in accordance with their relative beneficial interests in the
Creditors’ Trust.

        As soon as possible after the Effective Date, the Creditors’ Trust shall make a good faith
valuation of assets of the Creditors’ Trust, and such valuation shall be used consistently by all
parties for all federal income tax purposes. The Creditors’ Trust also shall file (or cause to be
filed) any other statements, returns, or disclosures relating to the Creditors’ Trust that are required

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by any Governmental Unit for taxing purposes. The Creditors’ Trust may request an expedited
determination of taxes of the Debtors or of the Creditors’ Trust under section 505(b) of the
Bankruptcy Code for all tax returns filed for, or on behalf of, the Debtors and the Creditors’ Trust
for all taxable periods through the dissolution of the Creditors’ Trust.

        The Creditors’ Trust shall be responsible for filing all federal, state, and local tax returns
for the Debtors and the Creditors’ Trust. The Creditors’ Trust shall comply with all withholding
and reporting requirements imposed by any federal, state, or local taxing authority, and all
distributions made by the Creditors’ Trust shall be subject to any such withholding and reporting
requirements; provided, however, that, if the Trustee fails to withhold in respect of amounts
received or distributable with respect to any Beneficiaries and the Trustee is later held liable for
the amount of such withholding, such Beneficiaries shall reimburse the Trustee for such liability.
All such amounts withheld and paid to the appropriate taxing authority shall be treated as amounts
distributed to such Beneficiaries for all purposes of the Creditors’ Trust Agreement. The Trustee
shall be authorized to collect such tax information from the Beneficiaries (including, without
limitation, social security numbers or other tax identification numbers) as it, in its sole discretion,
deems necessary to effectuate the Plan, the Creditors’ Trust Agreement and the Confirmation
Order. In order to receive distributions under the Plan, all Beneficiaries will need to identify
themselves to the Trustee and provide tax information and the specifics of their holdings, to the
extent the Trustee deems appropriate (including completing the appropriate Form W-8 or Form
W-9, as applicable). The failure to provide such tax information will result in the disallowance of
such Claim without a further order from the Bankruptcy Court.

                  7.9    Preservation of Right to Conduct Investigations

        The preservation for the Creditors’ Trust of any and all rights to conduct investigations
pursuant to Bankruptcy Rule 2004 is necessary and relevant to the liquidation and administration
of the Creditors’ Trust Assets. Accordingly, any and all rights to conduct investigations pursuant
to Bankruptcy Rule 2004 held by the Debtors prior to the Effective Date shall vest with the
Creditors’ Trust and shall continue until dissolution of the Creditors’ Trust.

                  7.10   Prosecution and Resolution of Causes of Action.

                        (a)     The Creditors’ Trust’s Exclusive Authority to Pursue, Settle, or
Abandon Causes of Action. From and after the Effective Date, prosecution and settlement of all
Creditors’ Trust Causes of Action, including Avoidance Actions, transferred to the Creditors’
Trust shall be the sole responsibility of the Creditors’ Trust pursuant to the Plan and the
Confirmation Order. From and after the Effective Date, the Creditors’ Trust shall have exclusive
rights, powers, and interests of the Debtors’ Estates to pursue, settle or abandon such Causes of
Action as the sole representative of the Debtors’ Estates pursuant to section 1123(b)(3) of the
Bankruptcy Code. Proceeds recovered from all Causes of Action will be deposited into the
Creditors’ Trust and will be distributed by the Trustee to the Beneficiaries in accordance with the
provisions of the Plan and Creditors’ Trust Agreement. All Causes of Action, including Avoidance
Actions, that are not expressly released or waived under the Plan are reserved and preserved and
vest in the Creditors’ Trust in accordance with this Plan. No Person may rely on the absence of a
specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of

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Action against it as any indication that the Debtors, Reorganized Debtors or Trustee will not pursue
any and all available Causes of Action against such Person. The Trustee expressly reserves all
Creditors’ Trust Causes of Action, and, therefore, no preclusion doctrine, including the doctrines
of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable,
or otherwise), or laches, shall apply to such Creditors’ Trust Causes of Action upon, after, or as a
consequence of confirmation or consummation of the Plan. No claims or Causes of Action against
the Released Parties expressly released or waived pursuant to the Plan shall be transferred to the
Creditors’ Trust, the Trustee shall not have standing to pursue such claims or Causes of Action,
and all such claims and Causes of Action shall be waived, released and discharged pursuant to the
Plan.

                       (b)     Settlement of Causes of Action. Settlement by the Creditors’ Trust
of any Creditors’ Trust Cause of Action transferred to the Creditors’ Trust shall require:
(i) approval only of the Trustee if the amount claimed by the Creditors’ Trust against a defendant
is less than One Hundred Thousand Dollars ($100,000.00); and (ii) approval of the Trustee and
the Creditors’ Trust Oversight Committee, if the amount claimed by the Creditors’ Trust against a
defendant is unliquidated or equals to or exceeds One Hundred Thousand Dollars ($100,000.00).

                  7.11   Federal Income Tax Treatment of the Creditors’ Trust

        For federal income tax purposes, it is intended that the Creditors’ Trust be classified as a
Creditors’ Trust under section 301.7701-4 of the Treasury regulations and that such trust be owned
by its beneficiaries. Accordingly, for federal income tax purposes, it is intended that the
Beneficiaries be treated as if they had received a distribution from the Debtors’ Estates of an
undivided interest in each of the Creditors’ Trust Assets in satisfaction of their Allowed Claims
(to the extent of the value of their respective share in the applicable assets) and then contributed
such interests to the Creditors’ Trust in exchange for their interests in the Creditors’ Trust, and the
Creditors’ Trust’s Beneficiaries will be treated as the grantors and owners thereof.

                  7.12   Limitation of Liability

        No recourse will ever be had, directly or indirectly, against the Trustee or his or her
respective employees, professionals, representatives, agents, successors, or assigns, by legal or
equitable proceedings or by virtue of any statute or otherwise, or any deed of trust, mortgage,
pledge or note, nor upon any promise, contract, instrument, undertaking, obligation, covenant or
agreement whatsoever executed by the Creditors’ Trust under this Plan or by reason of the creation
of any indebtedness by the Creditors’ Trust or the Trustee under this Plan. All such liabilities
under this Plan will be enforceable only against, and will be satisfied only out of, the Creditors’
Trust Assets. The Creditors’ Trust and the Trustee and their respective officers, directors,
employees, professionals, representatives, agents, successors or assigns will not be liable for any
act they may do, or omit to do hereunder in good faith and in the exercise of their sound judgment;
provided, however, that this section will not apply to any gross negligence or willful misconduct
by the Creditors’ Trust and the Trustee or their respective officers, directors, employees,
professionals, representatives, agents, successors, or assigns.



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                  7.13   Term of Creditors’ Trust

         The Trustee shall be discharged and the Creditors’ Trust shall be terminated, at such time
as (i) all of the Creditors’ Trust Assets have been liquidated, (ii) all duties and obligations of the
Trustee under the Creditors’ Trust Agreement have been fulfilled, (iii) all Distributions required
to be made by the Creditors’ Trust under this Plan and the Creditors’ Trust Agreement have been
made, and (iv) the Chapter 11 Cases have been closed; provided, however, that in no event shall
the Creditors’ Trust be dissolved later than five (5) years from the Effective Date unless the
Bankruptcy Court, upon motion within the six-month period prior to the fifth anniversary (or the
end of any extension period approved by the Bankruptcy Court), determines that a fixed period
extension not to exceed one (1) year is necessary to facilitate or complete the recovery and
liquidation of the Creditors’ Trust Assets.

                  7.14   Conflicts Between the Creditors’ Trust Agreement and the Plan

        In the event of any inconsistencies or conflict between the Creditors’ Trust Agreement and
this Plan, the terms and provisions of this Plan shall control.

SECTION 8. DISTRIBUTIONS

                  8.1    Distribution Record Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Equity Interests as maintained by the Debtors or their agents
shall be deemed closed, and there shall be no further changes in the record Holders of any of the
Claims or Equity Interests. The Debtors shall have no obligation to recognize any ownership
transfer of the Claims or Equity Interests occurring after the Distribution Record Date. The
Debtors shall be entitled to recognize and deal for all purposes under the Plan only with those
record Holders stated on the transfer ledgers as of the close of business on the Distribution Record
Date, to the extent applicable.

                  8.2    Timing of Distributions

        Except as otherwise provided in this Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date that
such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter), each
Holder of an Allowed Claim against the Debtors shall receive the full amount of the Distributions
that the Plan provides for Allowed Claims in the applicable Class and in the manner provided
therein. Distributions made after the Effective Date to Holders of Allowed Claims shall be deemed
to have been made on the Effective Date and, except as otherwise provided in the Plan, no interest
shall be payable by the Debtors with respect to such Claims or any Distribution related thereto. In
the event that any payment or act under the Plan is required to be made or performed on a date that
is not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as
of the required date. If there are Disputed Claims, Distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in the Plan. Except as otherwise provided
in the Plan, Holders of Claims shall not be entitled to interest, dividends or accruals on
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Distributions provided for thereunder, regardless of whether such Distributions are delivered on
or at any time after the Effective Date.

                  8.3   Disbursing Agent

        Except as otherwise provided in this Plan, all Distributions under this Plan shall be made
by the Reorganized Debtors or the Trustee, as applicable, as “Disbursing Agent” or such other
Person designated by the Reorganized Debtors or the Trustee as a Disbursing Agent on the
Effective Date.

                  8.4   Rights and Powers of Disbursing Agent

       The Disbursing Agent shall be empowered to: (a) effect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under this Plan;
(b) make all Distributions contemplated hereby; (c) employ professionals to represent it with
respect to its responsibilities; and (d) exercise such other powers as may be vested in the
Disbursing Agent by order of the Bankruptcy Court, pursuant to this Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions of this Plan.

                  8.5   Delivery of Distributions in General

        Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall
be made to Holders of record as of the Distribution Record Date by the Disbursing Agent.
Distributions to Holders of Allowed Claims will be made at the address of each such Holder as set
forth in the Debtors’ books and records. Distributions under this Plan on account of such Allowed
Claims shall not be subject to levy, garnishment, attachment, or like legal process, so that each
Holder of an Allowed Claim shall have and receive the benefit of the distributions in the manner
set forth in this Plan. None of the Debtors, the Reorganized Debtors, and the Disbursing Agent
shall incur any liability whatsoever on account of any distributions under this Plan.

                  8.6   Payments and Distributions on Disputed Claims

        Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims shall be deemed
to have been made on the Effective Date. Notwithstanding any provision otherwise in this Plan
and except as may be agreed to by the Debtors or the Reorganized Debtors, on the one hand, and
the Holder of a Disputed Claim, on the other hand, no partial payments and no partial Distributions
shall be made with respect to any Disputed Claim until all Disputed Claims held by the Holder of
such Disputed Claim have become Allowed Claims or have otherwise been resolved by settlement
or Final Order.

                  8.7   Manner of Payment

       Any Distributions to be made by or on behalf of the Debtors, Reorganized Debtors, or the
Trustee, as applicable, pursuant to this Plan shall be made by checks drawn on accounts maintained
by the Debtors, Reorganized Debtors, or the Trustee, respectively, or by wire transfer if
circumstances justify, at the option of the Debtors, Reorganized Debtors, or the Trustee, as
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applicable; provided, however, any payments made to Bridging or Centurion shall be made by
wire transfer.

                  8.8    Undeliverable Distributions and Unclaimed Property

        In the event that any Distribution to any Holder is returned as undeliverable, no Distribution
to such Holder shall be made unless and until the Disbursing Agent has determined the then current
address of such Holder, at which time such Distribution shall be made as soon as practicable after
such Distribution has become deliverable; provided, however, that such Distributions shall be
deemed unclaimed property under section 347(b) of the Bankruptcy Code and forfeited at the
expiration of six months from the date of the Distribution. After such date, all “unclaimed
property” or interests in property shall revert to the Reorganized Debtors or the Creditors’ Trust,
as applicable (notwithstanding any applicable federal or state escheat, abandoned or unclaimed
property laws to the contrary), and the Claim of any Holder to such property shall be discharged
and forever barred.

                  8.9    Withholding and Reporting Requirements

       In connection with this Plan and all instruments issued in connection therewith, the
Disbursing Agent shall comply with all applicable withholding and reporting requirements
imposed by any federal, state or local taxing authority, and all Distributions under this Plan shall
be subject to any such withholding or reporting requirements.

                  8.10   Surrender Instruments

        Pursuant to section 1143 of the Bankruptcy Code, as a condition precedent to receiving any
Distribution under the Plan, each holder of a certificated instrument or note must surrender such
instrument or note held by it to the Disbursing Agent or its designee. Any such holder of such
instrument or note that fails to (i) surrender the instrument or note or (ii) execute and deliver an
affidavit of loss and/or indemnity reasonably satisfactory to the Disbursing Agent, as applicable,
before the fifth anniversary of the Confirmation Date shall be deemed to have forfeited all rights
and claims and may not participate in any Distribution hereunder. Any Distribution so forfeited
shall become property of the Reorganized Debtors or the Creditors’ Trust, as applicable.

                  8.11   Setoffs

        Except for the payments to be made to Bridging or Centurion, the Debtors, the Reorganized
Debtors and/or the Trustee may, but shall not be required to, set off against any Claim (for purposes
of determining the Allowed amount of such Claim on which a Distribution shall be made), any
claims of any nature whatsoever that the Debtors and the Reorganized Debtors may have against
the Holder of such Claim, but neither the failure to do so nor the allowance of any Claim hereunder
shall constitute a waiver or release by the Debtors, the Reorganized Debtors and/or the Trustee of
any such claim the Debtors, the Reorganized Debtors and/or the Trustee may have against the
Holder of such Claim.



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                  8.12   Insurance Claims

        Except for the payments to be made to Bridging or Centurion, no Distributions under this
Plan shall be made on account of Allowed Claims until the Holder of such Allowed Claim has
exhausted all remedies with respect to the Debtors’ Insurance Policies. To the extent that the
Debtors’ insurers agree to satisfy in full a Claim, then immediately upon such insurers’ agreement,
such Claim may be expunged without a Claims objection having to be filed and without any further
notice to or action, order or approval of the Bankruptcy Court.

                  8.13   Applicability of Insurance Policies

        Except as otherwise provided in this Plan, Distributions to Holders of Allowed Claims shall
be made in accordance with the provisions of any applicable Insurance Policy. Nothing contained
in this Plan shall constitute or be deemed a waiver of any Cause of Action that the Debtors,
Reorganized Debtors, or any Person may hold against any insurers under any of the Debtors’
Insurance Policies, nor shall anything contained in the Disclosure Statement or herein constitute
or be deemed a waiver by such insurers of any defenses, including coverage defenses, held by such
insurers.

                  8.14   No Postpetition Interest

       Unless otherwise specifically provided for herein or in the Confirmation Order, or required
by applicable bankruptcy law, postpetition interest shall not accrue or be paid on any Claims or
Equity Interests, and no Holder of a Claim or Equity Interest shall be entitled to interest accruing
on or after the Petition Date on such Claim or Equity Interest. Notwithstanding the foregoing,
nothing in this Plan shall prohibit Bridging or Centurion from allocating payments received from
the Debtors to principal or interest on Bridging’s Secured Claim, in their sole discretion in
accordance with applicable law.

                  8.15   Distributions Free and Clear

       Except as may be otherwise provided herein, all Distributions under this Plan shall be free
and clear of any Liens, Claims, encumbrances, and other interests.

                  8.16   Fractional Dollars; De Minimis Distributions

        Notwithstanding any other provision of this Plan, Cash payments of fractions of dollars
shall not be made. Whenever any Distribution to a Holder of a Claim would otherwise call for
Distribution of Cash in a fractional dollar amount, the actual Distribution of such Cash shall be
rounded to the nearest whole dollar (up or down), with half dollars (or less) being rounded down.
Neither the Debtors, the Reorganized Debtors nor the Trustee shall be required to make any Cash
payment of less than ten dollars ($10.00) with respect to any Claim unless a request therefor is
made in writing to the Debtor, the Reorganized Debtors or the Trustee, as applicable; provided,
however, that neither the Debtor, the Reorganized Debtors nor the Trustee shall have any
obligation to make any Distribution, whether final or not, unless and until the total amount of such
Distribution to a specific Holder of an Allowed Claim is equal to or greater than ten dollars
($10.00).
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SECTION 9. PROCEDURES FOR DISPUTED CLAIMS

       The provisions of this section 9 shall not be applicable to Bridging’s Secured Claim and
Bridging’s Deficiency Claim which are Allowed Claims. Bridging’s Deficiency Claim is Allowed
for voting purposes only. Bridging shall not be entitled to any Distributions on account of
Bridging’s Deficiency Claim.

                  9.1   Allowance of Claims and Interests

        Except as expressly provided herein, or in any order entered in the Chapter 11 Cases prior
to the Effective Date, including the Confirmation Order, no Claim or Equity Interest shall be
deemed Allowed unless and until such Claim or Equity Interest is deemed Allowed under this Plan
or the Bankruptcy Code or Allowed by the Bankruptcy Court by entry of a Final Order allowing
such Claim or Equity Interest. On and following the Effective Date, the Reorganized Debtors and
Trustee, as applicable, shall be vested with any and all rights and defenses the Debtors had with
respect to any Claim or Equity Interest immediately prior to the Effective Date.

                  9.2   Objections to Claims

        Except as expressly provided herein, the Debtors (before the Effective Date) or the
Reorganized Debtors or Trustee (on or after the Effective Date), as applicable, shall have the
exclusive authority to file, settle, compromise, withdraw, or litigate to judgment any objections to
Claims as permitted under this Plan. With respect to Administrative Claims, Accrued Professional
Compensation Claims and Other Priority Claims, the Debtors, the Reorganized Debtors and the
Trustee shall have standing to object to any such Claims. Any objections to Claims shall be filed
and served on or before the later of (i) one hundred eighty (180) days after the Effective Date or
(ii) such date as may be fixed by the Bankruptcy Court. From and after the Effective Date, the
Trustee may settle or compromise any Disputed Claim without approval of the Bankruptcy Court.
The Debtors, the Reorganized Debtors and the Trustee reserve all rights to resolve any Disputed
Claim outside the Bankruptcy Court under applicable governing law.

                  9.3   Estimation of Claims

        The Debtors (before the Effective Date) or the Trustee (on or after the Effective Date) may,
at any time, and from time to time, request that the Bankruptcy Court estimate any Contingent
Claim or Disputed Claim pursuant to section 502(c) of the Bankruptcy Code for any reason,
regardless of whether an objection was previously filed with the Bankruptcy Court with respect to
such Claim, or whether the Bankruptcy Court has ruled on any such objection, and the Bankruptcy
Court will retain jurisdiction to estimate any Claim at any time during litigation concerning any
objection to any Claim, including, without limitation, during the pendency of any appeal relating
to such objection. In the event that the Bankruptcy Court estimates any Contingent Claim or
Disputed Claim, the amount so estimated shall constitute either the Allowed amount of such Claim
or a maximum limitation on such Claim, as determined by the Bankruptcy Court. If the estimated
amount constitutes a maximum limitation on the amount of such Claim, the Debtors or the Trustee
may pursue supplementary proceedings to object to the allowance of such Claim; provided,
however, the Trustee may elect not to pursue such supplementary proceedings, instead electing to
treat such maximum amount as the Allowed amount of such Claim.
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                  9.4    No Distribution Pending Allowance

        Notwithstanding any other provision of this Plan, if any portion of a Claim is Disputed, no
payment or distribution provided hereunder shall be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

                  9.5    Distributions after Allowance

         At such time as a Contingent Claim or a Disputed Claim becomes an Allowed Claim, a
Distribution shall be made to the Holder of such Allowed Claim in accordance with the provisions
of this Plan as soon as practicable after the date that the order or judgment of the Bankruptcy Court
allowing any Contingent Claim or Disputed Claim becomes a Final Order. To the extent that all
or a portion of a Contingent Claim or a Disputed Claim is disallowed, the Holder of such Claim
shall not receive any Distribution on account of the portion of such Claim that is disallowed.

                  9.6    Preservations of Rights to Settle Claims

        In accordance with section 1123(b) of the Bankruptcy Code, the Trustee shall have the
discretion to retain and enforce, sue on, settle, or compromise all claims, rights, causes of action,
suits, and proceedings, whether in law or in equity, whether known or unknown, that the Debtors
or their Estates may hold against any person or entity without the approval of the Bankruptcy
Court, subject to the terms of this Plan, the Confirmation Order, and any contract, instrument,
release, indenture, or other agreement entered into in connection herewith. The Trustee may
pursue such retained claims, rights, or causes of action, suits, or proceedings, as appropriate, in
accordance with the best interests of the Creditors’ Trust.

                  9.7    Disallowed Claims

        All Claims held by persons or entities against whom or which the Debtors or Trustee has
commenced a proceeding asserting a cause of action under sections 542, 543, 544, 545, 547, 548,
549, and/or 550 of the Bankruptcy Code shall be deemed Disallowed Claims pursuant to section
502(d) of the Bankruptcy Code and Holders of such Claims shall not be entitled to vote to accept
or reject the Plan. Disallowed Claims pursuant to this Section shall continue to be Disallowed
Claims for all purposes until the avoidance action against such party has been settled or resolved
by Final Order and any sums due to the Debtors or Trustee from such party have been paid.

SECTION 10. EXECUTORY CONTRACTS AND UNEXPIRED LEASES

                  10.1   Assumption and Rejection of Executory Contracts and Unexpired
Leases

        Except with respect to the Material Contracts or as otherwise provided in this Plan or in
any contract, instrument, release, indenture, or other agreement or document entered into in
connection with this Plan, each of the Executory Contracts and Unexpired Leases of the Debtors
shall be deemed rejected as of the Effective Date, unless such Executory Contract or Unexpired
Lease: (1) was assumed or rejected previously by the Debtor; (2) expired or terminated pursuant

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to its own terms before the Effective Date; or (3) is the subject of a motion to assume or reject filed
on or before the Effective Date.

        The Debtors shall assume the Material Contracts. Entry of the Confirmation Order shall
constitute a Bankruptcy Court order approving assumption of such Material Contracts and such
assumption shall be effective as of the Effective Date. Each Material Contract assumed pursuant
to the Plan shall be fully enforceable by the Reorganized Debtors in accordance with its terms,
except as such terms may have been modified by any order of the Bankruptcy Court or as otherwise
agreed to by the Debtors and the applicable counterparty to the Material Contract.

                  10.2   Inclusiveness

        Unless otherwise specified, each Executory Contract and Unexpired Lease assumed or
rejected by the Debtors shall include any and all modifications, amendments, supplements,
restatements, or other agreements made directly or indirectly by any agreement, instrument, or
other document that in any manner affects such Executory Contract or Unexpired Lease.

                  10.3   Rejection Claims

        Except as otherwise provided in orders entered by the Bankruptcy Court, all Proofs of
Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, if any, must be filed with the Claims Agent and served on the Creditors’ Trust (and counsel,
if known) within thirty (30) days after service of notice of entry of the Confirmation Order;
provided, that any such Claims arising from the rejection of an Unexpired Lease shall be subject
to the cap on rejection damages imposed by section 502(b)(6) of the Bankruptcy Code. Any
Claims arising from the rejection of an Executory Contract or Unexpired Lease not filed within
such time will be automatically disallowed, forever barred from assertion and shall not be
enforceable against the Debtors or the Reorganized Debtors, the Debtors’ Estates or their property
without the need for any objection by the Debtors, the Reorganized Debtors or the Creditors’ Trust
or further notice to, or action, order or approval of the Bankruptcy Court. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be
classified as General Unsecured Claims against the Debtors and shall be treated in accordance with
this Plan.

                  10.4   Cure of Defaults

        Any defaults under the Materials Contracts shall be satisfied, pursuant to and to the extent
required by section 365(b)(1) of the Bankruptcy Code, by payment of the applicable default
amount in Cash on the Effective Date or on such other terms as the Bankruptcy Court may order
or the parties to such Materials Contracts may otherwise agree in writing (the “Cure Amount”).
The Debtors shall file, as part of the Plan Supplement, a schedule of the Material Contracts and
associated Cure Amounts.

        Any objection by a counterparty to a Material Contract to a Cure Amount must be filed,
served and actually received by the Debtors on or prior to thirty (30) days after the Effective Date.
Any counterparty to a Material Contract that fails to object timely to the proposed Cure Amount
will be deemed to have consented to such matters and will be deemed to have forever released and
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waived any objection to such Cure Amount. The Confirmation Order shall constitute an order of
the Bankruptcy Court approving the assumption of the Material Contracts pursuant to sections 365
and 1123 of the Bankruptcy Code as of the Effective Date.
        In the event of a dispute regarding (a) the amount of any Cure Amount, (b) the ability of
any Debtor or assignee to provide “adequate assurance of future performance” (within the meaning
of section 365 of the Bankruptcy Code) under any Material Contract to be assumed, or assumed
and assigned or (c) any other matter pertaining to assumption, the applicable payment of the Cure
Amount required by section 365(b)(1) of the Bankruptcy Code shall be made following the entry
of a Final Order resolving the dispute and approving such assumption. If such objection is
sustained by Final Order of the Bankruptcy Court, the Debtors or the Reorganized Debtors may
reject such Material Contract in lieu of assuming it. The Debtors or the Reorganized Debtors, as
applicable, shall be authorized to effect such rejection by filing a written notice of rejection with
the Bankruptcy Court and serving such notice on the applicable counterparty within thirty (30)
days of the entry of such Final Order.

                  10.5   Full Release and Satisfaction

        Subject to the payment of any Cure Amount, assumption of any Material Contract pursuant
to the Plan shall result in the full release and satisfaction of any Claims or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or
ownership interest composition or other bankruptcy-related defaults, arising under any assumed
Material Contract at any time prior to the effective date of assumption, in each case as provided in
section 365 of the Bankruptcy Code. Any Proofs of Claim filed with respect to a Material Contract
that has been assumed by Final Order shall be deemed disallowed and expunged (subject to the
payment of a Cure Amount), without further notice to or action, order, or approval of the
Bankruptcy Court.

                  10.6   Reservation of Rights

       Nothing contained in this Plan or the Plan Supplement shall constitute an admission by the
Debtors or the Reorganized Debtors that any such contract or lease is in fact an Executory Contract
or Unexpired Lease or that the Debtors or the Reorganized Debtors have any liability thereunder.

                  10.7   D&O Liability Insurance Policies

        To the extent that the D&O Liability Insurance Policies are considered to be Executory
Contracts, notwithstanding anything in the Plan to the contrary, effective as of the Effective Date,
the Debtors shall be deemed to have assumed all unexpired D&O Liability Insurance Policies with
respect to the Debtors’ directors, managers, officers, and employees serving on or after the Petition
Date pursuant to section 365(a) of the Bankruptcy Code. Entry of the Confirmation Order will
constitute the Bankruptcy Court’s approval of the Debtors’ assumption of each of the unexpired
D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained in the Plan
or Confirmation Order, confirmation of the Plan shall not discharge, impair, or otherwise modify
any indemnity obligations of the insurers under the D&O Liability Insurance Policies assumed by
the foregoing assumption of the D&O Liability Insurance Policies, any agreements, documents,
and instruments related thereto, and each such indemnity obligation will be deemed and treated as

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an Executory Contract that has been assumed by the Debtors under the Plan as to which no Proof
of Claim need be filed.

SECTION 11. CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

                  11.1   Conditions Precedent to Confirmation

        Confirmation of this Plan shall not occur, and the Confirmation Order shall not be entered,
until each of the following conditions precedent have been satisfied or waived pursuant to the
provisions of this Plan:

                       (a)     The Bankruptcy Court shall have entered an order, which shall not
be subject to any stay or subject to an unresolved request for revocation under section 1144 of the
Bankruptcy Code, in form and substance acceptable to the Debtors and Bridging, approving the
Disclosure Statement with respect to this Plan and the solicitation of votes thereon as being in
compliance with section 1125 of the Bankruptcy Code and applicable non-bankruptcy law;

                        (b)      The proposed Confirmation Order shall be in form and substance
satisfactory in all respects to the Debtors, the Committee and Bridging;

                     (c)     Unless otherwise authorized by the Confirmation Order, the
Bankruptcy Court shall have entered one or more orders, in form and substance acceptable to the
Debtors and Bridging, authorizing the assumption of the Material Contracts; and

                     (d)    The Plan and the Plan Supplement, including any schedules,
documents, supplements, and exhibits thereto shall be, in form and substance, acceptable to the
Debtors, the Committee and Bridging.

                  11.2   Conditions Precedent to the Effective Date

       The Effective Date shall not occur until each of the following conditions precedent have
been satisfied or waived pursuant to the provisions of this Plan:

                       (a)     All documents and agreements necessary to implement the Plan,
including without limitation, the Reorganized Debtor Equity, the New Organizational Documents,
and the New Secured Debt Documents, in each case in form and substance acceptable to the
Debtors, Bridging, the Committee and Centurion, as applicable, will have (a) been tendered for
delivery and (b) been effected by, executed by, or otherwise deemed binding upon, all Entities
party thereto. All conditions precedent to such documents and agreements will have been satisfied
or waived pursuant to the terms of such documents or agreements;

                        (b)     All consents, actions, documents, certificates and agreements
necessary to implement the Plan, including, without limitation, the New Organizational
Documents, will have been effected or executed and delivered to the required parties and, to the
extent required, filed with the applicable governmental units in accordance with applicable laws;



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                         (c)    All Material Contracts shall have been assumed by the Reorganized
Debtors;

                     (d)     The Debtors shall have implemented the Restructuring Transactions
in a manner consistent with the Plan pursuant to the documentation acceptable to the Debtors,
Bridging, the Committee and Centurion, as applicable; and

                       (e)    All actions, documents, certificates, and agreements necessary to
implement this Plan, including, without limitation, the Creditors’ Trust Agreement, shall have been
effected or executed and delivered to the required parties and, to the extent required, filed with the
applicable governmental units in accordance with applicable laws.

                  11.3   Waiver of Conditions

        The conditions to consummation of the Plan set forth in this section 11 may be waived by
the Debtors with the consent of Bridging and the Committee without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceeding to confirm or consummate the Plan.
To the extent that a condition to consummation of the Plan requires the consent of Bridging and/or
the Committee, such conditions may only be waived by the Debtors with the consent of Bridging
or the Committee, as applicable. The failure to satisfy or waive a condition to confirmation or the
Effective Date may be asserted by the Debtors, the Reorganized Debtors or Bridging regardless of
the circumstances giving rise to the failure of such condition to be satisfied. The failure of the
Debtors, the Reorganized Debtors or Bridging to exercise any of the foregoing rights will not be
deemed a waiver of any other rights, and each right will be deemed an ongoing right that may be
asserted at any time.

                  11.4   Effect of Failure of Conditions

        If the consummation of the Plan does not occur, the Plan will be null and void in all respects
and nothing contained in the Plan or the Disclosure Statement will: (a) constitute a waiver or
release of any claims by or Claims against or Equity Interests in the Debtors; (b) prejudice in any
manner the rights of the Debtors, any Holders or any other Entity; (c) constitute an Allowance of
any Claim or Equity Interest; or (d) constitute an admission, acknowledgment, offer or undertaking
by the Debtors, any Holders or any other Entity in any respect.

SECTION 12. EFFECT OF CONFIRMATION

                  12.1   Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or any other Bankruptcy
Rule, upon the occurrence of the Effective Date, the terms of this Plan and the Creditors’ Trust
Agreement shall be immediately effective and enforceable and deemed binding upon the Debtors,
Reorganized Debtors, the Trustee, the Creditors’ Trust and any and all Holders of Claims or Equity
Interests (irrespective of whether such Claims or Equity Interests are deemed to have accepted this
Plan), all Persons that are parties to or are subject to the settlements, compromises, releases,
discharges and injunctions described in this Plan, each Person acquiring property under this Plan,

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and any and all non-Debtors parties to Executory Contracts and Unexpired Leases with the
Debtors.

                  12.2   Compromise and Settlement of Claims, Interests and Controversies

       To the extent provided for by the Bankruptcy Code and in consideration for the
Distributions and other benefits provided pursuant to this Plan, on the Effective Date, the
provisions of this Plan shall constitute a good faith compromise of all Claims, Equity Interests and
controversies relating to the contractual, legal and subordination rights that a Holder of a Claim or
Equity Interest may have with respect to any Allowed Claim or Equity Interest, or any Distribution
to be made on account of such Allowed Claim or Equity Interest. The entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of the compromise or settlement of all such
Claims, Equity Interests and controversies, as well as a finding by the Bankruptcy Court that such
compromise or settlement is in the best interests of the Debtors, their Estates, and Holders of
Claims and Equity Interests and is fair, equitable, and reasonable.

                  12.3   Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code and except as otherwise specifically
provided in this Plan or the Plan Supplement, for good and valuable consideration, including the
service of the Released Parties to facilitate the expeditious reorganization of the Debtors and the
consummation of the transactions contemplated by the Plan, on and after the Effective Date, the
Released Parties are deemed released and discharged by the Debtors and their Estates from any
and all claims, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative claims asserted or assertable on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity
or otherwise, that the Debtors or their Estates would have been legally entitled to assert in its own
right (whether individually or collectively) or on behalf of the Holder of any Claim or Equity
Interest or other Person, based on or relating to, or in any manner arising from, in whole or in part,
the Debtors, the Chapter 11 Cases, or the transactions or events giving rise to any Claim or Equity
Interest that is treated in the Plan, the business or contractual arrangements between the Debtors
and any Released Party, the restructuring of Claims and Equity Interests before or during the
Chapter 11 Cases, the negotiation, formulation, or preparation of the Plan, the Disclosure
Statement, any Plan Supplement or related agreements, instruments or other documents, other than
Debtor Released Claims against a Released Party arising out of the gross negligence, willful
misconduct, intentional fraud, or criminal liability of any such person or entity (the “Debtor
Released Claims”).

                  12.4   Releases by Holders of Claims

     ON THE EFFECTIVE DATE, EXCEPT AS OTHERWISE PROVIDED HEREIN
AND EXCEPT FOR THE RIGHT TO ENFORCE THIS PLAN, ALL PERSONS WHO (I)
ARE DEEMED TO HAVE VOTED TO ACCEPT THIS PLAN UNDER SECTION 1126(F)
OF THE BANKRUPTCY CODE; OR (II) ARE ENTITLED TO VOTE TO ACCEPT OR
REJECT THIS PLAN AND MARK THEIR BALLOTS AS OPTING-IN TO THE
RELEASES GRANTED UNDER THIS SECTION, SHALL, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, BE DEEMED TO FOREVER RELEASE, WAIVE
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AND DISCHARGE THE RELEASED PARTIES OF AND FROM ALL LIENS, CLAIMS,
CAUSES OF ACTION, LIABILITIES, ENCUMBRANCES, SECURITY INTERESTS,
INTERESTS OR CHARGES OF ANY NATURE OR DESCRIPTION WHATSOEVER
RELATING TO THE DEBTORS, THE CHAPTER 11 CASES OR AFFECTING
PROPERTY OF THE ESTATES, WHETHER KNOWN OR UNKNOWN, SUSPECTED
OR UNSUSPECTED, SCHEDULED OR UNSCHEDULED, CONTINGENT OR NOT
CONTINGENT, UNLIQUIDATED OR FIXED, ADMITTED OR DISPUTED, MATURED
OR UNMATURED, SENIOR OR SUBORDINATED, WHETHER ASSERTABLE
DIRECTLY OR DERIVATIVELY BY, THROUGH, OR RELATED TO ANY OF THE
RELEASED PARTIES AND THEIR SUCCESSORS AND ASSIGNS WHETHER AT
LAW, IN EQUITY OR OTHERWISE, BASED UPON ANY CONDITION, EVENT, ACT,
OMISSION OCCURRENCE, TRANSACTION OR OTHER ACTIVITY, INACTIVITY,
INSTRUMENT OR OTHER AGREEMENT OF ANY KIND OR NATURE OCCURRING,
ARISING OR EXISTING PRIOR TO THE EFFECTIVE DATE IN ANY WAY
RELATING TO OR ARISING OUT OF, IN WHOLE OR IN PART, THE DEBTORS, THE
CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION OF THIS PLAN, THE
CONSUMMATION OF THIS PLAN OR THE ADMINISTRATION OF THIS PLAN,
INCLUDING WITHOUT LIMITATION, THE NEGOTIATION AND SOLICITATION
OF THIS PLAN, ALL REGARDLESS OF WHETHER (A) A PROOF OF CLAIM OR
EQUITY INTEREST HAS BEEN FILED OR IS DEEMED TO HAVE BEEN FILED, (B)
SUCH CLAIM OR EQUITY INTEREST IS ALLOWED OR (C) THE HOLDER OF SUCH
CLAIM OR EQUITY INTEREST HAS VOTED TO ACCEPT OR REJECT THIS PLAN,
EXCEPT FOR WILLFUL MISCONDUCT OR GROSS NEGLIGENCE. FOR THE
AVOIDANCE OF DOUBT, NOTHING CONTAINED HEREIN SHALL IMPACT THE
RIGHT OF ANY HOLDER OF AN ALLOWED CLAIM TO RECEIVE A DISTRIBUTION
ON ACCOUNT OF ITS ALLOWED CLAIM IN ACCORDANCE WITH SECTION 4 OF
THIS PLAN.

                  12.5   Exculpation

        None of the Exculpated Parties shall have or incur any liability to any Holder of a Claim
or Equity Interest, or other party in interest, or any of their respective members, officers, directors,
employees, advisors, professionals, attorneys or agents, or any of their successors and assigns,
with respect to any Exculpated Claim, including, without limitation, any act or omission in
connection with, related to, or arising out of, in whole or in part, the Chapter 11 Cases, except for
their willful misconduct or gross negligence as determined by a Final Order of a court of competent
jurisdiction.

                  12.6   Injunction

     FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS WHO HAVE
HELD, HOLD OR MAY HOLD CLAIMS AGAINST OR INTEREST IN THE DEBTORS
ARE PERMANENTLY ENJOINED FROM COMMENCING OR CONTINUING IN ANY
MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE RELEASED PURSUANT
TO THIS PLAN OR THE CONFIRMATION ORDER.


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     FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
RELEASES AND EXCULPATION GRANTED IN THIS PLAN, THE RELEASING
PARTIES SHALL BE PERMANENTLY ENJOINED FROM COMMENCING OR
CONTINUING IN ANY MANNER AGAINST THE RELEASED PARTIES AND THE
EXCULPATED PARTIES AND THEIR ASSETS AND PROPERTIES, AS THE CASE
MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING, ON ACCOUNT OF OR
RESPECTING ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT,
CAUSE OF ACTION, INTEREST, OR REMEDY RELEASED OR TO BE RELEASED
PURSUANT TO THIS PLAN.

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS PLAN, THE PLAN
SUPPLEMENT OR RELATED DOCUMENTS, OR FOR OBLIGATIONS PURSUANT
TO THIS PLAN, ALL PERSONS WHO HAVE HELD, HOLD OR MAY HOLD CLAIMS
OR INTERESTS THAT HAVE BEEN RELEASED, DISCHARGED, OR ARE SUBJECT
TO EXCULPATION, ARE PERMANENTLY ENJOINED, FROM AND AFTER THE
EFFECTIVE DATE, FROM TAKING ANY OF THE FOLLOWING ACTIONS: (A)
COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (B) ENFORCING,
ATTACHING, COLLECTING OR RECOVERING BY ANY MANNER OR MEANS ANY
JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH PERSONS ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (C) CREATING, PERFECTING OR ENFORCING ANY
ENCUMBRANCE OF ANY KIND AGAINST SUCH PERSONS OR THE PROPERTY OR
ESTATES OF SUCH PERSONS ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; AND (D) COMMENCING
OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF
ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO
ANY SUCH CLAIMS OR INTERESTS RELEASED, SETTLED OR DISCHARGED
PURSUANT TO THIS PLAN.

      THE RIGHTS AFFORDED IN THIS PLAN AND THE TREATMENT OF ALL
CLAIMS AND INTERESTS THEREUNDER SHALL BE IN EXCHANGE FOR AND IN
COMPLETE SATISFACTION OF ALL CLAIMS AND INTERESTS OF ANY NATURE
WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON CLAIMS FROM AND
AFTER THE PETITION DATE, AGAINST THE DEBTORS OR ANY OF THEIR
ASSETS, PROPERTY OR ESTATES. ON THE EFFECTIVE DATE, ALL SUCH CLAIMS
AGAINST THE DEBTORS SHALL BE FULLY RELEASED, AND THE INTERESTS
SHALL BE CANCELLED (EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN
THIS PLAN).

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THIS PLAN OR IN
OBLIGATIONS PURSUANT THERETO FROM AND AFTER THE EFFECTIVE DATE,
ALL CLAIMS AGAINST THE DEBTORS SHALL BE FULLY RELEASED, AND ALL
INTERESTS SHALL BE CANCELLED, AND THE DEBTORS’ LIABILITY WITH
RESPECT THERETO SHALL BE EXTINGUISHED COMPLETELY, INCLUDING ANY
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LIABILITY OF THE KIND SPECIFIED UNDER SECTION 502(G) OF THE
BANKRUPTCY CODE.

     ALL PERSONS SHALL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTORS, THE DEBTORS’ ESTATES, THEIR RESPECTIVE SUCCESSORS AND
ASSIGNS, AND THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR
INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY ACT OR
OMISSION, TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR NATURE
THAT OCCURRED BEFORE THE EFFECTIVE DATE.

                  12.7   Term of Injunctions or Stays

        Unless otherwise provided in this Plan or Confirmation Order, all injunctions or stays
provided for under this Plan and ordered in the Confirmation Order or pursuant to sections 105 or
362 of the Bankruptcy Code arising under or entered during the Chapter 11 Cases, or otherwise,
and in existence on the Confirmation Date, shall remain in full force and effect until the later of
the Effective Date and the date indicated in the order providing for such injunction or stay and to
the extent consistent with the terms and provisions of this Plan or the Confirmation Order, as
applicable.

                  12.8   Injunction Against Interference with Plan

        Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
Equity Interests, the Debtors, and other parties in interest, along with their respective present or
former employees, agents, officers, directors, or principals, shall be enjoined from taking any
actions to interfere with the Debtors’, Reorganized Debtors’, the Creditors’ Trust’s, the Trustee’s,
and their respective affiliates’, employees’, advisors’, officers’ and directors’, and agents’
implementation or consummation of this Plan.

                  12.9   Effectuating Documents and Further Transactions

        The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims or Equity
Interests receiving distributions hereunder and all other Entities shall, from time to time, prepare,
execute and deliver any agreements or documents and take any other actions as may be necessary
or advisable to effectuate the provisions and intent of this Plan or the Confirmation Order. On or
before the Effective Date, the Debtors shall file with the Bankruptcy Court all agreements and
other documents that may be necessary or appropriate to effectuate and further evidence the terms
and conditions hereof.

                  12.10 Preservation of Causes of Action of the Debtors

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such Causes
of Action have been expressly released (including, for the avoidance of doubt, pursuant to the
releases by the Debtors and exculpation provisions provided in the Plan), the Debtors and Trustee
shall retain and may enforce all rights to commence and pursue, as appropriate, any and all Causes
of Action.

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SECTION 13. MODIFICATION, REVOCATION OR WITHDRAWAL OF THIS PLAN

                  13.1   Modification and Amendments

        This Plan or any exhibits thereto may be amended, modified, or supplemented by the
Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
permitted by law without additional disclosure pursuant to section 1125 of the Bankruptcy Code.
In addition, after the Confirmation Date, the Debtors, Reorganized Debtors, or Trustee may
institute proceedings in the Bankruptcy Court to remedy any defect or omission or reconcile any
inconsistencies in this Plan or the Confirmation Order with respect to such matters as may be
necessary to carry out the purposes and effects of this Plan.

                  13.2   Effect of Confirmation on Modifications

       Entry of a Confirmation Order shall mean that all modifications or amendments to this Plan
occurring after the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy
Code and do not require additional disclosure or re-solicitation under Bankruptcy Rule 3019.

                  13.3   Revocation or Withdrawal of this Plan

         The Debtors reserve the right to, consistent with their fiduciary duties, revoke or withdraw
this Plan before the Effective Date. If the Debtors revoke or withdraw this Plan, or if the
Confirmation Date does not occur, then: (a) this Plan shall be null and void in all respects; (b) any
settlement or compromise embodied in this Plan (including the fixing or limiting to an amount
certain of any Claim or Equity Interest or Class of Claims or Equity Interests), assumption or
rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
agreement executed pursuant to this Plan, shall be deemed null and void; and (c) nothing contained
in this Plan shall: (i) constitute a waiver or release of any Claims or Equity Interests; (ii) prejudice
in any manner the rights of the Debtors or any other Person; or (iii) constitute an admission,
acknowledgement, offer, or undertaking of any sort by the Debtors or any other Person.

SECTION 14. Retention of Jurisdiction

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all matters
arising out of, or related to, the Chapter 11 Cases and this Plan, including, but not limited to,
jurisdiction to:

                        (a)     allow, disallow, determine, liquidate, classify, estimate or establish
the priority, secured or unsecured status or amount of any Claim or Equity Interest, including the
resolution of any request for payment of any Administrative Expense Claim and the resolution of
any and all objections to the secured or unsecured status, priority, amount, or allowance of Claims;

                      (b)     decide and resolve all matters related to the granting and denying,
in whole or in part, of any applications for allowance of compensation or reimbursement of
expenses to Professionals authorized pursuant to the Bankruptcy Code or this Plan;

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                        (c)    resolve any matters related to: (i) the assumption, assumption and
assignment or rejection of any Executory Contract or Unexpired Lease to which the Debtors are a
party or with respect to which the Debtors may be liable in any manner and to hear, determine and,
if necessary, liquidate, any Claims arising therefrom, including rejection Claims and cure Claims,
pursuant to section 365 of the Bankruptcy Code or any other matter related to such Executory
Contract or Unexpired Lease; (ii) any potential contractual obligation under any Executory
Contract or Unexpired Lease that is assumed; and (iii) any dispute regarding whether a contract or
lease is or was executory or expired;

                    (d)      ensure that Distributions to Holders of Allowed Claims are
accomplished pursuant to the provisions of this Plan;

                       (e)     adjudicate, decide, or resolve any motions, adversary proceedings,
contested or litigated matters and any other matters, and grant or deny any applications involving
the Debtors that may be pending on the Effective Date;

                        (f)    adjudicate, decide, or resolve any motions, adversary proceedings,
contested, or litigated matters and any other matters, including, but not limited to, the Causes of
Action, involving the Trustee or the Creditors’ Trust;

                        (g)   adjudicate, decide, or resolve any and all matters related to any
Cause of Action;

                     (h)    adjudicate, decide, or resolve any and all matters related to section
1141 of the Bankruptcy Code;

                       (i)   enter and enforce any order for the sale of property pursuant to
sections 363, 1123, or 1146(a) of the Bankruptcy Code;

                     (j)   issue injunctions, enter and implement other orders or take such
other actions as may be necessary or appropriate to restrain interference by any Person with
consummation or enforcement of this Plan;

                      (k)    resolve any cases, controversies, suits, disputes or Causes of Action
with respect to the discharge, releases, injunctions, exculpations, indemnifications, and other
provisions contained in this Plan and enter such orders as may be necessary or appropriate to
implement such releases, injunctions, and other provisions;

                     (l)      enter and implement such orders as are necessary or appropriate if
the Confirmation Order is for any reason modified, stayed, reversed, revoked, or vacated;

                       (m)    resolve any cases, controversies, suits, disputes, or Causes of Action
that may arise in connection with or relate to this Plan, the Disclosure Statement, the Confirmation
Order, the Creditors’ Trust, the Creditors’ Trust Agreement, any transactions or payments
contemplated thereby, or any contract, instrument, release, indenture, or other agreement or
document relating to any of the foregoing;

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                       (n)     adjudicate any and all disputes arising from or relating to
Distributions under this Plan;

                      (o)     consider any modifications of this Plan, cure any defect or omission
or reconcile any inconsistency in any Bankruptcy Court order, including the Confirmation Order;

                      (p)      determine requests for the payment of Claims entitled to priority
pursuant to section 507 of the Bankruptcy Code;

                      (q)    hear and determine matters concerning state, local, and federal taxes
in accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests
for expedited determinations under section 505(b) of the Bankruptcy Code);

                      (r)     hear and determine all disputes involving the existence, nature or
scope of the Debtors’ discharge;

                         (s)   enforce all orders previously entered by the Bankruptcy Court;

                         (t)   hear any other matter not inconsistent with the Bankruptcy Code;
and

                         (u)   enter a final decree closing the Chapter 11 Cases.

SECTION 15. MISCELLANEOUS PROVISIONS

                  15.1   Payment of Statutory Fees

        All fees payable pursuant to 28 U.S.C. § 1930 shall be paid on the earlier of when due or
the Effective Date by the Debtors. After the Effective Date, the Trustee shall be liable for payment
of any such fees until entry of a final decree closing the Chapter 11 Cases.

                  15.2   Dissolution of the Committee

        On the Effective Date, the Committee and any other statutory committee formed in
connection with the Chapter 11 Cases shall dissolve automatically and all members thereof shall
be released and discharged from all rights, duties, and responsibilities arising from, or related to,
the Chapter 11 Cases.

                  15.3   Section 382 Limitation on Net Operating Losses and Built-In Losses

       With respect to the Debtors’ net operating losses, the Debtors and the Reorganized Debtors
reserve the right to seek the exception set forth in 26 U.S.C. § 382(l)(5).

                  15.4   Section 1125(e) Good Faith Compliance

       As of and subject to the occurrence of the Confirmation Date, the Debtors and their Related
Persons shall be deemed to have solicited acceptances of this Plan in good faith and in compliance

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with the applicable provisions of the Bankruptcy Code and any applicable non-bankruptcy law,
rule, or regulation governing the adequacy of disclosure in connection with such solicitation.

                  15.5   Substantial Consummation

       On the Effective Date, the Plan shall be deemed to be substantially consummated within
the meaning set forth in section 1101 and pursuant to section 1127(b) of the Bankruptcy Code.

                  15.6   Section 1146 Exemption

        To the fullest extent permitted under section 1146(a) of the Bankruptcy Code, the issuance,
transfer, or exchange of any security under or pursuant to this Plan, and the execution, delivery, or
recording of any instrument of transfer under or pursuant to this Plan, and the revesting, transfer,
or sale of any property of or to the Creditors’ Trust shall not be taxed under any state or local law
imposing a stamp tax, transfer tax, or similar tax or fee. Consistent with the foregoing, each
recorder of deeds or similar official for any county, city or other Governmental Unit in which any
instrument hereunder is to be recorded in accordance with this Plan shall, pursuant to the
Confirmation Order, be ordered and directed to accept such instrument, without requiring the
payment of any documentary stamp tax, deed stamps, stamp tax, transfer tax, mortgage recording
tax, intangible tax, or similar tax.

                  15.7   Closing of the Chapter 11 Cases

         Upon the earlier of (i) the date upon which all payments on account of Allowed
Administrative Expense Claims and Accrued Professional Compensation Claims have been paid
or (ii) sixty (60) days after the Effective Date, the Reorganized Debtors shall seek authority from
the Bankruptcy Court to close the Chapter 11 Cases in accordance with the Bankruptcy Code and
Bankruptcy Rules.

                  15.8   Plan Supplement

        Any exhibits or schedules not filed with this Plan may be contained in the Plan Supplement,
if any, and the Debtors hereby reserve the right to file such exhibits or schedules as a Plan
Supplement.

                  15.9   Further Assurances

        The Debtors, Reorganized Debtors, or the Trustee may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further
evidence the terms and conditions of this Plan. The Debtors, Reorganized Debtors, the Trustee,
and all Holders of Claims receiving Distributions pursuant to this Plan and all other parties in
interest shall, from time to time, prepare, execute, and deliver any agreements or documents and
take any other actions as may be necessary or advisable to effectuate the provisions and intent of
this Plan.




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                  15.10 Exhibits Incorporated

        All exhibits to the Plan, including the Plan Supplement, are incorporated into and are part
of this Plan as if fully set forth herein.

                  15.11 Inconsistency

        In the event of any inconsistency among this Plan, the Disclosure Statement, and any
exhibit to the Disclosure Statement, the provisions of this Plan shall govern.

                  15.12 No Admissions

        If the Effective Date does not occur, this Plan shall be null and void in all respects, and
nothing contained in this Plan shall (a) constitute a waiver or release of any Claims by or against,
or any Equity Interests in, the Debtors, (b) prejudice in any manner the rights of the Debtors or
any other party in interest, or (c) constitute an admission of any sort by the Debtors or other party
in interest.

                  15.13 Reservation of Rights

        Except as expressly set forth herein, this Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order and the Effective Date has occurred. None
of this Plan, any statement or provision contained in this Plan or any action taken or not taken by
the Debtors with respect to this Plan, the Disclosure Statement or the Plan Supplement shall be or
shall be deemed to be an admission or waiver of any rights of the Debtors with respect to the
Holders of Claims or Equity Interests before the Effective Date.

                  15.14 Successors and Assigns

       The rights, benefits, and obligations of any Person named or referred to in this Plan shall
be binding on, and shall inure to the benefit of, any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiaries or
guardian, if any, of each Person.

                  15.15 Entire Agreement

       On the Effective Date, this Plan supersedes all previous and contemporaneous negotiations,
promises, covenants, agreements, understandings, and representations on such subjects, all of
which have become merged and integrated into this Plan.

                  15.16 Notices

        All notices, requests, and demands to or upon the Debtors in the Chapter 11 Cases shall be
in writing and, unless otherwise provided herein, shall be deemed to have been duly given or made
when actually delivered or, if by facsimile transmission, when received and telephonically
confirmed to the below recipients:


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                                   Hygea Holdings Corp., et al.
                                    Attn: Keith Collins, M.D.
                                 8700 W. Flagler Street, Suite 280
                                      Miami, Florida 33174
                                      Phone (855) 339-4095
                                 E-mail: keith.collins@hygea.net

                                          with copies to:

                                     COLE SCHOTZ, P.C.
                                    Attn: Felice R. Yudkin
                                         25 Main Street
                                 Hackensack, New Jersey 07601
                                      Tel: (201) 489-3000
                                E-mail: fyudkin@coleschotz.com

       All notices and requests to Persons holding any Claim or Interest in any Class shall be sent
to them at their last known address or to the last known address of their attorney of record in the
Chapter 11 Cases. Any such Holder of a Claim or Interest may designate in writing any other
address for purposes of this section, which designation will be effective upon receipt by the
Debtors.

                  15.17 Severability

        If, prior to the entry of the Confirmation Order, any term or provision of this Plan is held
by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the maximum
extent practicable, consistent with the original purpose of the term or provision, and such term or
provision shall then be applicable as altered or interpreted. Notwithstanding any such holding,
alteration or interpretation, the remainder of the terms and provisions of this Plan will remain in
full force and effect and will in no way be affected, impaired or invalidated by such holding,
alteration or interpretation. The Confirmation Order shall constitute a judicial determination and
shall provide that each term and provision of the Plan, as it may have been altered or interpreted
in accordance with the foregoing, is valid and enforceable pursuant to its terms.

                  15.18 Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
Delaware, without giving effect to the principles of conflicts of laws, shall govern the rights,
obligations, construction, and implementation of the Plan and the transactions consummated or to
be consummated in connection therewith.




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                      382-1 Filed
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                        EXHIBIT B TO DISCLOSURE STATEMENT

                                 Liquidation Analysis




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Hygea Holdings Corp.
Liquidation Analysis Assumptions


Liquidation Analysis:
  -    Liquidation assumes forced shut-down, as all insurance counter-parties for Managed Service Organization ("MSO") contracts have 60-
       day termination clauses
  -    Analysis uses 9/30/2019 balance sheet, prepared for internal use
  -    Cash balance reflects actual available cash balance as of 3/4/2020
  -    Receivables from payors are offset by claims payable to payors under MSO contracts, remaining accounts receivables are estimated
       to have an 70-80% collection rate for Chapter 11 liquidation (60-70% for Chapter 7 liquidation)
  -    Inventory includes drugs, medical supplies and other supplies
  -    Notes receivables are to insiders, which have offsetting notes payables
  -    Prepaid assets are related to prepaid insurance
  -    New operations cease as of 3/31/20; one month of operating losses estimated using interim DIP funding amount
  -    For Chapter 11 liquidation, liquidation fees are estimated at 5% of net recoverable assets
  -    For Chapter 7 liquidation, Chapter 7 Trustee fees are estimated 3% of net recoverable assets, excluding cash
  -    For Chapter 7 liquidation, Chapter 11 professional fees represents professional fees billed for services
       for services through 3/31 per fee applications filed or invoices presented to Company




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                Assumptions and Footnotes
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Hygea Holdings Corp.
Consolidated Balance Sheet - unaudited
in USD 000s
                                                                    As of
                                                                  9/30/2019
Assets
Current assets
  Cash and cash equivalents                                      $     2,198
  Accounts receivable, net                                             3,766
  Prepaid and other current assets                                       158
  Inventory                                                                -
  Due from related parties                                            33,029
Total current assets                                                  39,150

  Property and equipment, net                                          2,557
  Intangible assets, net                                               4,787
  Goodwill                                                            47,132
  Other assets                                                           437
Total assets                                                     $    94,063

Liabilities and Equity

Current liabilities
  Accounts payable and accrued expenses                          $    24,455
  Taxes payable                                                          132
  Claims payable                                                      10,692
  Common stock to be issued                                           27,819
  Long-term debt, current portion                                      5,031
Total current liabilities                                             68,129

Long-term liabilities
  Long-term debt (net of current portion)                            126,072
  Due to related parties                                              66,493
Total long-term liabilities                                          192,565
Total liabilities                                                    260,694

Total equity                                                         (166,631)
Total liabilities and equity                                     $    94,063



Liquidation Analysis - 04.27.20 - 1400 hours                                                                        Balance Sheet
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Hygea Holdings Corp.                                                                                                                               Chapter 7
Liquidation Analysis - Chapter 7
in USD 000s

                                                                As of                     Available for             High                        Low
                                                                           Adjustments
                                                              9/30/2019                    Recovery        Chapter 7 liquidation
                                                                                                          Recovery       Recovery      Chapter 7 liquidation
                                                                                                                                      Recovery      Recovery
Assets                                                                                                    Basis (%)      Value ($)    Basis (%)     Value ($)
Current assets
  Cash and cash equivalents (1)                           $        2,198   $      (906) $        1,291         100% $        1,291          95% $       1,227
  Accounts receivable, net (2)                                     3,766             -           3,766          40%          1,506          25%           942
  Prepaid and other current assets                                   158             -             158          30%             47          15%            24
  Inventory                                                            -             -               -            0%             -            0%            -
  Due from related parties                                        33,029             -          33,029            0%             -            0%            -
Total current assets                                              39,150          (906)         38,244                       2,845                      2,192

  Property and equipment, net (3)                                  2,557             -           2,557           12%           295            5%          118
  Intangible assets, net (4)                                       4,787             -           4,787           10%           479            5%          239
  Goodwill (4)                                                    47,132             -          47,132            0%             -            0%            -
  Other assets                                                       437             -             437            0%             -            0%            -
Net recoverable assets                                    $       94,063   $      (906) $       93,157                 $     3,619                 $    2,549

  Wind-Down Profit/(Loss) (5)                                                                                               (1,741)                    (1,741)
  Chapter 7 Trustee Fees (6)                                                                                                   (70)                       (40)
  Chapter 7 Broker and Professional Fees (7)                                                                                  (550)                      (535)
Total Available for Distribution                                                                                       $     1,258                 $      234




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                                     C7_Liquidation
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Hygea Holdings Corp.                                                                                                                       Chapter 7
Liquidation Analysis - Chapter 7
in USD 000s

                                                           As of                      Available for           High                      Low
                                                                      Adjustments
                                                         9/30/2019                     Recovery       Chapter 7 liquidation     Chapter 7 liquidation
Total Available for Distribution                                                                                  $     1,258               $       234

Secured claims
  Long-term debt (8)                                        120,992              -         120,992          1%         1,258          0%           234
Secured claims                                              120,992              -         120,992          1%         1,258          0%           234

Administrative claims
  Chapter 11 professional fees (9)                            1,132                          1,132          0%              -         0%              -
  Post-petition accounts payable                                115                            115          0%              -         0%              -
  503(b)(9) (10)                                                561              -             561          0%              -         0%              -
Subtotal Administrative Claims                                  561              -             561          0%              -          -              -

Priority tax claim
  Payroll tax payable (11)                                   10,427              -          10,427          0%              -         0%              -
Subtotal Priority tax claim                                  10,427              -          10,427          0%              -          -              -

Other priority claims
  Accrued salaries and benefits (12)                            605              -             605          0%              -         0%              -
Other priority claims                                           605              -             605          0%              -          -              -



Unsecured claims
  Accounts payable and accrued liabilities (13)              36,888        (11,593)         25,295          0%              -         0%              -
  Claims payable (14)                                         3,266              -           3,266          0%              -         0%              -
  Notes payable - related parties                             2,240              -           2,240          0%              -         0%              -
  Common stock to be issued - current                        29,611              -          29,611          0%              -         0%              -
  Claims payable under terminated risk contracts              9,628              -           9,628          0%              -         0%              -
Unsecured claims                                             81,633        (11,593)         70,040          0%              -         0%              -
Equity                                                       54,111              -          54,111          0%              -         0%              -




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                              C7_Liquidation
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Hygea Holdings Corp.                                                                                                                                                        Chapter 7
Liquidation Analysis - Chapter 7
in USD 000s
Notes
(1)
     Adjusted to 3/2/2020 available cash balance
(2)
     Accounts receivable are unadjusted for claims payable under existing MSO contracts, as they are unrelated to terminated contracts and therefore do not offset current A/R
(3)
     See detailed schedule for recovery % assumptions
(4)
     Goodwill and intangible assets related to acquisitions are estimated to not have recovery value, given current financial losses
(5)
     Assumed 1 month of operating losses using interim DIP amount
(6)
     Assumed that Chapter 7 Trustee fees are 3% of net recoverable assets, excluding cash
(7)
     Includes the estimated cost for advisors, attorneys, and other professionals retained by the Trustee
(8)
     Pre-petition balance, using 1.34 CAD to USD exchange rate
(9)
     Represents professional fees billed by Chapter 11 professionals for services through 3/31 per fee applications filed or invoices presented to Company
(10)
      Assumed that 2% of A/P balances would be 503(b)(9) claims.
(11)
      Based on company's latest estimates, includes estimates for fines and other penalties.
(12)
      Assumes one payroll cycle
(13)
      Excludes 503(b)(9), payroll tax payable and accrued salaries and benefits
(14)
      Claims payable are related to terminated MSO contracts and therefore do no offset A/R




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                                                            C7_Liquidation
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Hygea Holdings Corp.                                                                                                                           Chapter 11
Liquidation Analysis - Chapter 11
in USD 000s

                                                            As of                     Available for             High                        Low
                                                                       Adjustments
                                                          9/30/2019                    Recovery       Chapter 11 liquidation
                                                                                                      Recovery       Recovery     Chapter 11 liquidation
                                                                                                                                  Recovery      Recovery
Assets                                                                                                Basis (%)      Value ($)    Basis (%)     Value ($)
Current assets
  Cash and cash equivalents (1)                       $        2,198   $      (906) $        1,291         100% $        1,291          95% $       1,227
  Accounts receivable, net (2)                                 3,766             -           3,766          80%          3,013          70%         2,636
  Prepaid and other current assets                               158             -             158           40%            63          25%            39
  Inventory                                                        -             -               -            0%             -           0%             -
  Due from related parties                                    33,029             -          33,029           10%         3,303           0%             -
Total current assets                                          39,150          (906)         38,244                       7,670                      3,903

  Property and equipment, net (3)                              2,557             -           2,557           12%           295            5%          118
  Intangible assets, net (4)                                   4,787             -           4,787           20%           957           10%          479
  Goodwill (4)                                                47,132             -          47,132            0%             -            0%            -
  Other assets                                                   437             -             437            0%             -            0%            -
Net recoverable assets                                $       94,063   $      (906) $       93,157                 $     8,922                 $    4,499

  Wind-Down Profit/(Loss) (5)                                                                                           (1,741)                    (1,741)
  Liquidation Fees (6)                                                                                                    (446)                      (225)
Total Available for Distribution                                                                                   $     6,736                 $    2,534




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                                 C11_Liquidation
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Hygea Holdings Corp.                                                                                                                        Chapter 11
Liquidation Analysis - Chapter 11
in USD 000s

                                                           As of                      Available for           High                       Low
                                                                      Adjustments
                                                         9/30/2019                     Recovery       Chapter 11 liquidation    Chapter 11 liquidation
Total Available for Distribution                                                                                  $     6,736               $     2,534

Secured claims
  Long-term debt (7)                                        120,992              -         120,992           6%        6,736           2%        2,534
Secured claims                                              120,992              -         120,992           6%        6,736           2%        2,534

Administrative claims
  503(b)(9) (8)                                                 561              -             561           0%             -          0%             -
Subtotal Administrative Claims                                  561              -             561           0%             -           -             -

Priority tax claim
  Payroll tax payable (9)                                    10,427              -          10,427           0%             -          0%             -
Subtotal Priority tax claim                                  10,427              -          10,427           0%             -           -             -

Other priority claims
  Accrued salaries and benefits (10)                            605              -             605           0%             -          0%             -
Other priority claims                                           605              -             605           0%             -           -             -



Unsecured claims
  Accounts payable and accrued liabilities (11)              36,888        (11,593)         25,295           0%             -          0%             -
  Claims payable (12)                                         3,266              -           3,266           0%             -          0%             -
  Notes payable - related parties                             2,240              -           2,240           0%             -          0%             -
  Common stock to be issued - current                        29,611              -          29,611           0%             -          0%             -
  Claims payable under terminated risk contracts              9,628              -           9,628           0%             -          0%             -
Unsecured claims                                             81,633        (11,593)         70,040           0%             -          0%             -

Equity                                                       54,111              -          54,111           0%             -          0%             -




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                              C11_Liquidation
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Hygea Holdings Corp.                                                                                                                                                        Chapter 11
Liquidation Analysis - Chapter 11
in USD 000s
Notes
(1)
     Adjusted to 3/2/2020 available cash balance
(2)
     Accounts receivable are unadjusted for claims payable under existing MSO contracts, as they are unrelated to terminated contracts and therefore do not offset current A/R
(3)
     See detailed schedule for recovery % assumptions
(4)
     Goodwill and intangible assets related to acquisitions are estimated to not have recovery value, given current financial losses
(5)
     Assumed 1 month of operating losses using interim DIP amount
(6)
     Assumed to be 5% of net recoverable assets
(7)
     Pre-petition balance, using 1.34 CAD to USD exchange rate
(8)
     Assumed that 2% of A/P balances would be 503(b)(9) claims.
(10)
      Based on company's latest estimates, includes estimates for fines and other penalties.
(10)
      Assumes one payroll cycle
(11)
      Excludes 503(b)(9), payroll tax payable and accrued salaries and benefits
(12)
      Claims payable are related to terminated MSO contracts and therefore do no offset A/R




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                                                                             C11_Liquidation
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Hygea Holdings Corp.
PP&E Details
in USD 000s
                                                                     High                        Low
                                 Balance       % of total   Recovery %    Recovery     Recovery %    Recovery
  Equipment                            647            11%        25.0%          162         10.0%           65
  Automobiles                           95             2%        25.0%           24         10.0%            9
  Furniture and fixtures             1,230            21%         0.0%             -         0.0%             -
  Computer and software              1,942            33%         0.0%             -         0.0%             -
  Leasehold improvements             1,973            34%        25.0%          493         10.0%          197
PP&E, gross                          5,888           100%        11.5%          679          4.6%          271
  Accumulated depreciation          (3,331)          100%        11.5%         (384)         4.6%         (154)
PP&E, net                            2,557           100%        11.5%          295          4.6%          118




Liquidation Analysis - 04.27.20 - 1400 hours                                                                                        PP&E Details
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                        EXHIBIT C TO DISCLOSURE STATEMENT

                                 Financial Projections




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Hygea Holdings Corp., et al
Assumptions
- 2019 actuals are based on 9/30/2019 financials, prepared for internal purposes
- The analysis separates the Hygea's business into two primary segments : Managed Services Organization ("MSO") and Fee for Service ("FFS");
   the two segments have different growth projections, but are inter-related and highly dependent on each other. Therefore, the FFS segment cannot be exited
   without significantly impacting the MSO segment.
- The MSO forecast assumes significant investment in overhead in 2020 to position the segment for growth in managed care lives and improved operating margins in future years
- The MSO segment is geographically concentrated in two distinct areas within Florida :
     - Southwestern Florida via the First Harbour MSO, which manages live on behalf of 3rd party physician practice organizations, such as Millennium Physician Partners,
       Community Health System and several others. These 3rd parties share in the surplus revenue at varying %s, which average 68% overall
     - Orlando metro area via Hygea's employed physicians, who do not share in the surplus
- The FFS segment assumes rejection of the management agreement with Cardiology Consultants of West Broward, P.A. ("CCWB"), which is currently losing $451k per year.
- Additional initiatives within the FFS business segment include : physician salary and benefits reductions of $984k for 7 physicians as well as consolidating office space, which
   saves $92k per year.
- The FFS segment is currently operating below industry average productivity trends. The company assumes improvement in productivity and the resulting increase in revenue
   per below:
                                             2020          2021           2022           2023
                                                  25%         7.50%              5%            5%
- Operating expenses in the FFS segment are expected to grow at 2% annually.
- Corporate overhead assumes hiring new management and significant reductions in external contractors and other professionals
- Debt capacity below assumes interest rate, term and Debt Service Coverage Ratio to calculate debt load that Free Cash Flow can support. The leverage ratio is derived from the
   debt assumptions

Debt Capacity
in USD 000s
Interest rate                                               8%
Term                                                        10 years
Debt Service Coverage Ratio                              1.25x

Debt Capacity Estimates
                                                                   Implied
                                        Free Cash                 Leverage
                                          Flow         Debt         ratio
     Decrease of $3M                    $  4,518 $ 24,825              5.5x
     Decrease of $2M                       5,518   30,320              5.5x
     Decrease of $1M                       6,518   35,815              5.5x
   Expected Free Cash Flow in 2023         7,518   41,310              5.5x
     Increase of $1M                       8,518   46,804              5.5x
     Increase of $2M                       9,518   52,299              5.5x
     Increase of $3M                    $ 10,518 $ 57,794              5.5x




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Hygea Holdings Corp., et al
Long-term forecast (1)
in USD 000s
                                                   Actual        Proforma
                                                    2019           2019         2020 (1)         2021            2022           2023
Managed services organization ("MSO")
      Revenue
        Surplus                                $      6,000 $        6,000 $       9,257 $        14,038 $        19,838 $       26,159
        Capitation                                    3,882          3,882         5,988           7,186           8,623         10,348
      Total revenue                                   9,882          9,882        15,245          21,224          28,462         36,507
      Operating expenses
        Salaries and wages                              676            676          3,737          3,828           3,921          4,016
        Employee benefits                               107            107            561            574             588            602
        Profit sharing & other expenses               3,870          3,870          5,294          7,988          11,310         14,876
      Total operating expenses                        4,652          4,652          9,591         12,390          15,819         19,494
      MSO Contribution margin                         5,229          5,229          5,654           8,834         12,642         17,012


Fee for service ("FFS") (3)

      Revenue                                        10,864          7,630          9,538         10,253          10,766         11,304
      Operating expenses
        Salaries and wages                           12,640          8,853         9,030           9,211           9,395          9,583
        Employee benefits                             1,992          1,524         1,555           1,586           1,618          1,650
        Other expenses                                4,608          4,103         4,185           4,269           4,354          4,441
      Total operating expenses                       19,241         14,481        14,770          15,066          15,367         15,674
      Contribution margin                            (8,377)        (6,850)        (5,232)         (4,812)        (4,601)        (4,370)

Corporate overhead (4)                               (7,410)        (7,410)        (3,886)         (3,964)        (4,044)        (4,124)
Settlements                                          (1,204)             -              -               -              -              -
EBITDA                                         $    (11,761) $      (9,031) $      (3,465) $            58   $     3,998    $     8,518
      Capex                                                                                              -        (1,000)        (1,000)
Free Cash Flow                                 $    (11,761) $      (9,031) $      (3,465) $            58   $     2,998    $     7,518

(1)
      Excludes restructuring and other non-recurring expenses
(2)
      Assumes emergence from bankruptcy by middle of June, 2020. No operating losses expected post-emergence.
(3)
      Assumes closure Cardiology Consultants of West Broward, P.A., along with operational improvements at underperforming clinics
(4)
      Assumes corporate overhead reductions due to redundancy in positions with MHP




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Hygea Holdings Corp., et al
2019 Cash-based Financial Summary
in USD 000s
                                           Actual 2019 (YTD Sept 2019 Annualized)                         FFS Initiatives                                Proforma 2019
                                                                                                                       Other                                                       Proforma
                                     MSO            FFS            Corp             Total              CCWB          Initiatives           MSO          FFS          Corp            2019

Revenue
  Fee for service                $        - $        10,478 $             - $        10,478        $      (3,233) $                -   $        - $      7,245 $             - $       7,245
  Capitation                          3,882               -               -           3,882                    -                   -        3,882            -               -         3,882
  Surplus                             6,000               -               -           6,000                    -                   -        6,000            -               -         6,000
  Other                                   -             386               -             386                    -                   -            -          386               -           386
Revenue                          $    9,882 $        10,864 $             - $        20,745        $      (3,233) $                -   $    9,882 $      7,630 $             - $      17,512

Operating expenses
  Salaries and wages                    676          12,640          1,295           14,611               (2,931)           (856)             676        8,853           1,295        10,825
  Employee benefits                      73           1,360            139            1,572                 (293)           (128)              73          939             139         1,151
  Employee reimbursements                34             632             65              731                  (46)              -               34          586              65           685
  Professional services                   -           2,401          2,401            4,802                 (219)              -                -        2,181           2,401         4,582
  Capitation Expense                  1,946               -              -            1,946                    -               -            1,946            -               -         1,946
  Management Expense                      -               -          3,072            3,072                    -               -                -            -           3,072         3,072
  Rent expense                        1,406             182            125            1,713                  (87)            (92)           1,406            4             125         1,534
  Insurance                               -           1,168            197            1,365                   (5)              -                -        1,163             197         1,360
  Medical supplies                        -             611              -              611                  (42)              -                -          569               -           569
  Utilities                             389              50             35              474                  (19)              -              389           32              35           455
  IT and software                         -             178              9              188                  (22)              -                -          156               9           166
  Repairs and maintenance                75              10              7               91                   (9)              -               75            1               7            82
  Equipment leases and rentals           54               7              5               66                   (8)              -               54           (1)              5            58
  Taxes and licenses                      -               -             60               60                   (2)              -                -           (2)             60            58
Total operating expenses              4,652          19,241          7,410           31,303               (3,684)         (1,076)           4,652       14,481           7,410        26,543
EBITDA                           $    5,229     $     (8,377) $     (7,410) $       (10,557)       $        451     $      1,076       $    5,229   $    (6,850) $    (7,410) $       (9,031)
  Settlements                                                        1,204            1,204                               (1,204)
Net operating income                  5,229           (8,377)       (8,613)         (11,761)                451            2,279            5,229        (6,850)      (7,410)         (9,031)




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Hygea Holdings Corp., et al
Corporate 2020 assumptions
in USD 000s
                                            Run-rate
                              Actual 2019    2020     Fav / (unfav)
Salaries & benefits           $     1,499 $     1,499 $           -
Mgmt salaries                           -       1,200         1,200
Professional services               5,473         750        (4,723)
Rent expense                          125         125             -
Insurance                             197         197             -
Utilities                              35          35             -
Taxes and licenses                     81          81             -
Corporate overhead            $     7,410 $     3,886 $      (3,523)




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Hygea Holdings Corp., et al
Combined MSO
in USDs


                                        2020           2021           2022            2023
Membership                                9,391         10,582         11,925          13,437
Growth rate                                  9%            13%            13%             13%
Membership max                           25,000         25,000         25,000          25,000
  Base rate                                 850            850             850             850
  Medical risk adjustment ("MRA")         1.189          1.225           1.250           1.273
  MRA growth                                 2%             3%              2%              2%
  MRA max                                 1.400          1.400           1.400           1.400
Adjusted base rate                        1,011          1,041           1,062           1,082

Medical loss ratio ("MLR")                75.8%          73.3%           70.8%           68.9%
MLR decline                               0.30%          0.30%           0.30%           0.30%
MLR min                                   68.0%          68.0%           68.0%           68.0%

in USDs
  Adjusted premium                      114,661        133,061         152,946         175,629
  Less, admin fee                       (18,346)       (21,290)        (24,471)        (28,101)
  Less, medical losses                  (87,059)       (97,733)       (108,637)       (121,370)
Surplus                                   9,257         14,038          19,838          26,159
  Profit sharing                         (5,294)        (7,988)        (11,310)        (14,876)
  Overhead                               (4,298)        (4,402)         (4,509)         (4,618)
Net profit                                 (335)         1,648           4,019           6,664
Capitation revenue                        5,988          7,186          8,623          10,348
MSO contribution margin             $     5,654    $     8,834    $    12,642     $    17,012

Admin fee %                                 16%            16%             16%             16%
Revenue share %                             57%            57%             57%             57%
Overhead growth                            306%             2%              2%              2%




                                                                                                  Page 5 of 7
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Hygea Holdings Corp., et al
First Harbour MSO
in USDs


                                    2020       2021       2022       2023
Membership                            7,853      8,849      9,972     11,236
Growth rate                              9%        13%        13%        13%
Membership max                       15,000     15,000     15,000     15,000
  Base rate                            850         850        850        850
  Medical risk adjustment ("MRA")    1.126       1.153      1.181      1.210
  MRA growth                            2%          2%         2%         2%
  MRA max                            1.400       1.400      1.400      1.400
Adjusted base rate                     957         980      1,004      1,028

Medical loss ratio ("MLR")            75.4%      72.7%      70.1%      68.1%
MLR decline                           0.30%      0.30%      0.30%      0.30%
MLR min                               68.0%      68.0%      68.0%      68.0%

in USDs
  Adjusted premium                   90,185    104,089    120,136    138,657
  Less, admin fee                   (14,430)   (16,654)   (19,222)   (22,185)
  Less, medical losses              (67,930)   (75,626)   (84,194)   (94,481)
Surplus                               7,826     11,808     16,720     21,991
  Profit sharing                     (5,294)    (7,988)   (11,310)   (14,876)
  Overhead                           (3,070)    (3,144)    (3,221)    (3,299)
Net profit                             (538)       676      2,189      3,816

Admin fee %                             16%        16%        16%        16%
Revenue share %                         68%        68%        68%        68%
Overhead growth                     306.05%      2.43%      2.43%      2.43%




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Hygea Holdings Corp., et al
Orlando Market MSO
in USDs


                                    2020       2021       2022       2023
Membership                            1,538      1,733      1,953      2,201
Growth rate                              9%        13%        13%        13%
Membership max                       10,000     10,000     10,000     10,000
  Base rate                            850        850        850        850
  Medical risk adjustment ("MRA")    1.515      1.592      1.600      1.600
  MRA growth                            5%         5%         1%         0%
  MRA max                            1.400      1.400      1.400      1.400
Adjusted base rate                   1,287      1,353      1,360      1,360

Medical loss ratio ("MLR")            78.2%      76.3%      74.5%      72.7%
MLR decline                           0.30%      0.30%      0.30%      0.30%
MLR min                               68.0%      68.0%      68.0%      68.0%

in USDs
  Adjusted premium                   24,476     28,973     32,810     36,972
  Less, admin fee                    (3,916)    (4,636)    (5,250)    (5,915)
  Less, medical losses              (19,129)   (22,107)   (24,442)   (26,888)
Surplus                               1,431      2,230      3,118      4,168
  Profit sharing                        -          -          -          -
  Overhead                           (1,228)    (1,258)    (1,288)    (1,319)
Net profit                              203        972      1,830      2,848

Admin fee %                             16%        16%        16%        16%
Revenue share %                          0%         0%         0%         0%
Overhead growth                     306.05%      2.43%      2.43%      2.43%




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                        EXHIBIT D TO DISCLOSURE STATEMENT

                                Global Settlement Term Sheet




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                               GLOBAL SETTLEMENT TERM SHEET
                                  In re Hygea Holdings Corp., et al.
                                           April 30, 2020

    The terms outlined below in this term sheet (the “Term Sheet”) are an abbreviated summary of the
    terms and conditions for a proposed settlement (the “Settlement”) by and among the debtors and
    debtors-in-possession in the Chapter 11 proceeding styled Hygea Holdings Corp., et al. (collectively
    the “Debtors”), Case No. 20-10361 (KBO) (the “Bankruptcy Case”) in the United States Bankruptcy
    Court for the District of Delaware (the “Bankruptcy Court”), the DIP Secured Parties, and the
    Committee (each as defined below). This Term Sheet is non-binding and is being presented for
    discussion and settlement purposes and is entitled to protection from any use or disclosure pursuant to
    Federal Rule of Evidence 408 and any other rule of similar import. This term sheet is subject to the
    negotiation, documentation and execution of definitive documentation approved by all parties and
    approval by the Bankruptcy Court under Rule 9019.

    Parties to Settlement         Debtors1

                                  DIP Secured Parties2

                                  The Official Committee of Unsecured Creditors (the “Committee”)

    Overview of                   The parties to this Term Sheet have reached an agreement in principle to
    Settlement                    globally resolve all of the disputes among them in the Bankruptcy Case and
                                  to proceed to a consensual confirmation of a plan of reorganization (the
                                  “Plan”). The Parties will work to file a Plan and related disclosure statement
                                  (the “Disclosure Statement”) and will seek approval of the Disclosure
                                  Statement and Plan on the earliest date practicable.




1
 All Care Management Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical
Centers, LLC (3861); Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea
Acquisition Longwood, LLC (1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926);
Hygea Holdings Corp. (2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical
Centers of Florida, LLC (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of
Georgia, LLC (5862); Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife
Activity Center, LLC (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare
Medicaid MSO, Inc. (6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO
LLC (7738); Palm Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468);
Physician Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883);
Physicians Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and
Professional Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street,
Suite 280, Miami, FL 33174.
2
 Bridging Finance Inc., not individually but as administrative agent on behalf of Bridging Income Fund L.P. or the
any natural person, corporation, partnership, trust, limited liability company, association, governmental authority or
unit, or any other entity, whether acting in an individual, fiduciary or other capacity party thereto


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    Administrative and   The Plan must provide for the payment, in full, of all allowed administrative
     Priority Claims     and priority claims (priority tax claims will be paid over time by the
                         Reorganized Debtors), including, without limitation, claims arising pursuant
                         to section 503(b)(9) of the Bankruptcy Code. The payment of such claims
                         must be from a source other than the Creditors’ Trust (as defined herein) or
                         its assets except to the extent the professional fees and expenses of the
                         Committee exceed the Committee Budget (as defined below).

      Creation and       The Plan shall provide for the creation of a creditors’ trust (the “Creditors’
      Governance of      Trust”), which shall be responsible for the administration of claims and
     Creditors’ Trust    distributions to general unsecured creditors under the Plan. The trustee of
                         the Creditors’ Trust (the “Trustee”) shall be chosen by the Committee.

                         The “Creditor Trust Agreement” is the trust agreement that documents the
                         powers, duties and responsibilities of the Trustee, and which agreement will
                         be materially consistent with the Plan and otherwise reasonably acceptable
                         to the Debtors and the Committee. The Creditor Trust Agreement will be
                         filed with the Bankruptcy Court by the plan supplement filing date and
                         incorporated in the confirmation order.

                         The Trustee, together with its agents, representatives and professionals, will
                         have the power to administer the Creditors’ Trust Assets and make
                         distributions in accordance with the terms of the Plan.

                         All other Creditors’ Trust governance issues shall be determined by the
                         Committee in consultation with the Debtors.

   Cash Consideration    On the “effective date” (the “Effective Date”) of the Plan, the DIP Secured
                         Parties will fund $550,000 in the form of a non-recourse loan payable only
                         from the proceeds of causes of action described herein (the “Trust
                         Funding”) to the Creditors’ Trust for the benefit of general unsecured
                         creditors under the Plan.

                         The first $1,100,000 distributed from the Creditors’ Trust shall be distributed
                         evenly (50/50) between the DIP Secured Parties and the beneficiaries of the
                         Creditors’ Trust to repay the Trust Funding. Upon repayment of the Trust
                         Funding, the DIP Secured Parties shall not be entitled to any additional
                         distributions from the Creditors’ Trust.




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  Equity Consideration   On the Effective Date, the DIP Secured Parties, or equity sponsor under the
                         Plan, shall provide for 5% of the equity in the Reorganized Debtors to be
                         contributed to the Creditors’ Trust (the “Creditor Committee Equity”).

                         The Creditors’ Trust shall receive typical minority shareholder protections
                         (e.g., tags, drags, etc.).

                         The Creditor Committee Equity shall be freely assignable by the Creditors’
                         Trust.

                         The Creditor Committee Equity will entitle the Creditors’ Trust to 5% of the
                         Net Proceeds (as such term will be defined in the Plan which shall be net of,
                         among other things, payment of a management success fee) of a sale of the
                         Reorganized Debtors. In the event the Reorganized Debtors are not sold by
                         the 5th Anniversary of the Effective Date (the “Put Election Date”), the
                         Creditors’ Trust shall have the right to put the Equity Consideration to the
                         Reorganized Debtors (the “Put Election”) at an amount equal to 5% of the
                         “Put Amount.” The Put Amount shall be determined as follows: (EBITDA
                         amount as of the Put Election Date multiplied by the applicable EBITDA
                         multiple set forth in the chart below) less the total amount of secured debt as
                         of the Put Election Date plus the total amount of unrestricted cash, cash
                         equivalents and investments on the balance sheet as of the Put Election Date.

                          LIVES MANAGED                 UNDER REORGANIZED      DEBTORS’
                          MANAGEMENT                          EBITDA MULTIPLE FOR THE 12
                                                              MONTHS      PRIOR      TO
                                                              EXERCISING    THE     PUT
                                                              ELECTION

                          5,000 to 7,500                            7

                          7,501 to 10,000                           7.5

                          10,001 to 12,500                          8

                          12,501 to 15,000                          8.5

                          More than 15,000                          9


    Estate Claims and    On the Effective Date, the Debtors shall transfer to the Creditors’ Trust: (1)
    Causes of Action     Avoidance Actions; (2) commercial tort claims as defined in Article 9 of the
                         UCC. Such Estate Claims shall include for the avoidance of doubt direct or
                         derivative claims or causes of action against any and all current and former
                         officers, directors, shareholders, members, mangers, employees, affiliates or
                         insiders of the Debtors, including but not limited to for breach of fiduciary
                         duty or aiding and abetting breach of fiduciary duty, or under and pursuant


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                          to any D&O or fiduciary insurance policies (including for bad faith)
                          maintained by the Debtors; (3) the non-exclusive right to seek a
                          determination by the Bankruptcy Court of any tax, fine or penalty relating to
                          a tax, or any addition to a tax, under section 505 of the Bankruptcy Code; and
                          (4) all other rights, claims or causes of action not transferred to the DIP
                          Secured Parties pursuant to the Plan.

                          “Avoidance Actions” means any and all causes of action and rights to recover
                          or avoid transfers or to avoid any lien under chapter 5 of the Bankruptcy Code
                          or applicable state law or otherwise.

       Payment of         In connection with administration of the Bankruptcy Case and conditioned
        Committee         on the Effective Date occurring as soon as possible after confirmation of the
     Professional Fees    Plan, but in no event later than June 12, 2020, the DIP budget approved by
                          the Bankruptcy Court shall provide the Committee with a budgeted amount
                          of $1,325,000 (the “Committee Budget”) for the payment of its
                          professionals’ allowed fees and expenses. To the extent the Committee
                          Budget is insufficient to pay all allowed fees and claims of the Committee’s
                          professionals, such allowed fees and expenses may be paid from the
                          Creditors’ Trust. The Committee Budget shall not be subject to a variance.

                          To the extent any excess funds remain under the Debtors’ professional fee
                          budgeted amounts and/or the Committee Budget (collectively, the
                          “Professional Budget Surplus”), such funds shall be deposited into the
                          Creditors’ Trust on the Effective Date, or after payment of all outstanding
                          Debtors’ and/or Committees’ professionals’ allowed fees and expenses.

                          The Professional Budget Surplus shall not be used to repay the Trust
                          Funding.

      Costs of Claims     All costs of administration of the Creditors’ Trust shall be payable from the
      Administration      assets of the Creditors’ Trust, including, but not limited to, the Trust Funding.

  Reorganized Debtors’    The Reorganized Debtors shall provide the Creditors’ Trust with board
   Board of Directors     observation rights.

   Releases/Exculpation   The Plan shall provide for mutual releases/exculpation provisions for the DIP
                          Secured Parties, Centurion Asset Management Inc., the Committee, its
                          members and professionals, and the Debtors’ current professionals. To the
                          extent permissible under applicable law, the Plan shall also provide a release
                          of third-party claims against the DIP Secured Parties and Centurion Asset
                          Management Inc. arising from or related to the Debtors’ businesses.

                          Any releases or exculpations in favor of the DIP Secured Parties shall be
                          conditioned on expiration of the Challenge Period and that no Challenge is
                          pending or successful.



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   Disclosure Statement   The terms of this Term Sheet shall be set forth in the Disclosure Statement
         and Plan         and Plan filed with the Bankruptcy Court.

    Letter to General     The Committee shall include a letter in the Plan solicitation package
   Unsecured Creditors    encouraging general unsecured creditors to vote in favor of the Plan.

    Deficiency Claims     The DIP Secured Parties’ deficiency claims shall be temporarily allowed and
                          treated as general unsecured claims solely for purposes of voting on the Plan
                          but shall be deemed satisfied on the Effective Date and shall not be allowed
                          for distribution purposes. The amount of such temporarily allowed claim
                          shall be determined by agreement of the parties to this Term Sheet, subject
                          to approval by the Bankruptcy Court to the extent necessary or desirable.

       Deadline for       The parties agree to use best efforts to obtain a final, non-appealable order
       Confirmation       confirming the Plan prior to June 12, 2020, unless such dates are extended by
                          agreement of the DIP Secured Parties.

  Challenge Deadline      The Challenge Period, as defined in Motion of the Debtors for Entry of
                          Interim and Final Orders (I) Authorizing the Debtors to (A) Use Cash
                          Collateral and (B) Incur Postpetition Secured Indebtedness; (II) Granting
                          Liens and Providing Super-Priority Administrative Expense Status; (III)
                          Granting Adequate Protection to Bridging Finance Inc. as Administrative
                          Agent; and (IV) Modifying the Automatic Stay [D.I. No. 11], shall expire upon
                          the earlier of (i) entry of an order confirming the Plan or (ii) April 24, 2020.



                                  [Signature pages follow]




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                                 BRIDGING FINANCE INC.:

                                 By: ____________________________________
                                 Name: Natasha Sharpe
                                 Title: Chief Investment Officer


                                 OFFICIAL COMMITTEE OF UNSECURED
                                 CREDITORS:

                                 By: ____________________________________
                                 Name: Claudio F. Arellano
                                 Title: Co-Chair of the Official Committee of Unsecured
                                        Creditors of Hygea Holdings Corp., et al.,




                     [Signature Page to Global Settlement Term Sheet]
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                                     EXHIBIT B

                            Disclosure Statement Blackline




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      THIS DISCLOSURE STATEMENT HAS NOT YET BEEN APPROVED BY THE COURT
    This proposed Disclosure Statement is not a solicitation of acceptance or rejection of the First
    Amended Joint Chapter 11 Plan of Reorganization of Hygea Holdings Corp. and its Affiliated
    Debtors. Acceptances or rejections may not be solicited until the Bankruptcy Court has
    approved this Disclosure Statement under section 1125 of the Bankruptcy Code. This proposed
    Disclosure Statement is being submitted for approval only, and has not yet been approved by
    the Bankruptcy Court.
                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------- x
                                                           :
                                                                 Chapter 11
In re:                                                     :
                                                           :
                                                                 Case No. 20-10361 (KBO)
HYGEA HOLDINGS CORP., et al.,                              :
                                                           :
                             1                                   (Jointly Administered)
                  Debtors.                                 :
                                                           :
---------------------------------------------------------- x

           FIRST AMENDED DISCLOSURE STATEMENT WITH RESPECT TO
          FIRST AMENDED JOINT CHAPTER 11 PLAN OF REORGANIZATION
            OF HYGEA HOLDINGS CORP. AND ITS AFFILIATED DEBTORS

                                                               COLE SCHOTZ P.C.
                                                               J. Kate Stickles (I.D. No. 2917)
                                                               500 Delaware Avenue, Suite 1410
                                                               Wilmington, Delaware 19801
                                                               Telephone: (302) 652-3131
                                                               kstickles@coleschotz.com

                                                               Michael D. Sirota
                                                               Stuart Komrower
                                                               Felice R. Yudkin
                                                               Jacob S. Frumkin
1
     The Debtors and the last four digits of their respective taxpayer identification numbers are: All Care Management
    Services, Inc. (6484); First Harbour Health Management, LLC (0941); First Harbour Medical Centers, LLC (3861);
    Florida Group Healthcare LLC (7956); Gemini Healthcare Fund, LLC (4928); Hygea Acquisition Longwood, LLC
    (1649); Hygea Acquisition Orlando, LLC (3507); Hygea Health Holdings, Inc. (8926); Hygea Holdings Corp.
    (2605); Hygea IGP of Central Florida, Inc. (9453); Hygea IGP, LLC (7724); Hygea Medical Centers of Florida, LLC
    (5301); Hygea Medical Partners, LLC (4486); Hygea of Delaware, LLC (4830); Hygea of Georgia, LLC (5862);
    Hygea of Pembroke Pines, LLC (6666); Hygea Primum Acquisition, Inc. (8567); Medlife Activity Center, LLC
    (2311); Mobile Clinic Services, LLC (9758); Palm A.C. MSO, LLC (2585); Palm Allcare Medicaid MSO, Inc.
    (6956); Palm Allcare MSO, Inc. (0319); Palm Medical Group, Inc. (5028); Palm Medical MSO LLC (7738); Palm
    Medical Network, LLC (9158); Palm MSO System, Inc. (2178); Palm PGA MSO, Inc. (8468); Physician
    Management Associates East Coast, LLC (7319); Physician Management Associates SE, LLC (3883); Physicians
    Group Alliance, LLC (7824); Primum Alternatives, Inc. (7441); Primum Healthcare, LLC (0157); and Professional
    Health Choice, Inc. (6850). The address of the Debtors’ corporate headquarters is 8700 W Flagler Street, Suite 280,
    Miami, FL 33174.


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                                                Michael Trentin
                                                25 Main Street
                                                Hackensack, New Jersey 07601
                                                Telephone: (201) 489-3000

                                                Proposed Counsel for the Debtors and
                                                Debtors-in-Possession
March 10May 1, 2020




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                                                  DISCLAIMER2

      THE INFORMATION SET FORTH IN THIS DISCLOSURE STATEMENT,
INCLUDING THE EXHIBITS ANNEXED HERETO, IS INCLUDED HEREIN FOR PURPOSES
OF SOLICITING ACCEPTANCES OF THE FIRST AMENDED JOINT CHAPTER 11 PLAN OF
REORGANIZATION OF HYGEA HOLDINGS CORP. AND ITS AFFILIATED DEBTORS AND
MAY NOT BE RELIED UPON FOR ANY PURPOSE OTHER THAN HOW TO VOTE ON THE
PLAN. NO PERSON IS AUTHORIZED BY THE DEBTORS IN CONNECTION WITH THE
PLAN OR THE SOLICITATION OF ACCEPTANCES OF THE PLAN TO GIVE ANY
INFORMATION OR TO MAKE ANY REPRESENTATION REGARDING THIS DISCLOSURE
STATEMENT OR THE PLAN OTHER THAN AS CONTAINED IN THIS DISCLOSURE
STATEMENT AND THE EXHIBITS ANNEXED HERETO, INCORPORATED BY
REFERENCE OR REFERRED TO HEREIN, AND IF GIVEN OR MADE, SUCH
INFORMATION OR REPRESENTATION MAY NOT BE RELIED UPON AS HAVING BEEN
AUTHORIZED BY THE DEBTORS.

      ALL HOLDERS OF CLAIMS AND EQUITY INTERESTS ARE ADVISED AND
ENCOURAGED TO (I) READ THIS DISCLOSURE STATEMENT AND THE PLAN IN THEIR
ENTIRETIES; (II) CONSIDER ALL OF THE INFORMATION IN THIS DISCLOSURE
STATEMENT, INCLUDING, IMPORTANTLY, THE RISK FACTORS DESCRIBED IN
ARTICLE VIII OF THIS DISCLOSURE STATEMENT; AND (III) CONSULT WITH THEIR
OWN ADVISORS WITH RESPECT TO REVIEWING THIS DISCLOSURE STATEMENT, THE
PLAN AND ALL DOCUMENTS THAT ARE ATTACHED TO THE PLAN AND DISCLOSURE
STATEMENT BEFORE DECIDING WHETHER TO VOTE TO ACCEPT OR REJECT THE
PLAN.

     PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE
STATEMENT WITH RESPECT TO THE PLAN ARE QUALIFIED IN THEIR ENTIRETIES BY
REFERENCE TO THE PLAN, THE EXHIBITS ATTACHED TO THE PLAN AND ANY PLAN
SUPPLEMENT(S). THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT
ARE MADE AS OF THE DATE HEREOF AND THERE CAN BE NO ASSURANCE THAT THE
STATEMENTS CONTAINED HEREIN WILL BE CORRECT ANY TIME AFTER THE DATE
HEREOF.

      THIS DISCLOSURE STATEMENT HAS BEEN PREPARED IN ACCORDANCE WITH
SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016(b) OF THE FEDERAL
RULES OF BANKRUPTCY PROCEDURE AND NOT IN ACCORDANCE WITH FEDERAL OR
STATE SECURITIES LAWS OR OTHER APPLICABLE NON-BANKRUPTCY LAWS. THIS
DISCLOSURE STATEMENT HAS NEITHER BEEN APPROVED NOR DISAPPROVED BY
THE SECURITIES AND EXCHANGE COMMISSION (THE “SEC”), AND THE SEC HAS NOT
PASSED UPON THE ACCURACY OR ADEQUACY OF THE STATEMENTS CONTAINED
HEREIN. PERSONS OR ENTITIES TRADING IN OR OTHERWISE PURCHASING,
SELLING OR TRANSFERRING SECURITIES OR CLAIMS OF THE DEBTORS SHOULD
EVALUATE THIS DISCLOSURE STATEMENT AND THE PLAN IN LIGHT OF THE
PURPOSES FOR WHICH THEY WERE PREPARED.

     AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS AND OTHER
ACTIONS OR THREATENED ACTIONS, THIS DISCLOSURE STATEMENT SHALL NOT
CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY,
2
     Terms used in this Disclaimer that are not otherwise defined shall have the meanings ascribed to such terms
    elsewhere in this Disclosure Statement.


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STIPULATION OR WAIVER, BUT RATHER AS A STATEMENT MADE IN SETTLEMENT
NEGOTIATIONS. THIS DISCLOSURE STATEMENT SHALL NOT BE ADMISSIBLE IN ANY
NON-BANKRUPTCY PROCEEDING NOR SHALL IT BE CONSTRUED TO CONSTITUTE
ADVICE ON THE TAX, SECURITIES OR OTHER LEGAL EFFECTS OF THE PLAN AS IT
RELATES TO HOLDERS OF CLAIMS AGAINST, OR EQUITY INTERESTS IN, THE
DEBTORS.




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Exhibit           Title

  A               First Amended Joint Chapter 11 Plan of Reorganization of Hygea Holdings Corp.
                  and its Affiliated Debtors

  B               Liquidation Analysis

  C               Financial Projections

  D               Global Settlement Term Sheet




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                                            ARTICLE I

                                       INTRODUCTION

  A.       Purpose of the Disclosure Statement

         On February 19, 2020 (the “Petition Date”), Hygea Holdings Corp. (“HHC”) and its
affiliated debtors and debtors-in-possession (collectively, the “Debtors”) each filed voluntary
petitions for relief (the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States
Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court
for the District of Delaware (the “Bankruptcy Court”).

       The Debtors have filed the First Amended Joint Chapter 11 Plan of Reorganization of
Hygea Holdings Corp. and its Affiliated Debtors (including all exhibits thereto, and as may be
amended, altered, modified or supplemented from time to time, the “Plan”) with the Bankruptcy
Court. A copy of the Plan is attached hereto as Exhibit A.

        Capitalized terms used but not otherwise defined herein have the meanings ascribed
to such terms in the Plan; provided, however, that any capitalized term used herein that is
not defined herein or in the Plan, but is defined in the Bankruptcy Code or the Federal
Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) will have the meaning ascribed to
that term in the Bankruptcy Code or the Bankruptcy Rules, as applicable.

        The Debtors submit this disclosure statement (as may be amended, altered, modified or
supplemented from time to time, the “Disclosure Statement”) pursuant to section 1125 of the
Bankruptcy Code to Holders of certain Claims against the Debtors in connection with (i) the
solicitation of acceptances of the Plan and (ii) the Confirmation Hearing.

       The purpose of this Disclosure Statement is to describe the Plan and its provisions and to
provide certain information, as required under section 1125 of the Bankruptcy Code, to Creditors
who will have the right to vote on the Plan so they can make informed decisions in doing so.
Creditors entitled to vote to accept or reject the Plan will receive a Ballot (as defined herein)
together with this Disclosure Statement to enable them to vote on the Plan.

        This Disclosure Statement includes, among other things, information pertaining to the
Debtors’ prepetition business operations and financial history and the events leading to the filing
of the Chapter 11 Cases. This Disclosure Statement also contains information regarding
significant events that have occurred during the Chapter 11 Cases. In addition, an overview of
the Plan is included, which overview sets forth certain terms and provisions of the Plan, the
effects of Confirmation of the Plan, certain risk factors associated with the Plan and the manner
in which Distributions will be made under the Plan. This Disclosure Statement also discusses the
Confirmation process and the procedures for voting, which procedures must be followed by the
Holders of Claims entitled to vote under the Plan for their votes to be counted.




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  B.       Disclosure Statement Enclosures

         Accompanying this Disclosure Statement are:

         1.      Order Approving the Disclosure Statement. A copy of the Bankruptcy Court’s
         order (the “Solicitation Procedures Order”) approving this Disclosure Statement and,
         among other things, establishing procedures for voting on the Plan, setting the deadline
         for objecting to the Plan and scheduling the Confirmation Hearing.

         2.     Ballot. A ballot (the “Ballot”) for voting to accept or reject the Plan, if you are the
         record Holder of a Claim in a Class entitled to vote on the Plan (each, a “Voting Class”).

         3.      Notice. A notice setting forth: (i) the deadline for casting Ballots either accepting
         or rejecting the Plan; (ii) the deadline for filing objections to Confirmation of the Plan;
         and (iii) the date, time and location of the Confirmation Hearing (the “Notice”).

  C.       Final Approval of the Disclosure Statement and Confirmation of the Plan

         1.      Requirements. The requirements for Confirmation of the Plan are set forth in
         section 1129 of the Bankruptcy Code. The requirements for the Disclosure Statement are
         set forth in section 1125 of the Bankruptcy Code.

         2.     Approval of the Plan and Confirmation Hearing. Before entering an order
         confirming the Plan (the “Confirmation Order”), the Bankruptcy Court must hold a
         hearing to determine whether the Plan meets the requirements of section 1129 of the
         Bankruptcy Code.

         3.     Effect of Confirmation. Confirmation serves to make the Plan binding upon the
         Debtors and all Creditors, Holders of Equity Interests and other parties in interest,
         regardless of whether they cast a Ballot to accept or reject the Plan.

         4.      Only Impaired Classes Vote. Pursuant to the provisions of the Bankruptcy Code,
         only classes of claims or equity interests that are “impaired” under a plan may vote to
         accept or reject such plan. Generally, a claim or equity interest is impaired under a plan if
         a holder’s legal, equitable or contractual rights are changed under such plan. In addition,
         if the holders of claims or equity interests in an impaired class do not receive or retain any
         property under a plan on account of such claims or equity interests, such impaired class is
         deemed to have rejected such plan under section 1126(g) of the Bankruptcy Code and,
         therefore, such holders do not need to vote on such plan.

        Under the Plan, Holders of Claims in ClassClasses 1 and 2 are Unimpaired and therefore
deemed to accept the Plan; Holders of Claims in Classes 2, 3 and 4 are Impaired and are entitled
to vote on the Plan; and Holders of Claims in Class 5 and Equity Interests in Class 56 are deemed
to reject the Plan and are not entitled to vote on the Plan.

       Accordingly, a Ballot for acceptance or rejection of the Plan is being provided only
to Holders of Claims in Classes 2, 3 and 4.


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  D.       Treatment and Classification of Claims and Equity Interests; Impairment

        The categories of Claims and Equity Interests listed below classify Claims and Equity
Interests for all purposes, including voting, Confirmation and Distribution pursuant to the Plan
and pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code. For a summary of the
treatment of each Class of Claims and Equity Interests, see Article IV, “Summary of Plan,”
below.

             Class Description             Status                         Proposed Treatment

Administrative Expense Claims            Unclassified     Except to the extent that a Holder of an Allowed
Estimated Claims Pool: $2,250,000.00                      Administrative Expense Claim agrees to different
Estimated Recovery: 100%                                  treatment with the Debtors or Reorganized Debtors,
                                                          each Holder of an Allowed Administrative Expense
                                                          Claim will receive Cash in an amount equal to the
                                                          unpaid amount of such Allowed Administrative
                                                          Expense Claim on the later of the Effective Date or
                                                          the date on which such Administrative Expense Claim
                                                          becomes an Allowed Administrative Expense Claim,
                                                          or as soon thereafter as is reasonably practicable;
                                                          provided, however, that Allowed Administrative
                                                          Expense Claims representing liabilities incurred in
                                                          the ordinary course of business by the Debtors, as
                                                          Debtors-in-Possession, or liabilities arising under
                                                          obligations incurred by the Debtors, as
                                                          Debtors-in-Possession, prior to the Effective Date,
                                                          will be paid by the Debtors in the ordinary course of
                                                          business, consistent with past practice and in
                                                          accordance with the terms and subject to the
                                                          conditions of any agreements governing, instruments
                                                          evidencing, or other documents relating to such
                                                          transactions, including, but not limited to, the Budget,
                                                          DIP Orders and all other orders entered by the
                                                          Bankruptcy Court related to the foregoing. In
                                                          addition, Allowed Administrative Expense Claims of
                                                          the United States Trustee for statutory fees under 28
                                                          U.S.C. § 1930 incurred prior to the Effective Date
                                                          will be paid on the Effective Date by the Debtors, and
                                                          thereafter, as such fees may thereafter accrue and be
                                                          due and payable, by the Debtors or Reorganized
                                                          DebtorsCreditors’ Trust in accordance with the
                                                          applicable schedule for payment of such fees.




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Accrued Professional Compensation Claims    Unclassified     AllExcept as otherwise provided in the Plan, all
Estimated Claims Pool: $__2,000,000.00                       Professionals seeking payment of Accrued
Estimated Recovery: 100%                                     Professional Compensation Claims will (i) file their
                                                             respective final applications for allowance of
                                                             compensation for services rendered and
                                                             reimbursement of expenses incurred in the Chapter
                                                             11 Cases by the date that is thirty (30) days after the
                                                             Effective Date and (ii) be paid (a) the full unpaid
                                                             amount as is Allowed by the Bankruptcy Court within
                                                             five (5) Business Days after the date that such Claim
                                                             is Allowed by order of the Bankruptcy Court, or (b)
                                                             upon such other terms as may be mutually agreed
                                                             upon between the Holder of such an Allowed
                                                             Accrued Professional Compensation Claim and the
                                                             Debtors or Reorganized Debtors. Any Accrued
                                                             Professional Compensation Claim that is not asserted
                                                             in accordance with Section 2.2 of the Plan will be
                                                             deemed disallowed under the Plan, waived, and will
                                                             be forever barred against the Debtors, the Debtors’
                                                             Estates, the Reorganized Debtors, the Creditors’
                                                             Trust, or any of their Assets or property, and the
                                                             Holder thereof will be enjoined from commencing or
                                                             continuing any action, employment of process or act
                                                             to collect, offset, recoup, or recover such Claim.

                                                             Accrued Professional Compensation Claims filed by
                                                             the Committee’s Professionals will be subject to a cap
                                                             of One Million Three Hundred and Twenty-Five
                                                             Thousand Dollars ($1,325,000.00) (the “Committee
                                                             Budget”) as described in the DIP Orders. To the
                                                             extent the Committee Budget is insufficient to pay the
                                                             Allowed Accrued Professional Compensation Claims
                                                             of the Committee’s Professionals, such Allowed
                                                             Claims may be paid from the Creditors’ Trust. The
                                                             Committee Budget will not be subject to the
                                                             Variance.

                                                             To the extent any excess funds remain under the
                                                             Debtors’ professional fee budgeted amounts and/or
                                                             the Committee Budget under the DIP Orders
                                                             (collectively, the “Professional Budget Surplus”),
                                                             such funds will be deposited into the Creditors’ Trust
                                                             on the Effective Date, or after payment of such
                                                             Professionals’ Accrued Professional Compensation
                                                             Claims.

                                                             The Professional Budget Surplus will not be used to
                                                             repay the Creditors’ Trust Loan.
Priority Tax Claims                         Unclassified     Except as otherwise provided in the Plan, on the
Estimated Claims Pool: $__10,426,750.00                      Effective Date or as soon as reasonably practicable
Estimated Recovery: 100%                                     thereafter (or if a Claim is not an Allowed Claim on
                                                             the Effective Date, on the date that such a Claim
                                                             becomes an Allowed Claim or as soon as reasonably
                                                             practicable thereafter), each Holder of an Allowed
                                                             Priority Tax Claim will receive in full satisfaction,


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                                                           settlement, discharge, and release of, and in exchange
                                                           for, such Allowed Priority Tax Claim pursuant to and
                                                           in accordance with sections 1129(a)(9)(C) and
                                                           1129(a)(9)(D) of the Bankruptcy Code, Cash in an
                                                           aggregate amount of such Allowed Priority Tax
                                                           Claim payable in regular installment payments over a
                                                           period ending not more than five (5) years after the
                                                           Petition Date, plus simple interest at the rate required
                                                           by applicable non-bankruptcy law on any outstanding
                                                           balance from the Effective Date, or such lesser rate as
                                                           is agreed to in writing by a particular taxing authority
                                                           and the Debtors or Reorganized Debtors, as
                                                           applicable, pursuant to section 1129(a)(9)(C) of the
                                                           Bankruptcy Code; provided, however, that Priority
                                                           Tax Claims incurred by any Debtor in the ordinary
                                                           course of business may be paid in the ordinary course
                                                           of business by such applicable Debtor or Reorganized
                                                           Debtor in accordance with such applicable terms and
                                                           conditions relating thereto without further notice to or
                                                           order of the Bankruptcy Court. Any installment
                                                           payments to be made under clause (C) or (D) above
                                                           will be made in equal quarterly Cash payments
                                                           beginning on the first applicable Subsequent
                                                           Distribution Date, and continuing on each Subsequent
                                                           Distribution Date thereafter until payment in full of
                                                           the applicable Allowed Priority Tax Claim.
Class 1: Other Priority Claims              Unimpaired     Except to the extent that a Holder of an Allowed
Estimated Claims Pool: $__1,965.00                         Other Priority Claim against the Debtors has agreed
Estimated Recovery: 100%                                   to a different treatment of such Claim, each such
                                                           Holder will receive, in full satisfaction of such
                                                           Allowed Other Priority Claim, Cash in an amount
                                                           equal to such Allowed Other Priority Claim, on or as
                                                           soon as reasonably practicable after the later of (i) the
                                                           Effective Date; (ii) the date the Other Priority Claim
                                                           becomes an Allowed Claim; or (iii) the date for
                                                           payment provided by any agreement or arrangement
                                                           between the Reorganized Debtors and the Holder of
                                                           the Allowed Other Priority Claim against the Debtors.

Class 2: Other Secured Claims              ImpairedUni     In full satisfaction of an Allowed Other Secured
$__                                          mpaired       Claim, on the later of the Effective Date and the date
Estimated Claims Pool: $0.00                               on which the Other Secured Claim is Allowed, each
Estimated Recovery: ___100%                                Holder of an Allowed Other Secured Claim will
                                                           receive, at the sole and exclusive option of the
                                                           Reorganized Debtors: (a) Cash equal to the amount
                                                           of such Claim; (b) the Collateral securing such Claim;
                                                           or (c) satisfaction of such Claim pursuant to such
                                                           other terms and conditions as may be agreed upon by
                                                           the Reorganized Debtors and the Holder of such
                                                           Other Secured Claim.
Class 3: Bridging’s Secured Claim            Impaired      Upon the terms and subject to the conditions set forth
$__                                                        in the Plan, in full and final satisfaction, settlement,
Estimated Claims Pool: $122,539,900.00                     release, and discharge of Bridging’s Secured Claim,
Estimated Recovery: ___%Unknown                            Bridging or such Entity designated by Bridging and
                                                           Centurion, respectively, will receive, on the Effective


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                                                           Date or as soon as practicable thereafter, (i) the
                                                           Debtors’ Cash on hand on the Effective Date in
                                                           excess of Cash necessary to operate the Reorganized
                                                           Debtors’ business, following funding of the
                                                           LiquidatingCreditors’ Trust ContributionLoan to be
                                                           allocated 90.86% to Bridging and 9.14% to
                                                           Centurion; (ii) the New Secured Debt in accordance
                                                           with Section 6.4 of the Plan; and (iii) 10086.317% of
                                                           the Reorganized Debtor Equity will be issued to
                                                           Bridging or its designee and 8.683% of the
                                                           Reorganized Debtor Equity will be issued to
                                                           Centurion or its designee.

                                                           To the extent the Debtors’ Cash on hand as of the
                                                           Effective Date is not sufficient to make payments
                                                           under the Plan, fund operations and fund the
                                                           Creditors’ Trust Loan, Bridging will advance the
                                                           necessary funds to the Reorganized Debtors with such
                                                           amount to be added to the Working Capital Loan. All
                                                           distributions made on account of Bridging’s Secured
                                                           Claim will be paid to Bridging and Centurion, as
                                                           applicable. Bridging will have the right to vote
                                                           Bridging’s Secured Claim.
Class 4: General Unsecured Claims            Impaired      This Class consists of all General Unsecured Claims
$__                                                        against the Debtors, including Bridging’s Deficiency
Estimated Claims Pool: $281,457,060.00                     Claim. Except to the extent that a Holder of an
Estimated Recovery: ___%Unknown                            Allowed General Unsecured Claim against the
                                                           Debtors agrees to a different treatment of such Claim,
                                                           in full and final satisfaction of each Allowed General
                                                           Unsecured Claim against the Debtors, each Holder of
                                                           an Allowed General Unsecured Claim against the
                                                           Debtors will receive its Pro Rata share of
                                                           LiquidatingCreditors’ Trust Distributable CashAssets
                                                           as soon as practicable as determined by the
                                                           Liquidating Trustee. Bridging will have the right to
                                                           vote the Bridging Deficiency Claim but will waive
                                                           any Distributions to Bridging and its participants on
                                                           account of Bridging’s Deficiency Claim.
Class 5: Subordinated Claims                 Impaired      This Class consists of all Subordinated Claims
Estimated Claims Pool: Unknown               Impaired      against the Debtors. Holders of Subordinated Claims
Estimated Recovery: 0%                                     against the Debtors will not receive or retain any
Class 6: Equity Interests                                  property under the Plan on account of such
Estimated Recovery: 0%                                     Subordinated Claims, and the obligations of the
                                                           Debtors on account of Subordinated Claims will be
                                                           discharged.
                                                           Holders of an Equity Interest in the Debtors will not
                                                           receive or retain any property under the Plan on
                                                           account of such Equity Interests, and the obligations
                                                           of the Debtors on account of the Equity Interests will
                                                           be discharged. Notwithstanding the foregoing, the
                                                           Equity Interests in the Debtors will be reinstated upon
                                                           the Effective Date and deemed issued to and held by
                                                           Bridging.




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  E.       Voting Procedures and Voting Deadline

        If you are entitled to vote to accept or reject the Plan, a Ballot is enclosed for the purpose
of voting on the Plan. To ensure your vote is counted, you must (i) complete the Ballot, (ii)
indicate your decision either to accept or reject the Plan in the boxes provided and (iii) sign and
return the Ballot(s) in the envelope provided.

       To be counted, your Ballot with your original signature indicating your acceptance
or rejection of the Plan must be received no later than 4:00 p.m. (Eastern Time) on ______
___June 8, 2020 (the “Voting Deadline”).

      The following Ballots will not be counted or considered for any purpose in determining
whether the Plan has been accepted or rejected:

         (i)      any Ballot received after the Voting Deadline (unless extended by
                  the DebtorDebtors);

         (ii)     any Ballot that is illegible or contains insufficient information to
                  permit the identification of the claimant;

         (iii)    any Ballot cast by a Person or Entity that does not hold a Claim or
                  Equity Interest in a Class that is entitled to vote to accept or reject
                  the Plan;

         (iv)     any Ballot cast for a Claim scheduled as Contingent, unliquidated
                  or Disputed or as zero or unknown in amount and for which no
                  Rule 3018(a) Motion has been filed by the Rule 3018(a) Motion
                  Deadline (as such terms are defined in the Solicitation Procedures
                  Order);

         (v)      any Ballot that indicates neither an acceptance nor a rejection, or
                  indicates both an acceptance and a rejection, of the Plan;

         (vi)     any Ballot that casts part of its vote in the same Class to accept the
                  Plan and part to reject the Plan;

         (vii)    any form of Ballot other than the official form sent by Epiq
                  Corporate Restructuring, LLC (“Epiq,” the “Claims Agent” or the
                  “Voting Agent”), or a copy thereof;

         (viii) any Ballot received that the Voting Agent cannot match to an
                existing database record;

         (ix)     any Ballot that does not contain an original signature;

         (x)      any Ballot that is submitted by facsimile, email or by other
                  electronic means; or



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           (xi)     any Ballot sent to the Debtors’ professionals.

        In order for the Plan to be accepted by an Impaired Class of Claims, a majority in number
and two-thirds in dollar amount of the Claims voting in such Class must vote to accept the Plan.
At least one Voting Class, excluding the votes of insiders, must actually vote to accept the Plan.

        You are urged to complete, date, sign and promptly mail the Ballot enclosed with
the notice. Please be sure to complete the Ballot properly and legibly, and identify the
exact amount of your Claim and the name of the Creditor. If you are a Holder of a Claim
entitled to vote on the Plan and you did not receive a Ballot, you received a damaged Ballot
or you lost your Ballot, or if you have any questions concerning the Disclosure Statement,
the Plan or procedures for voting on the Plan, please contact the Voting Agent, Epiq
Corporate Restructuring, LLC, at (866) 897-6433 (U.S., and Canada, toll free), (646)
282-2500 (International) or at hygeatabulation@epiqglobal.com. The Voting Agent is not
authorized to and will not provide legal advice.

    F.       Confirmation Hearing

        The Bankruptcy Court has scheduled a hearing to consider confirmation of the Plan for
_____ ___June 12, 2020 at __10:__ _00 a.m. (Eastern Time) in the United States Bankruptcy
Court for the District of Delaware, 824 North Market Street, 6th Floor, Courtroom No. 3,
Wilmington, Delaware 19801 (the “Confirmation Hearing”). The Bankruptcy Court has directed
that objections, if any, to confirmation of the Plan be filed and served on or before _____
___June 5, 2020 at 4:00 p.m. (Eastern Time) in the manner described in the Notice
accompanying this Disclosure Statement. The Confirmation Hearing may be adjourned from
time to time by way of announcement of such continuance in open Courtcourt or otherwise,
without further notice to parties in interest.

       The Debtors urge all Holders of Claims entitled to vote on the Plan to vote to accept
the Plan.

                                                     ARTICLE II

                    GENERAL INFORMATION REGARDING THE DEBTORS3

    A.       The Debtors’ Businesses

           1.       General Overview

         Founded in 2007, Hygea is a consolidated enterprise of several companies aggregated
through a series of acquisitions that focus on the delivery of primary-care-based health care to
commercial, Medicare and Medicaid patients. The Debtors currently provide health care related
services to approximately 190,000 patients in the southeast United States through two platforms:
(i) individual physician practices and physician group practices (collectively, the “Physician
Practices”) with a primary care physician (“PCP”) focus and (ii) management services

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     The information herein is solely for informational purposes and nothing herein shall be deemed an admission by
    the Debtors in any Cause of Action.

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organizations (“MSOs”). The Debtors are headquartered in Miami, Florida and currently employ
more than 150 individuals.

         2.       The Physician Practices

        As of the Petition Date, the Physician Practices consisted of approximately seventeen (17)
active brick and mortar locations throughout South and Central Florida and Georgia. The
Debtors either manage or wholly own the assets of the Physician Practices and employ the
personnel of the Physician Practices, including the physicians. Other than Debtor First Harbour
Medical Centers, LLC, which is wholly-owned by Debtor Hygea Health Holdings, Inc. (“HHH”),
the physicians still own the equity in the corporate entities of the Physician Practices.

        The Physician Practices focus on family medicine, internal medicine or clinical
cardiology. Through these practices, the Debtors directly employ in excess of seventy (70)
clinical staff (physicians, physician assistants, nurse practitioners, clinical technicians and
medical assistants).

        Historically, acquisitions of physician practices and clinics were an integral component of
the Debtors’ business model. Since its inception, Hygea acquired approximately thirty-five (35)
physician practices, many of which the Debtors no longer operate. In a typical purchase
transaction, the Debtors purchased the physical assets of a medical practice and obtained an
option to purchase the equity or ownership interest in the corporate entity of the practice itself.
The Debtors, however, generally did not exercise the option to purchase the ownership interest in
the practice. As consideration for the asset purchase, the selling physician received a
combination of cash and stock in HHC with a put option at a set minimum price per share.

        Contemporaneously with the asset acquisition, the Debtors typically entered into (i) a
management services agreement (the “MSA”) with the physician practice and (ii) employment
agreements with the physicians. Pursuant to the MSAs, certain of the Debtors manage the
day-to-day business operations of the Physician Practices, thereby allowing the physicians to
focus on the practice of medicine. The management related services provided to the Physician
Practices include staffing, payroll services and centralized benefits including healthcare
coverage.

        The Physician Practices earn revenue through fee for service billing (“FFS”) or capitation
payments (as described below). Under traditional FFS reimbursement, physicians are paid a
specified amount for a patient visit based upon the appropriate coding for such visits. Physician
compensation is related solely to the volume of patient visits, procedures performed, and tests
ordered. As of the Petition Date, approximately 52% of the Debtors’ revenue comescame from
FFS payments.

        Although the Physician Practices traditionally have relied upon the FSS payment model,
in recent years Hygea has shifted its focus toward the capitation model by entering into
value-based performance contracts with various insurance companies. Capitation is a type of a
health care payment system in which a doctor is paid a fixed amount per patient for a prescribed
period of time by an insurer or physician association. As of the Petition Date, approximately
19% of the Debtors’ revenue comescame from capitation payments.


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         3.       Management Service Organizations (MSOs)

       An MSO is an entity that, under contract, arranges for medical and medically related
services to patients on behalf of a health plan. The following entities comprise the Debtors’
active MSOs: First Harbour Health Management, LLC; Florida Group Healthcare, LLC; and
Palm Medical Network, LLC.

        The Debtors’ MSOs have entered into “at risk” contracts with Medicare Advantage Health
Maintenance Organizations (“HMOs”) to manage the delivery of healthcare services to Medicare
enrolled patients throughout Florida (the “Enrollees”). An “at risk” contract is when the MSO
agrees to assume either a portion or all of the financial risk or exposure for potential losses
incurred by their patient base participating in that HMO. The Debtors currently have three (3)
active “at risk” agreements with Humana, Inc. (“Humana”) and subsidiaries of Humana, pursuant
to which the MSOs provide or arrange for medical and related healthcare services to the
Enrollees either through the Physician Practices or third-party physician groups.

        The Debtors’ MSO model is to improve the management of high-risk patients, resulting in
better quality outcomes. The MSOs work closely with the PCP to ensure the patient receives the
necessary care to achieve optimal health outcomes. The Debtors’ MSOs enhance their
profitability by restraining medical costs. By emphasizing preventive care and attempting to
avoid turning chronic conditions into acute conditions, the Debtors’ MSOs are increasingly
focused on keeping patients healthier as a means to reduce costs and decrease utilization.

        The HMO receives a “risk adjusted” monthly amount for each Enrollee from the Centers
for Medicare & Medicaid Services (“CMS”), which amount can change based upon various
factors personal to each Enrollee, including health, age and demographics. The HMO is entitled
to a monthly fee (usually a percentage of the fixed amount paid by CMS) and the balance is
allocated to the MSO (the “Allocated Amounts”). The Allocated Amounts are used to pay claims
either on an FFS basis or at a capitated rate. After claims are reconciled and paid, any surplus
remaining from the monthly Allocated Amounts are paid to the MSO. As the MSOs generate
surplus payments, the Debtors are obligated to downstream a percentage of that surplus to the
medical providers, pursuant to various contracts between the MSOs and third-party practice
groups. As of the Petition Date, approximately 29% of the Debtors’ revenue comescame from
surplus payments to the Debtors’ MSOs.

         4.       The Palm Network

        In 2008, Hygea acquired the Palm Network, which, at the time, was one of the largest
independent physician associations (“IPAs”) in Florida, representing more than seventy-six (76)
different medical specialties, including more than eight hundred (800) primary care providers.
However, in today’s healthcare climate, IPAs, such as the Palm Network, have proven to be an
inferior business model compared to MSOs. As of the Petition Date, the Palm Network iswas
not a direct source of revenue for the Debtors. Nonetheless, through the Palm Network, the
Debtors are able to maintain and develop new relationships with third party physician practice
groups with whom the Debtors contract with to provide care to HMO Enrollees.




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B.       The Debtors’ Corporate Structure

       HHC was formed on August 26, 2008, as Piper Acquisition II, Inc. On May 16, 2011,
HHC changed its name to Hygea Holdings Corp. On that same date, HHC entered into a Share
Exchange Agreement with the shareholders of Hygea Health Holdings, Inc., a Florida
corporation (“Hygea Health”), an entity founded in March of 2007 by Manuel E. Iglesias,
Edward Moffly and Dr. Manuel I. Iglesias, pursuant to which HHC acquired 99.9% of the
outstanding securities of Hygea Health in exchange for 135,519,339 shares of HHC common
stock.

       As set forth on the organizational chart attached to the First Day Declaration [Docket No.
13], HHC has myriad direct and indirect subsidiaries. As of the Petition Date, several of these
subsidiaries, some of which consist of former MSO entities, arewere inactive. The majority of
the Debtors’ business operations (described above) are conducted through Hygea Health.

C.       The Debtors’ Prepetition Capital Structure

       As of the Petition Date, the Debtors had assets on a consolidated basis of approximately
$77.3 million and liabilities of approximately $212.2 million, consisting of approximately $76.3
million in current liabilities and approximately $135.9 million in long-term liabilities.

        The Debtors’ long-term liabilities relate to approximately $162.0 million Canadian
(approximately $122.0 million in U.S. Dollars) under that certain Amended and Restated Credit
Agreement, dated as of January 31, 2017 (as amended, supplemented or otherwise modified from
time to time, the “Credit Agreement”), by and among HHC, certain of the other Debtors, as
obligors, Bridging Income Fund LP (formerly known as Sprott Bridging Income Fund LP) (the
“Lender”) and Bridging Finance Inc., as administrative agent (together with the Lender,
“Bridging”). Pursuant to the related Amended and Restated Guaranty and Security Agreement,
dated as of January 31, 2017, Bridging has a first priority lien and security interest in
substantially all of the Debtors’ assets.

       As of the Petition Date, the Debtors had unsecured debt in the form of accounts payable,
accrued liabilities and other liabilities. The liabilities consist of, among other things, contingent,
unliquidated and disputed litigation claims in excess of $50 million and payroll tax liabilities in
excess of $10 million, including interest and penalties.

D.       Summary of Events Leading to the Chapter 11 Filing

        Since 2017, the Debtors havehad confronted liquidity challenges and operational issues
that threatenthreatened their ability to continue as a going concern. The Debtors’ financial
situation hashad been deteriorating over time due to a variety of reasons.

        Over the last several years, the Debtors pursued an aggressive growth strategy, expanding
their acquisition of Physician Practices. In some cases, the Debtors purchased certain Physician
Practices with minimal net profit. At the time of acquisition, the Debtors projected increased
profitability for those practices as a result of performance improvements. The Debtors, however,
failed to properly integrate the underperforming acquisitions. Consequently, the Debtors have
been burdened with supporting a number of losing operations, that even with performance

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improvements will never be profitable. The operating losses of those practices, along with the
associated acquisition costs, have caused a substantial drain on the Debtors’ liquidity.

        The Debtors’ failed acquisition of certain MSOs similarly contributed to the current
liquidity constraints. The Debtors purchased certain MSOs that, at the time of acquisition, had
sufficient infrastructure to generate profit. The Debtors, however, were unable to maintain the
investment required to support those MSOs and the MSOs performance dropped significantly
and below acceptable levels for the HMOs. As a result, the HMOs terminated their contracts
with those MSOs. Those terminations resulted in several large acquisitions becoming worthless
while the Debtors remained obligated for the costs associated with such acquisitions.

       The Debtors’ acquisition of the Palm Network similarly proved to be unsuccessful in
terms of generating direct profits. Nonetheless, the Palm Network still provides certain value to
the Debtors in terms of helping the Debtors maintain and develop new business relationships
with physicians and HMOs.

       In addition to failed acquisitions, the Debtors’ historical financial reporting was
inadequate, causing deficiencies in their financial forecasting as well as cash management.
Those inadequacies caused the Debtors to overspend in the face of an already unsustainable debt
load.

        Given thesethose operational challenges, the Debtors were never profitable on a cash
basis and, therefore, were dependent on constant debt and equity fundraising activities to cover
losses. The Debtors have been unable to raise additional capital to fund those losses due to, in
part, pending litigation stemming from shareholder and contractual disputes. The Debtors do not
have the liquidity to defend or settle these lawsuits.

         As a result of the foregoing issues, the Debtors have beenwere unable to service their debt
obligations to the Lender and certain events of default occurred under the Credit Agreement.
Accordingly, in or around January 2018, the Debtors hired 4Front Capital Partners Inc.
(“4Front”), an investment banking firm, to assist the Debtors in evaluating strategic alternatives
and commencing a formal marketing process for the sale and/or refinancing of Hygea. Although
Hygea and 4Front contacted almost 100 parties with respect to a potential transaction, only 15
executed an NDA. These parties were provided access to a dataroom containing confidential
information regarding the Debtors, their businesses and their assets. Of these 15 parties who had
access to the dataroom, only one expressed further interest in participating in a transaction and
had further discussions with the Debtors and 4Front regarding potential transactions. Ultimately,
the last party declined to move forward with a transaction.

        Following the unsuccessful sale process, in late October 2019 the Debtors engaged
Alvarez & Marsal North America, LLC to assist the Debtors with, among other things, financial
and operational support and strategic advice relating to a corporate reorganization. Shortly
thereafter, on or about October 31, 2019, the Debtors and Bridging entered into a Forbearance
Agreement (as subsequently amended, the “Forbearance Agreement”). Pursuant to the
Forbearance Agreement, Bridging agreed to forbear from exercising its rights and remedies under
the Credit Agreement and provided in excess of $6 million of emergency funding to the Debtors.



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        Thereafter, the Debtors and Bridging engaged in significant arms’-length negotiations that
led to them entering into that certain Restructuring Support Agreement, dated as of February 7,
2020, by and among the Debtors and Bridging (the “RSA”), pursuant to which, among other
things, the Debtors agreed to commence the Chapter 11 Cases and pursue a consensual
restructuring to be implemented through a chapter 11 plan, if possible, or a sale under section
363 of the Bankruptcy Code.4 AsThe proposed plan described below,in the proposed plan
providesRSA provided for, among other things, the (i) transfer of the Debtors’ equity to Bridging
on account of its pre-petition secured claim, (ii) creation of a liquidating trust for the benefit of
the Debtors’ unsecured creditors and (iii) payment of priority tax claims pursuant to section
1129(a)(9)(c) of the Bankruptcy Code. Pursuant to the RSA, Bridging agreed to provide the
Debtors with debtor-in-possession financing to support the administrative and operational
expenses of these Chapter 11 Cases. The Debtors believe the restructuringAs discussed in
greater detail below, the plan structure contemplated by the RSA provides a clear path to
emergence from these Chapter 11 Caseswas modified to address, among other things, a global
settlement (the “Global Settlement”) by and will allowamong the Debtors to succeed as
restructured companies after emergence, the Committee and Bridging (collectively, the “Global
Settlement Parties”).

                                                      ARTICLE III

                                           THE CHAPTER 11 CASES

    A.       Commencement of the Chapter 11 Cases

       As set forth above, on the Petition Date the Debtors filed voluntary petitions for relief
under chapter 11 of the Bankruptcy Code in the Bankruptcy Court. No trustee or examiner has
been appointed in the Chapter 11 Cases.

      Since the Petition Date, the Debtors have continued to operate their businesses and
manage their property as debtors and debtors-in-possession.

B.         “First Day” Motions

        On the Petition Date, the Debtors filed ten (10) “first-day” motions designed to ease their
transition into chapter 11 and to minimize the effects of the commencement of the Chapter 11
Cases. On February 20, 2020, the Debtors filed a motion seeking entry of an order authorizing
them to assume the RSA [Docket No. 41]. On February 21, 2020, the Bankruptcy Court entered
orders providing certain of the requested first-day relief, including:

                          (i)    authorizing the Debtors’ Chapter 11 Cases to be jointly
           administered for procedural purposes only [Docket No. 42];

                           (ii)   authorizing the Debtors to file a consolidated creditor matrix in
           lieu of submitting separate mailing matrices for each Debtor [Docket No. 44]

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     In the event the Plan is withdrawn or an order denying confirmation of the Plan is entered by the Court, the
    Debtors have agreed to file a motion under section 363 of the Bankruptcy Code to sell substantially all of their
    assets to Bridging as a stalking horse bidder through a credit bid.

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                       (iii) authorizing the Debtors to retain Epiq as their claims and noticing
         agent [Docket No. 45]

                        (iv)    approving, on an interim basis, certain procedures to maintain and
         protect the confidentiality of patient information as required by the Health Insurance
         Portability and Accountability Act of 1996, while providing required disclosure in these
         Chapter 11 Cases [Docket No. 46] (final order entered March 19, 2020 [Docket No.
         178]);

                         (v)    authorizing the Debtors, on an interim basis, to continue use of
         their existing bank accounts and business forms [Docket No. 47] (final order entered
         March 20, 2020 [Docket No. 198]);

                         (vi)   authorizing the Debtors, on an interim basis, to pay prepetition
         wages and continue certain employee benefit programs in the ordinary course [Docket
         No. 43] (final order entered March 20, 2020 [Docket No. 197]);

                        (vii) authorizing the Debtors, on an interim basis, to maintain their
         existing insurance policies and continue their insurance premium financing arrangement
         with respect to such policies [Docket No. 50] (final order entered March 19, 2020
         [Docket No. 182]);

                        (viii) authorizing the Debtors, on an interim basis, to pay certain
         prepetition taxes and related obligations [Docket No. 48] (final order entered March 19,
         2020 [Docket No. 181]); and

                         (ix)    on an interim basis, prohibiting the Debtors’ utility companies from
         altering, refusing or discontinuing service to, or discriminating against, the Debtors and
         approving the form of adequate assurance of postpetition payment to such utility
         companies [Docket No. 49].

        On February 24, 2020, the Court (final order entered an order authorizing the Debtors, on
an interim basis, to enter into a post-petition financing arrangement with, permitting the use cash
collateral of, and granting adequate protection to, Bridging [Docket No. 63]. The Court has
scheduled a hearing for March 2420, 2020 at 2:00 p.m. (ET) (the “Second Day Hearing”) to
consider approval of certain of the first-day motions on a final basis. The Debtors also have filed
additional motions to be heard at the Second Day Hearing seeking the following relief:[Docket
No. 200]).

                          (i)    extending the Debtors’ time to file their schedules of assets and
         liabilities and statements of financial affairs [Docket No. 83];

                      (ii)    establishing procedures for interim compensation and
         reimbursement of expenses of professionals [Docket No. 84];

                        (iii) establishing bar dates for filing claims against the Debtors and
         approving the form and manner of notice thereof [Docket No. 87]; and


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                         (iv)  finding that the appointment of a patient care ombudsman is not
         required in the Chapter 11 Cases [Docket No. 108].

       The Debtors also intend to file one or more motions to reject certain executory contracts
and unexpired leases to be heard at the Second Day Hearing

C.       Retention of Professionals and Appointment of the Committee

         1.       Retention of Debtors’ Professionals

        The Debtors have sought authoritywere authorized to retain the following bankruptcy
professionals in the Chapter 11 Cases, which retention applications are scheduled to be heard at
the Second Day Hearing: (i) Cole Schotz P.C., as their bankruptcy counsel [Docket No. 179]; (ii)
Alvarez & Marsal North America, LLC (“A&M”), as their financial advisors [Docket No. 180];
and (iii) Epiq as their administrative agentadvisor [Docket No. 177].

        The Debtors also have sought authoritywere authorized to retain certain professionals
utilized by the Debtors in the ordinary course of business prior to the Petition Date pursuant to an
order [Docket No. 82], which motion similarly is scheduled to be heard at the Second Day
Hearing186] entered by the Bankruptcy Court on March 19, 2020.

         2.       Appointment of Committee and Retention of Committee Professionals

       On March 10, 2020, the Office of the United States Trustee for the District of Delaware
appointed an official committee of unsecured creditors (the “Committee”) pursuant to section
1102(a) of the Bankruptcy Code [Docket No. 118]. The members of the Committee are: (i)
Manasota Medical Management Consultants, LLC, (ii) Claudio F. Arellano; (iii) NextGen
Healthcare, Inc.; (iv) Cardiology Consultants of West Broward, P.A. (“CCWB”); and (iv)
Adaptive Healthcare Solutions, LLC.

       The Committee was authorized to retain the following bankruptcy professionals in the
Chapter 11 Cases: (i) Lowenstein Sandler LLP, as its counsel [Docket No. 335]; and (ii) Morris
James LLP, as its co-counsel [Docket No. 341]. The Committee’s application to retain FTI
Consulting, Inc. (“FTI”), as its financial advisor [Docket No. 219] remains pending.

D.       Significant Events During the Chapter 11 Cases

         [RESERVED]

        In addition to the relief described above, the Debtors have sought and received authority
with respect to various matters designed to assist in the administration of the Chapter 11 Cases
and to maximize the value of the Debtors’ Estates. Material events since the commencement of
the Chapter 11 Cases are summarized below and include:

         1.       Debtor-in-Possession Financing

       When the Debtors filed their Chapter 11 Cases, all of their cash was the cash collateral of
Bridging. Moreover, even if the Debtors had been given free access to their cash, they still

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would not have had sufficient liquidity to conduct the Chapter 11 Cases or otherwise maximize
value of their assets for the benefit of creditors. Accordingly, at the Debtors’ request, Bridging
extended post-petition financing in the maximum amount of $9,853,308.00 to the Debtors on
very reasonable terms that did not include, among other common features, a roll-up of Bridging’s
prepetition debt or cross-collateralization. The proposed financing was designed to provide the
Debtors with stability and funding for the plan process that is expected to maximize value for the
estates and creditors.

        In connection therewith, on the Petition Date, the Debtors filed a motion seeking entry of
an order authorizing the Debtors to enter into a post-petition financing arrangement with,
permitting the use cash collateral of, and granting adequate protection to, Bridging [Docket No.
63] (the “DIP Motion”). On February 24, 2020, the Bankruptcy Court entered an order granting
the DIP Motion on an interim basis [Docket No. 63]. Thereafter, Nevada 5, Inc. (“Nevada 5”)
and N5HYG, LLC (“N5HYG”) filed an objection to the DIP Motion [Docket No. 152] and
Centurion Asset Management, Inc. (“Centurion”) filed a preliminary response thereto [Docket
No. 208]. After a telephonic hearing conducted on March 25, 2020 and ensuing discussions
among counsel for the Debtors, the Committee and other parties, on April 2, 2020 the
Bankruptcy Court entered a second interim DIP order [Docket No. 288].

        On April 10, 2020, the Committee filed a reservation of rights with respect to the DIP
Motion [Docket No. 309] and informally raised with the Debtors a number of concerns regarding
the proposed final DIP order (the “Final DIP Order”). As noted in the reservation of rights, at
the time of the filing, the Global Settlement Parties were in the process of working towards the
Global Settlement, as described in more detail below. Attendant to that process, the Global
Settlement Parties reached an agreement on the Final DIP Order, which reflected numerous
concessions by Bridging, including (i) Bridging’s agreement that various claims and causes of
action would not be subject to the DIP Liens (as defined in the DIP Motion), (ii) a modification
of the Committee’s deadline to assert a challenge to the Debtors’ stipulations with Bridging in the
interim DIP orders to April 24, 2020, and (iii) clarification that the Committee had standing to
challenge both the Debtors’ stipulations as well as the more general Challenges (as defined in the
Final DIP Order).

        Thereafter, the concerns of Centurion and CCWB were resolved by the inclusion of
additional language in the Final DIP Order and the agreement to clarify certain terms of the Plan.
After a contested hearing on the Final DIP Order, certain language requested by Nevada 5 and
N5HYG was included in the Final DIP Order. Pursuant to the Final DIP Order, the deadline for
parties in interest (other than the Committee) to assert a Challenge is May 11, 2020.
Additionally, the Final DIP Order reserved the rights of the Committee, Nevada 5 and N5HYG to
contest a credit bid of Bridging in the event of a sale of the Debtors’ assets.

         On April 17, 2020, the Bankruptcy Court entered the Final DIP Order [Docket No. 342].

         2.       Patient Care Ombudsman Motion

       On March 6, 2020, the Debtors filed a motion [Docket No. 108] (the “PCO Motion”)
seeking entry of an order waiving the appointment of a patient care ombudsman pursuant to



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section 333 of the Bankruptcy Code. On March 19, 2020, the Bankruptcy Court entered an order
[Docket No. 184] granting the PCO Motion.

         3.       Lease Rejection Motions

       On March 10, 2020, the Debtors filed an omnibus motion [Docket No. 123] (the
“Omnibus Rejection Motion”) seeking entry of an order authorizing the rejection of (i) seven (7)
executory contracts as of the Petition Date and (i) one (1) unexpired lease effective as of March
31, 2020. On March 19, 2020, the Bankruptcy Court entered an order [Docket No. 183] granting
the Omnibus Rejection Motion.

        On March 10, 2020, the Debtors filed a motion [Docket No. 124] (the “CCWB Rejection
Motion”) seeking entry of an order authorizing the rejection (i) a management agreement
between the Debtors and CCWB effective as of the date of entry of the order granting the motion
and (ii) an unexpired lease of real property between the Debtors and Cypress Real Estate
Investments, LLC effective nunc pro tunc to February 28, 2020. After extensive negotiations
between the Debtors and CCWB, on April 8, 2020, the Bankruptcy Court entered an order
[Docket No. 296] granting the CCWB Rejection Motion.

         4.       The Claims Process

                  a.       Schedules and Statements

       On April 1, 2020, the Debtors filed their Schedules of Assets and Liabilities and
Statements of Financial Affairs [Docket Nos. 221-286] (together, the “Schedules and
Statements”). Among other things, the Schedules and Statements set forth the Claims of known
Creditors against the Debtors as of the Petition Date, based upon the Debtors’ books and records.
The Debtors retain the right to amend the Schedules and Statement during the pendency of the
Chapter 11 Cases.

                  b.       Bar Date Order

       On March 19, 2020, the Bankruptcy Court entered an order [Docket No. 291] (the “Bar
Date Order”) establishing the deadlines for filing Claims against the Debtors (collectively, the
“Bar Dates”), including the following:

                  General Bar Date. Each Person or Entity, except any Governmental Unit, holding
                  or asserting a Claim against the Debtors that arose (or is deemed to have arisen)
                  on or before the Petition Date, including any 503(b)(9) Claims, is required to file a
                  Proof of Claim form so that it is actually received by the Claims Agent on or
                  before May 6, 2020 at 5:00 p.m. (Eastern Time).

                  Governmental Bar Date. Each Governmental Unit holding or asserting a Claim
                  against the Debtors that arose (or is deemed to have arisen) on or before the
                  Petition Date is required to file a Proof of Claim form so that it is actually
                  received by the Claims Agent on or before August 17, 2020 at 5:00 p.m. (Eastern
                  Time).


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                  c.       Claims Objections

        The Debtors and their professionals are investigating each of the Claims filed against the
Debtors to determine the validity of such Claims and anticipate filing objections to Claims that
are filed in improper amounts or classifications, or are otherwise subject to objection under the
Bankruptcy Code or other applicable law. As of the filing of this Disclosure Statement the
Debtors have not filed any objections to Claims.

         5.       Litigation and Discovery

                  a.       Committee

         Since the Committee’s formation, it has sought discovery from the Debtors pursuant to
numerous avenues, including: (i) a detailed “lien review” request, sent on March 11, 2020; (ii)
The Official Committee of Unsecured Creditors’ First Set of Request for Documents from
Debtors, dated March 19, 2020; (iii) an e-mail request for additional lien review documents, sent
on Mach 25, 2020; and (iv) various informal e-mails requesting documents related to, among
other things, the Debtors’ insurance policies, operations, taxes and finances. These various
requests required the Debtors and their professionals to engage in an expensive and time
consuming electronically stored information (“ESI”) production of emails and documents from
the Debtors’ server, using multiple search terms provided by the Committee’s counsel, in addition
to traditional paper discovery. In response, the Debtors have produced a large volume of
materials to the Committee, often times on an expedited and rolling basis due to the time
constraints imposed by the Committee. In addition, A&M produced directly to FTI extensive
documents, answered numerous lines of inquiry and engaged in myriad conference calls with the
Committee’s representatives.

        On April 3, 2020 and April 7, 2020, counsel for the Committee requested the production
of ESI and paper discovery for additional and broader categories, and from additional custodians,
including bank documents, employee personnel files, evidence of transfers to third parties and
numerous other categories. Notwithstanding that the Debtors and their advisors had been 100%
responsive and cooperative with the Committee since its formation and had consensually
produced massive amounts of relevant material, on April 9, 2020, the Committee filed The
Official Committee of Unsecured Creditors Motion for an Order Pursuant to Bankruptcy Rule
2004 and Local Bankruptcy Rule 2004-1 Directing the Production of Documents by Debtors
[Docket No. 302] (the “Committee 2004 Motion”), and a related motion to shorten the notice
period and set an expedited hearing thereon [Docket No. 303]. On April 13, 2020, the
Bankruptcy Court entered an order [Docket No. 316] denying the motion to shorten and
scheduling a status conference on the Committee 2004 Motion for April 15, 2020 (the “Discovery
Conference”). In advance of the Discovery Conference, the Debtors and the Committee agreed
to hold the Committee 2004 Motion in abeyance until May 15, 2020. Since that date, the
Debtors have produced in excess of 65,000 pages of additional documents to the Committee,
which production remains ongoing.




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                  b.       Nevada 5

        Over the last two years, Nevada 5 and N5HYG have been pursuing litigation against
certain of the Debtors, certain of their current and former directors and officers, and more
recently, against Bridging, to recover on a failed investment. Despite having never obtained any
success with such efforts, and even being sanctioned by a court in Nevada for approximately
$800,000, Nevada 5 and N5HYG have continued to pursue an aggressive litigation strategy in
these Chapter 11 Cases and a prepetition litigation pending against, among others, HHH in the
Circuit Court of the Eleventh Judicial Circuit in and for Miami-Dade County, Florida (the
“Florida Action”).

        On February 24, 2020, Nevada 5 filed an Emergency Precautionary Motion for Relief
from the Automatic Stay [Docket No. 59] (the “Nevada 5 Stay Relief Motion”) and a related
motion [Docket No. 61] seeking to shorten the notice period and setting an expedited hearing on
the Nevada 5 Stay Relief Motion. Pursuant to the Nevada 5 Stay Relief Motion, Nevada 5
sought relief from the automatic stay to file a second amended complaint and to pursue discovery
against HHH in connection with the Florida Action. The Debtors filed an objection to the
motion to shorten [Docket No. 68] and both the Debtors [Docket No. 76] and Nevada 5 [Docket
No. 78] filed objections to the Nevada 5 Stay Relief Motion. On February 28, 2020, the
Bankruptcy Court held a telephonic hearing on the Nevada 5 Stay Relief Motion and ruled, in
pertinent part, that Nevada 5 was not entitled to discovery from the Debtors related to the Florida
Action, but that Nevada 5 could revisit such request in 90 days. The Bankruptcy Court entered
an order to that effect on March 3, 2020 (the “Nevada 5 Stay Order”) [Docket No. 97]. That
same day, Nevada 5 served on the Debtors Nevada 5, Inc.’s Expedited Interrogatories and
Requests for Production of Documents to Hygea Holdings Corp. and Hygea Health Holdings,
Inc. (the “Nevada 5 Document Requests”), which sought to require the Debtors to respond to 18
interrogatories and 32 document requests on an expedited basis by March 17, 2020. Several of
the Nevada 5 Document Requests sought information that related to Nevada 5’s claims in the
Florida Action, notwithstanding the explicit language in the Nevada 5 Stay Order. The Debtors
have produced numerous documents to Nevada 5 in response to the Nevada 5 Document
Requests.

        Nevada 5 also sought to obtain discovery through other mechanisms during the Chapter
11 Cases. For example, on April 7, 2020, Nevada 5 served document requests on both the
Debtors and Bridging related to the Plan and the Disclosure Statement. See Docket Nos. 293 and
294. Moreover, on April 22, 2020, Nevada 5 served a subpoena on the Committee. See Docket
Nos. 348 and 352. On April 27, 2020, the Debtors served on Nevada 5 their responses and
objections to the document requests. See Docket No. 369.

        On April 21, 2020, Nevada 5 filed a Motion for Entry of Order Permitting Use of State
Court Documents [Docket No. 351] (the “Document Use Motion”), seeking to use materials in
the Chapter 11 Cases that Nevada 5 covertly obtained from FTI in the Florida Action. On that
same date, Nevada 5 filed a motion to shorten the notice period and set an expedited hearing with
respect to the Document Use Motion [Docket No. 305], which the Bankruptcy Court denied on
April 24, 2020. See Docket No. 360. The deadline to object to the Document Use Motion is
May 6, 2020, and a telephonic hearing has been scheduled for May 13, 2020. See Docket No.
362. The Debtors intend to vigorously oppose the Documents Use Motion.

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        On April 29, 2020, the Debtors filed an Initial Submission in Support of Motion for Entry
of an Order Enforcing the Automatic Stay and for Sanctions for a Willful Stay Violation [Docket
No. 377] (the “Stay Violation Motion”). As set forth in the Stay Violation Motion, the Debtors
assert that Nevada 5 secretly and unlawfully obtained documents constituting property of the
Debtors’ estates from FTI, a pre-petition financial advisor to the Debtors. The Debtors further
assert that such actions violated the Nevada 5 Stay Order as well as the automatic stay provisions
of Section 362 of the Bankruptcy Code. By way of the Stay Violation Motion, the Debtors have
requested that the Bankruptcy Court impose sanctions against Nevada 5 consisting of (i)
reasonable counsel fees incurred by the Debtors as a result of Nevada 5’s stay violation and (ii)
punitive damages to punish Nevada 5 for its blatant disregard of the Nevada 5 Stay Order and the
automatic stay. A hearing on the Stay Violation Motion has been scheduled for May 13, 2020.

E.       The Global Settlement

         As discussed above, the Committee investigated the allowance and priority of Bridging’s
Secured Claim and ultimately concluded that Bridging’s Secured Claim constitutes a properly
perfected, valid secured claim against the Debtors. Thus, the Committee did not pursue a
Challenge of Bridging’s Secured Claim in accordance with the Final DIP Order. The Committee,
however, raised several issues in connection with the RSA and the initial draft of the Plan. In an
effort to avoid further costs and delay associated with a contested confirmation hearing, the
Global Settlement Parties began engaging in extensive, arm’s-length and good faith negotiations
that concluded in the Global Settlement, which paved the way for the proposed Plan. The terms
of the Global Settlement, which are memorialized in the term sheet attached hereto as Exhibit D
(the “Global Settlement Term Sheet”) and incorporated into the Plan, include, among other
things:

         (a)      The creation of a creditors’ trust (the “Creditors’ Trust”), which is responsible for
                  the administration of Claims and Distributions to holders of Allowed General
                  Unsecured Claims;

         (b)      On the Effective Date, Bridging will fund $550,000 in the form of a non-recourse
                  loan payable from the proceeds of causes of action assigned to the Creditors’
                  Trust, for the benefit of holders of Allowed General Unsecured Claims;

         (c)      On the Effective Date, Bridging, or the equity sponsor under the Plan, will
                  provide for 5% of the equity in the Reorganized Debtors to be contributed to the
                  Creditors’ Trust, which equity consideration will be (i) freely assignable by the
                  Creditors’ Trust and (ii) subject to the right of the Creditors’ Trust to “put” such
                  equity consideration to the Reorganized Debtors, subject to a formula;

         (d)      On the Effective Date, the Debtors will transfer to the Creditors’ Trust: (i)
                  Avoidance Actions; (ii) commercial tort claims as defined in Article 9 of the
                  UCC; (iii) the non-exclusive right to seek a determination by the Bankruptcy
                  Court of any tax, fine or penalty relating to a tax, or any addition to a tax, under
                  section 505 of the Bankruptcy Code; and (iv) all other rights, claims or causes of
                  action not transferred to Bridging pursuant to the Plan;

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         (e)      Bridging’s agreement to include in the DIP budget payment of the Committee’s
                  professionals allowed fees and expenses in an amount up to $1.325 million;

         (f)      The Committee will include a letter in the Plan solicitation package encouraging
                  general unsecured creditors to vote in favor of the Plan; and

         (g)      Bridging’s Deficiency Claim will be temporarily allowed and treated as a General
                  Unsecured Claim for purposes of voting on the Plan, but will be deemed satisfied
                  on the Effective Date and will not be allowed for Distribution purposes.

Without the Global Settlement and Bridging’s significant concessions and support under the
Global Settlement, the Debtors do not believe that a plan of reorganization or liquidation would
be feasible in the Chapter 11 Cases. Accordingly, the Debtors believe that that confirmation and
consummation of the Plan is in the best interests of the Debtors, the Estates and their Creditors.

F.       Formal and Informal Objections to Approval of the Disclosure Statement

         On April 23, 2020, the U.S. Trustee provided the Debtors with various comments to the
initial disclosure statement that was filed on March 10, 2020 [Docket No. 120]. Thereafter, the
Debtors revised this Disclosure Statement to address all of the U.S. Trustee’s comments that were
not related to confirmation of the Plan. Consequently, the U.S. Trustee informed the Debtors
that his informal objections to approval of the Disclosure Statement have been resolved.

        On April 24, 2020, Shutlander, LLC, Jose Prida, LLC and Gabriella & Bella Castillo
Trust (collectively, the “Trusts”), filed a preliminary objection and reservation of rights [Docket
No. 361] (the “Trust Disclosure Statement Objection”) with respect to the Debtors’ solicitation
procedure motion [Docket No. 121]. The Trusts assert that this Disclosure Statement provides
an “inaccurate financial picture” with respect to, among other things, historical billing/invoicing
and provider credentialing, and that the Debtors are more profitable than what is shown in the
financial projections annexed hereto. The Debtors disagree with the Trusts’ assertions set forth in
the Trust Disclosure Statement Objection. On April 30, 2020, the Debtors filed a reply to the
Trust Disclosure Statement Objection. See Docket No. 381.

                                             ARTICLE IV

                                       SUMMARY OF PLAN

       This section provides a summary of the structure and means for implementation of
the Plan and the classification and treatment of Claims and Equity Interests under the
Plan. This section is qualified in its entirety by and is subject to the Plan as well as the
exhibits thereto and definitions therein. The Plan is attached to this Disclosure Statement
as Exhibit A.

       The statements contained in this Disclosure Statement include summaries of the
provisions contained in the Plan and in documents referred to therein. The statements
contained in this Disclosure Statement do not purport to be precise or complete statements


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of all the terms and provisions of the Plan or documents referred to therein. Reference is
made to the Plan and to such documents for the full and complete statements of such terms
and provisions.

       The Plan and the documents referred to therein control the actual treatment of
Claims against and Equity Interests in the Debtors under the Plan. Upon occurrence of the
Effective Date, the Plan and all such documents will be binding upon all Holders of Claims
against and Equity Interests in the Debtors and their Estates and all other parties in
interest. In the event of any conflict between this Disclosure Statement, on the one hand,
and the Plan or any other operative document, on the other hand, the terms of the Plan or
such other operative document will control.

A.       Classification and Treatment of Claims and Equity Interests

        Section 1123 of the Bankruptcy Code provides that a plan must classify the claims and
equity interests of a debtor’s creditors and equity interest holders. In accordance with section
1123 of the Bankruptcy Code, the Plan divides Claims and Equity Interests into Classes and sets
forth the treatment for each Class (other than the Administrative Expense Claims, Accrued
Professional Compensation Claims and Priority Tax Claims, which pursuant to section
1123(a)(1) of the Bankruptcy Code need not be and have not been classified). The Debtors also
are required, under section 1122 of the Bankruptcy Code, to classify Claims against and Equity
Interests in the Debtors (except for certain Claims classified for administrative convenience) into
Classes that contain Claims and Equity Interests that are substantially similar to the other Claims
and Equity Interests in such Class.

         The Bankruptcy Code also requires that a plan provide the same treatment for each claim
or equity interest of a particular class unless the claim holder or interest holder agrees to a less
favorable treatment of its claim or equity interest. The Debtors believe that they have complied
with such standard. If the Bankruptcy Court finds otherwise, however, it could deny
Confirmation of the Plan if the Claimholders and Equity Interest Holders affected do not consent
to the treatment afforded them under the Plan.

        A Claim or Equity Interest is placed in a particular Class only to the extent that the Claim
or Equity Interest falls within the description of that Class, and is classified in other Classes to
the extent that any portion of the Claim or Equity Interest falls within the description of such
other Classes. A Claim also is placed in a particular Class for the purpose of receiving
Distributions pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that
Class and such Claim has not been paid, released or otherwise settled prior to the Effective Date.

         The Debtors believe that the Plan has classified all Claims and Equity Interests in
compliance with the provisions of section 1122 of the Bankruptcy Code and applicable case law.
It is possible that a Holder of a Claim or Equity Interest may challenge the Debtors’ classification
of Claims and Equity Interests and that the Bankruptcy Court may find that a different
classification is required for the Plan to be confirmed. If such a situation develops, the Debtors
intend, in accordance with the terms of the Plan, to make such permissible modifications to the
Plan as may be necessary to permit its confirmation. Any such reclassification could adversely
affect Holders of Claims or Equity Interests by changing the composition of one or more Classes


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and the vote required of such Class or Classes for approval of the Plan. Unless such
modification of classification materially adversely affects the treatment of a Holder of a
Claim or Equity Interest and requires resolicitation, acceptance of the Plan by any Holder
of a Claim or Equity Interest pursuant to this solicitation will be deemed to be a consent to
the Plan’s treatment of such Holder of a Claim or Equity Interest regardless of the Class as
to which such Holder ultimately is deemed to be a member.

        The amount of any Impaired Claim that ultimately is Allowed by the Bankruptcy Court
may vary from any estimated Allowed amount of such Claim and, accordingly, the total Claims
that are ultimately Allowed by the Bankruptcy Court with respect to each Impaired Class of
Claims also may vary from any estimates contained herein with respect to the aggregate Claims
in any Impaired Class. Thus, the value of property that ultimately will be received by a particular
Holder of an Allowed Claim may be adversely or favorably affected by the aggregate amount of
Claims Allowed in the applicable Class.

        The classification of Claims and Equity Interests and the nature of Distributions to
members of each Class are summarized below. The Debtors believe that the consideration, if
any, provided under the Plan to holders of Claims and Equity Interests reflects an appropriate
resolution of their Claims and Equity Interests, taking into account the differing nature and
priority (including applicable contractual subordination) of such Claims and Equity Interests.
The Bankruptcy Court must find, however, that a number of statutory tests are met before it may
confirm the Plan. Many of these tests are designed to protect the interests of Holders of Claims
or Equity Interests who are not entitled to vote on the Plan, or do not vote to accept the Plan, but
who will be bound by the provisions of the Plan if it is confirmed by the Bankruptcy Court.

         1.       Unclassified Claims

                  a.       Administrative Expense Claim

        An Administrative Expense Claim is a Claim for costs and expenses of administration of
the Chapter 11 Cases that are Allowed under sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of
the Bankruptcy Code, including, without limitation: (a) any actual and necessary costs and
expenses incurred on or after the Petition Date and through the Effective Date of preserving the
Estates and operating the businesses of the Debtors; (b) Accrued Professional Compensation
Claims and any other compensation for legal, financial, advisory, accounting, and other services
and reimbursement of expenses Allowed by the Bankruptcy Court under sections 328, 330, 331
or 503(b) of the Bankruptcy Code to the extent incurred on or after the Petition Date and through
the Effective Date; and (c) all fees and charges assessed against the Estates under section 1930,
chapter 123, of title 28, United States Code.

        Except to the extent that a Holder of an Allowed Administrative Expense Claim agrees to
different treatment with the Debtors or Reorganized Debtors, each Holder of an Allowed
Administrative Expense Claim will receive Cash in an amount equal to the unpaid amount of
such Allowed Administrative Expense Claim on the later of the Effective Date or the date on
which such Administrative Expense Claim becomes an Allowed Administrative Expense Claim,
or as soon thereafter as is reasonably practicable; provided, however, that Allowed
Administrative Expense Claims representing liabilities incurred in the ordinary course of


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business by the Debtors, as Debtors-in-Possession, or liabilities arising under obligations
incurred by the Debtors, as Debtors-in-Possession, prior to the Effective Date, will be paid by the
Debtors in the ordinary course of business, consistent with past practice and in accordance with
the terms and subject to the conditions of any agreements governing, instruments evidencing, or
other documents relating to such transactions, including, but not limited to, the Budget, DIP
Orders and all other orders entered by the Bankruptcy Court related to the foregoing. In addition,
Allowed Administrative Expense Claims of the United States Trustee for statutory fees under 28
U.S.C. § 1930 incurred prior to the Effective Date will be paid on the Effective Date by the
Debtors, and thereafter, as such fees may thereafter accrue and be due and payable, by the
Debtors or Reorganized DebtorsCreditors’ Trust in accordance with the applicable schedule for
payment of such fees.

        To be eligible to receive Distributions under the Plan on account of an Administrative
Expense Claim that is not otherwise Allowed by the Plan, a request for payment of an
Administrative Expense Claim must have been or be filed with the Bankruptcy Court on or
before the Administrative Expense Claims Bar Date. Any Administrative Expense Claim that is
not asserted in accordance with the Plan will be deemed disallowed under the Plan and will be
forever barred against the Debtors, the Debtors’ Estates, the Reorganized Debtors, the Creditors’
Trust, or any of their Assets or property, and the Holder thereof will be enjoined from
commencing or continuing any action, employment of process or act to collect, offset, recoup or
recover such Claim.

                  b.       Accrued Professional Compensation Claims

        An Accrued Professional Compensation Claim is a Claim for all accrued fees and
reimbursable expenses for services rendered by a Professional in the Chapter 11 Cases through
and including such date, to the extent that such fees and expenses have not been previously paid
whether under a retention order with respect to such Professional or otherwise. To the extent that
there is a Final Order denying some or all of a Professional’s fees or expenses, such denied
amounts will no longer be considered an Accrued Professional Compensation Claim.

        AllExcept as otherwise provide in the Plan, all Professionals seeking payment of Accrued
Professional Compensation Claims will (i) file their respective final applications for allowance
of compensation for services rendered and reimbursement of expenses incurred in the Chapter 11
Cases by the date that is thirty (30) days after the Effective Date and (ii) be paid (a) the full
unpaid amount as is Allowed by the Bankruptcy Court within five (5) Business Days after the
date that such Claim is Allowed by order of the Bankruptcy Court, or (b) upon such other terms
as may be mutually agreed upon between the Holder of such an Allowed Accrued Professional
Compensation Claim and the Debtors or Reorganized Debtors. Any Accrued Professional
Compensation Claim that is not asserted in accordance with Section 2.2 of the Plan will be
deemed disallowed under the Plan, waived, and will be forever barred against the Debtors, the
Debtors’ Estates, the LiquidatingReorganized Debtors, the Creditors’ Trust, or any of their Assets
or property, and the Holder thereof will be enjoined from commencing or continuing any action,
employment of process or act to collect, offset, recoup, or recover such Claim.

       Accrued Professional Compensation Claims filed by the Committee’s Professionals will
be subject to the Committee Budget as described in the DIP Orders. To the extent the Committee

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Budget is insufficient to pay the Allowed Accrued Professional Compensation Claims of the
Committee’s Professionals, such Allowed Claims may be paid from the Creditors’ Trust. The
Committee Budget will not be subject to the Variance.

       To the extent a Professional Budget Surplus exists, such funds will be deposited into the
Creditors’ Trust on the Effective Date, or after payment of such Professionals’ Accrued
Professional Compensation Claims.

         The Professional Budget Surplus will not be used to repay the Creditors’ Trust Loan.

                  c.       Priority Tax Claims

       A Priority Tax Claim is a Claim of a Governmental Unit of the kind specified in section
507(a)(8) of the Bankruptcy Code.

        Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter),
each Holder of an Allowed Priority Tax Claim will receive in full satisfaction, settlement,
discharge, and release of, and in exchange for, such Allowed Priority Tax Claim pursuant to and
in accordance with sections 1129(a)(9)(C) and 1129(a)(9)(D) of the Bankruptcy Code, Cash in an
aggregate amount of such Allowed Priority Tax Claim payable in regular installment payments
over a period ending not more than five (5) years after the Petition Date, plus simple interest at
the rate required by applicable non-bankruptcy law on any outstanding balance from the Effective
Date, or such lesser rate as is agreed to in writing by a particular taxing authority and the Debtors
or Reorganized Debtors, as applicable, pursuant to section 1129(a)(9)(C) of the Bankruptcy
Code; provided, however, that Priority Tax Claims incurred by any Debtors in the ordinary
course of business may be paid in the ordinary course of business by such applicable Debtors or
Reorganized Debtors in accordance with such applicable terms and conditions relating thereto
without further notice to or order of the Bankruptcy Court. Any installment payments to be made
under clause (C) or (D) above will be made in equal quarterly Cash payments beginning on the
first applicable Subsequent Distribution Date, and continuing on each Subsequent Distribution
Date thereafter until payment in full of the applicable Allowed Priority Tax Claim.

         2.       Unimpaired Claims

                  a.       Class 1: Other Priority Claims

       An Other Priority Claim is a Claim accorded priority in right of payment under section
507(a) of the Bankruptcy Code, other than a Priority Tax Claim or an Administrative Expense
Claim.

        Except to the extent that a Holder of an Allowed Other Priority Claim against the Debtors
has agreed to a different treatment of such Claim, each such Holder will receive, in full
satisfaction of such Allowed Other Priority Claim, Cash in an amount equal to such Allowed
Other Priority Claim, on or as soon as reasonably practicable after the later of (i) the Effective
Date; (ii) the date the Other Priority Claim becomes an Allowed Claim; or (iii) the date for


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payment provided by any agreement or arrangement between the Reorganized Debtors and the
Holder of the Allowed Other Priority Claim against the Debtors.

         3.       Impaired Claims

                  b.       a. Class 2: Other Secured Claims

         An Other Secured Claim is a Secured Claim other than Bridging’s Secured Claim.

        In full satisfaction of an Allowed Other Secured Claim, on the later of the Effective Date
and the date on which the Other Secured Claim is Allowed, each Holder of an Allowed Other
Secured Claim will receive, at the sole and exclusive option of the Reorganized Debtors: (a)
Cash equal to the amount of such Claim; (b) the Collateral securing such Claim; or (c)
satisfaction of such Claim pursuant to such other terms and conditions as may be agreed upon by
the Reorganized Debtors and the Holder of such Other Secured Claim

         3.       Impaired Claims

                  a.       b. Class 3: Bridging’s Secured Claim

       The Bridging Secured Claim means the Secured Claim of Bridging arising under or in
connection with the Prepetition Loan Documents. Bridging’s Secured Claim is an Allowed
Claim.

        Upon the terms and subject to the conditions set forth in the Plan, in full and final
satisfaction, settlement, release, and discharge of Bridging’s Secured Claim, Bridging or such
Entity designated by Bridging and Centurion, respectively, will receive, on the Effective Date or
as soon as practicable thereafter, (i) the Debtors’ Cash on hand on the Effective Date in excess of
Cash necessary to operate the Reorganized Debtors’ business, following funding of the
LiquidatingCreditors’ Trust ContributionLoan to be allocated 90.86% to Bridging and 9.14% to
Centurion; (ii) the New Secured Debt in accordance with Section 6.4 of the Plan; and (iii)
10086.317% of the Reorganized DebtorsDebtor Equity will be issued to Bridging or its designee
and 8.683% of the Reorganized Debtor Equity will be issued to Centurion or its designee.
        Bridging is a party to the RSA and, therefore, has agreed to support Confirmation of the
Plan.


        To the extent the Debtors’ Cash on hand as of the Effective Date is not sufficient to make
payments under the Plan, fund operations and fund the Creditors’ Trust Loan, Bridging will
advance the necessary funds to the Reorganized Debtors with such amount to be added to the
Working Capital Loan. All distributions made on account of Bridging’s Secured Claim will be
paid to Bridging and Centurion, as applicable. Bridging will have the right to vote Bridging’s
Secured Claim.
               b.      c. Class 4: General Unsecured Claims

       A General Unsecured Claim is a Deficiency Claim and any Claim asserted against the
Debtors which is not included within the other specifically defined Classes under the Plan.


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       Except to the extent that a Holder of an Allowed General Unsecured Claim against the
Debtors agrees to a different treatment of such Claim, in full and final satisfaction of each
Allowed General Unsecured Claim against the Debtors, each Holder of an Allowed General
Unsecured Claim against the Debtors will receive its Pro Rata share of LiquidatingCreditors’
Trust Distributable CashAssets as soon as practicable as determined by the Liquidating Trustee.
Bridging will have the right to vote the Bridging Deficiency Claim but will waive any
Distributions to Bridging and its participants on account of Bridging’s Deficiency Claim.

                  c.       Class 5: Subordinated Claims

        A Subordinated Claim is any Claim subordinated by law or contract including pursuant to
section 510(b) of the Bankruptcy Code, which will include, but not be limited to, any claim filed
by Nevada 5, Inc. and N5HYG, LLC in the Chapter 11 Cases.

       Holders of Subordinated Claims against the Debtors will not receive or retain any
property under the Plan on account of such Subordinated Claims, and the obligations of the
Debtors on account of Subordinated Claims will be discharged.

         4.       Interests

                  a.       Class 56: Equity Interests

        Equity Interests are any Equity Security in any of the Debtors, including, without
limitation, all issued, unissued, authorized or outstanding units and other ownership interests,
including limited liability company interests, together with (a) any options, warrants or
contractual rights to purchase or acquire any such Equity Securities at any time with respect to
any Debtors, and all rights arising with respect thereto and (b) the rights of any Entity to purchase
or demand the issuance of any of the foregoing and will include: (i) conversion, exchange,
voting, participation, dividend and distribution rights; (ii) liquidation preferences; (iii) options,
warrants, and call and put rights; (iv) share-appreciation rights; and (v) all unexercised Equity
Interests.

        Holders of an Equity Interest in the Debtors will not receive or retain any property under
the Plan on account of such Equity Interests, and the obligations of the Reorganized Debtors on
account of the Equity Interests will be discharged. Notwithstanding the foregoing, the Equity
Interests in the Debtors will be reinstated upon the Effective Date and deemed issued to and held
by Bridging or such Entity designated by Bridging.

         5.       Special Provision Regarding Unimpaired Claims

        Except as otherwise provided in the Plan, nothing under the Plan will affect or limit the
Debtors’, the Reorganized Debtors’ or the Liquidating Trustee’s rights and defenses (whether
legal or equitable) in respect of any Unimpaired Claims, including, without limitation, all rights
in respect of legal and equitable defenses to or setoffs or recoupments against any such
Unimpaired Claims.




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         6.       Discharge of Claims

         Except as otherwise provided in the Plan and effective as of the Effective Date: (i) the
rights afforded in the Plan and the treatment of all Claims and Equity Interests will be in
exchange for and in complete satisfaction, settlement, discharge, and release of all Claims and
Equity Interests of any nature whatsoever, including any interest accrued on such Claims from
and after the Petition Date, against the Debtors or any of their Assets, property, or Estates; (ii) the
Plan will bind all Holders of Claims and Equity Interests, notwithstanding whether any such
Holders abstained from voting to accept or reject the Plan or voted to reject the Plan; (iii) all
Claims and Equity Interests will be satisfied, discharged, and released in full, and the Debtors’
liability with respect thereto will be extinguished completely, including any liability of the kind
specified under section 502(g) of the Bankruptcy Code; and (iv) all Entities will be precluded
from asserting against the Debtors, the Debtors’ Estates, the Reorganized Debtors, each of their
successors and assigns, and each of their Assets and properties, any other Claims or Equity
Interests based upon any documents, instruments or any act or omission, transaction, or other
activity of any kind or nature that occurred prior to the Effective Date.

         7.       Subordinated Claims

        The allowance, classification, and treatment of all Allowed Claims and Equity Interests
and the respective distributions and treatments under the Plan will take into account and conform
to the relative priority and rights of the Claims and Equity Interests in each Class in connection
with any contractual, legal, and equitable subordination rights relating thereto, whether arising
under general principles of equitable subordination, section 510(b) of the Bankruptcy Code, or
otherwise. Under section 510 of the Bankruptcy Code, the Debtors or the Liquidating Trustee, as
applicable, reserve the right to re-classify any Allowed Claim or Allowed Equity Interest in
accordance with any contractual, legal, or equitable subordination relating thereto.

         8.       Elimination of Vacant Classes

        Any Class of Claims that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or a claimClaim temporarily allowed under Bankruptcy Rule
3018, or as to which no vote is cast, will be deemed eliminated from the Plan for purposes of
voting to accept or reject the Plan and for purposes of determining acceptance or rejection of the
Plan by such Class under section 1129(a)(8) of the Bankruptcy Code.

B.       Acceptance or Rejection of the Plan

         1.       Acceptance by an ImpairedPresumed Acceptance of Plan

       Classes 1 and 2 are Unimpaired under the Plan and, therefore, are deemed to have
accepted the Plan pursuant to section 1126 of the Bankruptcy Code.

         2.       Presumed Rejection of Plan

       Classes 5 and 6 are Impaired and will receive no distribution under the Plan on account of
such Subordinated Claims and Equity Interests and, therefore, are deemed to have rejected the
Plan pursuant to section 1126(g) of the Bankruptcy Code.

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         3.       Voting Class

         In accordance with

        Each Holder of an Allowed Claim as of the Voting Record Date in Classes 3 and 4 will
be entitled to vote to accept or reject the Plan.

         4.       Acceptance by Impaired Classes of Claims

        Pursuant to section 1126(c) of the Bankruptcy Code and except as otherwise provided in
section 1126(e) of the Bankruptcy Code, an Impaired Class of Claims will havehas accepted the
Plan if the Plan is accepted by the Holders of at least two-thirds (2/3) in dollar amount and more
than one-half (1/2) in number of the Allowed Claims ofin such Class thatactually voting have
timely and properly voted to accept or reject the Plan.

         2.       Presumed Acceptances by Unimpaired Classes

       Class 1 is Unimpaired by the Plan. Under section 1126(f) of the Bankruptcy Code, the
Holders of Claims in such Class are conclusively presumed to accept the Plan, and the votes of
such Holders of Claim in such Class will not be solicited.

         3.       Classes Deemed to Reject Plan

        Holders of Equity Interests in Class 9 are not entitled to receive or retain any property
under the Plan. Under section 1126(g) of the Bankruptcy Code, such Equity Interest Holders are
conclusively deemed to reject the Plan, and the votes of such Equity Interest Holders will not be
solicited.

         4.       Impaired Classes of Claims Entitled to Vote

        Because Claims in Classes 2, 3 and 4 are Impaired under the Plan and Holders of such
Claims will receive or retain property under the Plan, Holders of Claims in Classes 2, 3, and 4 are
entitled to vote and will be solicited with respect to the Plan.

         5.       Vacant ClassesCramdown

       Any Class of Claims that is not occupied as of the commencement of the Confirmation
Hearing by an Allowed Claim or a claim temporarily allowed under Bankruptcy Rule 3018, or as
to which no vote is cast, will be deemed eliminated from the Plan for purposes of voting to
accept or reject the Plan and for purposes of determining acceptance or rejection of the Plan by
such Class under section 1129(a)(8) of the Bankruptcy Code.

         6.       Confirmation Pursuant to Section 1129(b) of the Bankruptcy Code

        If all applicable requirements for confirmation of the Plan are met as set forth in section
1129(a) of the Bankruptcy Code except subsection (8) thereof, the Debtors may request that the
Bankruptcy Court confirm the Plan in accordance with section 1129(b) of the Bankruptcy Code
on the bases that the Plan is fair and equitable and does not discriminate unfairly with respect to


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each Class of Claims or Equity Interests that is Impaired under, and has not accepted or is
deemed to reject, the Plan.

C.       Means for Implementation

         1.       General Settlement of Claims

        Pursuant to section 1123 ofTo the extent provided for by the Bankruptcy Code and
Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases, and
other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan will
constitute a good faith compromise and settlement of all Claims and Equity Interests and
controversies resolved pursuant to the Plan.

         2.       Substantive Consolidation for Plan Purposes OnlyCorporate Existence

         Unless otherwise provided in the Plan Supplement, each Debtor will continue to maintain
its separate corporate existence for all purposes other than the treatment of Claims under the Plan
and distributions hereunder. On the Effective Date, (i) all Intercompany Claims among the
Debtors will be eliminated and there will be no distributions on account of such Intercompany
Claims; (ii) any obligation of a Debtor and any guarantee thereof by any other Debtor will be
deemed to be one obligation, and any such guarantee will be eliminated, (iii) each Claim filed or
to be filed against more than one Debtor will be deemed filed only against one consolidated
Debtor and will be deemed a single Claim against and a single obligation of the Debtors, and (iv)
any joint or several liability of the Debtors will be deemed one obligation of the Debtors, with
each of the foregoing effective retroactive to the Petition Date. On the Effective Date, and in
accordance with the terms of the Plan, all Claims based upon guarantees of collection, payment
or performance made by one Debtor as to the obligations of another Debtor will be released and
of no further force and effect. Such substantive consolidation will not (other than for purposes
relating to the Plan) affect the legal and corporate structures of the Reorganized Debtors.

        In the event the Bankruptcy Court does not approve the substantive consolidation of all of
the Estates for the purposes set forth in the Plan, the Plan will be treated as a separate plan of
reorganization for each Debtor not substantively consolidated.

        The Plan will serve as, and will be deemed to be, a motion for entry of an order
substantively consolidating the Chapter 11 Cases for the limited purposes set forth in the Plan. If
no objection to substantive consolidation is timely filed and served by any Holder of an Impaired
Claim on or before the deadline to object to the confirmation of the Plan, or such other date as
may be fixed by the Bankruptcy Court and the Debtors meet their burden of introducing evidence
to establish that substantive consolidation is merited under the standards of applicable
bankruptcy law, the Confirmation Order, which will be deemed to substantively consolidate the
Debtors for the limited purposes set forth in the Plan, may be entered by the Court. If any such
objections are timely filed and served, a hearing with respect to the substantive consolidation of
the Chapter 11 Cases and the objections thereto will be scheduled by the Bankruptcy Court,
which hearing will coincide with the Confirmation Hearing.




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         3.       Corporate Existence

         The Debtors will continue to exist after the Effective Date as separate legal entities, with
all of the powers of corporations, limited liability companies, partnerships, associations, or other
business entities pursuant to the applicable law in their states of incorporation or organization.
As may be set forth in the Plan Supplement, a new holding company may be created to hold the
Reorganized Debtor Equity. After the Effective Date, the Reorganized Debtors will exist with all
of the powers pursuant to the New Organizational Documents. The Plan Supplement will
include appropriate corporate organizational documents governing the post-Effective Date
governance of the Reorganized Debtors and the rights of the holders of the Reorganized Debtor
Equity.

        On the Effective Date or as soon thereafter as is reasonably practicable, and without need
for any notice to or any vote, consent, authorization, approval, ratification, or other action by any
Entity or any director, stockholder, security holder, manager, member, or partner (or board
thereof) of any Entity, the Reorganized Debtors may take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, or necessary or appropriate to
effectuate the Plan (the “Restructuring Transactions”), including, without limitation: (a) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
or reorganization containing terms that are consistent with the terms of the Plan and that satisfy
the requirements of applicable law; (b) the execution and delivery of appropriate instruments of
transfer, assignment, assumption, or delegation of any property, right, liability, duty, or
obligation on terms consistent with the terms of the Plan; (c) the filing of appropriate certificates
of incorporation, merger, or consolidation with the appropriate governmental authorities under
applicable law; and (d) all other actions that the Debtors or the Reorganized Debtors, as
applicable, and Bridging determine are necessary or appropriate.

        The Confirmation Order will be deemed to, under both section 1123 and section 363 of
the Bankruptcy Code, authorize, among other things, all actions as may be necessary or
appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Plan.

         3.       4. Vesting of Assets in the Reorganized Debtors

        Except as otherwise provided in the Plan or the Confirmation Order, on or after the
Effective Date, all property and Assets of the Estates and any property and Assets acquired by the
Debtors pursuant to the Plan will vest in the Reorganized Debtors, free and clear of all Liens,
Claims, charges or other encumbrances. Except as may be otherwise provided in the Plan, on
and after the Effective Date, the Reorganized Debtors may operate their businesses and may use,
acquire or dispose of property and compromise or settle any Claims without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules, other than those restrictions expressly imposed by the Plan and the
Confirmation Order. Without limiting the foregoing, the Reorganized Debtors will pay the
charges that they incur after the Effective Date for Professionals’ fees, disbursements, expenses
or related support services (including reasonable fees relating to the preparation of Professional
fee applications) in the ordinary course of business and without application or notice to, or order
of, the Bankruptcy Court. For the avoidance of doubt, the LiquidatingCreditors’ Trust Assets

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will not revest in the Reorganized Debtors and instead the LiquidatingCreditors’ Trust Assets will
vest in the LiquidatingCreditors’ Trust pursuant to Section 7 of the Plan.

         5.       New Secured Debt; Sources of Cash for Plan Distributions

         4.       a. New Secured Debt

        On the Effective Date, the Reorganized Debtors will execute the New Secured Debt
Documents which shallwill govern and evidence the New Secured Debt. Simultaneously
therewith Bridging shall make the Working Capital Loan. The holder of the Reorganized
Debtors. The New Secured Debt Documents will be at least as favorable to Bridging and
Centurion as lenders as the Prepetition Loan Documents, with additional usual and customary
terms for a syndicated loan (including direct ability to obtain information, access to records,
regular reporting requirements and consent rights for each of the lenders). The portion of the
New Secured Debt attributable to the DIP Loan and Working Capital Loan will be issued and
allocated to Bridging or its designee. The Remaining Secured Debt will be issued to Bridging or
its designee and Centurion and allocated (directly and not as a participation) as follows: (i)
90.86% of the Remaining Secured Debt will be issued to Bridging or its designee; and (ii) 9.14%
of the Remaining Secured Debt will be issued to Centurion or its designee.

         Payment of the New Secured Debt shallwill be provided a fully perfectedsecured by a
first priority lien on substantially all of the assets of the Reorganized Debtors, subject to
customary exceptions to be set forth in the New Secured Debt Documents, with priority granted
to Bridging or its designee with respect to the amounts attributable to the DIP Loan and Working
Capital Loan. The New Secured Debt shallwill be divided into two tranches. The first tranche of
the New Secured Debt, totaling Forty Million Dollars ($40,000,000.00), shallwill provide for
payments-in-kind of interest for the first two years following the Effective Date. After the
two-year anniversary of the Effective Date, upon which date the Reorganized Debtors shallwill
be required to make payments of principal and interest in accordance with the terms of the New
Secured Debt Documents. With respect toIn the second tranche, totaling $30,000,000.00,event
the Reorganized Debtors shall only be required to make payments of principal and interest after
the five-year anniversary of the Effective Date in accordance with theachieve certain operational
milestones, Bridging and Centurion will have the right to convert a proportionate share of their
equity into an additional Thirty Million Dollars ($30,000,000.00) of New Secured Debt
Documents.

        On the Effective Date, the Reorganized Debtors will be authorized to execute and deliver
the New Secured Debt Documents, and any related instruments and documents, and will be
authorized to execute, deliver, file, record and issue any other notes, guarantees, security
agreements, documents (including UCC financing statements, intellectual property security
agreements to be filed in the U.S. Patent & Trademark Office and deposit account control
agreements with the Debtors’ depositary banks), amendments to the foregoing, or agreements in
connection therewith, in each case without further notice to or order of the Bankruptcy Court, act
or action under applicable law, regulation, order, or rule and without need for any notice to or
any vote, consent, authorization, approval, ratification or other action by any Entity or any
director, stockholder, security holder, manager, member, or partner (or board thereof) of any
Entity.

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         5.       b. Sources of Cash for Certain Plan DistributionDistributions

        Except as otherwise provided in the Plan or the Confirmation Order, all Cash necessary
for the Reorganized Debtors to make payments required pursuant to the Plan with respect to
Allowed Administrative Expense Claims, Accrued Professional Compensation Claims and
Priority Tax Claims will be obtained from funding advanced under the DIP Credit Agreement
and, the Working Capital Loan and/or the Reorganized Debtors’ Cash balances, including Cash
from operations. Cash payments to be made pursuant to the Plan will be made by the
Reorganized Debtors.

         6.       Issuance of Reorganized Debtor Equity and Related Documentation

        On the Effective Date, the Reorganized Debtors will be authorized to and will issue the
Reorganized Debtor Equity without further notice to or order of the Bankruptcy Court, act or
action under applicable law, regulation, order, or rule and without need for any notice to or any
vote, consent, authorization, approval, ratification or other action by any Entity or any director,
stockholder, security holder, manager, member, or partner (or board thereof) of any Entity from
and after the Effective Date. The Reorganized Debtor Equity will be deemed issued to and held
as follows: (i) 86.317% will be issued to and held by Bridging or its designee; (ii) 8.683% will be
issued to and held by Centurion; and (iii) 5% will be issued to and held by the Creditors’ Trust
(the “Creditor Committee Equity”). The Reorganized Debtor Equity will be governed by the
New Equity Documents which will be in a form acceptable to Bridging, the Committee and
Centurion and filed as part of the Plan Supplement.

       With respect to the Creditor Committee Equity, the Creditors’ Trust will receive typical
minority shareholder protections (e.g., tags, drags, etc.) as more fully described in the New
Equity Documents. Further, the Creditor Committee Equity will be freely assignable by the
Creditors’ Trust.

        The Creditor Committee Equity will entitle the Creditors’ Trust to 5% of the Net Proceeds
of a sale of the Reorganized Debtors. In the event the Reorganized Debtors are not sold by the
fifth anniversary of the Effective Date (the “Put Election Date”), the Creditors’ Trust will have
the right to put the Creditor Committee Equity to the Reorganized Debtors (the “Put Election”) at
an amount equal to five percent (5%) of the “Put Amount.” The Put Amount will be determined
as follows: (EBITDA amount as of the Put Election Date multiplied by the applicable EBITDA
multiple set forth in the chart below) less the total amount of secured debt as of the Put Election
Date plus the total amount of unrestricted cash, cash equivalents and investments on the balance
sheet as of the Put Election Date.




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              LIVES MANAGED UNDER                         REORGANIZED DEBTORS’
                  MANAGEMENT                            EBITDA MULTIPLE FOR THE 12
                                                        MONTHS PRIOR TO EXERCISING
                                                            THE PUT ELECTION
                       5,000 to 7,500                               7
                      7,501 to 10,000                              7.5
                     10,001 to 12,500                               8
                     12,501 to 15,000                              8.5
                     More than 15,000                               9

         7.       Section 1145 Exemption

        The Reorganized Debtor Equity of the Reorganized Debtors to be issued and distributed
under the Plan will be exempt from registration under (a) the Securities Act of 1933, as amended,
and all rules and regulations promulgated thereunder and (b) any state or local law requiring
registration for the offer, issuance, or distribution of securities pursuant to section 1145 of the
Bankruptcy Code, or, if applicable, section 4(a)(2) of the Securities Act of 1933, without further
act or action by any entity. The Reorganized Debtor Equity will be freely tradable by the
recipients thereof, subject to (w) the provisions of section 1145(b)(1) of the Bankruptcy Code
relating to the definition of an underwriter in section 2(a)(11) of the Securities Act of 1933; (x)
compliance with any rules and regulations of the Securities and Exchange Commission, if any,
applicable at the time of any future transfer of such securities or instruments; (y) the restrictions,
if any, on the transferability of such securities contained in the New Organizational Documents;
and (z) applicable regulatory approval.

         8.       Employee Matters and Retiree Benefits

        Unless otherwise set forth in the schedule of rejectedassumed Executory Contracts and
Unexpired Leases included in the Plan Supplement, all material employee compensation and
benefit Plans, and employment, severance, retirement, indemnification, and other similar
employee-related agreement or arrangements in place as of the Effective Date with the Debtors
will be assumedrejected by the Reorganized Debtors and will remain in place after the Effective
Date, as such agreements may be amended by agreement between the beneficiaries of such
agreements and the Debtors or, after Effective Date, the Reorganized Debtors. Nothing in the
Plan will limit, diminish or otherwise alter the Reorganized Debtors’ defenses, Claims, Causes of
Action, or other rights with respect to any such contracts, agreements, policies, programs, and
Plans. Notwithstanding the foregoing, pursuant to section 1129(a)(13) of the Bankruptcy Code,
on and after the Effective Date, all retiree benefits (as that term is defined in section 1114 of the
Bankruptcy Code), if any, will continue to be paid in accordance with applicable law.

         9.       Release of Liens, Claims, and Equity Interests

        Except as otherwise provided in the Plan or in any contract, instrument, release or other
agreement or document entered into or delivered in connection with the Plan, on the Effective
Date and concurrently with the applicable distributions made pursuant to the Plan, all Liens,
Claims, Equity Interests, mortgages, deeds of trust, or other security interests against the property
of the Estates will be fully released, terminated, extinguished and discharged, in each case

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without further notice to or order of the Bankruptcy Court, act or action under applicable law,
regulation, order, or rule and without need for any notice to or any vote, consent, authorization,
approval, ratification or other action by any Entity or any director, stockholder, security holder,
manager, member, or partner (or board thereof) of any Entity. Any Entity holding such Liens or
Equity Interests will, pursuant to section 1142 of the Bankruptcy Code, promptly execute and
deliver to the Reorganized Debtors such instruments of termination, release, satisfaction and/or
assignment (in recordable form) as may be reasonably requested by the Reorganized Debtors.

         10.      New Organizational Documents

        The New Organizational Documents will satisfy the provisions of the Plan and the
Bankruptcy Code, and will (i) include, among other things, pursuant to section 1123(a)(6) of the
Bankruptcy Code, a provision prohibiting the issuance of non-voting Equity Securities, but only
to the extent required by section 1123(a)(6) of the Bankruptcy Code; (ii) authorize the issuance
of the Reorganized Debtor Equity; (iii) to the extent necessary or appropriate, include restrictions
on the transfer of Reorganized Debtor Equity; and (iv) to the extent necessary or appropriate,
include such provisions as may be needed to effectuate and consummate the Plan and the
transactions contemplated in the Plan. After the Effective Date, the Reorganized Debtors may
amend and/or restate their operating agreementthe New Organizational Documents and other
applicable organizational documents, as permitted by applicable law and in a manner consistent
with the Plan.

         11.      Resignation of Directors and Officers

       Upon the Effective Date, the Debtors’ boards of directors and officers will be deemed to
have resigned and will be replaced by the New Board.

         12.      Managers and Officers of the Reorganized Debtors

         The

        Except as set forth in the Plan, the existing directors and managers of the Debtors will be
deemed to have resigned on and as of the Effective Date, in each case without further notice to or
order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and
without need for any notice to or any vote, consent, authorization, approval, ratification or other
action by any Entity or any other Person or any director, stockholder, security holder, manager,
member, or partner (or board thereof) of any Entity.

        Except as otherwise provided in the Plan, the New Board will be designated by Bridging,
including a lead director who will have such authority and duties as the New Board may
determine. Pursuant to section 1129(a)(5) of the Bankruptcy Code, the Debtors will disclose,
prior to the Confirmation Hearing, the identity and affiliations of any Person proposed to serve
on the New Board or as an officer of the Reorganized Debtors and, to the extent such Person is
an insider other than by virtue of being a director or officer, the nature of any compensation for
such Person. Each such manager, director, and officer will serve from and after the Effective
Date pursuant to applicable law and the terms of the New Organizational Documents and the
other constituent and organizational documents of the Reorganized Debtors. Except as set forth


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in the Plan, the existing directors and managers of the DebtorsCenturion will be deemedentitled
to have resigned on and as of the Effective Date, in each case without further notice to or order of
the Bankruptcy Court, act or action under applicable law, regulation, order, or rule and without
need for any notice to or any vote, consent, authorization, approval, ratification or other action by
any Entity or any other Person or any director, stockholder, security holder, manager, member, or
partner (or board thereof) of any Entity. appoint one (1) director on the New Board with voting
authority and one (1) director with observation rights only. Additionally, the Creditors’ Trust
will be entitled to New Board observation rights.

       The identity of the Reorganized Debtors’ managers and officers will be disclosed in the
Plan Supplement.

         13.      Corporate Action

        Upon the Effective Date, all actions contemplated by the Plan will be deemed authorized,
approved, and, to the extent taken prior to the Effective Date, ratified without any requirement
for further action by Holders of Claims or Equity Interests, directors, managers, or officers of the
Debtors, the Reorganized Debtors, or any other Entity, including: (1) assumption of Executory
Contracts and Unexpired Leases; (2) selection of the directors, managers, and officers for the
Reorganized Debtors; (3) the execution of and entry into the New Organizational Documents; (4)
the issuance and distribution of the Reorganized Debtor Equity as provided in the Plan; and (5)
all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the transactions contemplated by the Plan (whether to occur before, on, or after the
Effective Date). All matters provided for in the Plan involving the company structure of the
Debtors and any company action required by the Debtors in connection therewith will be deemed
to have occurred on and will be in effect as of the Effective Date without any requirement of
further action by the security holders, directors, managers, authorized persons, or officers of the
Debtors.

         14.      Cancellation of Agreements, Security Interests, and Other Interests

        Except for the purpose of evidencing a right to a distribution under the Plan and except as
otherwise set forth in the Plan, on the Effective Date, all agreements, instruments, Equity
Securities and other documents evidencing any prepetition Claim against or Equity Interest in
any of the Reorganized Debtors and any rights of any holder in respect thereof will be deemed
cancelled, discharged, and of no force or effect. The holders of or parties to such cancelled
instruments, Equity Securities and other documentation will have no rights arising from or
related to such instruments, Equity Securities, or other documentation or the cancellation thereof,
except the rights provided for pursuant to the Plan and the obligations of the Debtors thereunder
or in any way related thereto will be fully released, terminated, extinguished and discharged, in
each case without further notice to or order of the Bankruptcy Court, act or action under
applicable law, regulation, order, or rule and without need for any notice to or any vote, consent,
authorization, approval, ratification or other action by any Entity or other Person or any director,
stockholder, manager, member, or partner (or board thereof) of any Entity.




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         15.      Dissolved Debtors

        On the Effective Date, the Dissolved Debtors will be deemed dissolved without any
requirement for further action by Holders of Claims or Equity Interests, directors, managers, or
officers of the Debtors, the Reorganized Debtors, or any other Entity.

  D.       LiquidatingCreditors’ Trust

         1.       Establishment of the LiquidatingCreditors’ Trust

        The Creditors’ Trust will be governed by the Creditors’ Trust Agreement. On the
Effective Date, the Liquidating Trustee will execute the LiquidatingCreditors’ Trust Agreement
and, in his capacity as Liquidating Trustee, accept all LiquidatingCreditors’ Trust Assets on
behalf of the Beneficiaries thereof, and be authorized to obtain, seek the turnover, liquidate, and
collect all of the LiquidatingCreditors’ Trust Assets not in his possession. The
LiquidatingCreditors’ Trust will then be deemed created and effective without any further action
by the Bankruptcy Court or any Person as of the Effective Date. The LiquidatingCreditors’ Trust
will be established for the purposes of (i) liquidating any non-Cash LiquidatingCreditors’ Trust
Assets; (ii) maximizing recovery of the LiquidatingCreditors’ Trust Assets for the benefit of the
Beneficiaries; and (iii) distributing the proceeds of the LiquidatingCreditors’ Trust Assets to the
Beneficiaries in accordance with the Plan and the LiquidatingCreditors’ Trust Agreement, with
no objective to continue or engage in the conduct of a trade or business, except only in the event
and to the extent necessary for, and consistent with, the liquidating purpose of the
LiquidatingCreditors’ Trust.

         2.       LiquidatingCreditors’ Trust ReserveFunding

        On the Effective Date, the Debtors will fund an amount that is sufficient to permit the
Debtors and the Liquidating Trustee to satisfy all obligations under the Plan and Liquidating
Trust Agreement, including: (i) 100% of the Allowed Accrued Professional Compensation
Claims that have not been previously paid; (ii) 100% of the Allowed Administrative Expenses
Claims that have not been previously paid; (iii) such other amounts that need to be paid pursuant
to the Plan and Liquidating Trust Agreement; and (iv) an amount the Debtors determine, with the
approval of Bridging, is necessary to administer and operate the Liquidating Trust in accordance
with the Plan and Liquidating Trust Agreement (the “Liquidating Trust Reserve”). The
Liquidating Trust Reserve will be funded from any Cash on hand of the Debtors on the Effective
Date. To the extent not paid prior to the Effective Date, the Liquidating Trustee will be
authorized to pay all Allowed Accrued Professional Compensation Claims, Allowed
Administrative Expense Claims, and such amounts necessary to administer and operate the
Liquidating Trust from the Liquidating Trust Reserve in accordance with the Plan and the
Liquidating Trust Agreement. To the extent the Liquidating Trust Reserve is not needed to fund
the foregoing Claims and amounts, such excess funds will be transferred to Bridging

       On the Effective Date, Bridging or its designee will fund Five Hundred and Fifty
Thousand Dollars ($550,000.00) as a non-recourse loan to the Creditors’ Trust (the “Creditors’
Trust Loan”). The Creditors’ Trust Loan will be payable only from the proceeds of the Creditors’
Trust Causes of Action. The first One Million One Hundred Thousand Dollars ($1,100,000.00)


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distributed from the Creditors’ Trust will be distributed evenly (50/50) between Bridging or its
designee and the Creditors’ Trust to repay the Creditors’ Trust Loan. Upon repayment of the
Creditors’ Trust Loan, Bridging will not be entitled to any additional Distributions from the
Creditors’ Trust.

         3.       Appointment of the Liquidating Trustee



         The Trustee, together with his agents, representatives and professionals, will have the
power to administer the Creditors’ Trust Assets and make Distributions in accordance with the
terms of the Plan and the Creditors’ Trust Agreement. The Liquidating Trustee will be appointed
pursuant to the Confirmation Order and subject to removal only by the Bankruptcy Court upon
application or motion by a Beneficiary of the LiquidatingCreditors’ Trust, after notice and a
hearing, and for cause shown, including (i) the willful and continued refusal by the Liquidating
Trustee to perform his duties under the Plan and the LiquidatingCreditors’ Trust Agreement, and
(ii) gross negligence, gross misconduct, fraud, embezzlement or theft. The Liquidating Trustee
will be chosen by the Debtors, after consultation with BridgingCommittee. During the term of
the LiquidatingCreditors’ Trust, the Liquidating Trustee will be entitled to compensation payable
from the LiquidatingCreditors’ Trust Assets as set forth in the LiquidatingCreditors’ Trust
Agreement.

         4.       Beneficiaries of LiquidatingCreditors’ Trust

        The Holders of Allowed General Unsecured Claims against the Debtors that are entitled
to Distributions will be the Beneficiaries of the LiquidatingCreditors’ Trust. Such Beneficiaries
will be bound by the LiquidatingCreditors’ Trust Agreement. The interests of the Beneficiaries in
the LiquidatingCreditors’ Trust will be uncertificated and nontransferable except upon death of
the interest holder or by operation of law. Neither Bridging nor any of its participants will be
entitled to any Distributions from the Creditors’ Trust on account of Bridging’s Deficiency Claim.

         5.       Vesting and Transfer of LiquidatingCreditors’ Trust Assets to the
                  LiquidatingCreditors’ Trust

       On the Effective Date, pursuant to section 1141(b) of the Bankruptcy Code, the
LiquidatingCreditors’ Trust Assets, including the Liquidating Trust Contribution, will vest in the
LiquidatingCreditors’ Trust free and clear of all Liens, Claims and Equity Interests, except as
otherwise specifically provided in the Plan or in the Confirmation Order; provided, however, that
the Liquidating Trustee may abandon or otherwise not accept any non-Cash LiquidatingCreditors’
Trust Assets that the Liquidating Trustee believes, in good faith, have no value to the
LiquidatingCreditors’ Trust. Any non-Cash LiquidatingCreditors’ Trust Assets that the
Liquidating Trustee so abandons or otherwise does not accept will not be property of the
LiquidatingCreditors’ Trust.




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         6.       Retention of Professionals

        The Liquidating Trustee will have the right to retain the services of attorneys,
accountants, and other professionals (collectively, the “LiquidatingCreditors’ Trust
Professionals”) that are necessary to assist the Liquidating Trustee in the performance of his
duties pursuant to the Plan, the LiquidatingCreditors’ Trust Agreement and the Confirmation
Order. The reasonable fees and expenses of such professionals will be paid by the Liquidating
Trustee from the LiquidatingCreditors’ Trust ReserveAssets and, if necessary, the
LiquidatingCreditors’ Trust Assets upon submission of monthly statements
(“LiquidatingCreditors’ Trust Monthly Fee Statements”) for services rendered and costs incurred
to the Liquidating Trustee and Bridging for review and approval. The Liquidating Trustee and
Bridging will have thirty (30) days from receipt of each LiquidatingCreditors’ Trust Monthly Fee
Statement to object to the LiquidatingCreditors’ Trust Monthly Fee Statement. In the event that
any objection is received by the relevant LiquidatingCreditors’ Trust Professional that cannot be
promptly resolved by the LiquidatingCreditors’ Trust Professional and the objecting party, the
dispute will be submitted by the Liquidating Trustee to the Bankruptcy Court for adjudication.
The Bankruptcy Court will retain jurisdiction to adjudicate objections to LiquidatingCreditors’
Trust Monthly Fee Statements. In the event that no objection is raised to a LiquidatingCreditors’
Trust Monthly Fee Statement within the thirty (30) day period, the requested amount in the
LiquidatingCreditors’ Trust Monthly Fee Statement will be promptly paid by the Liquidating
Trustee, subject to any requirements under the Plan.

         7.       LiquidatingCreditors’ Trust Expenses

        Subject to the provisions of the LiquidatingCreditors’ Trust Agreement, all costs,
expenses, and obligations incurred by the Liquidating Trustee in administering the Plan, the
LiquidatingCreditors’ Trust, or in any manner connected, incidental or related thereto, in
effecting distributions from, as applicable, the LiquidatingCreditors’ Trust will be a charge
against the LiquidatingCreditors’ Trust ReserveAssets and, if necessary, the LiquidatingCreditors’
Trust Assets remaining from time to time in the hands of the Liquidating Trustee. Such expenses
will be paid in accordance with the LiquidatingCreditors’ Trust Agreement.

         8.       Certain Powers and Duties of the LiquidatingCreditors’ Trust and
                  Liquidating Trustee.

                  a.       General Powers of the Liquidating Trustee.

        The Liquidating Trustee will be the exclusive trustee of the LiquidatingCreditors’ Trust
and the LiquidatingCreditors’ Trust Assets for purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. §
6012(b)(3). The powers, rights, and responsibilities of the Liquidating Trustee will be specified
in the LiquidatingCreditors’ Trust Agreement and will include the authority and responsibility to:
(a) receive, manage, invest, supervise, and protect the LiquidatingCreditors’ Trust Assets; (b) pay
taxes or other obligations incurred by the LiquidatingCreditors’ Trust; (c) retain and compensate,
without further order of the Bankruptcy Court, the services of employees, professionals and
consultants to advise and assist in the administration, prosecution and distribution of
LiquidatingCreditors’ Trust Assets; (d) calculate and implement Distributions of
LiquidatingCreditors’ Trust Assets; (e) investigate, prosecute, compromise, and settle, in

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accordance with the specific terms of the LiquidatingCreditors’ Trust Agreement, the Creditors’
Trust Causes of Action vested in the Liquidating Trust; (f) resolve issues involving Claims and
Equity Interests in accordance with the Plan; and (g) undertake all administrative functions of the
Chapter 11 Cases, including the payment of fees payable to the United States Trustee incurred
after the Effective Date and the ultimate closing of the Chapter 11 Cases. The
LiquidatingCreditors’ Trust is the successor to the Debtors and their Estates.

                  b.       Investments of Cash.

        The LiquidatingCreditors’ Trust may invest Cash (including any earnings thereon or
proceeds therefrom) as permitted by section 345 of the Bankruptcy Code or in other prudent
investments, provided, however, that such investments are permitted to be made by a liquidating
trustCreditors’ Trust within the meaning of Treasury Regulation section 301.7701-4(d), as
reflected therein, or under applicable IRS guidelines, rulings, or other controlling authorities.

                  c.       Reporting.

        In no event later than thirty (30) days after the end of the first full month following the
Effective Date and on a quarterly basis thereafter until all Cash in the LiquidatingCreditors’ Trust
has been distributed in accordance with the Plan, the Liquidating Trustee will file with the
Bankruptcy Court a report setting forth the amounts, recipients and dates of all Distributions
made by the Liquidating Trustee under the Plan through each applicable reporting period.

                  d.       Tax Reporting.

        The Liquidating Trustee will file tax returns for the LiquidatingCreditors’ Trust as a
grantor trust pursuant to Treasury Regulation section 1.671-4(a) and in accordance with the Plan.
The LiquidatingCreditors’ Trust also will annually (for tax years in which Distributions from the
LiquidatingCreditors’ Trust are made) send to each Beneficiary a separate statement setting forth
the Beneficiary’s share of items of income, gain, loss, deduction or credit and all such holders
will report such items on their federal income tax returns; provided, however, that no such
statement need be sent to any Class that is not expected to receive any Distribution from the
LiquidatingCreditors’ Trust. The LiquidatingCreditors’ Trust’s taxable income, gain, loss,
deduction or credit will be allocated to the LiquidatingCreditors’ Trust’s Beneficiaries in
accordance with their relative beneficial interests in the LiquidatingCreditors’ Trust.

        As soon as possible after the Effective Date, the LiquidatingCreditors’ Trust will make a
good faith valuation of assets of the LiquidatingCreditors’ Trust, and such valuation will be used
consistently by all parties for all federal income tax purposes. The LiquidatingCreditors’ Trust
also will file (or cause to be filed) any other statements, returns, or disclosures relating to the
LiquidatingCreditors’ Trust that are required by any Governmental Unit for taxing purposes. The
LiquidatingCreditors’ Trust may request an expedited determination of taxes of the Debtors or of
the LiquidatingCreditors’ Trust under section 505(b) of the Bankruptcy Code for all tax returns
filed for, or on behalf of, the Debtors and the LiquidatingCreditors’ Trust for all taxable periods
through the dissolution of the LiquidatingCreditors’ Trust.



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         The LiquidatingCreditors’ Trust will be responsible for filing all federal, state, and local
tax returns for the Debtors and the LiquidatingCreditors’ Trust. The LiquidatingCreditors’ Trust
will comply with all withholding and reporting requirements imposed by any federal, state, or
local taxing authority, and all distributions made by the LiquidatingCreditors’ Trust will be
subject to any such withholding and reporting requirements; provided, however, that, if the
Liquidating Trustee fails to withhold in respect of amounts received or distributable with respect
to any Beneficiaries and the Liquidating Trustee is later held liable for the amount of such
withholding, such Beneficiaries will reimburse the Liquidating Trustee for such liability. All
such amounts withheld and paid to the appropriate taxing authority will be treated as amounts
distributed to such Beneficiaries for all purposes of the LiquidatingCreditors’ Trust Agreement.
The Liquidating Trustee will be authorized to collect such tax information from the Beneficiaries
(including, without limitation, social security numbers or other tax identification numbers) as it,
in its sole discretion, deems necessary to effectuate the Plan, the LiquidatingCreditors’ Trust
Agreement and the Confirmation Order. In order to receive distributions under the Plan, all
Beneficiaries will need to identify themselves to the Liquidating Trustee and provide tax
information and the specifics of their holdings, to the extent the Liquidating Trustee deems
appropriate (including completing the appropriate Form W-8 or Form W-9, as applicable). The
failure to provide such tax information will result in the disallowance of such Claim without a
further order from the Bankruptcy Court.

         9.       Preservation of Right to Conduct Investigations

        The preservation for the LiquidatingCreditors’ Trust of any and all rights to conduct
investigations pursuant to Bankruptcy Rule 2004 is necessary and relevant to the liquidation and
administration of the LiquidatingCreditors’ Trust Assets. Accordingly, any and all rights to
conduct investigations pursuant to Bankruptcy Rule 2004 held by the Debtors prior to the
Effective Date will vest with the LiquidatingCreditors’ Trust and will continue until dissolution
of the LiquidatingCreditors’ Trust.

         10.      Prosecution and Resolution of Causes of Action.

                  a.       The LiquidatingCreditors’ Trust’s Exclusive Authority to Pursue,
                           Settle, or Abandon Causes of Action.

        From and after the Effective Date, prosecution and settlement of all Creditors’ Trust
Causes of Action, including Avoidance Actions, transferred to the LiquidatingCreditors’ Trust
will be the sole responsibility of the LiquidatingCreditors’ Trust pursuant to the Plan and the
Confirmation Order. From and after the Effective Date, the LiquidatingCreditors’ Trust will have
exclusive rights, powers, and interests of the Debtors’ Estates to pursue, settle or abandon such
Causes of Action as the sole representative of the Debtors’ Estates pursuant to section 1123(b)(3)
of the Bankruptcy Code. Proceeds recovered from all Causes of Action will be deposited into the
LiquidatingCreditors’ Trust and will be distributed by the Liquidating Trustee to the Beneficiaries
in accordance with the provisions of the Plan and LiquidatingCreditors’ Trust Agreement. All
Causes of Action, including Avoidance Actions, that are not expressly released or waived under
the Plan are reserved and preserved and vest in the LiquidatingCreditors’ Trust in accordance
with the Plan. No Person may rely on the absence of a specific reference in the Plan, the Plan
Supplement, or the Disclosure Statement to any Cause of Action against it as any indication that

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the Debtors, Reorganized Debtors or Liquidating Trustee will not pursue any and all available
Causes of Action against such Person. The Liquidating Trustee expressly reserves all Creditors’
Trust Causes of Action, except for any Causes of Action against any Person that are expressly
released or waived under the Plan, and, therefore, no preclusion doctrine, including the doctrines
of res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial,
equitable, or otherwise), or laches, will apply to such Creditors’ Trust Causes of Action upon,
after, or as a consequence of confirmation or consummation of the Plan. No claims or Causes of
Action against the Released Parties expressly released or waived pursuant to the Plan will be
transferred to the LiquidatingCreditors’ Trust, the Liquidating Trustee will not have standing to
pursue such claims or Causes of Action, and all such claims and Causes of Action will be
waived, released and discharged pursuant to the Plan.

                  b.       Settlement of Causes of Action.

        Settlement by the LiquidatingCreditors’ Trust of any Creditors’ Trust Cause of Action
transferred to the LiquidatingCreditors’ Trust will require: (i) approval only of the Liquidating
Trustee if the amount claimed by the LiquidatingCreditors’ Trust against a defendant is less than
One Hundred Thousand Dollars ($100,000.00); and (ii) approval of the Liquidating Trustee and
the Bankruptcy Court, upon notice and a hearingCreditors’ Trust Oversight Committee, if the
amount claimed by the LiquidatingCreditors’ Trust against a defendant is unliquidated or equals
to or exceeds One Hundred Thousand Dollars ($100,000.00).

         11.      Federal Income Tax Treatment of the LiquidatingCreditors’ Trust for the
                  Liquidating Trust Assets

        For federal income tax purposes, it is intended that the LiquidatingCreditors’ Trust be
classified as a liquidating trustCreditors’ Trust under section 301.7701-4 of the Treasury
regulations and that such trust be owned by its beneficiaries. Accordingly, for federal income tax
purposes, it is intended that the Beneficiaries be treated as if they had received a distribution
from the Debtors’ Estates of an undivided interest in each of the LiquidatingCreditors’ Trust
Assets in satisfaction of their Allowed Claims (to the extent of the value of their respective share
in the applicable assets) and then contributed such interests to the LiquidatingCreditors’ Trust in
exchange for their interests in the LiquidatingCreditors’ Trust, and the LiquidatingCreditors’
Trust’s Beneficiaries will be treated as the grantors and owners thereof.

         12.      Limitation of Liability

        No recourse will ever be had, directly or indirectly, against the Liquidating Trustee or his
or her respective employees, professionals, representatives, agents, successors, or assigns, by
legal or equitable proceedings or by virtue of any statute or otherwise, or any deed of trust,
mortgage, pledge or note, nor upon any promise, contract, instrument, undertaking, obligation,
covenant or agreement whatsoever executed by the LiquidatingCreditors’ Trust under the Plan or
by reason of the creation of any indebtedness by the LiquidatingCreditors’ Trust or the
Liquidating Trustee under the Plan. All such liabilities under the Plan will be enforceable only
against, and will be satisfied only out of, the LiquidatingCreditors’ Trust Assets. The
LiquidatingCreditors’ Trust and the Liquidating Trustee and their respective officers, directors,
employees, professionals, representatives, agents, successors or assigns will not be liable for any

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act they may do, or omit to do hereunder in good faith and in the exercise of their sound
judgment; provided, however, that Section 7.12 of the Planthis section will not apply to any gross
negligence or willful misconduct by the LiquidatingCreditors’ Trust and the Liquidating Trustee
or their respective officers, directors, employees, professionals, representatives, agents,
successors, or assigns.

         13.      Term of LiquidatingCreditors’ Trust

          The Liquidating Trustee will be discharged and the LiquidatingCreditors’ Trust will be
terminated, at such time as (i) all of the LiquidatingCreditors’ Trust Assets have been liquidated,
(ii) all duties and obligations of the Liquidating Trustee under the LiquidatingCreditors’ Trust
Agreement have been fulfilled, (iii) all Distributions required to be made by the
LiquidatingCreditors’ Trust under the Plan and the LiquidatingCreditors’ Trust Agreement have
been made, and (iv) the Chapter 11 Cases have been closed; provided, however, that in no event
will the LiquidatingCreditors’ Trust be dissolved later than five (5) years from the Effective Date
unless the Bankruptcy Court, upon motion within the six-month period prior to the fifth
anniversary (or the end of any extension period approved by the Bankruptcy Court), determines
that a fixed period extension not to exceed one (1) year is necessary to facilitate or complete the
recovery and liquidation of the LiquidatingCreditors’ Trust Assets.

         14.      Conflicts Between the LiquidatingCreditors’ Trust Agreement and the Plan

      In the event of any inconsistencies or conflict between the LiquidatingCreditors’ Trust
Agreement and the Plan, the terms and provisions of the Plan will control.

  E.       Distributions

         1.       Distribution Record Date

        As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Equity Interests as maintained by the Debtors or their agents
will be deemed closed, and there will be no further changes in the record Holders of any of the
Claims or Equity Interests. The Debtors will have no obligation to recognize any ownership
transfer of the Claims or Equity Interests occurring after the Distribution Record Date. The
Debtors will be entitled to recognize and deal for all purposes under the Plan only with those
record Holders stated on the transfer ledgers as of the close of business on the Distribution
Record Date, to the extent applicable.

         2.       Timing of Distributions

        Except as otherwise provided in the Plan, on the Effective Date or as soon as reasonably
practicable thereafter (or if a Claim is not an Allowed Claim on the Effective Date, on the date
that such a Claim becomes an Allowed Claim or as soon as reasonably practicable thereafter),
each Holder of an Allowed Claim against the Debtors will receive the full amount of the
Distributions that the Plan provides for Allowed Claims in the applicable Class and in the
manner provided therein. Distributions made after the Effective Date to Holders of Allowed
Claims will be deemed to have been made on the Effective Date and, except as otherwise
provided in the Plan, no interest will be payable by the Debtors with respect to such Claims or

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any Distribution related thereto. In the event that any payment or act under the Plan is required
to be made or performed on a date that is not a Business Day, then the making of such payment
or the performance of such act may be completed on the next succeeding Business Day, but will
be deemed to have been completed as of the required date. If there are Disputed Claims,
Distributions on account of any such Disputed Claims will be made pursuant to the provisions set
forth in the Plan. Except as otherwise provided in the Plan, Holders of Claims will not be
entitled to interest, dividends or accruals on Distributions provided for thereunder, regardless of
whether such Distributions are delivered on or at any time after the Effective Date.

         3.       Disbursing Agent

       Except as otherwise provided in the Plan, all Distributions under the Plan will be made by
the Reorganized Debtors or the Liquidating Trustee, as applicable, as “Disbursing Agent” or such
other Person designated by the Reorganized Debtors or the Liquidating Trustee as a Disbursing
Agent on the Effective Date.

         4.       Rights and Powers of Disbursing Agent

         The Disbursing Agent will be empowered to: (a) effect all actions and execute all
agreements, instruments and other documents necessary to perform its duties under the Plan; (b)
make all Distributions contemplated hereby; (c) employ professionals to represent it with respect
to its responsibilities; and (d) exercise such other powers as may be vested in the Disbursing
Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing
Agent to be necessary and proper to implement the provisions of the Plan.

         5.       Delivery of Distributions in General

        Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims will
be made to Holders of record as of the Distribution Record Date by the Disbursing Agent.
Distributions to Holders of Allowed Claims will be made at the address of each such Holder as
set forth in the Debtors’ books and records. Distributions under the Plan on account of such
Allowed Claims will not be subject to levy, garnishment, attachment, or like legal process, so
that each Holder of an Allowed Claim will have and receive the benefit of the distributions in the
manner set forth in the Plan. None of the Debtors, the Reorganized Debtors, and the Disbursing
Agent will incur any liability whatsoever on account of any distributions under the Plan.


         6.       Payments and Distributions on Disputed Claims

       Distributions made after the Effective Date to Holders of Disputed Claims that are not
Allowed Claims as of the Effective Date but which later become Allowed Claims will be deemed
to have been made on the Effective Date. Notwithstanding any provision otherwise in the Plan
and except as may be agreed to by the Debtors or the Reorganized Debtors, on the one hand, and
the Holder of a Disputed Claim, on the other hand, no partial payments and no partial
Distributions will be made with respect to any Disputed Claim until all Disputed Claims held by
the Holder of such Disputed Claim have become Allowed Claims or have otherwise been
resolved by settlement or Final Order.


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         7.       Manner of Payment

        Any Distributions to be made by or on behalf of the Debtors, Reorganized Debtors, or the
Liquidating Trustee, as applicable, pursuant to the Plan will be made by checks drawn on
accounts maintained by the Debtors, Reorganized Debtors, or the Liquidating Trustee,
respectively, or by wire transfer if circumstances justify, at the option of the Debtors,
Reorganized Debtors, or the Liquidating Trustee, as applicable; provided, however, any payments
made to Bridging or Centurion will be made by wire transfer.

         8.       Undeliverable Distributions and Unclaimed Property

        In the event that any Distribution to any Holder is returned as undeliverable, no
Distribution to such Holder will be made unless and until the Disbursing Agent has determined
the then current address of such Holder, at which time such Distribution will be made as soon as
practicable after such Distribution has become deliverable; provided, however, that such
Distributions will be deemed unclaimed property under section 347(b) of the Bankruptcy Code
and forfeited at the expiration of six months from the date of the Distribution. After such date,
all “unclaimed property” or interests in property will revert to the Reorganized Debtors or the
Creditors’ Trust, as applicable (notwithstanding any applicable federal or state escheat,
abandoned or unclaimed property laws to the contrary), and the Claim of any Holder to such
property will be discharged and forever barred.

         9.       Withholding and Reporting Requirements

       In connection with the Plan and all instruments issued in connection therewith, the
Disbursing Agent will comply with all applicable withholding and reporting requirements
imposed by any federal, state or local taxing authority, and all Distributions under the Plan will
be subject to any such withholding or reporting requirements.

         10.      Surrender Instruments

         Pursuant to section 1143 of the Bankruptcy Code, as a condition precedent to receiving
any Distribution under the Plan, each holder of a certificated instrument or note must surrender
such instrument or note held by it to the Disbursing Agent or its designee. Any such holder of
such instrument or note that fails to (i) surrender the instrument or note or (ii) execute and deliver
an affidavit of loss and/or indemnity reasonably satisfactory to the Disbursing Agent, as
applicable, before the fifth anniversary of the Confirmation Date will be deemed to have forfeited
all rights and claims and may not participate in any Distribution hereunder. Any Distribution so
forfeited will become property of the Reorganized Debtors or the Creditors’ Trust, as applicable.

         11.      Setoffs

        Except for the payments to be made to Bridging or Centurion, the Debtors, and the
Reorganized Debtors and/or the Trustee may, but will not be required to, set off against any
Claim (for purposes of determining the Allowed amount of such Claim on which a Distribution
will be made), any claims of any nature whatsoever that the Debtors and the Reorganized
Debtors may have against the Holder of such Claim, but neither the failure to do so nor the
allowance of any Claim hereunder will constitute a waiver or release by the Debtors and, the

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Reorganized Debtors and/or the Trustee of any such claim the Debtors and, the Reorganized
Debtors and/or the Trustee may have against the Holder of such Claim.

         12.      Insurance Claims

       Except for the payments to be made to Bridging or Centurion, no Distributions under the
Plan will be made on account of Allowed Claims until the Holder of such Allowed Claim has
exhausted all remedies with respect to the Debtors’ Insurance Policies. To the extent that the
Debtors’ insurers agree to satisfy in full a Claim, then immediately upon such insurers’
agreement, such Claim may be expunged without a Claims objection having to be filed and
without any further notice to or action, order or approval of the Bankruptcy Court.

         13.      Applicability of Insurance Policies

        Except as otherwise provided in the Plan, Distributions to Holders of Allowed Claims
will be made in accordance with the provisions of any applicable Insurance Policy. Nothing
contained in the Plan will constitute or be deemed a waiver of any Cause of Action that the
Debtors, Reorganized Debtors, or any Person may hold against any insurers under any of the
Debtors’ Insurance Policies, nor will anything contained in the Disclosure Statement or in the
Plan constitute or be deemed a waiver by such insurers of any defenses, including coverage
defenses, held by such insurers.

         14.      No Postpetition Interest

        Unless otherwise specifically provided for in the Plan or in the Confirmation Order, or
required by applicable bankruptcy law, postpetition interest will not accrue or be paid on any
Claims or Equity Interests, and no Holder of a Claim or Equity Interest will be entitled to interest
accruing on or after the Petition Date on such Claim or Equity Interest. Notwithstanding the
foregoing, nothing in the Plan will prohibit Bridging or Centurion from allocating payments
received from the Debtors to principal or interest on Bridging’s Secured Claim, in itstheir sole
discretion in accordance with applicable law.

         15.      Distributions Free and Clear

        Except as may be otherwise provided in the Plan, all Distributions under the Plan will be
free and clear of any Liens, Claims, encumbrances, and other interests.

         16.      Fractional Dollars; De Minimis Distributions

        Notwithstanding any other provision of the Plan, Cash payments of fractions of dollars
will not be made. Whenever any Distribution to a Holder of a Claim would otherwise call for
Distribution of Cash in a fractional dollar amount, the actual Distribution of such Cash will be
rounded to the nearest whole dollar (up or down), with half dollars (or less) being rounded down.
Neither the Debtors nor, the Reorganized Debtors nor the Trustee will be required to make any
Cash payment of less than ten dollars ($10.00) with respect to any Claim unless a request
therefor is made in writing to the Debtors or, the Reorganized Debtors or the Trustee, as
applicable; provided, however, that neither the Debtors nor, the Reorganized Debtors or the
Trustee will have any obligation to make any Distribution, whether final or not, unless and until

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the total amount of such Distribution to a specific Holder of an Allowed Claim is equal to or
greater than ten dollars ($10.00).

F.       Procedures for Disputed Claims

       The provisions described below related to Disputed Claims will not be applicable to
Bridging’s Secured Claim and Bridging’s Deficiency Claim which are Allowed Claims.
Bridging’s Deficiency Claim is Allowed for voting purposes only. Bridging will not be entitled
to any Distributions on account of Bridging’s Deficiency Claim.

         1.       Allowance of Claims and Equity Interests

        Except as expressly provided in the Plan, or in any order entered in the Chapter 11 Cases
prior to the Effective Date, including the Confirmation Order, no Claim or Equity Interest will be
deemed Allowed unless and until such Claim or Equity Interest is deemed Allowed under the
Plan or the Bankruptcy Code or Allowed by the Bankruptcy Court by entry of a Final Order
allowing such Claim or Equity Interest. On and following the Effective Date, the
LiquidatingReorganized Debtors and Trustee, as applicable, will be vested with any and all rights
and defenses the Debtors had with respect to any Claim or Equity Interest immediately prior to
the Effective Date.

         2.       Objections to Claims

        Except as expressly provided in the Plan, the Debtors (before the Effective Date) or the
LiquidatingReorganized Debtors or the Trustee (on or after the Effective Date), as applicable,
will have the exclusive authority to file, settle, compromise, withdraw, or litigate to judgment
any objections to Claims as permitted under the Plan. With respect to Administrative Claims,
Accrued Professional Compensation Claims, Administrative Claims and Other Priority Claims,
the Debtors and Liquidatingthe Reorganized Debtors and the Trustee will obtain approval from
Bridging prior to settling or payinghave standing to object to any such Claims. Any objections to
Claims will be filed and served on or before the later of (i) one hundred eighty (180) days after
the Effective Date or (ii) such date as may be fixed by the Bankruptcy Court. From and after the
Effective Date, the Liquidating Trustee may settle or compromise any Disputed Claim without
approval of the Bankruptcy Court. The Debtors, the Reorganized Debtors and the Liquidating
Trustee reserve all rights to resolve any Disputed Claim outside the Bankruptcy Court under
applicable governing law.

         3.       Estimation of Claims

        The Debtors (before the Effective Date) or the Liquidating Trustee (on or after the
Effective Date) may, at any time, and from time to time, request that the Bankruptcy Court
estimate any Contingent Claim or Disputed Claim pursuant to section 502(c) of the Bankruptcy
Code for any reason, regardless of whether an objection was previously filed with the Bankruptcy
Court with respect to such Claim, or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court will retain jurisdiction to estimate any Claim at any time
during litigation concerning any objection to any Claim, including, without limitation, during the
pendency of any appeal relating to such objection. In the event that the Bankruptcy Court


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estimates any Contingent Claim or Disputed Claim, the amount so estimated will constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim, as determined
by the Bankruptcy Court. If the estimated amount constitutes a maximum limitation on the
amount of such Claim, the Debtors or the Liquidating Trustee may pursue supplementary
proceedings to object to the allowance of such Claim; provided, however, the Liquidating Trustee
may elect not to pursue such supplementary proceedings, instead electing to treat such maximum
amount as the Allowed amount of such Claim.

         4.       No Distribution Pending Allowance

        Notwithstanding any other provision of the Plan, if any portion of a Claim is Disputed, no
payment or distribution provided hereunder will be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

         5.       Distributions after Allowance

         At such time as a Contingent Claim or a Disputed Claim becomes an Allowed Claim, a
Distribution will be made to the Holder of such Allowed Claim in accordance with the provisions
of the Plan as soon as practicable after the date that the order or judgment of the Bankruptcy
Court allowing any Contingent Claim or Disputed Claim becomes a Final Order. To the extent
that all or a portion of a Contingent Claim or a Disputed Claim is disallowed, the Holder of such
Claim will not receive any Distribution on account of the portion of such Claim that is
disallowed.

         6.       Preservations of Rights to Settle Claims

        In accordance with section 1123(b) of the Bankruptcy Code, the Liquidating Trustee will
have the discretion to retain and enforce, sue on, settle, or compromise all claims, rights, causes
of action, suits, and proceedings, whether in law or in equity, whether known or unknown, that
the Debtors or their Estates may hold against any person or entity without the approval of the
Bankruptcy Court, subject to the terms of the Plan, the Confirmation Order, and any contract,
instrument, release, indenture, or other agreement entered into in connection herewith. The
Liquidating Trustee may pursue such retained claims, rights, or causes of action, suits, or
proceedings, as appropriate, in accordance with the best interests of the LiquidatingCreditors’
Trust.

         7.       Disallowed Claims

        All Claims held by persons or entities against whom or which the Debtors or Liquidating
Trustee has commenced a proceeding asserting a cause of action under sections 542, 543, 544,
545, 547, 548, 549, and/or 550 of the Bankruptcy Code will be deemed Disallowed Claims
pursuant to section 502(d) of the Bankruptcy Code and Holders of such Claims will not be
entitled to vote to accept or reject the Plan. Disallowed Claims pursuant to Section 9.7 of the
Plan will continue to be Disallowed Claims for all purposes until the avoidance action against
such party has been settled or resolved by Final Order and any sums due to the Debtors or
Liquidating Trustee from such party have been paid.



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G.       Executory Contracts and Unexpired Leases

         1.       Assumption and Rejection of Executory Contracts and Unexpired Leases

        Except with respect to the Material Contracts or as otherwise provided in the Plan or in
any contract, instrument, release, indenture, or other agreement or document entered into in
connection with the Plan, each of the Executory Contracts and Unexpired Leases of the Debtors
will be deemed rejected as of the Effective Date, unless such Executory Contract or Unexpired
Lease: (1) was assumed or rejected previously by the Debtor; (2) expired or terminated pursuant
to its own terms before the Effective Date; or (3) is the subject of a motion to assume or reject
filed on or before the Effective Date.

        The Debtors will assume the Material Contracts. Entry of the Confirmation Order will
constitute a Bankruptcy Court order approving assumption of such Material Contracts and such
assumption will be effective as of the Effective Date. Each Material Contract assumed pursuant
to the Plan will be fully enforceable by the Reorganized Debtors in accordance with its terms,
except as such terms may have been modified by any order of the Bankruptcy Court or as
otherwise agreed to by the Debtors and the applicable counterparty to the Material Contract.

         2.       Inclusiveness

        Unless otherwise specified, each Executory Contract and Unexpired Lease assumed or
rejected by the Debtors will include any and all modifications, amendments, supplements,
restatements, or other agreements made directly or indirectly by any agreement, instrument, or
other document that in any manner affects such Executory Contract or Unexpired Lease.

         3.       Rejection Claims

         Except as otherwise provided in orders entered by the Bankruptcy Court, all Proofs of
Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, if any, must be filed with the Bankruptcy CourtClaims Agent and served on the
Creditors’ Trust (and counsel to the Debtors or the Reorganized Debtors on or before the date
that is, if known) within thirty (30) days after the dateservice of notice of entry of an order of the
Bankruptcy Court (including the Confirmation Order) approving such rejection; provided, that
any such Claims arising from the rejection of an Unexpired Lease will be subject to the cap on
rejection damages imposed by section 502(b)(6) of the Bankruptcy Code. Any Claims arising
from the rejection of an Executory Contract or Unexpired Lease not filed with the Bankruptcy
Court within such time will be automatically disallowed, forever barred from assertion and will
not be enforceable against the Debtors or, the Reorganized Debtors, the Debtors’ Estates or their
property without the need for any objection by the Debtors or, the Reorganized Debtors or the
Creditors’ Trust or further notice to, or action, order or approval of the Bankruptcy Court. All
Allowed Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired
Leases will be classified as General Unsecured Claims against the Debtors and will be treated in
accordance with the Plan.




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         4.       Cure of Defaults

        Any defaults under the Materials Contracts will be satisfied, pursuant to and to the extent
required by section 365(b)(1) of the Bankruptcy Code, by payment of the applicable default
amount in Cash on the Effective Date or on such other terms as the Bankruptcy Court may order
or the parties to such Materials Contracts may otherwise agree in writing (the “Cure Amount”).
The Debtors will file, as part of the Plan Supplement, a schedule of the Material Contracts and
associated Cure Amounts.

       Any objection by a counterparty to a Material Contract to a Cure Amount must be filed,
served and actually received by the Debtors on or prior to thirty (30) days after the Effective
Date. Any counterparty to a Material Contract that fails to object timely to the proposed Cure
Amount will be deemed to have consented to such matters and will be deemed to have forever
released and waived any objection to such Cure Amount. The Confirmation Order will constitute
an order of the Bankruptcy Court approving the assumption of the Material Contracts pursuant to
sections 365 and 1123 of the Bankruptcy Code as of the Effective Date.

        In the event of a dispute regarding (a) the amount of any Cure Amount, (b) the ability of
any Debtor or assignee to provide “adequate assurance of future performance” (within the
meaning of section 365 of the Bankruptcy Code) under any Material Contract to be assumed, or
assumed and assigned or (c) any other matter pertaining to assumption, the applicable payment of
the Cure Amount required by section 365(b)(1) of the Bankruptcy Code will be made following
the entry of a Final Order resolving the dispute and approving such assumption. If such
objection is sustained by Final Order of the Bankruptcy Court, the Debtors or the Reorganized
Debtors may reject such Material Contract in lieu of assuming it. The Debtors or the
Reorganized Debtors, as applicable, will be authorized to effect such rejection by filing a written
notice of rejection with the Bankruptcy Court and serving such notice on the applicable
counterparty within thirty (30) days of the entry of such Final Order.

        Subject to the payment of any Cure Amount, assumption of any Material Contract
pursuant to the Plan will result in the full release and satisfaction of any Claims or defaults,
whether monetary or nonmonetary, including defaults of provisions restricting the change in
control or ownership interest composition or other bankruptcy-related defaults, arising under any
assumed Material Contract at any time prior to the effective date of assumption, in each case as
provided in section 365 of the Bankruptcy Code. Any Proofs of Claim filed with respect to a
Material Contract that has been assumed by Final Order will be deemed disallowed and
expunged (subject to the payment of a Cure Amount), without further notice to or action, order,
or approval of the Bankruptcy Court.

         5.       Reservation of Rights

       Nothing contained in the Plan or the Plan Supplement will constitute an admission by the
Debtors or the Reorganized Debtors that any such contract or lease is in fact an Executory
Contract or Unexpired Lease or that the Debtors or the Reorganized Debtors have any liability
thereunder.




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         6.       D&O Liability Insurance Policies

        To the extent that the D&O Liability Insurance Policies are considered to be Executory
Contracts, notwithstanding anything in the Plan to the contrary, effective as of the Effective Date,
the Debtors will be deemed to have assumed all unexpired D&O Liability Insurance Policies with
respect to the Debtors’ directors, managers, officers, and employees serving on or after the
Petition Date pursuant to section 365(a) of the Bankruptcy Code. Entry of the Confirmation
Order will constitute the Bankruptcy Court’s approval of the Debtors’ assumption of each of the
unexpired D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained
in the Plan or Confirmation Order, confirmation of the Plan will not discharge, impair, or
otherwise modify any indemnity obligations of the insurers under the D&O Liability Insurance
Policies assumed by the foregoing assumption of the D&O Liability Insurance Policies, any
agreements, documents, and instruments related thereto, and each such indemnity obligation will
be deemed and treated as an Executory Contract that has been assumed by the Debtors under the
Plan as to which no Proof of Claim need be filed.

H.       Conditions Precedent to Consummation of the Plan

         1.       Conditions Precedent to Confirmation

        Confirmation of the Plan will not occur, and the Confirmation Order will not be entered,
until each of the following conditions precedent have been satisfied or waived pursuant to the
provisions of the Plan:

         a)       The Bankruptcy Court will have entered an order, which will not be subject to any
                  stay or subject to an unresolved request for revocation under section 1144 of the
                  Bankruptcy Code, in form and substance acceptable to the Debtors and Bridging,
                  approving the Disclosure Statement with respect to the Plan and the solicitation of
                  votes thereon as being in compliance with section 1125 of the Bankruptcy Code
                  and applicable non-bankruptcy law;

         b)       The proposed Confirmation Order will be in form and substance satisfactory in all
                  respects to the Debtors, the Committee and Bridging;

         c)       Unless otherwise authorized by the Confirmation Order, the Bankruptcy Court
                  will have entered one or more orders, in form and substance acceptable to the
                  Debtors and Bridging, authorizing the assumption of the Material Contracts; and

         d)       The Plan and the Plan Supplement, including any schedules, documents,
                  supplements, and exhibits thereto will be, in form and substance, acceptable to the
                  Debtors, the Committee and Bridging.

         2.       Conditions Precedent to the Effective Date

       The Effective Date will not occur until each of the following conditions precedent have
been satisfied or waived pursuant to the provisions of the Plan:



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    a) All documents and agreements necessary to implement the Plan, including without
       limitation, the Reorganized Debtor Equity and the New Organizational Documents and
       the New Secured Debt Documents, in each case in form and substance acceptable to the
       Debtors and, Bridging, the Committee and Centurion, as applicable, will have (a) been
       tendered for delivery and (b) been effected by, executed by, or otherwise deemed binding
       upon, all Entities party thereto. All conditions precedent to such documents and
       agreements will have been satisfied or waived pursuant to the terms of such documents or
       agreements

    b) All consents, actions, documents, certificates and agreements necessary to implement the
       Plan, including, without limitation, the New Organizational Documents, will have been
       effected or executed and delivered to the required parties and, to the extent required, filed
       with the applicable governmental units in accordance with applicable laws;

    c) All Material Contracts will have been assumed by the Reorganized Debtors;

    d) The Debtors will have implemented the Restructuring Transactions in a manner
       consistent with the Plan pursuant to the documentation acceptable to the Debtors and,
       Bridging, the Committee and Centurion, as applicable; and

    e) All actions, documents, certificates, and agreements necessary to implement the Plan,
       including, without limitation, the LiquidatingCreditors’ Trust Agreement, will have been
       effected or executed and delivered to the required parties and, to the extent required, filed
       with the applicable governmental units in accordance with applicable laws.

         3.       Waiver of Conditions

       The conditions to consummation of the Plan set forth in Section 11 of the Plan may be
waived by the Debtors with the consent of Bridging and the Committee without notice, leave, or
order of the Bankruptcy Court or any formal action other than proceeding to confirm or
consummate the Plan. To the extent that a condition to consummation of the Plan requires the
consent of Bridging and/or the Committee, such conditions may only be waived by the Debtors
with the consent of Bridging or the Committee, as applicable. The failure to satisfy or waive a
condition to confirmation or the Effective Date may be asserted by the Debtors or the
Reorganized Debtors, or Bridging regardless of the circumstances giving rise to the failure of
such condition to be satisfied. The failure of the Debtors or, the Reorganized Debtors, or
Bridging to exercise any of the foregoing rights will not be deemed a waiver of any other rights,
and each right will be deemed an ongoing right that may be asserted at any time.

         4.       Effect of Failure of Conditions

        If the consummation of the Plan does not occur, the Plan will be null and void in all
respects and nothing contained in the Plan or the Disclosure Statement will: (a) constitute a
waiver or release of any claims by or Claims against or Equity Interests in the Debtors; (b)
prejudice in any manner the rights of the Debtors, any Holders or any other Entity; (c) constitute
an Allowance of any Claim or Equity Interest; or (d) constitute an admission, acknowledgment,
offer or undertaking by the Debtors, any Holders or any other Entity in any respect.

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I.       Effect of Confirmation

         1.       Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or any other Bankruptcy
Rule, upon the occurrence of the Effective Date, the terms of the Plan and the
LiquidatingCreditors’ Trust Agreement will be immediately effective and enforceable and
deemed binding upon the Debtors, Reorganized Debtors, the Liquidating Trustee, the
LiquatingCreditors’ Trust and any and all Holders of Claims or Equity Interests (irrespective of
whether such Claims or Equity Interests are deemed to have accepted the Plan), all Persons that
are parties to or are subject to the settlements, compromises, releases, discharges and injunctions
described in the Plan, each Person acquiring property under the Plan, and any and all
non-Debtors parties to Executory Contracts and Unexpired Leases with the Debtors.

         2.       Compromise and Settlement of Claims, Interests and Controversies

         Pursuant to sections 363 and 1123(b) ofTo the extent provided for by the Bankruptcy
Code and Bankruptcy Rule 9019 and in consideration for the Distributions and other benefits
provided pursuant to the Plan, on the Effective Date, the provisions of the Plan will constitute a
good faith compromise of all Claims, Equity Interests and controversies relating to the
contractual, legal and subordination rights that a Holder of a Claim or Equity Interest may have
with respect to any Allowed Claim or Equity Interest, or any Distribution to be made on account
of such Allowed Claim or Equity Interest. The entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Equity
Interests and controversies, as well as a finding by the Bankruptcy Court that such compromise
or settlement is in the best interests of the Debtors, their Estates, and Holders of Claims and
Equity Interests and is fair, equitable, and reasonable.

         3.       Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code and except as otherwise specifically
provided in the Plan or the Plan Supplement, for good and valuable consideration, including the
service of the Released Parties to facilitate the expeditious reorganization of the Debtors and the
consummation of the transactions contemplated by the Plan, on and after the Effective Date, the
Released Parties are deemed released and discharged by the Debtors and their Estates from any
and all claims, obligations, rights, suits, damages, Causes of Action, remedies and liabilities
whatsoever, including any derivative claims asserted or assertable on behalf of the Debtors,
whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, in law,
equity or otherwise, that the Debtors or their Estates would have been legally entitled to assert in
its own right (whether individually or collectively) or on behalf of the Holder of any Claim or
Equity Interest or other Person, based on or relating to, or in any manner arising from, in whole
or in part, the Debtors, the Chapter 11 Cases, or the transactions or events giving rise to any
Claim or Equity Interest that is treated in the Plan, the business or contractual arrangements
between the Debtors and any Released Party, the restructuring of Claims and Equity Interests
before or during the Chapter 11 Cases, the negotiation, formulation, or preparation of the Plan,
the Disclosure Statement, any Plan Supplement or related agreements, instruments or other
documents, other than Debtor Released Claims against a Released Party arising out of the gross


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negligence, willful misconduct, intentional fraud, or criminal liability of any such person or
entity (the “Debtor Released Claims”).

         4.       Releases by Holders of Claims

     ON THE EFFECTIVE DATE, EXCEPT AS OTHERWISE PROVIDED IN THE
PLAN AND EXCEPT FOR THE RIGHT TO ENFORCE THE PLAN, ALL PERSONS
WHO (I) VOTED TO ACCEPT THE PLAN OR WHO ARE PRESUMED OR DEEMED
TO HAVE VOTED TO ACCEPT THE PLAN UNDER SECTION 1126(F) OF THE
BANKRUPTCY CODE; OR (II) ARE ENTITLED TO VOTE TO ACCEPT OR REJECT
THE PLAN AND WHO VOTE TO REJECT THE PLAN OR ABSTAIN FROM VOTING
AND DO NOT MARK THEIR BALLOTS AS OPTING OUT OF-IN TO THE RELEASES
GRANTED UNDER SECTION 12.4 OF THE PLAN, SHALLWILL, TO THE FULLEST
EXTENT PERMITTED BY APPLICABLE LAW, BE DEEMED TO FOREVER
RELEASE, WAIVE AND DISCHARGE THE RELEASED PARTIES OF AND FROM
ALL LIENS, CLAIMS, CAUSES OF ACTION, LIABILITIES, ENCUMBRANCES,
SECURITY INTERESTS, INTERESTS OR CHARGES OF ANY NATURE OR
DESCRIPTION WHATSOEVER RELATING TO THE DEBTORS, THE CHAPTER 11
CASES OR AFFECTING PROPERTY OF THE ESTATES, WHETHER KNOWN OR
UNKNOWN, SUSPECTED OR UNSUSPECTED, SCHEDULED OR UNSCHEDULED,
CONTINGENT OR NOT CONTINGENT, UNLIQUIDATED OR FIXED, ADMITTED
OR DISPUTED, MATURED OR UNMATURED, SENIOR OR SUBORDINATED,
WHETHER ASSERTABLE DIRECTLY OR DERIVATIVELY BY, THROUGH, OR
RELATED TO ANY OF THE RELEASED PARTIES AND THEIR SUCCESSORS AND
ASSIGNS WHETHER AT LAW, IN EQUITY OR OTHERWISE, BASED UPON ANY
CONDITION, EVENT, ACT, OMISSION OCCURRENCE, TRANSACTION OR OTHER
ACTIVITY, INACTIVITY, INSTRUMENT OR OTHER AGREEMENT OF ANY KIND
OR NATURE OCCURRING, ARISING OR EXISTING PRIOR TO THE EFFECTIVE
DATE IN ANY WAY RELATING TO OR ARISING OUT OF, IN WHOLE OR IN PART,
THE DEBTORS, THE CHAPTER 11 CASES, THE PURSUIT OF CONFIRMATION OF
THE PLAN, THE CONSUMMATION OF THE PLAN OR THE ADMINISTRATION OF
THE PLAN, INCLUDING WITHOUT LIMITATION, THE NEGOTIATION AND
SOLICITATION OF THE PLAN, ALL REGARDLESS OF WHETHER (A) A PROOF
OF CLAIM OR EQUITY INTEREST HAS BEEN FILED OR IS DEEMED TO HAVE
BEEN FILED, (B) SUCH CLAIM OR EQUITY INTEREST IS ALLOWED OR (C) THE
HOLDER OF SUCH CLAIM OR EQUITY INTEREST HAS VOTED TO ACCEPT OR
REJECT THE PLAN, EXCEPT FOR WILLFUL MISCONDUCT OR GROSS
NEGLIGENCE. FOR THE AVOIDANCE OF DOUBT, NOTHING CONTAINED IN
THE PLAN WILL IMPACT THE RIGHT OF ANY HOLDER OF AN ALLOWED
CLAIM TO RECEIVE A DISTRIBUTION ON ACCOUNT OF ITS ALLOWED CLAIM
IN ACCORDANCE WITH SECTION 4 OF THE PLAN.

         5.       Exculpation

        None of the Exculpated Parties will have or incur any liability to any Holder of a Claim
or Equity Interest, or other party in interest, or any of their respective members, officers,
directors, employees, advisors, professionals, attorneys or agents, or any of their successors and

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assigns, with respect to any Exculpated Claim, including, without limitation, any act or omission
in connection with, related to, or arising out of, in whole or in part, the Chapter 11 Cases, except
for their willful misconduct or gross negligence as determined by a Final Order of a court of
competent jurisdiction, and, in all respects, the Exculpated Parties will be entitled to rely upon
the advice of counsel with respect to their duties and responsibilities under the Plan.

         6.       Injunction

     FROM AND AFTER THE EFFECTIVE DATE, ALL PERSONS WHO HAVE
HELD, HOLD OR MAY HOLD CLAIMS AGAINST OR EQUITY INTEREST IN THE
DEBTORS ARE PERMANENTLY ENJOINED FROM COMMENCING OR
CONTINUING IN ANY MANNER, ANY CAUSE OF ACTION RELEASED OR TO BE
RELEASED PURSUANT TO THE PLAN OR THE CONFIRMATION ORDER.

     FROM AND AFTER THE EFFECTIVE DATE, TO THE EXTENT OF THE
RELEASES AND EXCULPATION GRANTED IN THE PLAN, THE RELEASING
PARTIES WILL BE PERMANENTLY ENJOINED FROM COMMENCING OR
CONTINUING IN ANY MANNER AGAINST THE RELEASED PARTIES AND THE
EXCULPATED PARTIES AND THEIR ASSETS AND PROPERTIES, AS THE CASE
MAY BE, ANY SUIT, ACTION OR OTHER PROCEEDING, ON ACCOUNT OF OR
RESPECTING ANY CLAIM, DEMAND, LIABILITY, OBLIGATION, DEBT, RIGHT,
CAUSE OF ACTION, INTEREST, OR REMEDY RELEASED OR TO BE RELEASED
PURSUANT TO THE PLAN.

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN, THE
PLAN SUPPLEMENT OR RELATED DOCUMENTS, OR FOR OBLIGATIONS
PURSUANT TO THE PLAN, ALL PERSONS WHO HAVE HELD, HOLD OR MAY
HOLD CLAIMS OR EQUITY INTERESTS THAT HAVE BEEN RELEASED,
DISCHARGED, OR ARE SUBJECT TO EXCULPATION, ARE PERMANENTLY
ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM TAKING ANY OF
THE FOLLOWING ACTIONS: (A) COMMENCING OR CONTINUING IN ANY
MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON ACCOUNT
OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
EQUITY INTERESTS; (B) ENFORCING, ATTACHING, COLLECTING OR
RECOVERING BY ANY MANNER OR MEANS ANY JUDGMENT, AWARD, DECREE,
OR ORDER AGAINST SUCH PERSONS ON ACCOUNT OF OR IN CONNECTION
WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR EQUITY INTERESTS; (C)
CREATING, PERFECTING OR ENFORCING ANY ENCUMBRANCE OF ANY KIND
AGAINST SUCH PERSONS OR THE PROPERTY OR ESTATES OF SUCH PERSONS
ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS; AND (D) COMMENCING OR CONTINUING IN
ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY KIND ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR EQUITY INTERESTS RELEASED, SETTLED OR DISCHARGED
PURSUANT TO THE PLAN.




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     THE RIGHTS AFFORDED IN THE PLAN AND THE TREATMENT OF ALL
CLAIMS AND EQUITY INTERESTS THEREUNDER WILL BE IN EXCHANGE FOR
AND IN COMPLETE SATISFACTION OF ALL CLAIMS AND EQUITY INTERESTS
OF ANY NATURE WHATSOEVER, INCLUDING ANY INTEREST ACCRUED ON
CLAIMS FROM AND AFTER THE PETITION DATE, AGAINST THE DEBTORS OR
ANY OF THEIR ASSETS, PROPERTY OR ESTATES. ON THE EFFECTIVE DATE,
ALL SUCH CLAIMS AGAINST THE DEBTORS WILL BE FULLY RELEASED, AND
THE INTERESTS WILL BE CANCELLED (EXCEPT AS OTHERWISE EXPRESSLY
PROVIDED IN THE PLAN).

     EXCEPT AS OTHERWISE EXPRESSLY PROVIDED FOR IN THE PLAN OR IN
OBLIGATIONS PURSUANT THERETO FROM AND AFTER THE EFFECTIVE DATE,
ALL CLAIMS AGAINST THE DEBTORS WILL BE FULLY RELEASED, AND ALL
INTERESTS WILL BE CANCELLED, AND THE DEBTORS’ LIABILITY WITH
RESPECT THERETO WILL BE EXTINGUISHED COMPLETELY, INCLUDING ANY
LIABILITY OF THE KIND SPECIFIED UNDER SECTION 502(G) OF THE
BANKRUPTCY CODE.

     ALL PERSONS WILL BE PRECLUDED FROM ASSERTING AGAINST THE
DEBTORS, THE DEBTORS’ ESTATES, THEIR RESPECTIVE SUCCESSORS AND
ASSIGNS, AND THEIR ASSETS AND PROPERTIES, ANY OTHER CLAIMS OR
EQUITY INTERESTS BASED UPON ANY DOCUMENTS, INSTRUMENTS OR ANY
ACT OR OMISSION, TRANSACTION OR OTHER ACTIVITY OF ANY KIND OR
NATURE THAT OCCURRED BEFORE THE EFFECTIVE DATE.

         7.       Term of Injunctions or Stays

        Unless otherwise provided in the Plan or Confirmation Order, all injunctions or stays
provided for under the Plan and ordered in the Confirmation Order or pursuant to sections 105 or
362 of the Bankruptcy Code arising under or entered during the Chapter 11 CaseCases, or
otherwise, and in existence on the Confirmation Date, will remain in full force and effect until
the later of the Effective Date and the date indicated in the order providing for such injunction or
stay and to the extent consistent with the terms and provisions of the Plan or the Confirmation
Order, as applicable.

         8.       Injunction Against Interference with Plan

        Upon the Bankruptcy Court’s entry of the Confirmation Order, all Holders of Claims and
Equity Interests, the Debtors, and other parties in interest, along with their respective present or
former employees, agents, officers, directors, or principals, will be enjoined from taking any
actions to interfere with the Debtors’, Reorganized Debtors’, the LiquidatingCreditors’ Trust’s, the
Liquidating Trustee’s, and their respective affiliates’, employees’, advisors’, officers’ and
directors’, and agents’ implementation or consummation of the Plan.




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         9.       Effectuating Documents and Further Transactions

        The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims or Equity
Interests receiving distributions hereunder and all other Entities shallwill, from time to time,
prepare, execute and deliver any agreements or documents and take any other actions as may be
necessary or advisable to effectuate the provisions and intent of the Plan or the Confirmation
Order. On or before the Effective Date, the Debtors will file with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

         10.      Preservation of Causes of Action of the Debtors

        In accordance with section 1123(b) of the Bankruptcy Code, and except where such
Causes of Action have been expressly released (including, for the avoidance of doubt, pursuant to
the releases by the Debtors and exculpation provisions provided in the Plan), the Debtors and
Liquidating Trustee will retain and may enforce all rights to commence and pursue, as
appropriate, any and all Causes of Action.

J.       Modification, Revocation or Withdrawal of the Plan

         1.       Modification and Amendments

        The Plan or any exhibits thereto may be amended, modified, or supplemented by the
Debtors in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
permitted by law without additional disclosure pursuant to section 1125 of the Bankruptcy Code.
In addition, after the Confirmation Date, the Debtors, Reorganized Debtors, or Liquidating
Trustee may institute proceedings in the Bankruptcy Court to remedy any defect or omission or
reconcile any inconsistencies in the Plan or the Confirmation Order with respect to such matters
as may be necessary to carry out the purposes and effects of the Plan.

         2.       Effect of Confirmation on Modifications

       Entry of a Confirmation Order will mean that all modifications or amendments to the
Plan occurring after the solicitation thereof are approved pursuant to section 1127(a) of the
Bankruptcy Code and do not require additional disclosure or re-solicitation under Bankruptcy
Rule 3019.

         3.       Revocation or Withdrawal of the Plan

        The Debtors reserve the right to, consistent with their fiduciary duties, revoke or
withdraw the Plan before the Effective Date. If the Debtors revoke or withdraw the Plan, or if
the Confirmation Date does not occur, then: (a) the Plan will be null and void in all respects; (b)
any settlement or compromise embodied in the Plan (including the fixing or limiting to an
amount certain of any Claim or Equity Interest or Class of Claims or Equity Interests),
assumption or rejection of Executory Contracts or Unexpired Leases effected by the Plan, and
any document or agreement executed pursuant to the Plan, will be deemed null and void; and (c)
nothing contained in the Plan shallwill: (i) constitute a waiver or release of any Claims or Equity
Interests; (ii) prejudice in any manner the rights of the Debtors or any other Person; or (iii)

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constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or
any other Person.

K.       Retention of Jurisdiction

         Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, on and after the Effective Date, the Bankruptcy Court will retain jurisdiction over all
matters arising out of, or related to, the Chapter 11 Cases and the Plan, including, but not limited
to, jurisdiction to:

         a)       allow, disallow, determine, liquidate, classify, estimate or establish the priority,
                  secured or unsecured status or amount of any Claim or Equity Interest, including
                  the resolution of any request for payment of any Administrative Expense Claim
                  and the resolution of any and all objections to the secured or unsecured status,
                  priority, amount, or allowance of Claims;

         b)       decide and resolve all matters related to the granting and denying, in whole or in
                  part, of any applications for allowance of compensation or reimbursement of
                  expenses to Professionals authorized pursuant to the Bankruptcy Code or the Plan;

         c)       resolve any matters related to: (i) the assumption, assumption and assignment or
                  rejection of any Executory Contract or Unexpired Lease to which the Debtors are
                  a party or with respect to which the Debtors may be liable in any manner and to
                  hear, determine and, if necessary, liquidate, any Claims arising therefrom,
                  including rejection Claims and cure Claims, pursuant to section 365 of the
                  Bankruptcy Code or any other matter related to such Executory Contract or
                  Unexpired Lease; (ii) any potential contractual obligation under any Executory
                  Contract or Unexpired Lease that is assumed; and (iii) any dispute regarding
                  whether a contract or lease is or was executory or expired;

         d)       ensure that Distributions to Holders of Allowed Claims are accomplished
                  pursuant to the provisions of the Plan;

         e)       adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                  litigated matters and any other matters, and grant or deny any applications
                  involving the Debtors that may be pending on the Effective Date;

         f)       adjudicate, decide, or resolve any motions, adversary proceedings, contested, or
                  litigated matters and any other matters, including, but not limited to, the Causes of
                  Action, involving the Liquidating Trustee or the LiquidatingCreditors’ Trust;

         g)       adjudicate, decide, or resolve any and all matters related to any Cause of Action;

         h)       adjudicate, decide, or resolve any and all matters related to section 1141 of the
                  Bankruptcy Code;



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         i)       enter and enforce any order for the sale of property pursuant to sections 363, 1123,
                  or 1146(a) of the Bankruptcy Code;

         j)       issue injunctions, enter and implement other orders or take such other actions as
                  may be necessary or appropriate to restrain interference by any Person with
                  consummation or enforcement of the Plan;

         k)       resolve any cases, controversies, suits, disputes or Causes of Action with respect
                  to the discharge, releases, injunctions, exculpations, indemnifications, and other
                  provisions contained in the Plan and enter such orders as may be necessary or
                  appropriate to implement such releases, injunctions, and other provisions;

         l)       enter and implement such orders as are necessary or appropriate if the
                  Confirmation Order is for any reason modified, stayed, reversed, revoked, or
                  vacated;

         m)       resolve any cases, controversies, suits, disputes, or Causes of Action that may
                  arise in connection with or relate to the Plan, the Disclosure Statement, the
                  Confirmation Order, the LiquidatingCreditors’ Trust, the LiquidatingCreditors’
                  Trust Agreement, any transactions or payments contemplated thereby, or any
                  contract, instrument, release, indenture, or other agreement or document relating
                  to any of the foregoing;

         n)       adjudicate any and all disputes arising from or relating to Distributions under the
                  Plan;

         o)       consider any modifications of the Plan, cure any defect or omission or reconcile
                  any inconsistency in any Bankruptcy Court order, including the Confirmation
                  Order;

         p)       determine requests for the payment of Claims entitled to priority pursuant to
                  section 507 of the Bankruptcy Code;

         q)       hear and determine matters concerning state, local, and federal taxes in
                  accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including
                  any requests for expedited determinations under section 505(b) of the Bankruptcy
                  Code);

         r)       hear and determine all disputes involving the existence, nature or scope of the
                  Debtors’ discharge;

         s)       enforce all orders previously entered by the Bankruptcy Court;

         t)       hear any other matter not inconsistent with the Bankruptcy Code; and

         u)       enter a final decree closing the Chapter 11 Cases.


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L.       Miscellaneous Provisions

         1.       Payment of Statutory Fees

        All fees payable pursuant to 28 U.S.C. § 1930 will be paid on the earlier of when due or
the Effective Date by the Debtors. After the Effective Date, the Liquidating Trustee will be
liable for payment of any such fees until entry of a final decree closing the Chapter 11 Cases.

         2.       Dissolution of the Committee

        On the Effective Date, the Committee and any other statutory committee formed in
connection with the Chapter 11 Cases will dissolve automatically and all members thereof will
be released and discharged from all rights, duties, and responsibilities arising from, or related to,
the Chapter 11 Cases.

         3.       Section 382 Limitation on Net Operating Losses and Built-In Losses

       With respect to the Debtors’ net operating losses, the Debtors and the Reorganized
Debtors reserve the right to seek the exception set forth in 26 U.S.C. § 382(l)(5).

         4.       Section 1125(e) Good Faith Compliance

       As of and subject to the occurrence of the Confirmation Date, the Debtors and their
Related Persons will be deemed to have solicited acceptances of the Plan in good faith and in
compliance with the applicable provisions of the Bankruptcy Code and any applicable
non-bankruptcy law, rule, or regulation governing the adequacy of disclosure in connection with
such solicitation.

         5.       Substantial Consummation

       On the Effective Date, the Plan will be deemed to be substantially consummated within
the meaning set forth in section 1101 and pursuant to section 1127(b) of the Bankruptcy Code.

         6.       Section 1146 Exemption

        To the fullest extent permitted under section 1146(a) of the Bankruptcy Code, the
issuance, transfer, or exchange of any security under or pursuant to the Plan, and the execution,
delivery, or recording of any instrument of transfer under or pursuant to the Plan, and the
revesting, transfer, or sale of any property of or to the LiquidatingCreditors’ Trust will not be
taxed under any state or local law imposing a stamp tax, transfer tax, or similar tax or fee.
Consistent with the foregoing, each recorder of deeds or similar official for any county, city or
other Governmental Unit in which any instrument hereunder is to be recorded in accordance with
the Plan shallwill, pursuant to the Confirmation Order, be ordered and directed to accept such
instrument, without requiring the payment of any documentary stamp tax, deed stamps, stamp
tax, transfer tax, mortgage recording tax, intangible tax, or similar tax.




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         7.       Closing of the Chapter 11 Cases

       When all Liquidating Trust Assets have been liquidated and converted into Cash and such
Cash has been distributed in accordance with the Liquidating Trust Agreement and the
Confirmation Order, the Liquidating TrusteeUpon the earlier of (i) the date upon which all
payments on account of Allowed Administrative Expense Claims and Accrued Professional
Compensation Claims have been paid or (ii) sixty (60) days after the Effective Date, the
Reorganized Debtors will seek authority from the Bankruptcy Court to close the Chapter 11
Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules.

         8.       Plan Supplement

        Any exhibits or schedules not filed with the Plan may be contained in the Plan
Supplement, if any, and the Debtors hereby reserve the right to file such exhibits or schedules as
a Plan Supplement.

         9.       Further Assurances

        The Debtors, Reorganized Debtors, or the Liquidating Trustee may file with the
Bankruptcy Court such agreements and other documents as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan. The Debtors, Reorganized
Debtors, the Liquidating Trustee, and all Holders of Claims receiving Distributions pursuant to
the Plan and all other parties in interest shallwill, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to
effectuate the provisions and intent of the Plan.

         10.      Exhibits Incorporated

        All exhibits to the Plan, including the Plan Supplement, are incorporated into and are part
of the Plan as if fully set forth in the Plan.

         11.      Inconsistency

        In the event of any inconsistency among the Plan, the Disclosure Statement, and any
exhibit to the Disclosure Statement, the provisions of the Plan will govern.

         12.      No Admissions

        If the Effective Date does not occur, the Plan will be null and void in all respects, and
nothing contained in the Plan will (a) constitute a waiver or release of any Claims by or against,
or any Equity Interests in, the Debtors, (b) prejudice in any manner the rights of the Debtors or
any other party in interest, or (c) constitute an admission of any sort by the Debtors or other party
in interest.

         13.      Reservation of Rights

      Except as expressly set forth in the Plan, the Plan will have no force or effect unless the
Bankruptcy Court will enter the Confirmation Order and the Effective Date has occurred. None

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of the Plan, any statement or provision contained in the Plan or any action taken or not taken by
the Debtors with respect to the Plan, the Disclosure Statement or the Plan Supplement will be or
will be deemed to be an admission or waiver of any rights of the Debtors with respect to the
Holders of Claims or Equity Interests before the Effective Date.

         14.      Successors and Assigns

        The rights, benefits, and obligations of any Person named or referred to in the Plan will
be binding on, and will inure to the benefit of, any heir, executor, administrator, successor or
assign, affiliate, officer, director, manager, agent, representative, attorney, beneficiaries or
guardian, if any, of each Person.

         15.      Entire Agreement

       On the Effective Date, the Plan, supersedes all previous and contemporaneous
negotiations, promises, covenants, agreements, understandings, and representations on such
subjects, all of which have become merged and integrated into the Plan.

         16.      Notices

        All notices, requests, and demands to or upon the Debtors in the Chapter 11 Cases will be
in writing and, unless otherwise provided in the Plan, will be deemed to have been duly given or
made when actually delivered or, if by facsimile transmission, when received and telephonically
confirmed to the recipients set forth in Section 15.16 of the Plan.

        All notices and requests to Persons holding any Claim or Equity Interest in any Class will
be sent to them at their last known address or to the last known address of their attorney of record
in the Chapter 11 Cases. Any such Holder of a Claim or Equity Interest may designate in writing
any other address for purposes of Section 15.16 of the Plan, which designation will be effective
upon receipt by the Debtors.

         17.      Severability

        If, prior to the entry of the Confirmation Order, any term or provision of the Plan is held
by the Bankruptcy Court to be invalid, void or unenforceable, the Bankruptcy Court will have the
power to alter and interpret such term or provision to make it valid or enforceable to the
maximum extent practicable, consistent with the original purpose of the term or provision, and
such term or provision will then be applicable as altered or interpreted. Notwithstanding any
such holding, alteration or interpretation, the remainder of the terms and provisions of the Plan
will remain in full force and effect and will in no way be affected, impaired or invalidated by
such holding, alteration or interpretation. The Confirmation Order will constitute a judicial
determination and will provide that each term and provision of the Plan, as it may have been
altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to its
terms.




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         18.      Governing Law

        Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and the Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of
New YorkDelaware, without giving effect to the principles of conflicts of laws, will govern the
rights, obligations, construction, and implementation of the Plan and the transactions
consummated or to be consummated in connection therewith.

         19.      Request for Confirmation

      The Debtors request entry of the Confirmation Order under section 1129(a) of the
Bankruptcy Code and, to the extent necessary, section 1129(b) of the Bankruptcy Code.

                                             ARTICLE V

                              VOTING REQUIREMENTS;
                     ACCEPTANCE AND CONFIRMATION OF THE PLAN

  A.       General

        The Bankruptcy Code requires that, in order to confirm the Plan, the Bankruptcy Court
must make a series of findings concerning the Plan and the Debtors, including that (i) the Plan
has classified Claims and Equity Interests in a permissible manner; (ii) the Plan complies with
applicable provisions of the Bankruptcy Code; (iii) the Plan has been proposed in good faith and
not by any means forbidden by law; (iv) the disclosure required by section 1125 of the
Bankruptcy Code has been made; (v) the Plan has been accepted by the requisite votes of Holders
of Claims (except to the extent that cramdown is available under section 1129(b) of the
Bankruptcy Code) and Interests; (vi) the Plan is feasible and Confirmation is not likely to be
followed by the liquidation or the need for further financial reorganization of the Debtors unless
such liquidation or reorganization is proposed in the Plan; (vii) the Plan is in the “best interests”
of all Holders of Claims in an Impaired Class by providing to such Holders on account of their
Claims property of a value, as of the Effective Date of the Plan, that is not less than the amount
that such Holders would receive or retain in a chapter 7 liquidation, unless each Holder of a
Claim in such Class has accepted the Plan; and (viii) all fees and expenses payable under 28
U.S.C. § 1930, as determined by the Bankruptcy Court at the Confirmation Hearing, have been
paid or the Plan provides for the payment of such fees on the Effective Date.

  B.       Parties in Interest Entitled to Vote

        Pursuant to the Bankruptcy Code, only Classes of Claims and Equity Interests that are
“impaired” (as defined in section 1124 of the Bankruptcy Code) under the Plan are entitled to vote
to accept or reject the Plan. A Class is Impaired if the legal, equitable or contractual rights to
which the Claims or Equity Interests of that Class entitle the Holders of such Claims or Equity
Interests are modified, other than by curing defaults and reinstating the Claims or Equity
Interests. Classes that are not Impaired are not entitled to vote on the Plan and are conclusively
presumed to have accepted the Plan. In addition, Classes that receive no Distributions under the
Plan are not entitled to vote on the Plan and are deemed to have rejected the Plan.


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  C.       Classes Impaired and Entitled to Vote under the Plan

         Holders of Claims in ClassClasses 3, 4 and 54 are Impaired under the Plan and entitled to
vote thereon. Holders of Claims in Classes 6 and 7 and Interest Holders in Class 9 are deemed to
reject the Plan and are not entitled to vote. Holders of Claims in Classes 1 and 2 and Interest
Holders in Class 8 are deemed to accept the Plan and are not entitled to vote.

  D.       Voting Procedures and Requirements

         1.       Ballots

       The Solicitation Procedures Order sets _____ ___May 6, 2020 as the record date for
voting on the Plan (the “Record Date”). Accordingly, only Holders of record as of the Record
Date that are otherwise entitled to vote under the Plan will receive a Ballot and may vote on the
Plan.

        In voting for or against the Plan, please use only the Ballot sent to you with this
Disclosure Statement. If you are a Holder of a Claim in Class 3, 4 or 54 and did not receive a
Ballot, your Ballot is damaged or lost or you have any questions concerning voting procedures,
please contact the Voting Agent at (866) 897-6433 (U.S., and Canada, toll free), (646) 282-2500
(International) or at hygeatabulation@epiqglobal.com.

         2.       Returning Ballots

       If you are entitled to vote to accept or reject the Plan, you should read carefully, complete,
sign and return your Ballot, with original signature, in the enclosed envelope.

       To be counted, your Ballot with your original signature indicating your acceptance
or rejection of the Plan must be received no later than the Voting Deadline.

         3.       Voting

        Pursuant to section 105(a) of the Bankruptcy Code, Bankruptcy Rules 2002(a)(7) and
3003(c)(2) and the Bar Date Order, any Creditors whose Claims (a) are Scheduled in the Debtors’
Schedules as Disputed, Contingent or unliquidated and which are not the subject of a
timely-Filed Proof of Claim, or a Proof of Claim deemed timely Filed with the Bankruptcy Court
pursuant to either the Bankruptcy Code or any order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law; or (b) are not Scheduled and are not the subject of a
timely-Filed Proof of Claim, or a Proof of Claim deemed timely Filed with the Bankruptcy Court
pursuant to either the Bankruptcy Code or any order of the Bankruptcy Court, or otherwise
deemed timely Filed under applicable law, will be denied treatment as Creditors with respect to
such Claims for purposes of (a) voting on the Plan, (b) receiving Distributions under the Plan and
(c) receiving notices, other than by publication, regarding the Plan.

        For purposes of voting, the amount of a Claim used to calculate acceptance or rejection of
the Plan under section 1126 of the Bankruptcy Code will be determined in accordance with the
following hierarchy:


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                  a.       if an order has been entered by the Bankruptcy Court determining the
                           amount of such Claim, whether pursuant to Bankruptcy Rule 3018 or
                           otherwise, then in the amount prescribed by the order;

                  b.       if no such order has been entered, then in the liquidated amount contained
                           in a timely-Filed Proof of Claim that is not the subject of an objection as
                           of the Claims Objection Deadline (as defined in the Solicitation
                           Procedures Order); and

                  c.       if no such Proof of Claim has been timely Filed, then in the liquidated,
                           noncontingent and undisputed amount contained in the Debtors’
                           Schedules.

       For purposes of voting, the following conditions will apply to determine the amount
and/or classification of a Claim:

                  a.       if a Claim is partially liquidated and partially unliquidated, such Claim
                           will be allowed for voting purposes only in the liquidated amount;

                  b.       if a Scheduled or Filed Claim has been paid, such Claim will be
                           disallowed for voting purposes; and

                  c.       the Holder of a timely-Filed Proof of Claim that is filed in a wholly
                           unliquidated, Contingent, Disputed and/or unknown amount, and is not the
                           subject of an objection as of the Claims Objection Deadline (as defined in
                           the Solicitation Procedures Order), is entitled to vote in the amount of
                           $1.00.

       Pursuant to the Solicitation Procedures Order, the deadline for filing and serving motions
pursuant to Bankruptcy Rule 3018(a) seeking temporary allowance of claims for the purpose of
accepting or rejecting the Plan will be _____ ___May 27, 2020 at _4:_0 _”00 a.m. (Eastern Time)
(the “Rule 3018(a) Motion Deadline”).

  E.       Acceptance of Plan

        As a condition to confirmation of a plan, the Bankruptcy Code requires that each class of
impaired claims vote to accept the plan, except under certain circumstances. See “Confirmation
Without Necessary Acceptances; Cramdown” below. A plan is accepted by an impaired class of
claims if holders of at least two-thirds in dollar amount and more than one-half in number of
claims of those that vote in such class vote to accept the plan. A plan is accepted by an impaired
class of interests if holders of at least two-thirds in amount of interests of those that vote in such
class vote to accept the plan. Only those holders of claims and equity interests who actually vote
count in these tabulations. Holders of claims and equity interests who fail to vote are not counted
as either accepting or rejecting a plan.

        In addition to this voting requirement, section 1129 of the Bankruptcy Code requires that
a plan be accepted by each holder of a claim or equity interest in an impaired class or that the
plan otherwise be found by a court to be in the best interests of each holder of a claim or equity

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interest in such class. See “Best Interests Test” below. Moreover, each impaired class must
accept the plan for the plan to be confirmed without application of the “fair and equitable” and
“unfair discrimination” tests set forth in section 1129(b) of the Bankruptcy Code discussed below.
See “Confirmation Without Necessary Acceptances; Cramdown” below.

  F.       Confirmation Without Necessary Acceptances; Cramdown

        In the event that any impaired class of claims or equity interests does not accept a plan, a
debtor nevertheless may move for confirmation of the plan. A plan may be confirmed, even if it
is not accepted by all impaired classes, if the plan has been accepted by at least one impaired
class of claims, and the plan meets the “cramdown” requirements set forth in section 1129(b) of
the Bankruptcy Code. Section 1129(b) of the Bankruptcy Code requires that a court find that a
plan (i) “does not discriminate unfairly” and (ii) is “fair and equitable,” with respect to each
non-accepting impaired class of claims or equity interests.

        Here, because ClassClasses 5 isand 6 are deemed to reject the Plan, the Debtors will seek
Confirmation of the Plan from the Bankruptcy Court by satisfying the “cramdown” requirements
set forth in section 1129(b) of the Bankruptcy Code. The Debtors believe that such requirements
are satisfied as no Claim or Equity Interest Holder junior to those in ClassClasses 5 or 6 will
receive any property under the Plan.

         1.       No Unfair Discrimination

        A plan “does not discriminate unfairly” if (a) the legal rights of a nonaccepting class are
treated in a manner that is consistent with the treatment of other classes whose legal rights are
similar to those of the nonaccepting class, and (b) no class receives payments in excess of that
which it is legally entitled to receive for its claims or equity interests. The Debtors believe that
under the Plan all Impaired Classes of Claims and Equity Interests are treated in a manner that is
consistent with the treatment of other Classes of Claims and Equity Interests that are similarly
situated, if any, and no Class of Claims or Equity Interests will receive payments or property with
an aggregate value greater than the aggregate value of the Allowed Claims or Allowed Interests
in such Class. Accordingly, the Debtors believe the Plan does not discriminate unfairly as to any
Impaired Class of Claims or Equity Interests.

         2.       Fair and Equitable Test

        With respect to a dissenting class of claims or equity interests, the “fair and equitable”
standard requires that a plan provide that either the claims or equity interests in each class
received everything to which they are legally entitled or that classes junior in priority to the class
receive nothing. The strict requirement of the allocation of full value to dissenting classes before
any junior class can receive distribution is known as the “absolute priority rule.”

        The Bankruptcy Code establishes different “fair and equitable” tests for holders of secured
claims, unsecured claims and equity interests, which may be summarized as follows:

               a.      Secured Claims. Either (i) each holder of a claim in an impaired class of
secured claims retains its liens securing its secured claim and it receives on account of its secured
claim deferred cash payments having a present value equal to the amount of its allowed secured

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claim; (ii) each holder of a claim in an impaired class of secured claims realizes the indubitable
equivalent of its allowed secured claim; or (iii) the property securing the claim is sold free and
clear of liens, with such liens to attach to the proceeds and the treatment of such liens on
proceeds as provided in clause (i) or (ii) of this subparagraph.

                b.      Unsecured Claims. Either (i) each holder of a claim in an impaired class
of unsecured claims receives or retains under the plan property of a value equal to the amount of
its allowed claim; or (ii) the holders of claims and equity interests that are junior to the claims of
the dissenting class will not receive any property under the chapter 11 plan, subject to the
applicability of the judicial doctrine of contributing new value.

                 c.      Equity Interests. Either (i) each holder of an equity interest in an impaired
class of interests will receive or retain under the chapter 11 plan property of a value equal to the
greater of (a) the fixed liquidation preference or redemption price, if any, of such stock or (b) the
value of the stock; or (ii) the holders of interests that are junior to the stock will not receive any
property under the chapter 11 plan, subject to the applicability of the judicial doctrine of
contributing new value.

         As discussed above, the Debtors believe that the Distributions provided under the Plan
satisfy the absolute priority rule.

                                             ARTICLE VI

                    FEASIBILITY AND BEST INTERESTS OF CREDITORS

  A.       Best Interests Test

        Before the Plan may be confirmed, the Bankruptcy Court must find the Plan provides,
with respect to each Impaired Class, that each Holder of a Claim in such Class either (i) has
accepted the Plan or (ii) will receive or retain under the Plan property of a value, as of the
Effective Date, that is not less than the amount such Holder would receive or retain if the Debtors
liquidated under chapter 7 of the Bankruptcy Code.

        Under the Plan, Classes 2, 3, 4, 5 and 56 are Impaired. ClassClasses 5 and 6 will not
receive or retain any property under either the Plan or in a chapter 7 liquidation. Classes 2, 3 and
4 are Impaired, but are projected to receive a Distribution under the Plan. To the extent that
Class 2, 3 or 4 does not vote in favor of the Plan, the Holders in such Classes must receive at
least as much value under the Plan as they would in a chapter 7 liquidation in order for the Plan
to be confirmable by the Bankruptcy Court. In accordance with the RSAAs a result of the Global
Settlement Term Sheet, the Debtors anticipate that Class 3 will vote in favor of the Plan.
Although the Debtors anticipate that most Holders of Class 4 Claims also will vote in favor of
the Plan, it is doubtful that every such Holder will do so. As such, in order to confirm the Plan,
the Debtors must establish that the Claim Holders in Class 4 will receive at least as much value
under the Plan as they would in a chapter 7 liquidation.

        A comparison of the relative recoveries to Holders of General Unsecured Claims under
the Plan and in a chapter 7 liquidation is attached hereto as Exhibit B. For the reasons set forth


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on Exhibit B hereto, the Debtors believe that Holders of Claims in Class 4 will receive or retain
under the Plan property of a value, as of the Effective Date, that is greater than the amount that
such Holders would receive or retain if the Debtors were liquidated under chapter 7 of the
Bankruptcy Code. Moreover, the failure to confirm the Plan likely would lead to material delays
in Distributions to Classes 2, 3 and 4, further reducing the effective recoveries to Holders in such
Classes.

  B.       Feasibility

       In connection with confirmation of the Plan, the Bankruptcy Court will be required to
determine that the Plan is feasible pursuant to section 1129(a)(11) of the Bankruptcy Code,
which means that the confirmation of the Plan is not likely to be followed by the liquidation or
the need for further financial reorganization of the Debtors.

        To support their belief in the feasibility of the Plan, the Debtors have relied upon the
financial projections that are annexed to this Disclosure Statement as Exhibit C (the “Financial
Projections”).

        The Financial Projections indicate that the Reorganized Debtors should have sufficient
cash flow to pay and service their debt obligations and to fund their operations after the Effective
Date. Accordingly, the Debtors believe that the Plan complies with the financial feasibility
standard of section 1129(a)(11) of the Bankruptcy Code.

        The Financial Projections are based on numerous assumptions, including Confirmation of
the Plan in accordance with its terms, the occurrence of the Effective Date such that the Plan will
have become fully consummated (“Consummation”), realization of the operating strategy of
Reorganized Debtors, no material adverse changes in applicable legislation or regulations, or the
administration thereof, or generally accepted accounting principles, no material adverse changes
in general business and economic conditions, no material adverse changes in competition, the
Reorganized Debtors’ retention of certain key physicians, the absence of material contingent or
unliquidated litigation, indemnity or other claims, and other matters, many of which will be
beyond the control of the Reorganized Debtors and some or all of which may not materialize.

        To the extent that the assumptions inherent in the Financial Projections are based upon
future business decisions and objectives, they are subject to change. In addition, although they
are presented with numerical specificity and are based on assumptions considered reasonable by
the Debtors, the assumptions and estimates underlying the Financial Projections are subject to
significant business and economic uncertainties and contingencies, many of which will be
beyond the control of the Reorganized Debtors. Accordingly, the Financial Projections are only
estimates and are necessarily speculative in nature. It can be expected that some or all of the
assumptions in the Financial Projections will not be realized and that actual results will vary
from the Financial Projections, which variations may be material and are likely to increase over
time. In light of the foregoing, readers are cautioned not to place undue reliance on the Financial
Projections. The Financial Projections were not prepared in accordance with standards for
projections promulgated by the American Institute of Certified Public Accountants or with a
view to compliance with published guidelines of the SEC regarding projections or forecasts. The
Financial Projections have not been audited, reviewed or compiled by the Debtors’ independent


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public accountants. The projected financial information contained in this Disclosure Statement
should not be regarded as a representation or warranty by the Debtors, the Debtors’ advisors or
any other Person that the Financial Projections can or will be achieved.

        The Financial Projections should be read together with the information in Article VIII of
this Disclosure Statement entitled “Certain Risk Factors to be Considered,” which sets forth
important factors that could cause actual results to differ from those in the Financial Projections.

        The Debtors do not intend to update or otherwise revise the Financial Projections,
including any revisions to reflect events or circumstances existing or arising after the date of this
Disclosure Statement or to reflect the occurrence of unanticipated events, even if any or all of the
underlying assumptions do not come to fruition. Further, the Debtors do not intend to update or
revise the Financial Projections to reflect changes in general economic or industry conditions.

                                            ARTICLE VII

                                EFFECT OF CONFIRMATION

  A.       Binding Effect of Confirmation

       Confirmation will bind the Debtors and all Holders of Claims and Equity Interests to the
provisions of the Plan, whether or not the Claim or Equity Interest of any such Holder is
Impaired under the Plan and whether or not any such Holder of a Claim or Equity Interest has
accepted the Plan.

  B.       Good Faith

        Confirmation of the Plan will constitute a finding that: (i) the Plan has been proposed in
good faith and in compliance with applicable provisions of the Bankruptcy Code; and (ii) all
solicitations of acceptances or rejections of the Plan have been in good faith and in compliance
with applicable provisions of the Bankruptcy Code.

                                           ARTICLE VIII

                        CERTAIN RISK FACTORS TO BE CONSIDERED

        The Plan and its implementation are subject to certain risks, including, but not
limited to, the risk factors set forth below. Holders of Claims who are entitled to vote on
the Plan should read and carefully consider the risk factors, as well as the other
information set forth in this Disclosure Statement and the Plan, before deciding whether to
vote to accept or reject the Plan.

  A.       Plan May Not Be Accepted

        There can be no assurance that the requisite acceptances to confirm the Plan will be
obtained. Thus, while the Debtors believe the Plan is confirmable under the standards set forth in
section 1129 of the Bankruptcy Code, there is no guarantee that the Plan will be accepted by the
requisite Classes entitled to vote on the Plan.

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  B.       Certain Bankruptcy Law Considerations

        Even if the Holders of Claims who are entitled to vote accept the Plan, the Bankruptcy
Court, which may exercise substantial discretion as a court of equity, may choose not to confirm
the Plan. Section 1129 of the Bankruptcy Code requires, among other things, a showing that
confirmation of the Plan will not be followed by the liquidation or the need for further financial
reorganization of the Debtors, and that the value of Distributions to dissenting Holders of Claims
or Equity Interests may not be less than the value such Holders would receive if the Debtors were
liquidated under chapter 7 of the Bankruptcy Code. Although the Debtors believe the Plan meets
such requirements, there can be no assurance the Bankruptcy Court will reach the same
conclusion.

  C.       Distributions to Holders of Allowed Claims Under the Plan

         On the Effective Date, each Holder of an Allowed General Unsecured Claim will, by
operation of the Plan, receive its Pro Rata share of the LiquidatingCreditors’ Trust Distributable
CashAssets. A substantial amount of time may elapse between the Effective Date and the receipt
of Distributions because of the time required to achieve final resolution of Disputed Claims.
Moreover, although the Debtors have made a good faith estimate of projected recoveries to
holders of Allowed General Unsecured Claims under the Plan, such recoveries will be less than
projected if, among other things, (i) the aggregate amount of General Unsecured Claims asserted
against the Debtors which ultimately are Allowed exceeds the estimated amount of such Claims
or (ii) the recoveries from the litigation of Causes of Action are less than estimated by the
Debtors and the Committee.

  D.       Conditions Precedent to Consummation of the Plan

       The Plan provides for certain conditions that must be satisfied (or waived) prior to
Consummation of the Plan. As of the date of this Disclosure Statement, there can be no
assurance that any or all of the conditions to Consummation of the Plan will be satisfied (or
waived). Accordingly, there can be no assurance that the Plan, even if confirmed by the
Bankruptcy Court, will be consummated.

  E.       Certain Tax Considerations

        There are a number of material income tax considerations, risks and uncertainties
associated with Consummation of the Plan. Holders of Claims voting on the Plan should read
carefully the discussion of certain federal income tax consequences of the Plan set forth below.




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                                                     ARTICLE IX

            CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

        The following discussion is a summary of certain United States federal income tax
consequences of the Plan to the Holders of General Unsecured Claims.5 This discussion is based
on the Internal Revenue Code of 1986, as amended (the “Tax Code”), Treasury Regulations
promulgated and proposed thereunder, judicial decisions and published administrative rules and
pronouncements of the Internal Revenue Service (“IRS”), all as in effect on the date hereof.

        Due to the complexity of certain aspects of the Plan, the lack of applicable legal
precedent, the possibility of changes in the law, the differences in the nature of the Claims, each
Holder’s status and method of accounting and the potential for disputes as to legal and factual
matters with the IRS, the tax consequences described herein are uncertain. No legal opinions
have been requested from counsel with respect to any of the tax aspects of the Plan and no
rulings have been or will be requested from the IRS with respect to the any of the issues
discussed below. Further, legislative, judicial or administrative changes may occur, perhaps with
retroactive effect, which could affect the accuracy of the statements and conclusions set forth
below as well as the tax consequences to the Debtors and the Holders of General Unsecured
Claims.

        This discussion does not purport to address all aspects of United States federal income
taxation that may be relevant to the Debtors or the Holders of General Unsecured Claims in light
of their personal circumstances, nor does the discussion deal with tax issues with respect to
taxpayers subject to special treatment under the United States federal income tax laws (including,
for example, insurance companies, financial institutions, real estate investment trusts, tax-exempt
organizations, small business investment companies, regulated investment companies, a holder
of a Claim that is not a “United States person,” as such term is defined in the Tax Code, persons
whose functional currency is not the United States dollar, persons subject to the alternative
minimum tax, persons holding Claims or Equity Interests as part of a “straddle,” “hedge,”
“constructive sale” or “conversion transaction” with other investments), and entities treated as
partnerships for United States federal income tax purposes or beneficial owners of such entities.
This discussion does not address the tax consequences to Holders of General Unsecured Claims
who did not acquire such Claims at the issue price on original issue. No aspect of foreign, state,
local or estate and gift taxation is addressed.

         This discussion does not address the United States federal income tax consequences to
Holders of General Unsecured Claims who (a) are Unimpaired or otherwise entitled to payment
in full in Cash on the Effective Date under the Plan or (b) are otherwise not entitled to vote under
the Plan. Moreover, the discussion assumes that the various debt and other arrangements to
which the Debtors and Reorganized Debtors are or will be parties will be respected for United
States federal income tax purposes in accordance with their form.

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     Because certain of the Debtors are “pass through” entities for taxation purposes, the Plan does not have tax
    consequences for those Debtors themselves. Moreover, while the Plan will have tax consequences for the Holders
    of Class 3 Claims, the Holders of such Claims are sophisticated commercial entities that were able to evaluate such
    tax consequences prior to entering into the RSA.

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       Each Holder of a General Unsecured Claim is urged to consult with such Holder’s tax
advisors concerning the United States federal, state and local, and non-United States and other
tax consequences of the Plan.

  A.       Tax Consequences to Creditors

         1.       Holders of Claims

         Generally, a Holder of a Claim should in most, but not all circumstances, recognize gain
or loss equal to the difference between the “amount realized” by such Holder in exchange for its
Claim and such Holder’s adjusted tax basis in the Claim. The “amount realized” is equal to the
sum of the cash and the fair market value of any other consideration received under a plan of
reorganization in respect of a Holder’s Claim. The tax basis of a Holder in a Claim will generally
be equal to the Holder’s cost. To the extent applicable, the character of any recognized gain or
loss (e.g., ordinary income, or short-term or long-term capital gain or loss) will depend upon the
status of the Holder, the nature of the Claim in the Holder’s hands, the purpose and circumstances
of its acquisition, the Holder’s holding period of the Claim, and the extent to which the Holder
previously claimed a deduction for the worthlessness of all or a portion of the Claim. Generally,
if the Claim is a capital asset in the Holder’s hands, any gain or loss realized generally will be
characterized as capital gain or loss, and will constitute long-term capital gain or loss if the
Holder has held such Claim for more than one year.

        A Holder who received Cash (or other consideration) in satisfaction of its Claims may
recognize ordinary income or loss to the extent that any portion of such consideration is
characterized as accrued interest. A Holder who did not previously include in income accrued
but unpaid interest attributable to its Claim, and who receives a distribution on account of its
Claim pursuant to the Plan, will be treated as having received interest income to the extent that
any consideration received is characterized for United States federal income tax purposes as
interest, regardless of whether such Holder realizes an overall gain or loss as a result of
surrendering its Claim. A Holder who previously included in its income accrued but unpaid
interest attributable to its Claim should recognize an ordinary loss to the extent that such accrued
but unpaid interest is not satisfied, regardless of whether such Holder realizes an overall gain or
loss as a result of the distribution it may receive under the Plan on account of its Claim.

         2.       Non-United States Persons

        A Holder of a Claim that is a non-United States Person generally will not be subject to
United States federal income tax with respect to property (including money) received in
exchange for such Claim pursuant to the Plan, unless (i) such Holder is (or was) engaged in a
trade or business in the United States to which income, gain or loss from the exchange is (or was)
“effectively connected” for United States federal income tax purposes, or (ii) if such Holder is an
individual, such Holder is present in the United States for 183 days or more during the taxable
year of the exchange and certain other requirements are met.




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  B.       Tax Treatment of the LiquidatingCreditors’ Trust

        Upon the Effective Date, the LiquidatingCreditors’ Trust will be established for the
benefit of Holders of Allowed General Unsecured Claims, whether allowed on or after the
Effective Date.

         1.       Classification of the LiquidatingCreditors’ Trust

        The LiquidatingCreditors’ Trust is intended to qualify as a liquidating trust for federal
income tax purposes. In general, a liquidating trust is not a separate taxable entity but rather is
treated for federal income tax purposes as a “grantor” trust (i.e., a pass-through entity). The IRS,
in Revenue Procedure 94-45, 1994-2 C.B. 684, set forth the general criteria for obtaining an IRS
ruling as to the grantor trust status of a liquidating trust under a chapter 11 plan. The
LiquidatingCreditors’ Trust has been structured with the intention of complying with such
general criteria. Pursuant to the Plan, and in conformity with Revenue Procedure 94-45, all
parties (including the Liquidating Trustee and the Holders of beneficial interests in the
LiquidatingCreditors’ Trust) are required to treat for United States federal income tax purposes
the LiquidatingCreditors’ Trust as a grantor trust of which the Holders of Allowed General
Unsecured Claims are the owners and grantors. While the following discussion assumes that the
LiquidatingCreditors’ Trust would be so treated for United States federal income tax purposes, no
ruling has been requested from the IRS concerning the tax status of the LiquidatingCreditors’
Trust as a grantor trust. Accordingly, there can be no assurance that the IRS would not take a
contrary position to the classification of the LiquidatingCreditors’ Trust as a grantor trust. If the
IRS were to challenge successfully such classification, the United States federal income tax
consequences to the LiquidatingCreditors’ Trust and the Holders of Claims could vary from those
discussed herein.

         2.       General Tax Reporting by the Trust and Beneficiaries

         For all United States federal income tax purposes, all parties (including the Liquidating
Trustee and the Holders of beneficial interests in the LiquidatingCreditors’ Trust) will be required
to treat the transfer of assets to the LiquidatingCreditors’ Trust, in accordance with the terms of
the Plan, as a transfer of those assets directly to the Holders of Allowed General Unsecured
Claims followed by the transfer of such assets by such Holders to the LiquidatingCreditors’ Trust.
Consistent therewith, all parties are required to treat the LiquidatingCreditors’ Trust as a grantor
trust of which such Holders are to be owners and grantors. Thus, such Holders (and any
subsequent Holders of interests in the LiquidatingCreditors’ Trust) will be treated as the direct
owners of an undivided beneficial interest in the assets of the LiquidatingCreditors’ Trust for all
federal income tax purposes. Accordingly, each Holder of a beneficial interest in the
LiquidatingCreditors’ Trust will be required to report on its federal income tax return(s) the
Holder’s allocable share of all income, gain, loss, deduction or credit recognized or incurred by
the LiquidatingCreditors’ Trust.

        The United States federal income tax reporting obligation of a Holder of a beneficial
interest in the LiquidatingCreditors’ Trust is not dependent upon the LiquidatingCreditors’ Trust
distributing any cash or other proceeds. Therefore, a Holder of a beneficial interest in the
LiquidatingCreditors’ Trust may incur a United States federal income tax liability regardless of


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the fact that the LiquidatingCreditors’ Trust has not made, or will not make, any concurrent or
subsequent distributions to the Holder. If a Holder incurs a federal tax liability but does not
receive distributions commensurate with the taxable income allocated to it in respect of its
beneficial interests in the LiquidatingCreditors’ Trust it holds, the Holder may be allowed a
subsequent or offsetting loss.

        The Liquidating Trustee will file tax returns with the IRS for the Liquidating Trust as a
grantor trust pursuant to Treasury Regulations section 1.671-4(a). The Liquidating Trustee will
also send to each Holder of a beneficial interest in the LiquidatingCreditors’ Trust a separate
statement setting forth the Holder’s share of items of income, gain, loss, deduction or credit and
will instruct the Holder to report such items on its federal income tax return.

        All payments to Creditors are subject to any applicable withholding (including
employment tax withholding). Under the Tax Code, interest, dividends and other reportable
payments may, under certain circumstances, be subject to “backup withholding” then in effect.
Backup withholding generally applies if the Holder (a) fails to furnish his or her social security
number or other taxpayer identification number (“TIN”), (b) furnishes an incorrect TIN, (c) fails
properly to report interest or dividends, or (d) under certain circumstances, fails to provide a
certified statement, signed under penalty of perjury, that the TIN provided is his correct number
and that he is not subject to backup withholding. Backup withholding is not an additional tax but
merely an advance payment, which may be refunded to the extent it results in an overpayment of
tax if an appropriate refund claim is filed with the IRS. Certain persons are exempt from backup
withholding, including, in certain circumstances, corporations and financial institutions.

         3.       Allocations of Taxable Income and Loss

         Allocations of taxable income of the LiquidatingCreditors’ Trust among Holders of
Claims will be determined by reference to the manner in which an amount of cash equal to such
taxable income would be distributed (were such cash permitted to be distributed at such time) if,
immediately prior to such deemed Distribution, the LiquidatingCreditors’ Trust had distributed
all of its respective assets to the Holders of the beneficial interests in the LiquidatingCreditors’
Trust, adjusted for prior taxable income and loss and taking into account all prior and concurrent
Distributions from the LiquidatingCreditors’ Trust. Similarly, taxable loss of the
LiquidatingCreditors’ Trust will be allocated by reference to the manner in which an economic
loss would be borne immediately after a liquidating distribution of the remaining
LiquidatingCreditors’ Trust assets.

        After the Effective Date, any amount a Holder receives as a Distribution from the
LiquidatingCreditors’ Trust in respect of its beneficial interest in the LiquidatingCreditors’ Trust
should not be included, for United States federal income tax purposes, in the Holder’s amount
realized in respect of its Allowed Claim but should be separately treated as a Distribution
received in respect of such Holder’s beneficial interest in the LiquidatingCreditors’ Trust.

        In general, a Holder’s aggregate tax basis in its undivided beneficial interest in the assets
transferred to the LiquidatingCreditors’ Trust will equal the fair market value of such undivided
beneficial interest as of the Effective Date and the Holder’s holding period in such assets will
begin the day following the Effective Date. Distributions to any Holder of an Allowed Claim


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will be allocated first to the original principal portion of such Claim as determined for United
States federal income tax purposes, and then, to the extent the consideration exceeds such
amount, to the remainder of such Claim. However, there is no assurance that the IRS will respect
such allocation for United States federal income tax purposes.

         The tax book value of the LiquidatingCreditors’ Trust assets for this purpose will equal
their fair market value on the Effective Date, adjusted in accordance with tax accounting
principles prescribed by the Tax Code, applicable Treasury Regulations, and other applicable
administrative and judicial authorities and pronouncements. Uncertainties with regard to United
States federal income tax consequences of the Plan may arise due to the inherent nature of
estimates of value that will impact tax liability determinations.

        As soon as practicable after the Effective Date, the Liquidating Trustee (to the extent that
it deems it necessary or appropriate in the reasonable exercise of its discretion) will, in good
faith, value the LiquidatingCreditors’ Trust Assets, and, as appropriate, will apprise the Holders
of beneficial interests in the LiquidatingCreditors’ Trust of such valuation. The valuation is
required to be used consistently by all parties (including the Debtors, the Reorganized Debtors,
the Liquidating Trustee and the Holders) for all United States federal income tax purposes. The
Bankruptcy Court will resolve any dispute regarding the valuation of the Assets. No valuation
will be deemed an admission or be admissible in any Cause of Action.

        The LiquidatingCreditors’ Trust’s taxable income will be allocated to the Holders of
beneficial interests in the LiquidatingCreditors’ Trust in accordance with each such Holder’s Pro
Rata share of the LiquidatingCreditors’ Trust’s interests. The character of items of income,
deduction and credit to any Holder and the ability of such Holder to benefit from any deductions
or losses may depend on the particular situation of such Holder.

        Events subsequent to the date of this Disclosure Statement, such as the enactment of
additional tax legislation, could also change the United States federal income tax consequences
of the Plan and the transactions contemplated thereunder.

  C.       Importance of Obtaining Professional Tax Assistance

       The foregoing discussion is intended only as a summary of certain United States
federal income tax consequences of the Plan. The above discussion is for informational
purposes only and is not tax advice. The tax consequences are in many cases uncertain and
may vary depending on a Holder’s particular circumstances. Accordingly, Holders are
urged to consult their own tax advisors about the United States federal, state and local, and
applicable non-United States income and other tax consequences of the Plan.



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                                            ARTICLE X

                                RECOMMENDATION AND CONCLUSION

       This Disclosure Statement was approved by the Bankruptcy Court after notice and a
hearing. The Bankruptcy Court has determined that this Disclosure Statement contains
information adequate to permit Holders of Claims to make an informed judgment about the Plan.
Such approval, however, does not mean that the Bankruptcy Court recommends either
acceptance or rejection of the Plan.

        The Debtors believe that Confirmationconfirmation and Consummationconsummation of
the Plan is in the best interests of the Debtors, the Estates and itstheir Creditors. The Plan
provides for an equitable distribution to Creditors. The Debtors believe that any alternative to
Confirmationconfirmation of the Plan, such as liquidation under chapter 7 of the Bankruptcy
Code, could result in significant delay, litigation and additional costs, as well as a material
reduction in the Distributions to Holders of Claims in Classes 2, 3 and 4. Consequently, the
Debtors urge all eligible Holders of Impaired Claims in Classes 2, 3 and 4 to vote to ACCEPT
the Plan, and to complete and return their Ballots so that they will be RECEIVED by the Voting
Agent on or before the Voting Deadline.


Dated: Wilmington, Delaware
       March 10May 1, 2020

HYGEA HOLDINGS CORP. ET AL.
Debtors and Debtors-in-Possession


By:                                                COLE SCHOTZ P.C.
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                                EXHIBIT A TO DISCLOSURE STATEMENT

                                        Plan of Reorganization




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                                EXHIBIT B TO DISCLOSURE STATEMENT

                                         Liquidation Analysis




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                                EXHIBIT C TO DISCLOSURE STATEMENT

                                         Financial Projections




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                        EXHIBIT D TO DISCLOSURE STATEMENT

                                Global Settlement Term Sheet




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